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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                Case No. - - - - - - -


  FEDERAL TRADE COMMISSION, )
                                       )
        Plaintiff,                     )
                                       )
           v.                          )
                                       )
  DIGITAL INCOME SYSTEM, INC., )
    a Florida corporation,     )
                                       )
  DEREK JONES FOLEY, aka Derek )
   Jones, individually and as an owner,)
   officer, and/or manager of          )
   Digital Income System, Inc.,        )
                                       )
 WILLIAM FOLEY, individually and )
  as an owner, officer, and/or   )
  manager of Digital Income      )
  System, Inc.                   )
                                       )
  CHRISTOPHER BRANDON FRYE, )
   Individually,            )
                                       )
 JENNIFER HEDRICK,                     )
   Individually, and                   )
                                       )
  KAITLYN SCOTT,                       )
   Individually,                       )
                                       )
        Defendants.                    )



                            EXHIBITS - VOLUME III
                      STATUTE, RULE, AND SAMPLE TRO ORDERS
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             (16 C.F.R. Part 437)

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     l. FTC v. Simple Health Plans, LLC, No. 0: 18-cv-62593-DPG, Doc. 15 (S.D. Fla. Oct. 31,
 2018) (ex parte and temporarily sealed TRO with, inter alia, immediate access, temporary
 receiver, and asset freeze).
     2. FTC v. Pointbreak Media, LLC, No. 0:18-cbv-61017-CMA, Doc. 12 (May 8, 2018)
 (same).
     3. FTC v. Student Debt Doctor, LLC, No. 17-cv-61937 WPD, Doc. 4 (S.D. Fla. Oct. 2,
 2017) (same).
    4. FTC v. Am. Student Loan Consolidators, No. 0:17-cv-61862-DPG, Doc. 9 (S.D. Fla.
 Sept. 26, 2017) (same).
     5. FTC v. Strategic Student Sols., LLC, No. 9:17-cv-80619-DIMITROULEAS, Doc. 10
 (S.D. Fla. May 15, 2017) (same).
     6. FTC v. World Patent Mktg., Inc., No. 17-cv-208448-GAYLES, Doc. No. 11 (S.D. Fla.
 Mar. 8, 2017) (same).
     7. FTC v. Mail Tree, Inc., No. 15-cv-61034-COHN, Doc. No. 16 (S.D. Fla. May 19, 2015)
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 14, 2014) (same).
     9. FTC v. Boost Software, Inc., No. 14-81397-CIV-MARRA, Doc. No. 13 (S.D. Fla. Nov.
 12, 2014) (same).
     10. FTC v. Centro Natural Corp., No. 14-23879-CIV-ALTONAGA, Doc. No. 10 (S.D. Fla.
 Oct. 20, 2014) (same).
     11. FTC v. Partners in Healthcare Assoc., Inc., No. 14-cv-23109-SCOLA, Doc. No. 9 (S.D.
 Fla. Aug. 25, 2014) (same).
     12. FTC v. FMC Counseling Servs., Inc., No. 14-61545-CIV-ZLOCH, Doc. No. 15 (S.D. Fla.
 Jul. 7, 2014) (same).
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                      PLAINTIFF'S EXHIBIT 36
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§ 45. Unfair methods of competition unlawful; prevention by Commission, 15 USCA § 45




  United States Code Annotated
   Title 15. Commerce and Trade
      Chapter 2. Federal Trade Commission; Promotion of Export Trade and Prevention of Unfair Methods of
      Competition
        Subchapter I. Federal Trade Commission (Refs & Annas)

                                                          15 U.S.C.A.   §   45

               § 45. Unfair methods of competition unlawful; prevention by Commission

                                                  Effective: December 22,        2006
                                                           Currentness


(a) Declaration of unlawfulness; power to prohibit unfair practices; inapplicability to foreign trade


(1) Unfair methods of competition in or affecting commerce, and unfair or deceptive acts or practices in or affecting commerce,
are hereby declared unlawful.


(2) The Commission is hereby empowered and directed to prevent persons, partnerships, or corporations, except banks, savings
and loan institutions described in section 57a(t)(3) of this title, Federal credit unions described in section 57a(t)(4) of this title,
common carriers subject to the Acts to regulate commerce, air carriers and foreign air carriers subject to part A of subtitle VII
of Title 49, and persons, partnerships, or corporations insofar as they are subject to the Packers and Stockyards Act, 1921, as
amended, except as provided in section 406(b) of said Act, from using unfair methods of competition in or affecting commerce
and unfair or deceptive acts or practices in or affecting commerce.


(3) This subsection shall not apply to unfair methods of competition involving commerce with foreign nations (other than import
commerce) unless--


  (A) such methods of competition have a direct, substantial, and reasonably foreseeable effect--



     (i) on commerce which is not commerce with foreign nations, or on import commerce with foreign nations; or



     (ii) on export commerce with foreign nations, of a person engaged in such commerce in the United States; and



  (B) such effect gives rise to a claim under the provisions of this subsection, other than this paragraph.


If this subsection applies to such methods of competition only because of the operation of subparagraph (A)(ii), this subsection
shall apply to such conduct only for injury to export business in the United States.


(4)(A) For purposes of subsection (a), the term "unfair or deceptive acts or practices" includes such acts or practices involving
foreign commerce that--



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§ 53. False advertisements; injunctions and restraining orders, 15 USCA § 53




  United States Code Annotated
   Title 15. Commerce and Trade
      Chapter 2. Federal Trade Commission; Promotion of Export Trade and Prevention of Unfair Methods of
      Competition
        Subchapter I. Federal Trade Commission (Refs & Annos)

                                                         15 U.S.C.A. § 53

                       § 53. False advertisements; injunctions and restraining orders

                                                           Currentness


(a) Power of Commission; jurisdiction of courts

Whenever the Commission has reason to believe--


  (1) that any person, partnership, or corporation is engaged in, or is about to engage in, the dissemination or the causing of
  the dissemination of any advertisement in violation of section 52 of this title, and


  (2) that the enjoining thereof pending the issuance of a complaint by the Commission under section 45 of this title, and until
  such complaint is dismissed by the Commission or set aside by the court on review, or the order of the Commission to cease
  and desist made thereon has become final within the meaning of section 45 of this title, would be to the interest of the public,

the Commission by any of its attorneys designated by it for such purpose may bring suit in a district court of the United States or
in the United States court of any Territory, to enjoin the dissemination or the causing of the dissemination of such advertisement.
Upon proper showing a temporary injunction or restraining order shall be granted without bond. Any suit may be brought where
such person, partnership, or corporation resides or transacts business, or wherever venue is proper under section 1391 of Title
28. In addition, the court may, if the court determines that the interests of justice require that any other person, partnership, or
corporation should be a party in such suit, cause such other person, partnership, or corporation to be added as a party without
regard to whether venue is otherwise proper in the district in which the suit is brought. In any suit under this section, process
may be served on any person, partnership, or corporation wherever it may be found.


(b) Temporary restraining orders; preliminary injunctions

Whenever the Commission has reason to believe--


  (1) that any person, partnership, or corporation is violating, or is about to violate, any provision oflaw enforced by the Federal
  Trade Commission, and


  (2) that the enjoining thereof pending the issuance of a complaint by the Commission and until such complaint is dismissed
  by the Commission or set aside by the court on review, or until the order of the Commission made thereon has become final,
  would be in the interest of the public--




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§ 53. False advertisements; injunctions and restraining orders, 15 USCA § 53


the Commission by any of its attorneys designated by it for such purpose may bring suit in a district court of the United States to
enjoin any such act or practice. Upon a proper showing that, weighing the equities and considering the Commission's likelihood
of ultimate success, such action would be in the public interest, and after notice to the defendant, a temporary restraining order
or a preliminary injunction may be granted without bond: Provided. however, That if a complaint is not filed within such
period (not exceeding 20 days) as may be specified by the court after issuance of the temporary restraining order or preliminary
injunction, the order or injunction shall be dissolved by the court and be ofno further force and effect: Provided.further, That in
proper cases the Commission may seek, and after proper proof, the court may issue, a permanent injunction. Any suit may be
brought where such person, partnership, or corporation resides or transacts business, or wherever venue is proper under section
1391 of Title 28. In addition, the court may, if the court determines that the interests of justice require that any other person,
partnership, or corporation should be a party in such suit, cause such other person, partnership, or corporation to be added as
a party without regard to whether venue is otherwise proper in the district in which the suit is brought. In any suit under this
section, process may be served on any person, partnership, or corporation wherever it may be found.


(c) Service of process; proof of service

Any process of the Commission under this section may be served by any person duly authorized by the Commission--


  (1) by delivering a copy of such process to the person to be served, to a member of the partnership to be served, or to the
  president, secretary, or other executive officer or a director of the corporation to be served;


  (2) by leaving a copy of such process at the residence or the principal office or place of business of such person, partnership,
  or corporation; or


  (3) by mailing a copy of such process by registered mail or certified mail addressed to such person, partnership, or corporation
  at his, or her, or its residence, principal office, or principal place or business.

The verified return by the person serving such process setting forth the manner of such service shall be proof of the same.


(d) Exception of periodical publications

Whenever it appears to the satisfaction of the court in the case of a newspaper, magazine, periodical, or other publication,
published at regular intervals--


  (1) that restraining the dissemination of a false advertisement in any particular issue of such publication would delay the
  delivery of such issue after the regular time therefor, and


  (2) that such delay would be due to the method by which the manufacture and distribution of such publication is customarily
  conducted by the publisher in accordance with sound business practice, and not to any method or device adopted for the
  evasion of this section or to prevent or delay the issuance of an injunction or restraining order with respect to such false
  advertisement or any other advertisement,

the court shall exclude such issue from the operation of the restraining order or injunction.




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                                                         CREDIT(S)

(Sept. 26, 1914, c. 311, § 13, as added Mar. 21, 1938, c. 49, § 4, 52 Stat. 114; amended Pub.L. 93-153, Title IV,§ 408(f), Nov.
16, 1973, 87 Stat. 592; Pub.L. 103-312, § 10, Aug. 26, 1994, 108 Stat. 1695.)


15 U.S.C.A. § 53, 15 USCA § 53
Current through P.L. 116-188. Some statute sections may be more current, see credits for details.

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§ 57b. Civil actions for violations of rules and cease and desist..., 15 USCA § 57b




  United States Code Annotated
   Title 15. Commerce and Trade
      Chapter 2. Federal Trade Commission; Promotion of Export Trade and Prevention of Unfair Methods of
      Competition
        Subchapter I. Federal Trade Commission (Refs & Annos)

                                                        15 U.S.C.A. § 57b

                            § 57b.
                                 Civil actions for violations of rules and cease and
                        desist orders respecting unfair or deceptive acts or practices

                                                           Currentness


(a) Suits by Commission against persons, partnerships, or corporations; jurisdiction; relief for dishonest or fraudulent
acts


(1) If any person, partnership, or corporation violates any rule under this subchapter respecting unfair or deceptive acts or
practices (other than an interpretive rule, or a rule violation of which the Commission has provided is not an unfair or deceptive
act or practice in violation of section 45(a) of this title). then the Commission may commence a civil action against such
person, partnership, or corporation for relief under subsection (b) in a United States district court or in any court of competent
jurisdiction of a State.


(2) If any person, partnership, or corporation engages in any unfair or deceptive act or practice (within the meaning of section
45(a)(l) of this title) with respect to which the Commission has issued a final cease and desist order which is applicable to
such person, partnership, or corporation, then the Commission may commence a civil action against such person, partnership,
or corporation in a United States district court or in any court of competent jurisdiction of a State. If the Commission satisfies
the court that the act or practice to which the cease and desist order relates is one which a reasonable man would have known
under the circumstances was dishonest or fraudulent, the court may grant relief under subsection (b ).


(b) Nature of relief available

The court in an action under subsection (a) shall have jurisdiction to grant such relief as the court finds necessary to redress
injury to consumers or other persons, partnerships, and corporations resulting from the rule violation or the unfair or deceptive
act or practice, as the case may be. Such relief may include, but shall not be limited to, rescission or reformation of contracts,
the refund of money or return of property, the payment of damages, and public notification respecting the rule violation or
the unfair or deceptive act or practice, as the case may be; except that nothing in this subsection is intended to authorize the
imposition of any exemplary or punitive damages.


(c) Conclusiveness of findings of Commission in cease and desist proceedings; notice of judicial proceedings to injured
persons, etc.


(1) If (A) a cease and desist order issued under section 45(b) of this title has become final under section 45(g) of this title with
respect to any person's, partnership's, or corporation's rule violation or unfair or deceptive act or practice, and (B) an action


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§ 57b. Civil actions for violations of rules and cease and desist..., 15 USCA § 57b



under this section is brought with respect to such person's, partnership's, or corporation's rule violation or act or practice, then
the findings of the Commission as to the material facts in the proceeding under section 45(b) of this title with respect to such
person's, partnership's, or corporation's rule violation or act or practice, shall be conclusive unless (i) the terms of such cease and
desist order expressly provide that the Commission's findings shall not be conclusive, or (ii) the order became final by reason
of section 45(g)( 1) of this title, in which case such finding shall be conclusive if supported by evidence.


(2) The court shall cause notice of an action under this section to be given in a manner which is reasonably calculated, under all
of the circumstances, to apprise the persons, partnerships, and corporations allegedly injured by the defendant's rule violation
or act or practice of the pendency of such action. Such notice may, in the discretion of the court, be given by publication.


(d) Time for bringing of actions

No action may be brought by the Commission under this section more than 3 years after the rule violation to which an action
under subsection (a)( 1) relates, or the unfair or deceptive act or practice to which an action under subsection (a)(2) relates; except
that if a cease and desist order with respect to any person's, partnership's, or corporation's rule violation or unfair or deceptive act
or practice has become final and such order was issued in a proceeding under section 45(b) of this title which was commenced
not later than 3 years after the rule violation or act or practice occurred, a civil action may be commenced under this section
against such person, partnership, or corporation at any time before the expiration of one year after such order becomes final.


(e) Availability of additional Federal or State remedies; other authority of Commission unaffected

Remedies provided in this section are in addition to, and not in lieu of, any other remedy or right of action provided by State
or Federal law. Nothing in this section shall be construed to affect any authority of the Commission under any other provision
of law.


                                                             CREDIT(S)

(Sept. 26, 1914, c. 311, § I 9, as added Pub.L. 93-637, Title II, § 206(a), Jan. 4, 1975, 88 Stat. 220 I.)


15 U.S.C.A. § 57b, 15 USCA § 57b
Current through P.L. 116-188. Some statute sections may be more current, see credits for details.

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                       PLAINTIFF'S EXHIBIT 37
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§ 437.1 Definitions., 16 C.F.R. § 437.1




  Code of Federal Regulations
   Title 16. Commercial Practices
      Chapter I. Federal Trade Commission
        Subchapter D. Trade Regulation Rules
           Part 437. Business Opportunity Rule (Refs & Annos)

                                                        16 C.F.R. § 437.1

                                                    § 437.1 Definitions.

                                                    Effective: March 1, 2012
                                                          Currentness


The following definitions shall apply throughout this part:


(a) Action means a criminal information, indictment, or proceeding; a civil complaint, cross claim, counterclaim, or third party
complaint in a judicial action or proceeding; arbitration; or any governmental administrative proceeding, including, but not
limited to, an action to obtain or issue a cease and desist order, an assurance of voluntary compliance, and an assurance of
discontinuance.


(b) Affiliate means an entity controlled by, controlling, or under common control with a business opportunity seller.


(c) Business opportunity means a commercial arrangement in which:


     ( 1) A seller solicits a prospective purchaser to enter into a new business; and


     (2) The prospective purchaser makes a required payment; and


     (3) The seller, expressly or by implication, orally or in writing, represents that the seller or one or more designated persons
     will:


     (i) Provide locations for the use or operation of equipment, displays, vending machines, or similar devices, owned, leased,
     controlled, or paid for by the purchaser; or


     (ii) Provide outlets, accounts, or customers, including, but not limited to, Internet outlets, accounts, or customers, for the
     purchaser's goods or services; or


     (iii) Buy back any or all of the goods or services that the purchaser makes, produces, fabricates, grows, breeds, modifies,
     or provides, including but not limited to providing payment for such services as, for example, stuffing envelopes from
     the purchaser's home.



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§ 437.1 Definitions., 16 C.F.R. § 437.1




(d) Designated person means any person, other than the seller, whose goods or services the seller suggests, recommends, or
requires that the purchaser use in establishing or operating a new business.


(e) Disclose or state means to give information in writing that is clear and conspicuous, accurate, concise, and legible.


(f) Earnings claim means any oral, written, or visual representation to a prospective purchaser that conveys, expressly or by
implication, a specific level or range of actual or potential sales, or gross or net income or profits. Earnings claims include,
but are not limited to:


     ( 1) Any chart, table, or mathematical calculation that demonstrates possible results based upon a combination of variables;
     and


     (2) Any statements from which a prospective purchaser can reasonably infer that he or she will earn a minimum level of
     income (e.g., "earn enough to buy a Porsche," "earn a six-figure income," or "earn your investment back within one year").


(g) Exclusive territory means a specified geographic or other actual or implied marketing area in which the seller promises
not to locate additional purchasers or offer the same or similar goods or services as the purchaser through alternative channels
of distribution.


(h) General media means any instrumentality through which a person may communicate with the public, including, but not
limited to, television, radio, print, Internet, billboard, Web site, commercial bulk email, and mobile communications.


(i) Material means likely to affect a person's choice of, or conduct regarding, goods or services.


(j) New business means a business in which the prospective purchaser is not currently engaged, or a new line or type of business.



(k) Person means an individual, group, association, limited or general partnership, corporation, or any other business entity.


(1) Prior business means:


     ( 1) A business from which the seller acquired, directly or indirectly, the major portion of the business' assets; or


     (2) Any business previously owned or operated by the seller, in whole or in part.


(m) Providing locations, outlets, accounts, or customers means furnishing the prospective purchaser with existing or potential
locations, outlets, accounts, or customers; requiring, recommending, or suggesting one or more locators or lead generating
companies; providing a list of locator or lead generating companies; collecting a fee on behalf of one or more locators or lead
generating companies; offering to furnish a list of locations; or otherwise assisting the prospective purchaser in obtaining his



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§ 437.1 Definitions., 16 C.F.R. § 437.1



or her own locations, outlets, accounts, or customers, provided, however, that advertising and general advice about business
development and training shall not be considered as "providing locations, outlets, accounts. or customers."


(n) Purchaser means a person who buys a business opportunity.


(o) Quarterly means as of January 1, April 1, July 1, and October 1.


(p) Required payment means all consideration that the purchaser must pay to the seller or an affiliate, either by contract or by
practical necessity, as a condition of obtaining or commencing operation of the business opportunity. Such payment may be
made directly or indirectly through a third party. A required payment does not include payments for the purchase of reasonable
amounts of inventory at bona fide wholesale prices for resale or lease.


(q) Seller means a person who offers for sale or sells a business opportunity.


(r) Signature or signed means a person's affirmative steps to authenticate his or her identity.

It includes a person's handwritten signature, as well as an electronic or digital form of signature to the extent that such signature
is recognized as a valid signature under applicable federal law or state contract law.


( s) Written or in writing means any document or information in printed form or in any form capable of being downloaded,
printed, or otherwise preserved in tangible form and read. It includes: type-set, word processed, or handwritten documents;
information on computer disk or CD-ROM; information sent via email; or information posted on the Internet. It does not include
mere oral statements.


SOURCE: 76 FR 76860, Dec. 8, 2011, unless otherwise noted.


AUTHORITY: 15 U.S.C. 41-58.


Current through November 5, 2020; 85 FR 70948.

 End of Document                                                    (; 2020 Thomson Reuters. No claim to original U.S. Government Works.




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§ 437.2 The obligation to furnish written documents., 16 C.F.R. § 437.2




  Code of Federal Regulations
   Title 16. Commercial Practices
     Chapter I. Federal Trade Commission
        Subchapter D. Trade Regulation Rules
           Part 437. Business Opportunity Rule (Refs & Annos)

                                                       16 C.F.R. § 437.2

                             § 437.2 The     obligation to furnish written documents.

                                                   Effective: March 1, 2012
                                                         Currentness


In connection with the offer for sale, sale, or promotion of a business opportunity, it is a violation of this Rule and an unfair
or deceptive act or practice in violation of Section 5 of the Federal Trade Commission Act ("FTC Act") for any seller to fail
to furnish a prospective purchaser with the material information required by§§ 437.3(a) and 437.4(a) of this part in writing at
least seven calendar days before the earlier of the time that the prospective purchaser:


(a) Signs any contract in connection with the business opportunity sale; or


(b) Makes a payment or provides other consideration to the seller, directly or indirectly through a third party.


SOURCE: 76 FR 76860, Dec. 8, 2011, unless otherwise noted.


AUTHORITY: 15 U.S.C. 41-58.


Current through November 5, 2020; 85 FR 70948.

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§ 437.3 The disclosure document., 16 C.F.R. § 437.3




  Code of Federal Regulations
    Title 16. Commercial Practices
      Chapter I. Federal Trade Commission
         Subchapter D. Trade Regulation Rules
            Part 437. Business Opportunity Rule (Refs & Annas)

                                                         16 C.F.R. § 437.3

                                           § 437.3    The disclosure document.

                                                    Effective: March 1, 2012
                                                          Currentness


In connection with the offer for sale, sale, or promotion of a business opportunity, it is a violation of this Rule and an unfair or
deceptive act or practice in violation of Section 5 of the FTC Act, for any seller to:


(a) Fail to disclose to a prospective purchaser the following material information in a single written document in the form and
using the language set forth in appendix A to this part; or if the offer for sale, sale, or promotion of a business opportunity is
conducted in Spanish, in the form and using the language set forth in appendix B to this part; or if the offer for sale, sale, or
promotion of a business opportunity is conducted in a language other than English or Spanish, using the form and an accurate
translation of the language set forth in appendix A to this part:


     (I) Identifying information. State the name, business address, and telephone number of the seller, the name of the
     salesperson offering the opportunity, and the date when the disclosure document is furnished to the prospective purchaser.


     (2) Earnings claims. If the seller makes an earnings claim, check the "yes" box and attach the earnings statement required
     by§ 437.4. If not, check the "no" box.


     (3) Legal actions.


     (i) If any of the following persons has been the subject of any civil or criminal action for misrepresentation, fraud, securities
     law violations, or unfair or deceptive practices, including violations of any FTC Rule, within the 10 years immediately
     preceding the date that the business opportunity is offered, check the "yes" box:


          (A) The seller;


          (B) Any affiliate or prior business of the seller; or


          (C) Any of the seller's officers, directors, sales managers, or any individual who occupies a position or performs a
          function similar to an officer, director, or sales manager of the seller.




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§ 437.3 The disclosure document., 16 C.F.R. § 437.3




     (ii) If the "yes" box is checked, disclose all such actions in an attachment to the disclosure document. State the full caption
     of each action (names of the principal parties, case number, full name of court, and filing date). For each action, the seller
     may also provide a brief accurate statement not to exceed I 00 words that describes the action.


     (iii) If there are no actions to disclose, check the "no" box.


     (4) Cancellation or refund policy. If the seller offers a refund or the right to cancel the purchase, check the "yes" box. If
     so, state all material terms and conditions of the refund or cancellation policy in an attachment to the disclosure document.
     Ifno refund or cancellation is offered, check the "no" box.


     (5) References.


     (i) State the name, state, and telephone number of all purchasers who purchased the business opportunity within the last
     three years. If more than 10 purchasers purchased the business opportunity within the last three years, the seller may limit
     the disclosure by stating the name, state, and telephone number of at least the 10 purchasers within the past three years
     who are located nearest to the prospective purchaser's location. Alternatively, a seller may furnish a prospective buyer
     with a list disclosing all purchasers nationwide within the last three years. If choosing this option, insert the words "See
     Attached List" without removing the list headings or the numbers 1 through 10, and attach a list of the references to the
     disclosure document.


     (ii) Clearly and conspicuously, and in immediate conjunction with the list ofreferences, state the following: "If you buy a
     business opportunity from the seller, your contact information can be disclosed in the future to other buyers."


     (6) Receipt. Attach a duplicate copy of the disclosure document to be signed and dated by the purchaser. The seller may
     inform the prospective purchaser how to return the signed receipt (for example, by sending to a street address, email
     address, or facsimile telephone number).


(b) Fail to update the disclosures required by paragraph (a) of this section at least quarterly to reflect any changes in the required
information, including, but not limited to, any changes in the seller's refund or cancellation policy, or the list of references;
provided, however, that until a seller has 10 purchasers, the list of references must be updated monthly.


SOURCE: 76 FR 76860, Dec. 8, 2011, unless otherwise noted.


AUTHORITY: 15 U.S.C. 41-58.


Current through November 5, 2020; 85 FR 70948.

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§ 437.4 Earnings claims., 16 C.F.R. § 437.4




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        Subchapter D. Trade Regulation Rules
           Part 437. Business Opportunity Rule (Refs & Annos)

                                                        16 C.F.R. § 437-4

                                                 § 437-4 Earnings claims.

                                                    Effective: March 1, 2012
                                                          Currentness


In connection with the offer for sale, sale, or promotion of a business opportunity, it is a violation of this Rule and an unfair or
deceptive act or practice in violation of Section 5 of the FTC Act. for the seller to:


(a) Make any earnings claim to a prospective purchaser, unless the seller:


     (1) Has a reasonable basis for its claim at the time the claim is made;



     (2) Has in its possession written materials that substantiate its claim at the time the claim is made;


     (3) Makes the written substantiation available upon request to the prospective purchaser and to the Commission; and


     (4) Furnishes to the prospective purchaser an earnings claim statement. The earnings claim statement shall be a single
     written document and shall state the following information:


     (i) The title "EARNINGS CLAIM STATEMENT REQUIRED BY LAW" in capital, bold type letters;


     (ii) The name of the person making the earnings claim and the date of the earnings claim;


     (iii) The earnings claim;


     (iv) The beginning and ending dates when the represented earnings were achieved;


     (v) The number and percentage of all persons who purchased the business opportunity prior to the ending date in paragraph
     (a)( 4)(iv) of this section who achieved at least the stated level of earnings;




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     (vi) Any characteristics of the purchasers who achieved at least the represented level of earnings, such as their location, that
     may differ materially from the characteristics of the prospective purchasers being offered the business opportunity; and


     (vii) A statement that written substantiation for the earnings claim will be made available to the prospective purchaser
     upon request.


(b) Make any earnings claim in the general media, unless the seller:


     (1) Has a reasonable basis for its claim at the time the claim is made;


     (2) Has in its possession written material that substantiates its claim at the time the claim is made;


     (3) States in immediate conjunction with the claim:


     (i) The beginning and ending dates when the represented earnings were achieved; and


     (ii) The number and percentage of all persons who purchased the business opportunity prior to the ending date in paragraph
     (b )(3)(i) of this section who achieved at least the stated level of earnings.


(c) Disseminate industry financial, earnings, or performance information unless the seller has written substantiation
demonstrating that the infonnation reflects, or does not exceed, the typical or ordinary financial, earnings. or performance
experience of purchasers of the business opportunity being offered for sale.


(d) Fail to notify any prospective purchaser in writing of any material changes affecting the relevance or reliability of the
information contained in an earnings claim statement before the prospective purchaser signs any contract or makes a payment
or provides other consideration to the seller, directly or indirectly, through a third party.


SOURCE: 76 FR 76860, Dec. 8, 2011, unless otherwise noted.


AUTHORITY: 15 U.S.C. 41-58.


Current through November 5, 2020; 85 FR 70948.

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§ 437.5 Sales conducted in Spanish or other languages besides ... , 16 C.F.R. § 437.5




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                                                        16 C.F.R. § 437.5

                   § 437.5 Sales conducted in Spanish or other languages besides English.

                                                   Effective: March 1, 2012
                                                         Currentness


(a) If the seller conducts the offer for sale, sale, or promotion of a business opportunity in Spanish, the seller must provide the
disclosure document required by§ 437.3(a) in the form and language set forth in appendix B to this part, and the disclosures
required by§§ 437.3(a) and 437.4 must be made in Spanish.


(b) If the seller conducts the offer for sale, sale, or promotion of a business opportunity in a language other than English or
Spanish, the seller must provide the disclosure document required by § 437.3(a) using the form and an accurate translation
of the language set forth in appendix A to this part, and the disclosures required by§§ 437.3(a) and 437.4 must be made in
that language.


SOURCE: 76 FR 76860, Dec. 8, 2011, unless otherwise noted.


AUTHORITY: 15 U.S.C. 41-58.


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§ 437.6 Other prohibited practices., 16 C.F.R. § 437.6




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                                                        16 C.F.R. § 437.6

                                          § 437.6   Other prohibited practices.

                                                    Effective: March 1,   2012
                                                          Currentness


In connection with the offer for sale, sale, or promotion of a business opportunity, it is a violation of this part and an unfair or
deceptive act or practice in violation of Section 5 of the FTC Act for any seller, directly or indirectly through a third party, to:


(a) Disclaim, or require a prospective purchaser to waive reliance on, any statement made in any document or attachment that
is required or permitted to be disclosed under this Rule;


(b) Make any claim or representation, orally, visually, or in writing, that is inconsistent with or contradicts the information
required to be disclosed by§§ 437.3 (basic disclosure document) and 437.4 (earnings claims document) of this Rule;


( c) Include in any disclosure document or earnings claim statement any materials or information other than what is explicitly
required or permitted by this Rule. For the sole purpose of enhancing the prospective purchaser's ability to maneuver through
an electronic version of a disclosure document or earnings statement, the seller may include scroll bars and internal links. All
other features (e.g., multimedia tools such as audio, video, animation, or pop-up screens) are prohibited;


(d) Misrepresent the amount of sales, or gross or net income or profits a prospective purchaser may earn or that prior purchasers
have earned;


(e) Misrepresent that any governmental entity, law, or regulation prohibits a seller from:


     (1) Furnishing earnings information to a prospective purchaser; or


     (2) Disclosing to prospective purchasers the identity of other purchasers of the business opportunity;


(f) Fail to make available to prospective purchasers, and to the Commission upon request, written substantiation for the seller's
earnings claims;




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§ 437.6 Other prohibited practices., 16 C.F.R. § 437.6




(g) Misrepresent how or when commissions, bonuses, incentives, premiums, or other payments from the seller to the purchaser
will be calculated or distributed;



(h) Misrepresent the cost, or the performance, efficacy, nature, or central characteristics of the business opportunity or the goods
or services offered to a prospective purchaser;


(i) Misrepresent any material aspect of any assistance offered to a prospective purchaser;


(j) Misrepresent the likelihood that a seller, locator, or lead generator will find locations, outlets, accounts, or customers for
the purchaser;



(k) Misrepresent any term or condition of the seller's refund or cancellation policies;



(I) Fail to provide a refund or cancellation when the purchaser has satisfied the terms and conditions disclosed pursuant to §
437.3(a)(4);



(m) Misrepresent a business opportunity as an employment opportunity;


(n) Misrepresent the terms of any territorial exclusivity or territorial protection offered to a prospective purchaser;


(o) Assign to any purchaser a purported exclusive territory that, in fact, encompasses the same or overlapping areas already
assigned to another purchaser;


(p) Misrepresent that any person, trademark or service mark holder, or governmental entity, directly or indirectly benefits from,
sponsors, participates in, endorses, approves, authorizes, or is otherwise associated with the sale of the business opportunity or
the goods or services sold through the business opportunity;



(q) Misrepresent that any person:



     (I) Has purchased a business opportunity from the seller or has operated a business opportunity of the type offered by
     the seller; or


     (2) Can provide an independent or reliable report about the business opportunity or the experiences of any current or
     former purchaser.


(r) Fail to disclose, with respect to any person identified as a purchaser or operator of a business opportunity offered by the seller:




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§ 437.6 Other prohibited practices., 16 C.F.R. § 437.6




    ( 1) Any consideration promised or paid to such person. Consideration includes, but is not limited to, any payment,
    forgiveness of debt, or provision of equipment, services, or discounts to the person or to a third party on the person's
    behalf; or


    (2) Any personal relationship or any past or present business relationship other than as the purchaser or operator of the
    business opportunity being offered by the seller.


SOURCE: 76 FR 76860, Dec. 8, 2011, unless otherwise noted.


AUTHORITY: 15 U.S.C. 41-58.


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§ 437.7 Record retention., 16 C.F.R. § 437.7




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                                                      16 C.F.R. § 437.7

                                               § 437. 7 Record retention.

                                                  Effective: March 1, 2012
                                                        Currentness


To prevent the unfair and deceptive acts or practices specified in this Rule, business opportunity sellers and their principals
must prepare, retain, and make available for inspection by Commission officials copies of the following documents for a period
of three years:


(a) Each materially different version of all documents required by this Rule;


(b) Each purchaser's disclosure receipt;


(c) Each executed written contract with a purchaser; and


(d) All substantiation upon which the seller relies for each earnings claim from the time each such claim is made.


SOURCE: 76 FR 76860, Dec. 8, 2011, unless otherwise noted.


AUTHORITY: 15 U.S.C. 41-58.


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§ 437.8 Franchise exemption., 16 C.F.R. § 437.8




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                                                        16 C.F.R. § 437.8

                                             § 437.8    Franchise exemption.

                                                    Effective: March 1,     2012
                                                          Currentness


The provisions of this Rule shall not apply to any business opportunity that constitutes a "franchise," as defined in the Franchise
Rule, 16 CFR part 436; provided, however, that the provisions of this Rule shall apply to any such franchise if it is exempted
from the provisions of part 436 because, either:


(a) Under§ 436.8(a)(l), the total of the required payments or commitments to make a required payment, to the franchisor or
an affiliate that are made any time from before to within six months after commencing operation of the franchisee's business
is less than $500, or


(b) Under§ 436.8(a)(7), there is no written document describing any material term or aspect of the relationship or arrangement.


SOURCE: 76 FR 76860. Dec. 8, 2011, unless otherwise noted.


AUTHORITY: 15 U.S.C. 41-58.


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§ 437.9 Outstanding orders; preemption., 16 C.F.R. § 437.9




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                                                        16 C.F.R. § 437.9

                                     § 437.9 Outstanding orders; preemption.

                                                   Effective: March 1,   2012
                                                         Currentness


(a) A business opportunity required by prior FTC or court order to follow the Franchise Rule, 16 CFR part 436, may petition
the Commission to amend the order or to stipulate to an amendment of the court order so that the business opportunity may
follow the provisions of this part.


(b) The FTC does not intend to preempt the business opportunity sales practices laws of any state or local government, except
to the extent of any conflict with this part. A law is not in conflict with this Rule if it affords prospective purchasers equal or
greater protection, such as registration of disclosure documents or more extensive disclosures. All such disclosures, however,
must be made in a separate state disclosure document.


SOURCE: 76 FR 76860, Dec. 8, 2011, unless otherwise noted.


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§ 437.10 Severability., 16 C.F.R. § 437.10




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                                                      16 C.F.R. § 437.10

                                                 § 437.10 Severability.

                                                  Effective: March 1, 2012
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The provisions of this part are separate and severable from one another. If any provision is stayed or determined to be invalid,
the remaining provisions shall continue in effect.


SOURCE: 76 FR 76860, Dec. 8, 2011, unless otherwise noted.


AUTHORITY: 15 U.S.C. 41-58.


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                                                                                              16 C.F.R. Pt. 437, App. A

                                           APPENDIX A TO PART 437 DISCLOSURE OF IMPORTANT
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            APPENDIX A to PART 437
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SOURCE: 76 FR 76860. Dec. 8, 2011, unless otherwise noted.




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                                                                                     16 C.F.R. Pt. 437, App. B

                      APPENDIX B TO PART 437 DISCLOSURE OF IMPORTANT INFORMATION
                          ABOUT BUSINESS OPPORTUNITY (SPANISH-LANGUAGE VERSION)

                                                                                     Effective: March 1,                  2012
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           APPENDlX B to PART 437
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SOURCE: 76 FR 76860, Dec. 8, 2011, unless otherwise noted.




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                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA

                                                              Case No. 18-cv-62593
     FEDERAL TRADE COMMISSION,
                                                              [FILED UNDER SEAL]
                     Plaintiff,
                                                              EXPARTETEMPORARY
             vs.                                              RESTRAINING ORDER WITH
                                                              ASSET FREEZE, APPOINTMENT
     SIMPLE HEAL TH PLANS LLC, a Florida limited              OF A TEMPORARY RECEIVER,
     liability company, et al.,                               AND OTHER EQUITABLE RELIEF,
                                                              AND ORDER TO SHOW CAUSE
                     Defendants.                              WHY A PRELIMINARY
                                                              INJUNCTION SHOULD NOT ISSUE

             Plaintiff, the Federal Trade Commission, has filed its Complaint for Permanent

     Injunction and Other Equitable Relief pursuant to Section 13(b) of the Federal Trade

     Commission Act ("FTC Act"), 15 U.S.C. § 53(b), and in violation of the FTC's Telemarketing

     Sales Rule ("TSR"), 16 C.F.R. Part 310, as amended, and has moved, pursuant to Fed. R. Civ. P.

     65(b), for a temporary restraining order, asset freeze, other equitable relief, and an order to show

     cause why a preliminary injunction should not issue against Defendants.

                                            FINDINGS OF FACT

             The Court, having considered the Complaint, the ex parte Motion for a Temporary

     Restraining Order, declarations, exhibits, and the memorandum of law filed in support thereof,

     and being otherwise advised, finds that:

             A.     This Court has jurisdiction over the subject matter of this case, and there is good

     cause to believe that it will have jurisdiction over all parties hereto and that venue in this district

     is proper.

             B.     There is good cause to believe that, in numerous instances, Defendants have sold

     limited benefit plans and medical discount memberships to consumers by misrepresenting that


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     such products are comprehensive health insurance, or the equivalent of such insurance, or are

     qualified health insurance plans under the Patient Protection and Affordable Care Act ("ACA" or

     "Affordable Care Act"), 42 U.S.C. § 1800 I et seq. There is also good cause to believe that

     Defendants have, in numerous instances. falsely represented that they are experts on, or

     providers of, government-sponsored health insurance policies, such as those offered pursuant to

     the ACA, and are affiliated with the Blue Cross Blue Shield Association or AARP.

            C.      There is good cause to believe that Defendants have engaged in and are likely to

     engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and the

     Telemarketing Sales Rule, 16 C.F .R. Part 310, and that Plaintiff is therefore likely to prevail on

     the merits of this action. As demonstrated by the consumer complaints and declarations, expert

     witness testimony, records of undercover purchases, corporate banking and payment processing

     records, as well as testimony from former employees, the FTC has established a likelihood of

     success in showing that Defendants have made false and misleading statements in connection

     with the advertising, marketing, promoting, offering for sale, or sale of their limited benefit plans

     and medical discount memberships.

            D.      There is good cause to believe that immediate and irreparable harm will result

     from Defendants' ongoing violations of the FTC Act and the TSR unless Defendants are

     restrained and enjoined by order of this Court.

            E.      There is good cause to believe that, unless Defendants are immediately restrained

     and enjoined by order of this Court, immediate and irreparable damage to the Court's ability to

     grant effective final relief for consumers-including monetary restitution, rescission,

     disgorgement or refunds-will occur from the sale, transfer, destruction or other disposition or

     concealment by Defendants of their assets or records; and that, in accordance with Fed. R. Civ.



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     P. 65(b) and Local Rule 7. l (d), the interests of justice require that this Order be granted without

     prior notice to Defendants. Thus, there is good cause for relieving Plaintiff of the duty to

     provide Defendants with prior notice of its Motion for a Temporary Restraining Order.

              F.     Good cause exists for issuing this Order, appointing a temporary receiver over the

     Receivership Entities, freezing Defendants' assets, permitting Plaintiff and the Receiver

     immediate access to Defendants' business premises, and permitting Plaintiff and the Receiver to

     take expedited discovery.

              G.     Weighing the equities and considering Plaintitrs likelihood of ultimate success

     on the merits, a temporary restraining order with an asset freeze, the appointment of a temporary

     receiver, immediate access to business premises, expedited discovery, and other equitable relief

     is in the public interest.

              H.     This Court has authority to issue this Order pursuant to Section l 3(b) of the FTC

     Act, 15 U.S.C. § 53(b); Fed. R. Civ. P. 65; and the All Writs Act, 28 U.S.C. § 1651.

              I.     Plaintiff is an independent agency of the United States. No security is required of

     any agency of the United States for issuance of a temporary restraining order. Fed. R. Civ. P.

     65(c).

                                                DEFINITIONS

              For the purpose of this Order, the following definitions shall apply:

              A.     "Asset" includes any legal or equitable interest in, right to, or claim to, any

     property, wherever located and by whomever held, and all proceeds, product, offspring, rents, or

     profit of or from that property.

              B.     "Corporate Defendant(s)" means Simple Health Plans LLC; Health Benefits

     One LLC, also doing business as Health Benefits Center, Simple Health, Simple Health Plans,



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     Simple Insurance, Simple Insurance Plans, Simple Auto, Simple Home, Simple Home Plans,

     Simple Care, Simple Life, and National Dental Savings; Health Center Management LLC;

     Innovative Customer Care LLC; Simple Insurance Leads LLC, also doing business as

     Health Insurance Services; and Senior Benefits One LLC, and each of their subsidiaries,

     affiliates, successors, and assigns.

             C.     "Defendant(s)" means Corporate Defendant(s) and Individual Defendant(s),

     individually, collectively, or in any combination.

            D.      "Document" is synonymous in meaning and equal in scope to the usage of

     "document" and "electronically stored information" in Fed. R. Civ. P. 34(a), and includes

     writings, drawings, graphs, charts, photographs, sound and video recordings, images, Internet

     sites, web pages, websites, electronic correspondence, including email and instant messages,

     contracts, accounting data, advertisements, FTP Logs, Server Access Logs, books, written or

     printed records, handwritten notes, telephone logs, telephone scripts, receipt books, ledgers,

     personal and business canceled checks and check registers, bank statements, appointment books,

     computer records, customer or sales databases and any other electronically stored information,

     including Documents located on remote servers or cloud computing systems, and other data or

     data compilations from which information can be obtained directly or, if necessary, after

     translation into a reasonably usable form. A draft or non-identical copy is a separate document

     within the meaning of the term.

             E.      "Electronic Data Host" means any person or entity in the business of storing,

     hosting, or otherwise maintaining electronically stored information. This includes any entity

     hosting a website or server, and any entity providing "cloud based" electronic storage.

            F.       "Individual Defendant" means Steven J. Dorfman.



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            G.      "Receiver" means the temporary receiver appointed in Section XI of this Order

     and any deputy receivers that shall be named by the temporary receiver.

            H.      "Receivership Entities" means Corporate Defendant(s) as well as any other

     entity that has conducted any business related to Defendants' advertising, marketing, promoting,

     offering for sale, or sale of limited benefit plans and medical discount memberships. including by

     transferring, commingling, or receiving Assets derived from any activity that is the subject of the

     Complaint in this matter, and that the Receiver determines is controlled or owned by any

     Defendant.

                                                     ORDER

     I.     PROHIBITED MISREPRESENTATIONS

            IT IS THEREFORE ORDERED that Defendants, Defendants' officers, agents,

     employees, and attorneys, and all other persons in active concert or participation with them, who

     receive actual notice of this Order, whether acting directly or indirectly, in connection with the

     advertising, marketing, promoting, or offering for sale of any goods or services, are temporarily

     restrained and enjoined from misrepresenting or assisting others in misrepresenting, expressly or

     by implication, any material fact, including:

            A.      That Defendants' limited benefit plans and medical discount memberships are

     comprehensive health insurance, or the equivalent of such insurance;

            B.      Defendants' limited benefit plans and medical discount memberships are qualified

     health insurance plans under the Affordable Care Act;

            C.      Defendants are experts on, or providers of, government-sponsored health

     insurance policies, such as those offered pursuant to Medicare and the Affordable Care Act;

            D.      Defendants are affiliated with AARP or the Blue Cross Blue Shield Association;

     or

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             E.      Any other fact material to consumers concerning any good or service, such as:

     the total costs; any material restrictions, limitations, or conditions; or any material aspect of its

     performance, efficacy, nature, or central characteristics.

     II.     PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

             IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

     and attorneys, and all other persons in active concert or participation with any of them, who

     receive actual notice of this Order, whether acting directly or indirectly, are temporarily

     restrained and enjoined from:

             A.      Selling, renting, leasing, transferring, or otherwise disclosing, the name, address,

     birth date, telephone number, email address, credit card number, bank account number, Social

     Security number, or other financial or identifying information of any person that any Defendant

     obtained in connection with any activity that pertains to the subject matter of this Order; or

             B.      Benefiting from or using the name, address, birth date, telephone number, email

     address, credit card number, bank account number, Social Security number, or other financial or

     identifying information of any person that any Defendant obtained in connection with any

     activity that pertains to the subject matter of this Order.

             Provided, however, that Defendants may disclose such identifying information to a law

     enforcement agency, to their attorneys as required for their defense, as required by any law,

     regulation, or court order, or in any filings, pleadings or discovery in this action in the manner

     required by the Federal Rules of Civil Procedure and by any protective order in the case.

     III.    ASSET FREEZE

             IT IS FURTHER ORDERED that Defendants and their officers, agents, employees,

     and attorneys, and all other persons in active concert or participation with any of them, who



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     receive actual notice of this Order, whether acting directly or indirectly, are temporarily

     restrained and enjoined from:

             A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

     concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

     lien or security interest or other interest in, or otherwise disposing of any Assets that are:

                     1.     owned or controlled, directly or indirectly, by any Defendant;

                    2.      held, in part or in whole, for the benefit of any Defendant;

                    3.      in the actual or constructive possession of any Defendant; or

                    4.      owned or controlled by, in the actual or constructive possession of, or

                            otherwise held for the benefit of, any corporation, partnership, asset

                            protection trust, or other entity that is directly or indirectly owned,

                            managed or controlled by any Defendant;

            B.      Opening or causing to be opened any safe deposit boxes, commercial mail boxes,

     or storage facilities titled in the name of any Defendant or subject to access by any Defendant,

     except as necessary to comply with written requests from the Receiver acting pursuant to its

     authority under this Order, and after providing Plaintiff prior notice and an opportunity to inspect

     the contents to determine that they contain no Assets covered by this Section;

            C.      Incurring charges or cash advances on any credit, debit, or ATM card issued in

     the name, individually or jointly, of any Corporate Defendant or any corporation, partnership, or

     other entity directly or indirectly owned, managed, or controlled by any Defendant or of which

     any Defendant is an officer, director, member, or manager.             This includes any corporate

     bankcard or corporate credit card account for which any Defendant is, or was on the date that this

     Order was signed, an authorized signor; or



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            D.      Depositing or cashing any checks or depositing any money orders or cash

     received from consumers, clients, or customers of any Defendant.

            The Assets affected by this Section shall include: (I) all Assets of Defendants as of the

     time this Order is entered; and (2) Assets obtained by Defendants after this Order is entered if

     those Assets are derived from any activity that is the subject of the Complaint in this matter or

     that is prohibited by this Order. This Section does not prohibit any transfers of Assets to the

     Receiver or agreed to in writing by Plaintiff, or repatriation of foreign Assets specifically

     required by this Order.

     IV.    DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES

            IT IS FURTHER ORDERED that any financial or brokerage institution, Electronic

     Data Host, credit card processor, payment processor, merchant bank, acquiring bank,

     independent sales organization, third party processor, payment gateway, insurance company,

     business entity, or person who receives actual notice of this Order (by service or otherwise) and

     that (a) holds, controls, or maintains custody of, through an account or otherwise, any Document

     on behalf of any Defendant or any Asset that is: owned or controlled, directly or indirectly, by

     any Defendant; held, in part or in whole, for the benefit of any Defendant; in the actual or

     constructive possession of any Defendant; or owned or controlled by, in the actual or

     constructive possession of, or otherwise held for the benefit of, any corporation, partnership,

     asset protection trust, or other entity that is directly or indirectly owned, managed or controlled

     by any Defendant; (b) holds, controls, or maintains custody of any Document or Asset associated

     with credits, debits or charges made on behalf of any Defendant, including reserve funds held by

     payment processors, credit card processors, merchant banks, acquiring banks, independent sales

     organizations, third party processors, payment gateways, insurance companies, or other entities;



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      or (c) has held, controlled, or maintained custody of any such Document, Asset, or account at

      any time since the date of entry of this Order shall:

             A.      Hold, preserve, and retain within its control and prohibit the withdrawal, removal,

      alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,

     conversion, sale, or other disposal of any such Document or Asset, as well as all Documents or

      other property related to such Assets, except by further order of this Court;

             B.      Deny any Person, except the Receiver, access to any safe deposit box, commercial

     mail box, or storage facility that is titled in the name of any Defendant, either individually or

     jointly, or otherwise subject to access by any Defendant;

             C.      Provide Plaintiff's counsel and the Receiver, within three business days of

      receiving a copy of this Order, a sworn statement setting forth, for each Asset or account covered

      by this Section:

                     1.      The identification number of each such account or Asset;

                     2.      The balance of each such account, or a description of the nature and value

                             of each such Asset as of the close of business on the day on which this

                             Order is served, and, if the account or other Asset has been closed or

                             removed, the date closed or removed, the total funds removed in order to

                             close the account, and the name of the person or entity to whom such

                             account or other Asset was remitted; and

                     3.      The identification of any safe deposit box, commercial mail box, or

                             storage facility that is either titled in the name, individually or jointly, of

                             any Defendant, or is otherwise subject to access by any Defendant; and




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              D.      Provide Plaintiffs counsel and the Receiver, within five business days of a

      request from Plaintiffs counsel or the Receiver, with copies of all records or other Documents

      pertaining to such account or Asset, including originals or copies of account applications,

      account statements, signature cards, checks, drafts, deposit tickets, transfers to and from the

      accounts, including wire transfers and wire transfer instructions, all other debit and credit

      instruments or slips, currency transaction reports, 1099 forms, and all logs and records pertaining

      to safe deposit boxes, commercial mail boxes, and storage facilities.

      Provided, however, that this Section does not prohibit any transfers to the Receiver or agreed to

      in writing by Plaintiff, or repatriation of foreign Assets specifically required by this order.

     V.      FINANCIAL DISCLOSURES

             IT IS FURTHER ORDERED that each Defendant, within five days of service of this

      Order upon them, shall prepare and deliver to Plaintiff's counsel:

             A.      completed financial statements on the forms attached to this Order as Attachment

      A (Financial Statement oflndividual Defendant) for each Individual Defendant, and Attachment

      B (Financial Statement of Corporate Defendant) for each Corporate Defendant; and

             B.      completed Attachment C (IRS Form 4506, Request for Copy of a Tax Return)

      for each Individual and Corporate Defendant.

      VI.    FOREIGN ASSET REPATRIATION

              IT IS FURTHER ORDERED that within five days following the service of this Order,

      each Defendant shall:

             A.       Provide Plaintiff's counsel and the Receiver with a full accounting, verified under

      oath and accurate as of the date of this Order, of all Assets, Documents, and accounts outside of

      the United States which are: (1) titled in the name, individually or jointly, of any Defendant; (2)

      held by any person or entity for the benefit of any Defendant or for the benefit of any

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     corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,

     managed or controlled by any Defendant; or (3) under the direct or indirect control, whether

     jointly or singly, of any Defendant;

               B.    Take all steps necessary to provide Plaintiffs counsel and Receiver access to all

     Documents and records that may be held by third parties located outside of the territorial United

     States, including signing the Consent to Release of Financial Records appended to this Order as

     Attachment D;

               C.    Transfer to the territory of the United States any and all Documents and Assets

     located in foreign countries which are: (1) titled in the name, individually or jointly, of any

     Defendant; (2) held by any person or entity for the benefit of any Defendant or for the benefit of

     any corporation, partnership, asset protection trust, or other entity that is directly or indirectly

     owned, managed or controlled by any Defendant; or (3) under the direct or indirect control,

     whether jointly or singly, of any Defendant; and

               D.    The same business day as any repatriation, (1) notify the Receiver and counsel for

     Plaintiff of the name and location of the financial institution or other entity that is the recipient of

     such Documents or Assets; and (2) serve this Order on any such financial institution or other

     entity.

     VII.      NON-INTERFERENCE WITH REPATRIATION

               IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

     and attorneys, and all other persons in active concert or participation with any of them, who

     receive actual notice of this Order, whether acting directly or indirectly, are temporarily

     restrained and enjoined from taking any action, directly or indirectly, which may result in the

     encumbrance or dissipation of foreign Assets, or in the hindrance of the repatriation required by

     this Order, including:

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             A.      Sending any communication or engaging in any other act, directly or indirectly,

     that results in a determination by a foreign trustee or other entity that a "duress" event has

     occurred under the terms of a foreign trust agreement until such time that all Defendants' Assets

     have been fully repatriated pursuant to this Order; or

             B.      Notifying any trustee, protector or other agent of any foreign trust or other related

     entities of either the existence of this Order, or of the fact that repatriation is required pursuant to

     a court order, until such time that all Defendants' Assets have been fully repatriated pursuant to

     this Order.

     VIII. CONSUMER CREDIT REPORTS

             IT IS FURTHER ORDERED that Plaintiff may obtain credit reports concerning any

     Defendants pursuant to Section 604(a)(l) of the Fair Credit Reporting Act, 15 U.S.C.

     § 168lb(a)(l), and that, upon written request, any credit reporting agency from which such

     reports are requested shall provide them to Plaintiff.

     IX.     PRESERVATION OF RECORDS

            IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

     and attorneys, and all other persons in active concert or participation with any of them, who

     receive actual notice of this Order, whether acting directly or indirectly, are temporarily

     restrained and enjoined from:

             A.      Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

     transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

     relate to: ( 1) the business, business practices, Assets, or business or personal finances of any

     Defendant; (2) the business practices or finances of entities directly or indirectly under the

     control of any Defendant; or (3) the business practices or finances of entities directly or

     indirectly under common control with any other Defendant; or

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              B.     Failing to create and maintain Documents that, in reasonable detail, accurately,

      fairly, and completely reflect Defendants' incomes, disbursements, transactions, and use of

      Defendants' Assets.

      X.      REPORT OF NEW BUSINESS ACTIVITY

              IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

      and attorneys, and all other persons in active concert or participation with any of them, who

      receive actual notice of this Order, whether acting directly or indirectly, are temporarily

      restrained and enjoined from creating, operating, or exercising any control over any business

      entity, whether newly formed or previously inactive, including any partnership, limited

      partnership, joint venture, sole proprietorship, or corporation, without first providing Plaintiff's

      counsel and the Receiver with a written statement disclosing: (1) the name of the business entity;

      (2) any fictitious business names associated with the entity; (3) the address and telephone

      number of the business entity; (4) the state of incorporation or organization of the business

      entity; (5) the Employee Identification Number or Federal Employer Identification Number of

      the business entity; (6) the names of the business entity's officers, directors, principals,

      managers, and employees; and (7) a detailed description of the business entity's intended

      activities.

      XI.     TEMPORARY RECEIVER

              IT IS FURTHER ORDERED that Michael Goldberg is appointed as temporary receiver

      ("Receiver") of the Receivership Entities with full powers of an equity receiver. The Receiver

      shall be solely the agent of this Court in acting as Receiver under this Order.

      XII.    DUTIES AND AUTHORITY OF RECEIVER

              IT IS FURTHER ORDERED that the Receiver is directed and authorized to

      accomplish the following:

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            A.      Assume full control of Receivership Entities by removing, as the Receiver deems

     necessary or advisable, any director, officer, independent contractor, employee, attorney, or

     agent of any Receivership Entity from control of, management of, or participation in, the affairs

     of the Receivership Entity;

            B.      Take exclusive custody, control, and possession of all Assets and Documents of,

     or in the possession, custody, or under the control of, any Receivership Entity, wherever situated,

     including Assets the Receiver has a reasonable basis to believe were purchased using funds from

     any Receivership Entity's corporate accounts, including, but not limited to:

                    1.      Items purchased with the following wire transfers from a Receivership

                    Entity's bank accounts to Amino ff and Co LLC:

                            a)     June 1, 2015 transfer of $24,500;

                            b)     April 20, 2016 transfer of $43,500;

                            c)     January 26, 2017 transfer of $500,000;

                            d)     January 27, 2017 transfer of $160,000;

                            e)     January 27, 2017 transfer of $7,500;

                            f)     December 7, 2017 transfer of $63,000;

                            g)     February 22, 2018 transfer of $155,000; and

                            h)     March 15, 2018 transfer of $95,000.

                    2.      Items purchased with a Receivership Entity's American Express card in

                    the following transactions:

                            a)     March 20, 2016, $6,813.45 at Cartier;

                            b)     December 19, 2016, $15,789.90 at Cartier;

                            c)     December 19, 2016, $3,428.36 at T-Bird Jewels;



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                            d)      September 15, 2017, $45,948 at Cartier;

                            e)      December 21, 2017, $23,582 at Cartier;

                            t)      January 29, 2018, $3,959 at Harry Winston; and

                            g)      March 17, 2018, $1,440 at Tiffany.

                     3.     Any vehicle purchased with funds from a Receivership Entity or titled to a

                     Receivership Entity, including, without limitation, the following vehicles:

                            a)      2012 Lamborghini Aventador, VIN #ZHWUC1ZD7CLA00451;

                            b)      2013 Land Rover Range Rover, VIN # SALGV2EF1DA10032l;

                            and

                            c)      2015 Rolls-Royce Wraith, VIN# SCA665C54FUX85225.

             C.     Conserve, hold, manage, and prevent the loss of all Assets of the Receivership

     Entities, and perform all acts necessary or advisable to preserve the value of those Assets. The

     Receiver shall assume control over the income and profits therefrom and all sums of money now

     or hereafter due or owing to the Receivership Entities. The Receiver shall have full power to sue

     for, collect, and receive all Assets of the Receivership Entities and of other persons or entities

     whose interests are now under the direction, possession, custody, or control of, the Receivership

      Entities. Provided, however, that the Receiver shall not attempt to collect any amount from a

     consumer if the Receiver believes the consumer's debt to the Receivership Entities has resulted

      from the deceptive acts or practices or other violations of law alleged in the Complaint in this

      matter, without prior Court approval;

             D.      Obtain, conserve, hold, manage, and prevent the loss of all Documents of the

      Receivership Entities, and perform all acts necessary or advisable to preserve such Documents.

      The Receiver shall: divert mail; preserve all Documents of the Receivership Entities that are



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     accessible via electronic means (such as online access to financial accounts and access to

     electronic documents held onsite or by Electronic Data Hosts, by changing usernames,

     passwords or other log-in credentials); take possession of all electronic Documents of the

     Receivership Entities stored onsite or remotely; take whatever steps necessary to preserve all

     such Documents; and obtain the assistance of the FTC's Digital Forensic Unit for the purpose of

     obtaining electronic documents stored onsite or remotely;

            E.      Choose, engage, and employ attorneys, accountants, appraisers, and other

     independent contractors and technical specialists as the Receiver deems advisable or necessary in

     the performance of duties and responsibilities under the authority granted by this Order;

            F.      Make payments and disbursements from the receivership estate that are necessary

     or advisable for carrying out the directions of, or exercising the authority granted by, this Order,

     and to incur, or authorize the making of, such agreements as may be necessary and advisable in

     discharging his or her duties as Receiver.     The Receiver shall apply to the Court for prior

     approval of any payment of any debt or obligation incurred by the Receivership Entities prior to

     the date of entry of this Order, except payments that the Receiver deems necessary or advisable

     to secure Assets of the Receivership Entities, such as rental payments;

            G.      Take all steps necessary to secure and take exclusive custody of each location

     from which the Receivership Entities operate their businesses. Such steps may include, as the

     Receiver deems necessary or advisable: (1) securing the location by changing the locks and

     alarm codes and disconnecting any internet access or other means of access to the computers,

     servers, internal networks, or other records maintained at that location; and (2) requiring any

     persons present at the location to leave the premises, to provide the Receiver with proof of

     identification, and/or to demonstrate to the satisfaction of the Receiver that such persons are not



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      removing from the premises Documents or Assets of the Receivership Entities.                    Law

      enforcement personnel, including police or sheriffs, may assist the Receiver in implementing

      these provisions in order to keep the peace and maintain security. If requested by the Receiver,

      the United States Marshal will provide appropriate and necessary assistance to the Receiver to

      implement this Order and is authorized to use any necessary and reasonable force to do so;

              H.     Take all steps necessary to prevent the modification, destruction, or erasure of any

      web page or website registered to and operated, in whole or in part, by any Defendants, and to

      provide access to all such web page or websites to Plaintiff's representatives, agents, and

      assistants, as well as Defendants and their representatives;

              I.     Enter into and cancel contracts and purchase insurance as advisable or necessary;

             J.      Prevent the inequitable distribution of Assets and determine, adjust, and protect

      the interests of consumers who have transacted business with the Receivership Entities;

             K.      Make an accounting, as soon as practicable, of the Assets and financial condition

      of the receivership and file the accounting with the Court and deliver copies thereof to all parties;

             L.      Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or

      otherwise become party to any legal action in state, federal or foreign courts or arbitration

      proceedings as the Receiver deems necessary and advisable to preserve or recover the Assets of

      the Receivership Entities, or to carry out the Receiver's mandate under this Order, including

      actions challenging fraudulent or voidable transfers and including any claims the Receivership

      Entities may have in law or equity against any third party;

             M.      Issue subpoenas to obtain Documents and records pertaining to the receivership,

      and conduct discovery in this action on behalf of the receivership estate, in addition to obtaining

      other discovery as set forth in this Order;



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                N.   Open one or more bank accounts at designated depositories for funds of the

     Receivership Entities. The Receiver shall deposit all funds of the Receivership Entities in such

     designated accounts and shall make all payments and disbursements from the receivership estate

     from such accounts. The Receiver shall serve copies of monthly account statements on all

     parties;

                0.   Maintain accurate records of all receipts and expenditures incurred as Receiver;

                P.   Allow Plaintiffs representatives, agents, and assistants, as well as

     Defendants and their representatives, reasonable access to the premises of the Receivership

     Entities, or any other premises where the Receivership Entities conduct business. The purpose of

     this access shall be to inspect and copy any and all books, records, Documents, accounts, and

     other property owned by, or in the possession of, the Receivership Entities or their agents. The

     Receiver shall have the discretion to determine the time, manner, and reasonable conditions of

     such access;

                Q.   Allow Plaintiffs representatives, agents, and assistants, as well as Defendants and

     their representatives reasonable access to all Documents in the possession, custody, or control of

     the Receivership Entities;

                R.   Cooperate with reasonable requests for information or assistance from any state or

     federal civil or criminal law enforcement agency;

                S.   Suspend business operations of the Receivership Entities if in the judgment of the

     Receiver such operations cannot be continued legally and profitably;

                T.   If the Receiver identifies a nonparty entity as a Receivership Entity, promptly

     notify the entity as well as the parties, and inform the entity that it can challenge the Receiver's

     determination by filing a motion with the Court. Provided, however, that the Receiver may delay



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      providing such notice until the Receiver has established control of the nonparty entity and its

      assets and records, if the Receiver determines that notice to the entity or the parties before the

      Receiver establishes control over the entity may result in the destruction of records, dissipation

      of assets, or any other obstruction of the Receiver's control of the entity;

              U.     If in the Receiver's judgment the business operations cannot be continued legally

      and profitably, take all steps necessary to ensure that any of the Receivership Entities' web pages

      or websites relating to the activities alleged in the Complaint cannot be accessed by the public, or

      are modified for consumer education and/or informational purposes, and take all steps necessary

      to ensure that any telephone numbers associated with the Receivership Entities cannot be

      accessed by the public, or are answered solely to provide consumer education or information

      regarding the status of operations; and

             V.      File with the Court, on or before the date set in Section XXV of this Order for the

      hearing to show cause, a report outlining (1) the steps taken by the Receiver to implement the

      terms of the Order; (2) the value of all assets and sum of all liabilities of the Receivership

      Entities; (3) the steps the Receiver intends to take in the future to protect receivership assets,

      recover receivership assets from third parties, and adjust receivership liabilities; (4) the

      Receiver's opinion on whether any portion of the business of any of the Receivership Entities

      can continue to operate legally and profitably; and (5) any other matters that the Receiver

      believes should be brought to the Court's attention.

      XIII. TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

              IT IS FURTHER ORDERED that Defendants and any other person with possession,

      custody or control of property of, or records relating to, the Receivership Entities shall, upon

      notice of this Order by personal service or otherwise, fully cooperate with and assist the Receiver

      in taking and maintaining possession, custody, or control of the Assets and Documents of the

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      Receivership Entities and immediately transfer or deliver to the Receiver possession, custody,

      and control of, the following:

             A.      All Assets held by or for the benefit of the Receivership Entities;

             B.      All Documents of or pertaining to the Receivership Entities;

             C.      All computers, mobile devices, tablets, and other electronic storage devices or

      machines used to conduct the business of the Receivership Entities;

             D.      All Assets and Documents belonging to other persons or entities whose interests

      are under the direction, possession, custody, or control of the Receivership Entities; and

             E.      All keys, codes, user names and passwords necessary to gain or to secure access

      to any Assets or Documents of or pertaining to the Receivership Entities, including access to

      their business premises, means of communication, accounts, computer systems (onsite and

      remote), Electronic Data Hosts, or other property.

      In the event that any person or entity fails to deliver or transfer any Asset or Document, or

      otherwise fails to comply with any provision of this Section, the Receiver may file, ex parte, an

      Affidavit of Non-Compliance regarding the failure and a motion seeking compliance or a

      contempt citation. Upon the filing of the affidavit, the Court may authorize, without additional

      process or demand, Writs of Possession or Sequestration or other equitable writs requested by

      the Receiver. The writs shall authorize and direct the United States Marshal or any sheriff or

      deputy sheriff of any county, or any other federal or state law enforcement officer, to seize the

      asset, Document, or other thing and to deliver it to the Receiver.

      XIV. PROVISION OF INFORMATION TO RECEIVER
             IT IS FURTHER ORDERED that Defendants shall immediately provide to the

      Receiver:



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             A.      A list of all Assets and accounts of the Receivership Entities that are held in any

     name other than the name of a Receivership Entity, or by any person or entity other than a

      Receivership Entity;

             B.      A list of all agents, employees, officers, attorneys, servants and those persons in

      active concert and participation with the Receivership Entities, or who have been associated or

      done business with the Receivership Entities; and

             C.      A description of any Documents covered by attorney-client privilege or attorney

     work product, including files where such Documents are likely to be located, authors or

     recipients of such Documents, and search terms likely to identify such electronic Documents.

     XV.     COOPERATION WITH THE RECEIVER

             IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants' or

     Receivership Entities' officers, agents, employees, and attorneys, all other persons in active

     concert or participation with any of them, and any other person with possession, custody, or

     control of property of or records relating to the Receivership entities who receive actual notice of

      this Order shall fully cooperate with and assist the Receiver. This cooperation and assistance

      shall include providing information to the Receiver that the Receiver deems necessary to

      exercise the authority and discharge the responsibilities of the Receiver under this Order;

      providing any keys, codes, user names and passwords required to access, and allowing the

      Receiver to inspect, any computers, mobile devices, tablets and other electronic storage devices

      and machines (on site or remotely) and any cloud account (including specific method to access

      account) or electronic file in any medium; advising all persons who owe money to any

      Receivership Entity that all debts should be paid directly to the Receiver; and transferring funds

      at the Receiver's direction and producing records related to the Assets and sales of the

      Receivership Entities.

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      XVI. NON-INTERFERENCE WITH THE RECEIVER

             IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants' or

      Receivership Entities' officers, agents, employees, attorneys, and all other persons in active

      concert or participation with any of them, who receive actual notice of this Order, and any other

      person served with a copy of this Order, are restrained and enjoined from directly or indirectly:

             A.      Interfering with the Receiver's efforts to manage, or take custody, control, or

      possession of, the Assets or Documents subject to the receivership;

             B.      Transacting any of the business of the Receivership Entities;

             C.      Transferring, receiving, altering, selling, encumbering, pledging, assigning,

      liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

      custody of, or in which an interest is held or claimed by, the Receivership Entities; or

             D.      Refusing to cooperate with the Receiver or the Receiver's duly authorized agents

      in the exercise of their duties or authority under any order of this Court.

      XVII. STAY OF ACTIONS

             IT IS FURTHER ORDERED that, except by leave of this Court, during the pendency

      of the receivership ordered herein, Defendants, Defendants' officers, agents, employees,

      attorneys, and all other persons in active concert or participation with any of them, who receive

      actual notice of this Order, and their corporations, subsidiaries, divisions, or affiliates, and all

      investors, creditors, stockholders, lessors, customers and other persons seeking to establish or

      enforce any claim, right, or interest against or on behalf of Defendants, and all others acting for

      or on behalf of such persons, are enjoined from taking action that would interfere with the

      exclusive jurisdiction of this Court over the Assets or Documents of the Receivership Entities,

      including:



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               A.    Filing or assisting in the filing of a petition for relief under the Bankruptcy Code,

      11 U.S.C. § 101 et seq., or of any similar insolvency proceeding on behalf of the Receivership

      Entities;

               B.    Commencing, prosecuting, or continuing a judicial, administrative, or other action

      or proceeding against the Receivership Entities, including the issuance or employment of process

      against the Receivership Entities, except that such actions may be commenced if necessary to toll

      any applicable statute of limitations; or

               C.    Filing or enforcing any lien on any asset of the Receivership Entities, taking or

      attempting to take possession, custody, or control of any Asset of the Receivership Entities; or

      attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of the Receivership

      Entities, whether such acts are part of a judicial proceeding, are acts of self-help, or otherwise.

      Provided, however, that this Order does not stay: (1) the commencement or continuation of a

      criminal action or proceeding; (2) the commencement or continuation of an action or proceeding

      by a governmental unit to enforce such governmental unit's police or regulatory power; or (3)

      the enforcement of a judgment, other than a money judgment, obtained in an action or

      proceeding by a governmental unit to enforce such governmental unit's police or regulatory

      power.

      XVIII. COMPENSATION OF RECEIVER

               IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

      as herein authorized, including counsel to the Receiver and accountants, are entitled to

      reasonable compensation for the performance of duties pursuant to this Order and for the cost of

      actual out-of-pocket expenses incurred by them, from the Assets now held by, in the possession

      or control of, or which may be received by, the Receivership Entities. The Receiver shall file

      with the Court and serve on the parties periodic requests for the payment of such reasonable

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     compensation, with the first such request filed no more than sixty days after the date of entry of

     this Order. The Receiver shall not increase the hourly rates used as the bases for such fee

     applications without prior approval of the Court.

     XIX.    RECEIVER'S BOND

            IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this Court a

     bond in the sum of $50,000 with sureties to be approved by the Court, conditioned that the

     Receiver will well and truly perform the duties of the office and abide by and perform all acts the

     Court directs. 28 U.S.C. § 754.

     XX.    IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS

            IT IS FURTHER ORDERED that:

            A.      To allow Plaintiff and the Receiver to preserve Assets and evidence relevant to

     this action and to expedite discovery, Plaintiff and the Receiver, and their representatives, agents,

     contractors, and assistants, shall have immediate access to any business premises and storage

     facilities owned, controlled, or used by the Receivership Entities. Such locations include: (1) 2

     Oakwood Plaza, Suite I 00, Hollywood, Florida 33021; (2) 8400 Doral Boulevard, Suite 260,

     Doral, Florida 33166; (3) 5720 Lyndon B. Johnson Freeway, Suite 610, Dallas, Texas 75240; (4)

     1769 Blount Road, Unit 109, Pompano Beach, Florida 33069, and any offsite location or

     commercial mailbox used by the Receivership Entities, including, without limitation, 3389

     Sheridan Street #632, Hollywood, Florida 33021, 1722 Sheridan Street, Ste. 628, Hollywood,

     Florida 33020, and 401 East Las Olas 130-627, Fort Lauderdale, Florida 33301. The Receiver

     may exclude Defendants, Receivership Entities, and their employees from the business premises

     during the immediate access;

            B.      Plaintiff and the Receiver. and their representatives, agents, contractors, and

     assistants, are authorized to obtain the assistance of federal, state and local law enforcement

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      officers as they deem necessary to effect service and to implement peacefully the provisions of

      this Section;

              C.      Plaintiff and the Receiver, and their representatives, agents, contractors, and

      assistants, are authorized to remove Documents from the Receivership Entities' premises in

      order that they may be inspected, inventoried, and copied. Plaintiff shall return any removed

      materials to the Receiver within five business days of completing inventorying and copying, or

     such time as is agreed upon by Plaintiff and the Receiver;

             D.       Plaintiff's access to the Receivership Entities' Documents pursuant to this Section

     shall not provide grounds for any Defendant to object to any subsequent request for Documents

     served by Plaintiff;

             E.       If any Documents, computers, mobile devices, tablets, or other electronic storage

      devices containing information related to the business practices or finances of the Receivership

      Entities are at a location other than those listed herein, including personal residence(s) of any

      Defendant, then, immediately upon receiving notice of this order, Defendants and Receivership

      Entities shall produce to the Receiver all such Documents, computers, mobile devices, tablets,

      and other electronic storage devices, along with any codes or passwords needed for access; and

             F.       If any communications or records of any Receivership Entity are stored with an

      Electronic Data Host, such Entity shall, immediately upon receiving notice of this order, provide

      the Receiver with the usemame, passwords, and any other login credential needed to access the

      communications and records, and shall not attempt to access, or cause a third party to attempt to

      access, the communications or records.

      XXI.   DISTRIBUTION OF ORDER BY DEFENDANTS

             IT IS FURTHER ORDERED that Defendants shall immediately provide a copy of this

      Order to each affiliate, telemarketer, marketer, sales entity, successor, assign, member, officer,

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      director, employee, agent, independent contractor, client, attorney, spouse, subsidiary, division,

     and representative of any Defendant, and shall, within ten days from the date of entry of this

     Order, provide Plaintiff's counsel and the Receiver with a sworn statement that this provision of

     the Order has been satisfied, which statement shall include the names, physical addresses, phone

     number, and email addresses of each such person or entity who received a copy of the Order.

     Furthermore, Defendants shall not take any action that would encourage officers, agents,

     members, directors, employees, salespersons, independent contractors, attorneys, subsidiaries,

     affiliates, successors, assigns or other persons or entities in active concert or participation with

     them to disregard this Order or believe that they are not bound by its provisions.

     XXII. EXPEDITED DISCOVERY

             IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed. R. Civ. P.

     26(d) and (f) and 30(a)(2)(A)(iii), and pursuant to Fed. R. Civ. P. 30(a), 34, and 45, Plaintiff and

     the Receiver are granted leave, at any time after service of this Order, to conduct limited

     expedited discovery for the purpose of discovering: (1) the nature, location, status, and extent of

      Defendants' Assets; (2) the nature, location, and extent of Defendants' business transactions and

      operations; (3) Documents reflecting Defendants' business transactions and operations; or (4)

      compliance with this Order. The limited expedited discovery set forth in this Section shall

      proceed as follows:

             A.      Plaintiff and the Receiver may take the deposition of parties and non-parties.

      Forty-eight hours of notice shall be sufficient notice for such depositions. The limitations and

     conditions set forth in Fed R. Civ. P. 30(a)(2)(B) and 31(a)(2)(B) regarding subsequent

      depositions of an individual shall not apply to depositions taken pursuant to this Section. Any

      such deposition taken pursuant to this Section shall not be counted towards the deposition limit



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     set forth in Fed R. Civ. P. 30(a)(2)(A) and 3l(a)(2)(A) and depositions may be taken by

     telephone or other remote electronic means.

             B.     Plaintiff and the Receiver may serve upon parties requests for production of

     Documents or inspection that require production or inspection within five days of service,

     provided, however, that three days of notice shall be deemed sufficient for the production of any

     such Documents that are maintained or stored only in an electronic format.

            C.      Plaintiff and the Receiver may serve upon parties interrogatories that require

     response within five days of service.

            D.      Plaintiff and the Receiver may serve subpoenas upon non-parties that direct

     production or inspection within five days of service.

            E.      Service of discovery upon a party to this action, taken pursuant to this Section,

     shall be sufficient if made by facsimile, email, or by overnight delivery.

            F.      Any expedited discovery taken pursuant to this Section is in addition to, and is not

     subject to, the limits on discovery set forth in the Federal Rules of Civil Procedure and the Local

     Rules of this Court.    The expedited discovery permitted by this Section does not require a

     meeting or conference of the parties, pursuant to Fed R. Civ. P. 26(d) and (f).

             G.     The parties are exempted from making initial disclosures under Fed. R. Civ. P.

     26(a)(l) until further order of this Court.

     XXIII. SERVICE OF THIS ORDER

            IT IS FURTHER ORDERED that copies of this Order as well as the Motion for

     Temporary Restraining Order and all other pleadings, Documents, and exhibits filed

     contemporaneously with that Motion (other than the Complaint and summons), may be served by

     any means, including facsimile transmission, electronic mail or other electronic messaging,

     personal or overnight delivery, U.S. Mail or FedEx, by agents and employees of Plaintiff, by any

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      law enforcement agency, or by private process server, upon any Defendant or any person

     (including any financial institution) that may have possession, custody or control of any Asset or

     Document of any Defendant, or that may be subject to any provision of this Order pursuant to

     Fed. R. Civ. P. 65(d)(2). For purposes of this Section, service upon any branch, subsidiary,

     affiliate or office of any entity shall effect service upon the entire entity.

     XXIV. CORRESPONDENCE AND SERVICE ON PLAINTIFF

             IT IS FURTHER ORDERED that, for the purpose of this Order, all correspondence

     and service of pleadings on Plaintiff shall be addressed to:

                     Elizabeth Scott
                     James Davis
                     230 South Dearborn, Suite 3030
                     Chicago, Illinois 60604
                     312-960-5634 (phone)
                     312-960-5600 (fax)
                     escott@ftc.gov
                     jdavis@ftc.gov

     XXV. PRELIMINARY INJUNCTION HEARING

             IT IS FURTHER ORDERED that, pursuant to Fed. R. Civ. P. 65(b), Defendants shall

     appear before this Court on the 14th day of November, 2018, at 11 :00am, to show cause, if there

      is any, why this Court should not enter a preliminary injunction, pending final ruling on the

     Complaint against Defendants, enjoining the violations of the law alleged in the Complaint,

     continuing the freeze of their Assets, continuing the receivership, and imposing such additional

     relief as may be appropriate.

     XXVI. BRIEFS AND AFFIDAVITS CONCERNING PRELIMINARY INJUNCTION

             IT IS FURTHER ORDERED that:

             A.      Defendants shall file with the Court and serve on Plaintiffs counsel any

     answering pleadings, affidavits, motions, expert reports or declarations, or legal memoranda no


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      later than five business days prior to the order to show cause hearing scheduled pursuant to this

     Order.     Plaintiff may file responsive or supplemental pleadings, materials, affidavits, or

     memoranda with the Court and serve the same on counsel for Defendants no later than one

     business day prior to the order to show cause hearing. Provided that such affidavits, pleadings,

     motions, expert reports, declarations, legal memoranda or oppositions must be served by

     personal or overnight delivery, facsimile or email, and be received by the other party or parties

     no later than 5:00 p.m. (Central Time) on the appropriate dates set forth in this Section.

              B.     An evidentiary hearing on Plaintiff's request for a preliminary injunction is not

     necessary unless Defendants demonstrate that they have, and intend to introduce, evidence that

     raises a genuine and material factual issue. The question of whether this Court should enter a

     preliminary injunction shall be resolved on the pleadings, declarations, exhibits, and memoranda

     filed by, and oral argument of, the parties. Live testimony shall be heard only on further order of

     this Court. Any motion to permit such testimony shall be filed with the Court and served on

     counsel for the other parties at least five days prior to the preliminary injunction hearing in this

     matter. Such motion shall set forth the name, address, and telephone number of each proposed

     witness, a detailed summary or affidavit revealing the substance of each proposed witness's

      expected testimony, and an explanation of why the taking of live testimony would be helpful to

     this Court. Any papers opposing a timely motion to present live testimony or to present live

     testimony in response to another party's timely motion to present live testimony shall be filed

     with this Court and served on the other parties at least three days prior to the order to show cause

     hearing.




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            Provided, however, that service shall be performed by personal or overnight delivery,

     facsimile or email, and Documents shall be delivered so that they shall be received by the other

     parties no later than 5:00 p.m. (Central Time) on the appropriate dates provided in this Section.

     XXVII.          DURATION OF THE ORDER

            IT IS FURTHER ORDERED that this Order shall expire fourteen days from the date of

     entry noted below, unless, within such time, the Order is extended for an additional period

     pursuant to Fed. R. Civ. P. 65(b)(2).

     XXVIII.         RETENTION OF JURISDICTION

            IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

     all purposes.

            DONE AND ORDERED in Chambers at Miami, Florida, this 31st day of October, 2018,

     at 10:00 a.m.




                                                   DARRIN P. GAYLES
                                                   UNITED STATES DISTRICT JUDGE




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                     PLAINTIFF'S EXHIBIT 38 - 2
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-61017-CIV-ALTONAGA/Seltzer

    FEDERAL TRADE COMMISSION,

            Plaintiff,
    v.

    POINTBREAK MEDIA, LLC, et al.,

            Defendants.
   - - - - - - - - - - - - - - - -I
                                             SEALED ORDER

            THIS CAUSE came before the Court upon the Government's Ex Parle for Temporary

    Restraining Order and Memorandum in Support Thereof [ECF No. 5], filed May 7, 2018. The

    Government ("Plaintiff' or "the FTC") has filed its Complaint for Permanent Injunction and

    Other Equitable Relief [ECF No. 1], pursuant to Section 13(b) of the Federal Trade Commission

   Act ("FTC Act"), 15 U.S.C. § 53(b), and has moved, pursuant to Federal Rule of Civil Procedure

    65(b ), for a temporary restraining order, asset freeze, other equitable relief, and an order to show

    cause why a preliminary injunction should not issue against Defendants, Dustin Pillonato; Justin

   Ramsey; Aaron Michael Jones; Ricardo Diaz; Michael Pocker; Steffan Molina; Pointbreak

    Media, LLC; DCP Marketing, LLC; Modern Spotlight LLC; Modern Spotlight Group LLC;

    Modern Internet Marketing LLC; Modern Source Media, LLC; and Perfect Image Online LLC.

                                           FINDINGS OF FACT

            The Court, having considered the Complaint, the ex parte Motion for a Temporary

    Restraining Order, declarations, exhibits, and the memorandum filed in support thereof, finds:

            A.      The Court has jurisdiction over the subject matter of this case, and there is good

    cause to believe it will have jurisdiction over all parties and venue in this District is proper.
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           B.      In numerous instances, Defendants falsely claimed an affiliation with Google,

   threatened businesses with removal from Google's search engine, promised small businesses

   unique keywords for which they would appear prominently in search results, and guaranteed

   first-place or first-page placement in Google search results.

           C.      There is good cause to believe Defendants have engaged in and are likely to

   engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and

   Plaintiff is therefore likely to prevail on the merits of this action.          As demonstrated by

   declarations from a Google employee; consumer declarations; transcripts of calls; records of

   undercover calls and an undercover purchase; a call script from an informant; corporate,

   banking, and payment processing records; and the additional documentation filed by the FTC,

   the FTC has established a likelihood of success in showing Defendants (1) used false claims of

   affiliation with Google, false threats of removal from Google, and false promises of prominent

   placement in search results to sell Google listing and search engine optimization services; and (2)

   without authorization, took money from consumers' bank accounts.

           D.      There is good cause to believe immediate and irreparable harm will result from

   Defendants' ongoing violations of the FTC Act unless Defendants are restrained and enjoined by

   order of the Court.

           E.      There is good cause to believe immediate and irreparable damage to the Court's

    ability to grant effective final relief for consumers -   including monetary restitution, rescission,

    disgorgement, or refunds -    will occur from the sale, transfer, destruction, or other disposition or

   concealment by Defendants of their assets or records, unless Defendants are immediately

   restrained and enjoined by order of this Court; and that, in accordance with Federal Rule of Civil

   Procedure 65(b ), the interests of justice require that this Order be granted without prior notice to



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   Defendants. Thus, there is good cause for relieving Plaintiff of the duty to provide Defendants

   with prior notice of its Motion for a Temporary Restraining Order.

             F.     Good cause exists for appointing a temporary receiver over the Receivership

   Entities, freezing Defendants' assets, permitting Plaintiff and the Receiver immediate access to

   the Defendants' business premises, and permitting Plaintiff and the Receiver to take expedited

   discovery.

             G.     Weighing the equities and considering Plaintiff's likelihood of ultimate success

   on the merits, a temporary restraining order with an asset freeze, the appointment of a temporary

   receiver, immediate access to business premises, expedited discovery, and other equitable relief

   is in the public interest.

             H.     The Court has authority to issue this Order pursuant to Section 13(6) of the FTC

   Act, 15 U.S.C. § 53(6); Federal Rule of Civil Procedure 65; and the All Writs Act, 28 U.S.C.

   § 1651.

             I.     No security is required of any agency of the United States for issuance of a

   temporary restraining order. See Fed. R. Civ. P. 65(c).

             Accordingly, it is

             ORDERED AND ADJUDGED that the Motion [ECF No. 5] 1s GRANTED.                         A

   Temporary Restraining Order shall be entered, as described below:

                                               DEFINITIONS

             For the purpose of this Order, the following definitions shall apply:

             A.     "Asset" means any legal or equitable interest in, right to, or claim to, any

   property, wherever located and by whomever held.




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           B.       "Corporate Defendants" means Pointbreak Media, LLC; DCP Marketing, LLC;

    Modern Spotlight LLC; Modern Spotlight Group LLC; Modern Internet Marketing LLC;

   Modern Source Media, LLC; Perfect Image Online LLC; and each of their subsidiaries,

   affiliates, successors, and assigns.

           C.      "Defendant(s)" means Corporate Defendants, Dustin Pillonato, Justin Ramsey,

    Aaron Michael Jones, Ricardo Diaz, Michael Pocker, and Steffan Molina, individually,

   collectively, or in any combination.

           D.      "Document" is synonymous m meanmg and equal in scope to the usage of

   "document" and "electronically stored information" in Federal Rule of Civil Procedure 34(a),

   and includes writings, drawings, graphs, charts, photographs, sound and video recordings,

    images, Internet sites, web pages, websites, electronic correspondence, including e-mail and

    instant messages, contracts, accounting data, advertisements, File Transfer Protocol Logs, Server

    Access Logs, books, written or printed records, handwritten notes, telephone logs, telephone

    scripts, receipt books, ledgers, personal and business canceled checks and check registers, bank

    statements, appointment books, computer records, customer or sales databases and any other

   electronically stored information, including Documents located on remote servers or cloud

   computing systems, and other data or data compilations from which information can be obtained

    directly or, if necessary, after translation into a reasonably usable form. A draft or non-identical

    copy is a separate document within the meaning of the term.

           E.      "Electronic Data Host" means any person or entity in the business of storing,

    hosting, or otherwise maintaining electronically stored information. This includes, but is not

    limited to, any entity hosting a website or server, and any entity providing "cloud based"

    electronic storage.



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             F.    "Individual Defendant(s)" means Dustin Pillonato, Justin Ramsey, Aaron

   Michael Jones, Ricardo Diaz, Michael Pocker, and Steffan Molina.            Individual Defendant(s)

   refers to these people individually, collectively, or in any combination.

             G.    "Receiver" means the temporary receiver appointed in Section XI of this Order

   and any deputy receivers that shall be named by the temporary receiver.

             H.    "Receivership Entities" means Corporate Defendants, as well as any other entity

   that the Receiver determines is controlled or owned by any Defendant and has (a) conducted any

   business related to Defendants' marketing of Google listing and search engine optimization

    services, (b) commingled or pooled assets with any defendant, or (c) otherwise participated in the

   transfer or receipt of Assets derived from any activity that is the subject of the Complaint in this

   matter.

                            I.     PROHIBITED BUSINESS ACTIVITIES

             IT IS ORDERED that Defendants, Defendants' officers, agents, employees, and

    attorneys, and all other persons in active concert or participation with them, who receive actual

    notice of this Order by personal service or otherwise, whether acting directly or indirectly, in

    connection with the advertising, marketing, promoting, or offering for sale of any goods or

    services, are temporarily restrained and enjoined from:

             A.    Misrepresenting or assisting others m misrepresenting, expressly or by

    implication, any material fact, including, but not limited to:

                   1.      That Defendants are authorized by, or affiliated with, Google or another

                           third party;

                   2.      That consumers' businesses are m imminent danger of being marked

                           permanently closed by Google or any other third party, or removed from



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                           Google search results or any other internet search results, because

                           consumers have not "claimed and verified" those businesses;

                   3.      That Defendants, as part of claiming and verifying the consumers'

                           businesses, can assign certain keywords to those businesses that will result

                           in the prominent display of the businesses' websites or listings;

                   4.      That Defendants can guarantee prominent, first-place, or first-page

                           placement in Google search results or any other internet search results;

                           and

                   5.      Any other fact material to consumers concerning any good or service,

                           including but not limited to: the total costs; any material restrictions,

                           limitations, or conditions; or any material aspect of its performance,

                           efficacy, nature, or central characteristics.

           B.      Debiting or causing consumers' bank or financial accounts to be debited, or

   assessing any fee or charge against consumers or their bank or financial accounts, without first

   obtaining the consumers' express informed consent for the purchase of the good or service and

   for the debit, charge or fee.

            II.     PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

           IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

   and attorneys, and all other persons in active concert or participation with any of them, who

   receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

   restrained and enjoined from: disclosing, using, or benefitting from customer information,

   including the name, address, telephone number, email address, social security number, other

   identifying information, or any data that enables access to a customer's account (including a



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   credit card, bank account, or other financial account), that any Defendant obtained prior to entry

   of this Order in connection with any activity that pertains to the subject matter of this Order.

           Provided, however, that Defendants may disclose such identifying information to a law

   enforcement agency, to their attorneys as required for their defense, as required by any law,

   regulation, or court order, or in any filings, pleadings or discovery in this action in the manner

   required by the Federal Rules of Civil Procedure and by any protective order in the case.

                                          III.    ASSET FREEZE

           IT IS FURTHER ORDERED that Defendants and their officers, agents, employees,

   and attorneys, and all other persons in active concert or participation with any of them, who

   receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

   restrained and enjoined from:

           A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

   concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

    lien or security interest or other interest in, or otherwise disposing of any Assets that are:

                    1.     owned or controlled, directly or indirectly, by any Defendant;

                    2.      held, in part or in whole, for the benefit of any Defendant;

                    3.      in the actual or constructive possession of any Defendant; or

                   4.      owned or controlled by, in the actual or constructive possession of, or

                            otherwise held for the benefit of, any corporation, partnership, asset

                            protection trust, or other entity that is directly or indirectly owned,

                           managed or controlled by any Defendant;

            B.      Opening or causing to be opened any safe deposit boxes, commercial mail boxes,

    or storage facilities titled in the name of any Defendant or subject to access by any Defendant,



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    except as necessary to comply with written requests from the Receiver acting pursuant to its

    authority under this Order;

           C.       Incurring charges or cash advances on any credit, debit, or A TM card issued in

   the name, individually or jointly, of any Corporate Defendant or any corporation, partnership, or

    other entity directly or indirectly owned, managed, or controlled by any Defendant or of which

    any Defendant is an officer, director, member, or manager.            This includes any corporate

   bankcard or corporate credit card account for which any Defendant is, or was on the date that this

   Order was signed, an authorized signor; or

           D.       Cashing any checks or depositing any money orders or cash that is received from,

   or that draws on a bank or financial account belonging to, consumers, clients, or customers of

    any Defendant.

           The Assets affected by this Section shall include: (1) all Assets of Defendants as of the

   time this Order is entered; and (2) Assets obtained by Defendants after this Order is entered if

   those Assets are derived from any activity that is the subject of the Complaint in this matter or

   that is prohibited by this Order. This Section does not prohibit any transfers to the Receiver or

    repatriation of foreign Assets specifically required by this order.

              IV.     DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES

           IT IS FURTHER ORDERED that any financial or brokerage institution, Electronic

    Data Host, credit card processor, payment processor, merchant bank, acquiring bank,

    independent sales organization, third party processor, payment gateway, insurance company,

   business entity, or person who receives actual notice of this Order (by service or otherwise) that:

           (a) has held, controlled, or maintained custody, through an account or otherwise, of any

    Document on behalf of any Defendant or any Asset that has been: owned or controlled, directly

    or indirectly, by any Defendant; held, in part or in whole, for the benefit of any Defendant; in the

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   actual or constructive possession of any Defendant; or owned or controlled by, in the actual or

   constructive possession of, or otherwise held for the benefit of, any corporation, partnership,

   asset protection trust, or other entity that is directly or indirectly owned, managed or controlled

   by any Defendant;

          (b) has held, controlled, or maintained custody, through an account or otherwise, of any

   Document or Asset associated with credits, debits, or charges made on behalf of any Defendant,

   including reserve funds held by payment processors, credit card processors, merchant banks,

   acquiring banks, independent sales organizations, third party processors, payment gateways,

   insurance companies, or other entities;

          (c) has extended credit to any Defendant, including through a credit card account, shall:

          A.      Hold, preserve, and retain within its control and prohibit the withdrawal, removal,

   alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,

   conversion, sale, or other disposal of any such Document or Asset, as well as all Documents or

   other property related to such Assets, except by further order of this Court; provided, however,

   that this provision does not prohibit an Individual Defendant from incurring charges on a

   personal credit card established prior to entry of this Order, up to the pre-existing credit limit;

           B.     Deny any person, except the Receiver, access to any safe deposit box, commercial

   mail box, or storage facility that is titled in the name of any Defendant, either individually or

   jointly, or otherwise subject to access by any Defendant;

           C.     Provide Plaintiffs counsel and the Receiver, within three (3) days of receiving a

   copy of this Order, a sworn statement setting forth, for each Asset or account covered by this

   Section:

                   I.     The identification number of each such account or Asset;



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                   2.      The balance of each such account, or a description of the nature and value

                           of each such Asset as of the close of business on the day on which this

                           Order is served, and, if the account or other Asset has been closed or

                           removed, the date closed or removed, the total funds removed in order to

                           close the account, and the name of the person or entity to whom such

                           account or other Asset was remitted; and

                   3.      The identification of any safe deposit box, commercial mail box, or

                           storage facility that is either titled in the name, individually or jointly, of

                           any Defendant, or is otherwise subject to access by any Defendant; and

           D.      Upon the request of Plaintiffs counsel or the Receiver, promptly provide

    Plaintiffs counsel and the Receiver with copies of all records or other Documents pertaining to

   each account covered by this Section or Asset, including originals or copies of account

   applications, account statements, signature cards, checks, drafts, deposit tickets, transfers to and

    from the accounts, including wire transfers and wire transfer instructions, all other debit and

   credit instruments or slips, currency transaction reports, 1099 forms, and all logs and records

   pertaining to safe deposit boxes, commercial mail boxes, and storage facilities.

           Provided, however, that this Section does not prohibit any transfers to the Receiver or

    repatriation of foreign Assets specifically required by this order.

                                  V.      FINANCIAL DISCLOSURES

           IT IS FURTHER ORDERED that each Defendant, within five (5) days of service of

   this Order upon them, shall prepare and deliver to Plaintiffs counsel and the Receiver:

           A.      completed financial statements on the forms attached to this Order as Attachment

   A (Financial Statement of Individual Defendant) for each Individual Defendant, and Attachment

    B (Financial Statement of Corporate Defendant) for each Corporate Defendant and for each

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    business entity under which an Individual Defendant conducts business, controls, or which they

    are an officer, director, member, or manager; and

            B.      completed Attachment C (IRS Form 4506, Request for Copy of a Tax Return)

    for each Individual and Corporate Defendant.

                              VI.     FOREIGN ASSET REPATRIATION

            IT IS FURTHER ORDERED that within five (5) days following the service of this

    Order, each Defendant shall:

           A.      Provide Plaintiffs counsel and the Receiver with a full accounting, verified under

    oath and accurate as of the date of this Order, of all Assets, Documents, and accounts outside of

    the United States which are: (I) titled in the name, individually or jointly, of any Defendant; (2)

    held by any person or entity for the benefit of any Defendant or for the benefit of, any

    corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,

    managed or controlled by any Defendant; or (3) under the direct or indirect control, whether

   jointly or singly, of any Defendant;

            B.      Take all steps necessary to provide Plaintiff's counsel and Receiver access to all

    Documents and records that may be held by third parties located outside of the territorial United

    States of America, including signing the Consent to Release of Financial Records appended to

    this Order as Attachment D.

            C.      Transfer to the territory of the United States and all Documents and Assets

    located in foreign countries which are: (1) titled in the name, individually or jointly, of any

    Defendant; (2) held by any person or entity for the benefit of any Defendant or for the benefit of,

    any corporation, partnership, asset protection trust, or other entity that is directly or indirectly

    owned, managed or controlled by any Defendant; or (3) under the direct or indirect control,

    whether jointly or singly, of any Defendant; and

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             D.    The same business day as any repatriation, (1) notify the Receiver and counsel for

   Plaintiff of the name and location of the financial institution or other entity that is the recipient of

   such Documents or Assets; and (2) serve this Order on any such financial institution or other

   entity.

                      VII.    NON-INTERFERENCE WITH REPATRIATION

             IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

   and attorneys, and all other persons in active concert or participation with any of them, who

   receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

   restrained and enjoined from taking any action, directly or indirectly, which may result in the

   encumbrance or dissipation of foreign Assets, or in the hindrance of the repatriation required by

   this Order, including, but not limited to:

             A.    Sending any communication or engaging in any other act, directly or indirectly,

   that results in a determination by a foreign trustee or other entity that a "duress" event has

   occurred under the terms of a foreign trust agreement until such time that all Defendants' Assets

   have been fully repatriated pursuant to this Order; or

             B.    Notifying any trustee, protector or other agent of any foreign trust or other related

   entities of either the existence of this Order, or of the fact that repatriation is required pursuant to

   a court order, until such time that all Defendants' Assets have been fully repatriated pursuant to

   this Order.

                               VIII. CONSUMER CREDIT REPORTS

             IT IS FURTHER ORDERED that Plaintiff may obtain credit reports concerning any

   Defendants pursuant to Section 604(a)(1) of the Fair Credit Reporting Act, 15 U.S.C.

   1681 b(a )(1 ), and that, upon written request, any credit reporting agency from which such reports

   are requested shall provide them to Plaintiff.

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                               IX.    PRESERVATION OF RECORDS

           IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

    and attorneys, and all other persons in active concert or participation with any of them, who

   receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

   restrained and enjoined from:

           A.      Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

   transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

   relate to: (I) the business, business practices, Assets, or business or personal finances of any

    Defendant; (2) the business practices or finances of entities directly or indirectly under the

   control of any Defendant; or (3) the business practices or finances of entities directly or

    indirectly under common control with any other Defendant; and

           B.      Failing to create and maintain Documents that, in reasonable detail, accurately,

    fairly, and completely reflect Defendants' incomes, disbursements, transactions, and use of

    Defendants' Assets.

                          X.     REPORT OF NEW BUSINESS ACTIVITY

           IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

    and attorneys, and all other persons in active concert or participation with any of them, who

    receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

    restrained and enjoined from creating, operating, or exercising any control over any business

    entity, whether newly formed or previously inactive, including any partnership, limited

    partnership, joint venture, sole proprietorship, or corporation, without first providing Plaintiffs

    counsel and the Receiver with a written statement disclosing:       (I) the name of the business

    entity; (2) the address and telephone number of the business entity; (3) the names of the business



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   entity's officers, directors, principals, managers, and employees; and (4) a detailed description of

   the business entity's intended activities.

                                  XI.        TEMPORARY RECEIVER

           IT IS FURTHER ORDERED that Jonathan E. Perlman, Esq. is appointed as temporary

   receiver of the Receivership Entities with full powers of an equity receiver. The Receiver shall

   be solely the agent of this Court in acting as Receiver under this Order.

                        XII.    DUTIES AND AUTHORITY OF RECEIVER

           IT IS FURTHER ORDERED that the Receiver is directed and authorized to

   accomplish the following:

           A.     Assume full control of Receivership Entities by removing, as the Receiver deems

   necessary or advisable, any director, officer, independent contractor, employee, attorney,

   member, or agent of any Receivership Entity from control of, management of, or participation in,

   the affairs of the Receivership Entity;

           B.      Take exclusive custody, control, and possession of all Assets and Documents of,

   or in the possession, custody, or under the control of, any Receivership Entity, wherever situated;

           C.      Conserve, hold, manage, and prevent the loss of all Assets of the Receivership

    Entities, and perform all acts necessary or advisable to preserve the value of those Assets. The

   Receiver shall assume control over the income and profits therefrom and all sums of money now

   or hereafter due or owing to the Receivership Entities. The Receiver shall have full power to sue

   for, collect, and receive, all Assets of the Receivership Entities and of other persons or entities

   whose interests are now under the direction, possession, custody, or control of, the Receivership

    Entities. Provided, however, that the Receiver shall not attempt to collect any amount from a

   consumer if the Receiver believes the consumer's debt to the Receivership Entities has resulted



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    from the deceptive acts or practices or other violations of law alleged in the Complaint in this

    matter, without prior Court approval;

           D.      Obtain, conserve, hold, manage, and prevent the loss of all Documents of the

    Receivership Entities, and perform all acts necessary or advisable to preserve such Documents.

    The Receiver shall: divert mail; preserve all Documents of the Receivership Entities that are

    accessible via electronic means (such as online access to financial accounts and access to

    electronic documents held onsite or by Electronic Data Hosts, by changing usernames,

    passwords or other log-in credentials); take possession of all electronic Documents of the

    Receivership Entities stored onsite or remotely; take whatever steps necessary to preserve all

    such Documents; and obtain the assistance of the FTC's Digital Forensic Unit for the purpose of

    obtaining electronic documents stored onsite or remotely.

           E.      Choose, engage, and employ attorneys, accountants, appraisers, and other

    independent contractors and technical specialists, as the Receiver deems advisable or necessary

    in the performance of duties and responsibilities under the authority granted by this Order;

           F.      Make payments and disbursements from the receivership estate that are necessary

    or advisable for carrying out the directions of, or exercising the authority granted by, this Order,

    and to incur, or authorize the making of, such agreements as may be necessary and advisable in

    discharging his or her duties as Receiver.      The Receiver shall apply to the Court for prior

    approval of any payment of any debt or obligation incurred by the Receivership Entities prior to

   the date of entry of this Order, except payments that the Receiver deems necessary or advisable

   to secure Assets of the Receivership Entities, such as rental payments;

           G.      Take all steps necessary to secure and take exclusive custody of each location

   from which the Receivership Entities operate their businesses. Such steps may include, but are



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   not limited to, any of the following, as the Receiver deems necessary or advisable: (1) securing

   the location by changing the locks and alarm codes and disconnecting any internet access or

   other means of access to the computers, servers, internal networks, or other records maintained at

   that location; and (2) requiring any persons present at the location to leave the premises, to

   provide the Receiver with proof of identification, and/or to demonstrate to the satisfaction of the

   Receiver that such persons are not removing from the premises Documents or Assets of the

   Receivership Entities.    Law enforcement personnel, including, but not limited to, police or

   sheriffs, may assist the Receiver in implementing these provisions in order to keep the peace and

   maintain security.    If requested by the Receiver, the United States Marshal will provide

   appropriate and necessary assistance to the Receiver to implement this Order and is authorized to

   use any necessary and reasonable force to do so;

              H.   Take all steps necessary to prevent the modification, destruction, or erasure of any

   web page or website registered to and operated, in whole or in part, by any Defendants, and to

   provide access to all such web page or websites to Plaintiffs representatives, agents, and

   assistants, as well as Defendants and their representatives;

              I.   Enter into and cancel contracts and purchase insurance as advisable or necessary;

              J.   Prevent the inequitable distribution of Assets and determine, adjust, and protect

   the interests of consumers who have transacted business with the Receivership Entities;

              K.   Make an accounting, as soon as practicable, of the Assets and financial condition

   of the receivership estate and file the accounting with the Court and deliver copies thereof to all

   parties;

              L.   Institute, compromise, adjust, appear m, intervene m, defend, dispose of, or

   otherwise become party to any legal action in state, federal or foreign courts or arbitration



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    proceedings as the Receiver deems necessary and advisable to preserve or recover the Assets of

   the Receivership Entities, or to carry out the Receiver's mandate under this Order, including but

   not limited to, actions challenging fraudulent or voidable transfers;

               M.       Issue subpoenas to obtain Documents and records pertaining to the Receivership,

   and conduct discovery in this action on behalf of the receivership estate, in addition to obtaining

    other discovery as set forth in this Order;

               N.       Open one or more bank accounts at designated depositories for funds of the

    Receivership Entities. The Receiver shall deposit all funds of the Receivership Entities in such

   designated accounts and shall make all payments and disbursements from the receivership estate

    from such accounts.         The Receiver shall serve copies of monthly account statements on all

    parties;

               0.       Maintain accurate records of all receipts and expenditures incurred as Receiver;

               P.       Allow the Plaintiffs representatives, agents, and assistants, as well as

    Defendants' representatives and Defendants themselves, reasonable access to the premises of the

    Receivership Entities, or any other premises where the Receivership Entities conduct business.

    The purpose of this access shall be to inspect and copy any and all books, records, Documents,

    accounts, and other property owned by, or in the possession of, the Receivership Entities or their

    agents.         The Receiver shall have the sole discretion to determine the time, manner, and

    reasonable conditions of such access;

               Q.       Allow the Plaintiffs representatives, agents, and assistants, as well as Defendants

    and their representatives reasonable access to all Documents in the possession, custody, or

    control of the Receivership Entities;




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           R.      Cooperate with reasonable requests for information or assistance from any state or

    federal civil or criminal law enforcement agency;

           S.      Suspend business operations of the Receivership Entities if in the judgment of the

    Receiver such operations cannot be continued legally and profitably;

           T.      If the Receiver identifies a nonparty entity as a Receivership Entity, promptly

    notify the entity as well as the parties, and inform the entity that it can challenge the Receiver's

    determination by filing a motion with the Court. Provided, however, that the Receiver may delay

   providing such notice until the Receiver has established control of the nonparty entity and its

    assets and records, if the Receiver determines that notice to the entity or the parties before the

    Receiver establishes control over the entity may result in the destruction of records, dissipation

    of assets, or any other obstruction of the Receiver's control of the entity; and

           U.      If in the Receiver's judgment the business operations cannot be continued legally

    and profitably, take all steps necessary to ensure that any of the Receivership Entities' web pages

    or websites relating to the activities alleged in the Complaint cannot be accessed by the public, or

    are modified for consumer education and/or informational purposes, and take all steps necessary

    to ensure that any telephone numbers associated with the Receivership Entities cannot be

    accessed by the public, or are answered solely to provide consumer education or information

    regarding the status of operations.

                XIII. TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

           IT IS FURTHER ORDERED that Defendants and any other person, with possession,

    custody or control of property of, or records relating to, the Receivership Entities shall, upon

    notice of this Order by personal service or otherwise, fully cooperate with and assist the Receiver

    in taking and maintaining possession, custody, or control of the Assets and Documents of the



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    Receivership Entities and immediately transfer or deliver to the Receiver possession, custody,

    and control of, the following:

           A.      All Assets held by or for the benefit of the Receivership Entities;

           B.      All Documents of or pertaining to the Receivership Entities;

           C.      All computers, electronic devices, mobile devices and machines used to conduct

    the business of the Receivership Entities;

           D.      All Assets and Documents belonging to other persons or entities whose interests

    are under the direction, possession, custody, or control of the Receivership Entities; and

           E.      All keys, codes, user names and passwords necessary to gain or to secure access

    to any Assets or Documents of or pertaining to the Receivership Entities, including access to

    their business premises, means of communication, accounts, computer systems (onsite and

    remote), Electronic Data Hosts, or other property.

           In the event that any person or entity fails to deliver or transfer any Asset or Document,

    or otherwise fails to comply with any provision of this Section, the Receiver may file an

    Affidavit of Non-Compliance regarding the failure and a motion seeking compliance or a

    contempt citation.

                     XIV.    PROVISION OF INFORMATION TO RECEIVER

           IT IS FURTHER ORDERED that Defendants shall immediately provide to the

    Receiver:

           A.      A list of all Assets and accounts of the Receivership Entities that are held in any

    name other than the name of a Receivership Entity, or by any person or entity other than a

    Receivership Entity;




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          B.      A list of all agents, employees, officers, attorneys, servants and those persons in

   active concert and participation with the Receivership Entities, or who have been associated or

   done business with the Receivership Entities; and

          C.      A description of any documents covered by attorney-client privilege or attorney

   work product, including files where such documents are likely to be located, authors or recipients

   of such documents, and search terms likely to identify such electronic documents.

                         XV.    COOPERATION WITH THE RECEIVER

          IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants' or

   Receivership Entities' officers, agents, employees, and attorneys, all other persons in active

   concert or participation with any of them, and any other person with possession, custody, or

   control of Assets of or records relating to the Receivership entities who receive actual notice of

   this Order shall fully cooperate with and assist the Receiver. This cooperation and assistance

   shall include, but is not limited to, providing information to the Receiver that the Receiver deems

   necessary to exercise the authority and discharge the responsibilities of the Receiver under this

   Order; providing any keys, codes, user names and passwords required to access any computers,

   electronic devices, mobile devices, and machines (onsite or remotely) and any cloud account

   (including specific method to access account) or electronic file in any medium; advising all

   persons who owe money to any Receivership Entity that all debts should be paid directly to the

   Receiver; and transferring funds at the Receiver's direction and producing records related to the

   Assets and sales of the Receivership Entities.

                     XVI.    NON-INTERFERENCE WITH THE RECEIVER

          IT IS FURTHER ORDERED that Defendants; Receivership Entities; Defendants' or

   Receivership Entities' officers, agents, employees, attorneys, and all other persons in active

   concert or participation with any of them, who receive actual notice of this Order, and any other

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   person served with a copy of this Order, are hereby restrained and enjoined from directly or

   indirectly:

           A.     Interfering with the Receiver's efforts to manage, or take custody, control, or

   possession of, the Assets or Documents subject to the receivership;

           B.     Transacting any of the business of the Receivership Entities;

           C.     Transferring, receiving, altering, selling, encumbering, pledging, ass1gnmg,

   liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

   custody of, or in which an interest is held or claimed by, the Receivership Entities; or

           D.     Refusing to cooperate with the Receiver or the Receiver's duly authorized agents

   in the exercise of their duties or authority under any order of this Court.

                                      XVII. STAY OF ACTIONS

           IT IS FURTHER ORDERED that, except by leave of this Court, during the pendency

   of the receivership ordered herein, Defendants, Defendants' officers, agents, employees,

   attorneys, and all other persons in active concert or participation with any of them, who receive

   actual notice of this Order, and their corporations, companies, subsidiaries, divisions, or

   affiliates, and all investors, creditors, stockholders, lessors, customers and other persons seeking

   to establish or enforce any claim, right, or interest against or on behalf of Defendants, and all

   others acting for or on behalf of such persons, are hereby enjoined from taking action that would

    interfere with the exclusive jurisdiction of this Court over the Assets or Documents of the

   Receivership Entities, including, but not limited to:

           A.     Filing or assisting in the filing of a petition for relief under the Bankruptcy Code,

    11 U.S.C. § 101 et seq., or of any similar insolvency proceeding on behalf of the Receivership

   Entities;



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            B.    Commencing, prosecuting, or continuing a judicial, administrative, or other action

   or proceeding against the Receivership Entities, including the issuance or employment of process

   against the Receivership Entities, except that such actions may be commenced if necessary to toll

   any applicable statute of limitations;

            C.    Filing or enforcing any lien on any asset of the Receivership Entities, taking or

   attempting to take possession, custody, or control of any Asset of the Receivership Entities; or

   attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of the Receivership

   Entities, whether such acts are part of a judicial proceeding, are acts of self-help, or otherwise; or

   Provided, however, that this Order does not stay: (1) the commencement or continuation of a

   criminal action or proceeding; (2) the commencement or continuation of an action or proceeding

   by a governmental unit to enforce such governmental unit's police or regulatory power; or (3)

   the enforcement of a judgment, other than a money judgment, obtained in an action or

   proceeding by a governmental unit to enforce such governmental unit's police or regulatory

   power.

                              XVIII. COMPENSATION OF RECEIVER

            IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

   as herein authorized, including counsel to the Receiver and accountants, are entitled to

   reasonable compensation for the performance of duties pursuant to this Order and for the cost of

   actual out-of-pocket expenses incurred by them, from the Assets now held by, in the possession

   or control of, or which may be received by, the Receivership Entities. The Receiver shall file

   with the Court and serve on the parties periodic requests for the payment of such reasonable

   compensation, with the first such request filed no more than sixty (60) days after the date of

   entry of this Order. The Receiver shall not increase the hourly rates used as the bases for such

   fee applications without prior approval of the Court.

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                                     XIX. RECEIVER'S BOND

           IT IS FURTHER ORDERED that the Receiver is not required to file with the Clerk of

   this Court a bond until further order of the Court, conditioned that the Receiver will well and

   truly perform the duties of the office and abide by and perform all acts the Court directs.

           XX.    IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS

           IT IS FURTHER ORDERED that:

           A.      In order to allow Plaintiff and the Receiver to preserve Assets and evidence

   relevant to this action and to expedite discovery, Plaintiff and the Receiver, and their

   representatives, agents, contractors, and assistants, shall have immediate access to the business

   premises and storage facilities, owned, controlled, or used by the Receivership Entities. Such

    locations include, but are not limited to: 550 Fairway Drive, Suite 104, Deerfield Beach, Florida

   33441; 4 730 NW 2nd Avenue, Suite 200, Boca Raton, Florida 33431; 951 Broken Sound

   Parkway, Suite 188, Boca Raton, Florida 33487; and any offsite location or commercial mailbox

   used by the Receivership Entities. The Receiver may exclude Defendants, Receivership Entities,

   and their employees from the business premises during the immediate access.

           B.     Plaintiff and the Receiver, and their representatives, agents, contractors, and

   assistants, are authorized to remove Documents from the Receivership Entities' premises in

   order that they may be inspected, inventoried, and copied. Plaintiff shall return any removed

   materials to the Receiver within five (5) business days of completing inventorying and copying,

   or such time as is agreed upon by Plaintiff and the Receiver;

           C.     Plaintiffs access to the Receivership Entities' documents pursuant to this Section

   shall not provide grounds for any Defendant to object to any subsequent request for documents

   served by Plaintiff.



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          D.      Plaintiff and the Receiver, and their representatives, agents, contractors, and

   assistants, are authorized to obtain the assistance of federal, state and local law enforcement

   officers as they deem necessary to effect service and to implement peacefully the provisions of

   this Order;

          E.      If any Documents, computers, or electronic storage devices containing

   information related to the business practices or finances of the Receivership Entities are at a

   location other than those listed herein, including personal residence(s) of any Defendant, then,

   immediately upon receiving notice of this order, Defendants and Receivership Entities shall

   produce to the Receiver all such Documents, computers, and electronic storage devices, along

   with any codes or passwords needed for access. In order to prevent the destruction of computer

   data, upon service of this Order, any such computers or electronic storage devices shall be

   powered down in the normal course of the operating system used on such devices and shall not

   be powered up or used until produced for copying and inspection; and

          F.      If any communications or records of any Receivership Entity are stored with an

   Electronic Data Host, such Receivership Entity shall, immediately upon receiving notice of this

   order, provide the Receiver with the username, passwords, and any other login credential needed

   to access the communications and records, and shall not attempt to access, or cause a third-party

   to attempt to access, the communications or records.

                     XXI.    DISTRIBUTION OF ORDER BY DEFENDANTS

          IT IS FURTHER ORDERED that Defendants shall immediately provide a copy of this

   Order to each affiliate, telemarketer, marketer, sales entity, successor, assign, member, officer,

   director, employee, agent, independent contractor, client, attorney, spouse, subsidiary, division,

   and representative of any Defendant, and shall, within ten ( I 0) days from the date of entry of this

   Order, and provide Plaintiff and the Receiver with a sworn statement that this provision of the

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    Order has been satisfied, which statement shall include the name(s), physical address(es), phone

    number(s), and email address(es) for each such person or entity who received a copy of the

    Order. Furthermore, Defendants shall not take any action that would encourage officers, agents,

    members, directors, employees, salespersons, independent contractors, attorneys, subsidiaries,

    affiliates, successors, assigns or other persons or entities in active concert or participation with

    them to disregard this Order or believe that they are not bound by its provisions.

                                   XXII. EXPEDITED DISCOVERY

           IT IS FURTHER ORDERED that, notwithstanding the provisions of Federal Rules of

    Civil Procedure 26(d) and (f) and 30(a)(2)(A)(iii), and pursuant to Federal Rules of Civil

    Procedure 30(a), 34, and 45, Plaintiff and the Receiver are granted leave, at any time after

    service of this Order, to conduct limited expedited discovery for the purpose of discovering: (1)

    the nature, location, status, and extent of Defendants' Assets; (2) the nature, location, and extent

    of Defendants' business transactions and operations; (3) Documents reflecting Defendants'

    business transactions and operations; or (4) compliance with this Order. The limited expedited

    discovery set forth in this Section shall proceed as follows:

           A.      Plaintiff and the Receiver may take the deposition of parties and non-parties.

    Forty-eight (48) hours' notice shall be sufficient notice for such depositions. The limitations and

    conditions set forth in Rules 30(a)(2)(A)(ii) and 3 l(a)(2)(A)(ii) of the Federal Rules of Civil

    Procedure regarding subsequent depositions of an individual shall not apply to depositions taken

    pursuant to this Section. Any such deposition taken pursuant to this Section shall not be counted

    towards the deposition limit set forth in Rules 30(a)(2)(A) and 31 (a)(2)(A) and depositions may

    be taken by telephone or other remote electronic means;

           B.      Plaintiff and the Receiver may serve upon parties requests for production of

    Documents or inspection that require production or inspection within five (5) days of service,

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   provided, however, that three (3) days of notice shall be deemed sufficient for the production of

   any such Documents that are maintained or stored only in an electronic format.

          C.      Plaintiff and the Receiver may serve upon parties interrogatories that require

   response within five (5) days after Plaintiff serves such interrogatories;

          D.      The Plaintiff and the Receiver may serve subpoenas upon non-parties that direct

   production or inspection within five (5) days of service.

          E.      Service of discovery upon a party to this action, taken pursuant to this Section,

   shall be sufficient if made by facsimile, email, or by overnight delivery.

          F.      Any expedited discovery taken pursuant to this Section is in addition to, and is not

   subject to, the limits on discovery set forth in the Federal Rules of Civil Procedure and the Local

   Rules of this Court.    The expedited discovery permitted by this Section does not require a

   meeting or conference of the parties, pursuant to Rules 26( d) & (f) of the Federal Rules of Civil

   Procedure.

          G.      The Parties are exempt from making initial disclosures under Federal Rule of

   Civil Procedure 26(a)(l) until further order of this Court.

                                 XXIII. SERVICE OF THIS ORDER

          IT IS FURTHER ORDERED that copies of this Order as well as the Motion for

   Temporary Restraining Order and all other pleadings, Documents, and exhibits filed

   contemporaneously with that Motion (other than the complaint and summons), may be served by

   any means, including facsimile transmission, electronic mail or other electronic messaging,

   personal or overnight delivery, U.S. Mail or FedEx, by agents and employees of Plaintiff, by any

   law enforcement agency, or by private process server, upon any Defendant or any person

   (including any financial institution) that may have possession, custody or control of any Asset or

   Document of any Defendant, or that may be subject to any provision of this Order pursuant to

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    Rule 65(d)(2) of the Federal Rules of Civil Procedure. For purposes of this Section, service upon

    any branch, subsidiary, affiliate or office of any entity shall effect service upon the entire entity.

                   XXIV. CORRESPONDENCE AND SERVICE ON PLAINTIFF

            IT IS FURTHER ORDERED that, for the purpose of this Order, all correspondence

    and service of pleadings on Plaintiff shall be addressed to:

                    Evan Mendelson
                    Christopher Erickson
                    Brian Welke
                    600 Pennsylvania A venue, NW
                    Mailstop CC-9528
                    Washington, DC 20580
                    Phone: (202) 326-3320
                    Fax : (202) 326-3197
                    emendelson@ftc.gov
                    cerickson@ftc.gov
                    bwelke@ftc.gov

                          XXV. PRELIMINARY INJUNCTION HEARING

            IT IS FURTHER ORDERED that, pursuant to Federal Rule of Civil Procedure 65(b),

    Defendants shall appear before this Court on the 23rd day of May, 2018, at 9:30 a.m., to show

    cause, if there is any, why the Court should not enter a preliminary injunction, pending final

    ruling on the Complaint against Defendants, enjoining the violations of the law alleged in the

    Complaint, continuing the freeze of their Assets, continuing the receivership, and imposing such

    additional relief as may be appropriate.

       XXVI. BRIEFS AND AFFIDAVITS CONCERNING PRELIMINARY INJUNCTION

            IT IS FURTHER ORDERED that:

            A.      Defendants shall file with the Court and serve on Plaintiffs counsel any

    answering pleadings, affidavits, motions, expert reports or declarations, or legal memoranda no

    later than four (4) days prior to the order to show cause hearing scheduled pursuant to this Order.

    Plaintiff may file responsive or supplemental pleadings, materials, affidavits, or memoranda with

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   the Court and serve the same on counsel for Defendants no later than one (1) day prior to the

   order to show cause hearing. Provided that such affidavits, pleadings, motions, expert reports,

   declarations, legal memoranda or oppositions must be served by personal or overnight delivery,

   facsimile or email, and be received by the other party or parties no later than 5:00 P.M. Eastern

   Time on the appropriate dates set forth in this Section.

          B.      An evidentiary hearing on Plaintiffs request for a preliminary injunction is not

   necessary unless Defendants demonstrate that they have, and intend to introduce, evidence that

   raises a genuine and material factual issue. The question of whether this Court should enter a

   preliminary injunction shall be resolved on the pleadings, declarations, exhibits, and memoranda

   filed by, and oral argument of, the parties. Live testimony shall be heard only on further order of

   this Court. Any motion to permit live testimony shall be filed with the Court and served on

   counsel for the other parties at least five (5) days prior to the preliminary injunction hearing in

   this matter.   Such motion shall set forth the name, address, and telephone number of each

   proposed witness, a detailed summary or affidavit revealing the substance of each proposed

   witness's expected testimony, and an explanation of why the taking of live testimony would be

   helpful to this Court. Any papers opposing a timely motion to present live testimony or to

   present live testimony in response to another party's timely motion to present live testimony

   shall be filed with this Court and served on the other parties at least three (3) days prior to the

   order to show cause hearing.

          Provided, however, that service shall be performed by personal or overnight delivery,

   facsimile or email, and Documents shall be delivered so that they shall be received by the other

   parties no later than 5:00 P.M. Eastern Time on the appropriate dates provided in this Section.




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                             XXVII.       DURATION OF THE ORDER

          IT IS FURTHER ORDERED that this Order shall expire on May 23, 2018 at 9:30

   a.m., unless before such time the Order is extended for an additional period pursuant to Federal

   Rule of Civil Procedure 65(b )(2).

                         XXVIII.        RETENTION OF JURISDICTION

          IT IS FURTHER ORDERED that the Court retains jurisdiction of this matter for all

   purposes.

          DONE AND ORDERED in Miami, Florida, this 8th day of May, 2018.




                                                         C~I~f=.~~~
                                                         UNITED STATES DISTRICT JUDGE

   cc:    counsel ofrecord




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                     PLAINTIFF'S EXHIBIT 38 - 3
                           FTC v. Student Debt Doctor, LLC
     1:20-cv-24721-UU Document
Case 0:17-cv-61937-WPD Document1-5
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA



  FEDERAL TRADE COMMISSION, and

                   Plaintiff,
                                                      SEALED
              v.
                                                      17-CV-61937 WPD- - - - - -
  STUDENT DEBT DOCTOR LLC, a
  Florida limited liability company,

  and

  GARY BRENT WHITE, JR., individually
  and as an officer of Defendant Student Debt
  Doctor LLC,

           Defendants.



       Ex Parte TEMPORARY RESTRAINING ORDER WITH ASSET FREEZE,
  APPOINTMENT OF A RECEIVER, AND OTHER EQUITABLE RELIEF, AND ORDER
    TO SHOW CAUSE WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE

         Plaintiff, the Federal Trade Commission ("FTC"), having filed its Complaint for

  Permanent Injunction and Other Equitable Relief ("Complaint"), pursuant to Section l 3(b) of the

  Federal Trade Commission Act ("FTC Act"), 15 U.S.C. § 53(b) and the Telemarketing and

  Consumer Fraud and Abuse Prevention Act ("Telemarketing Act"), 15 U.S.C. §§ 6101-6108,

  now moves, pursuant to Federal Rule of Civil Procedure 65(b ), for an ex parte Temporary

  Restraining Order with Asset Freeze, Appointment of a Receiver, and Other Equitable Relief,

  and Order to Show Cause Why a Preliminary Injunction Should Not Issue ("Order") against

  Defendants Gary Brent White, Jr. and Student Debt Doctor LLC.

         The Court, having considered the Complaint, the ex parte motion and memorandum for a

  temporary restraining order, and all declarations, exhibits, and points and authorities attached in
Case 0:17-cv-61937-WPD
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                                                                     Page 294ofof34446




  support, and being otherwise advised, GRANTS Plaintiffs motion for a temporary restraining

  order and FINDS and ORDERS as follows:

  I.      FINDINGS OF FACT

          A.      This Court has jurisdiction over the subject matter of this case, and there is good

  cause to believe it will have jurisdiction over all parties hereto;

          B.      Venue in this district is proper;

          C.      There is good cause to believe that Defendants have engaged in and are likely to

  engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a) and the

  FTC's Trade Regulation Rule entitled the "Telemarketing Sales Rule" ("TSR"), 16 C.F.R. Part

  310;

          D.      There is good cause to believe that immediate and irreparable harm will result

  from Defendants' ongoing violations of the FTC Act and the TSR, unless Defendants are

  restrained and enjoined by Order of this Court;

         E.       There is good cause to believe that immediate and irreparable damage to this

  Court's ability to grant effective final relief for consumers (including monetary restitution,

  rescission, disgorgement, or refunds) will occur from the sale, transfer, destruction, or other

  disposition or concealment by Defendants of assets, Documents, records, or other evidence if

  Defendants are provided with Plaintiffs application, assets of the Defendants are not frozen, and

  the Corporate Defendant is not placed into receivership. Therefore, there is good cause for the

  Court to: (1) issue this Order without prior notice to Defendants pursuant to Federal Rule of

  Procedure 65(b); (2) freeze the assets of Defendants; (3) appoint a Receiver over the

  Receivership Entities; (4) grant Plaintiff and the Receiver immediate access to the Corporate

  Defendant's business premises; and (5) order the ancillary relief described below;
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          F.      Weighing the equities and considering Plaintiffs likelihood of ultimate success

  on the merits, it is in the public interest that the Court enter this ex parte Order that temporarily:

  (1) enjoins Defendants from making misrepresentations and violating the TSR; (2) freezes the

  assets of the Defendants; (3) appoints a Receiver over the Receivership Entities; (4) requires the

  Defendants to fully disclose all their assets; (5) grants permission to Plaintiff and the Receiver to

  immediately access the business premises of the Corporate Defendant and the records of the

  Corporate Defendant; (6) orders Defendants to show cause why a preliminary injunction should

  not issue; and (7) provides other equitable relief; and

          G.      No security is required of any agency of the United States for issuance of a

  temporary restraining order. Fed. R. Civ. P. 65(c).

  II.     DEFINITIONS

          For purposes of this Order, the following definitions shall apply:

          A.      "Assisting others" includes, but is not limited to: (a) providing administrative

  services, including, but not limited to, filing business registrations with federal, state, or local

  government entities, establishing bank or merchant accounts, and/or handling banking

  transactions; (b) acting as an officer, director, or registered agent of a business entity; (c)

  establishing mail accounts or mail receiving boxes, and/or providing mailing or printing services;

  (d) performing customer service functions, including, but not limited to, forwarding mail

  received from consumers and/or receiving or responding to consumer complaints; (e)

  formulating or providing, or arranging for the formulation or provision of, any sales script or

  other marketing material; (f) providing names of, or assisting in the generation of, potential

  customers; and (g) performing or providing marketing or billing services of any kind, including,

  but not limited to, performing or providing telemarketing services.
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         B.      "Corporate Defendant" means Student Debt Doctor LLC and its divisions,

  subsidiaries, affiliates, successors, assigns, and any fictitious business entities or business names

  created or used by these entities, or any of them.

          C.     "Defendant(s)" means Corporate Defendant and Gary Brent White, Jr.,

  individually, collectively, or in any combination.

         D.      "Debt relief product or service" means any product, service, plan, or program

  represented, expressly or by implication, to renegotiate, settle, or in any way alter the terms

  of payment or other terms of a debt or obligation between a person and one or more

  creditors or debt collectors, including a reduction in the balance, interest rate, or fees owed

  by a person to a creditor or debt collector.

         E.      "Document" or "Documents" means any materials listed in Federal Rule of Civil

  Procedure 34(a), and includes writings, drawings, graphs, charts, photographs, audio and video

  recordings, computer records, and other data compilations from which information can be

  obtained and translated, if necessary, through detection devices into reasonably usable form. A

  draft or non-identical copy is a separate document within the meaning of the term.

          F.     "Electronic Data Host" means any person or entity in the business of storing,

  hosting, or otherwise maintaining electronically stored information. This includes, but is not

  limited to, any entity hosting a website or server, and any entity providing "cloud based"

  electronic storage.

         G.      "Financial institution" means any bank, savings and loan institution, credit

  union, or any financial depository of any kind, including, but not limited to, any brokerage

  house, trustee, broker-dealer, escrow agent, title company, commodity trading company, or

  precious metal dealer.
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         H.      "Individual Defendant" means Gary Brent White, Jr.

         I.      "Person" means a natural person, an organization or other legal entity, including

  a corporation, partnership, sole proprietorship, limited liability company, association,

  cooperative, or any other group or combination acting as an entity.

         J.      "Receivership Entity(ies)" means Corporate Defendant as well as any other

  entity that the Receiver determines is controlled or owned by any Defendant and ( 1) conducted

  any business related to Defendants' marketing of debt relief services, (2) commingled or pooled

  assets with any Defendant, or (3) otherwise participated in the transfer or receipt of assets

  stemming from any business activity that is the subject of the Complaint in this matter.

         K.      "Telemarketer" means any Person who, in connection with Telemarketing,

  initiates or receives telephone calls to or from a customer or donor.

         L.      "Telemarketing" means any plan, program, or campaign that is conducted to

  induce the purchase of goods or services or a charitable contribution by use of one or more

  telephones.

  III.   PROHIBITION ON DECEPTIVE REPRESENTATIONS

         IT IS HEREBY ORDERED that Defendants, together with their officers, agents,

  directors, servants, employees, attorneys, and all other persons in active concert or participation

  with any of them, who receive actual notice of this Order by personal service or otherwise,

  whether acting directly or through any corporation, subsidiary, division, or other device, in

  connection with the advertising, marketing, promotion, offering for sale, or sale of any good or

  service, including any debt relief product or service, are hereby temporarily restrained and

  enjoined from misrepresenting, or assisting others in misrepresenting, directly or indirectly,

  expressly or by implication, any material fact, including, but not limited to, that consumers who
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  purchase Defendants' debt-relief services generally will have their monthly payments eliminated

  or reduced or their loan balances forgiven in whole or in part, often in five years or less.


  IV.    RESTRICTIONS ON ADVANCE FEES FOR DEBT RELIEF AND CREDIT
         REPAIR SERVICES

         IT IS HEREBY ORDERED that Defendants, together with their officers, agents,

  directors, servants, employees, attorneys, and all other persons in active concert or participation

  with any of them, who receive actual notice of this Order by personal service or otherwise,

  whether acting directly or through any corporation, subsidiary, division, or other device, in

  connection with the advertising, marketing, promotion, offering for sale, or sale of any good or

  service, including any debt relief product or service, are hereby temporarily restrained and

  enjoined from:


         A.        Providing, offering to provide, or arranging for others to provide any debt relief

  service and requesting or receiving payment of any fees or consideration for any debt relief

  service until and unless:


                   1.     The seller or telemarketer has renegotiated, settled, reduced, or otherwise

         altered the terms of at least one debt pursuant to a settlement agreement, debt

         management plan, or other such valid contractual agreement executed by the customer;

                   2.     The customer has made at least one payment pursuant to that settlement

         agreement, debt management plan, or other valid contractual agreement between the

         customer and the creditor or debt collector; and

                   3.     To the extent that debts enrolled in a service are renegotiated, settled,

         reduced, or otherwise altered individually, the fee or consideration either:
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                         a.      Bears the same proportional relationship to the total fee for

                 renegotiating, settling, reducing, or altering the terms of the entire debt balance as

                 the individual debt amount bears to the entire debt amount. The individual debt

                 amount and the entire debt amount are those owed at the time the debt was

                 enrolled in the service; or

                         b.      Is a percentage of the amount saved as a result of the renegotiation,

                 settlement, reduction, or alteration. The percentage charged cannot change from

                 one individual debt to another. The amount saved is the difference between the

                 amount owed at the time the debt was enrolled in the service and the amount

                 actually paid to satisfy the debt; and

  V.      ASSET FREEZE

          IT IS FURTHER ORDERED that Defendants, together with their officers, agents,

  directors, servants, employees, attorneys, and all other persons in active concert or participation

  with any of them, who receive actual notice of this Order by personal service or otherwise,

  whether acting directly or through any trust, corporation, subsidiary, division, or other device,

  except as provided herein, are hereby temporarily restrained and enjoined from, directly or

  indirectly:

          A.     Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

  concealing, dissipating, disbursing, assigning, spending, withdrawing, granting a lien or security

  interest or other interest in, or otherwise disposing of any funds, real or personal property,

  accounts, contracts, shares of stock, lists of consumer names, or other assets, or any interest

  therein, wherever located, including outside the territorial United States, that are:

                  1.     Owned, controlled, or held, in whole or in part, by any Defendant;
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                 2.      Held, in whole or in part, for the direct or indirect benefit of any

         Defendant;

                 3.      In the actual or constructive possession of any Defendant;

                 4.      Held by an agent, including an attorney, of any Defendant as a retainer for

         the agent's provision of services to any Defendant; or

                 5.      Owned or controlled by, or in the actual or constructive possession of, or

         otherwise held for the benefit of any corporation, partnership, asset protection trust, or

         other entity that is directly or indirectly owned, managed, or controlled by any Defendant,

         or of which any Defendant is an officer, director, manager or member. This includes, but

         is not limited to, any assets held by, for, or subject to access by any Defendant at any

         bank, credit union, or savings and loan institution, or at or with any broker-dealer,

         retirement fund custodian, money market or mutual fund, trustee, escrow agent, storage

         company, title company, insurance company, commodity trading company, precious

         metal dealer, payment processor, credit card processor, acquiring bank, merchant bank,

         independent sales organization, third party processor, payment gateway, automated

         clearing house processor, network transaction processor, bank debit processing agent,

         customer service agent, commercial mail receiving agency, mail holding or forwarding

         company, or other financial institution or depository of any kind, either within or outside

         the United States; or

                 6.      Held in any account for which any Defendant is, or was on the date that

         this Order was signed, an authorized signer;

         B.      Opening or causing to be opened any safe deposit boxes, commercial mail boxes,

  or storage facilities titled in the name of any Defendant, subject to access by any Defendant, or
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   under any Defendant's control, or private mail boxes titled in the name of, subject to access by,

   or under the control of the Corporate Defendant;

          C.      Cashing any checks or depositing or processing any payments from consumers,

   customers, or clients of Defendants;

          D.      Incurring charges or cash advances on any credit or bank card issued in the name,

   individually or jointly, of any Defendant or any corporation, partnership, or other entity directly

   or indirectly owned, managed, or controlled by any Defendant or of which any Defendant is an

   officer, director, member or manager. This includes any corporate bank card or corporate credit

   card account for which any Defendant is or was on the date that this Order was signed, an

   authorized signor; or

          E.      Incurring liens or other encumbrances on real property, personal property, or

   other assets in the name, individually or jointly, of any Defendant or of any corporation,

   partnership, or other entity directly or indirectly owned, managed, or controlled by any

   Defendant.

          F.      The assets affected by this Section shall include: ( 1) all assets of Defendants as of

   the time this Order is entered; and (2) assets obtained by Defendants after this Order is entered if

   those assets are derived from any activity that is the subject of the Complaint in this matter. This

   Section does not prohibit any transfers to the Receiver of repatriation of foreign assets

   specifically required by this Order.

   VI.    DUTIES OF HOLDERS OF ASSETS OF DEFENDANTS

          IT IS FURTHER ORDERED that any Person, including but not limited to, any

   financial or brokerage institution, automated clearing house processor, credit card processor,

   payment processor, merchant bank, acquiring bank, independent sales organization, third party
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   processor, payment gateway, insurance company, or business entity that: (a) is served with a

   copy of this Order or otherwise has actual or constructive knowledge of this Order, and (b) holds,

   controls, or maintains custody of, or has held, controlled, or maintained custody of at any time

   since January 2014, any account or asset (including reserve funds held by any automated

   clearing house processor, credit card processor, payment processor, merchant bank, acquiring

   bank, independent sales organization, third party processor, payment gateway, insurance

   company, or other entity) of any Defendant or of any corporation, partnership, asset protection

   trust, or other entity that is directly or indirectly owned, managed or controlled by any Defendant

   or of which any Defendant is or was an officer, director, manager, or member shall:

          A.      Hold and retain within its control and prohibit the withdrawal, removal,

   assignment, transfer, pledge, hypothecation, encumbrance, disbursement, dissipation,

   relinquishment, conversion, sale, liquidation, or other disposal of any such account or other

   assets, as well as all Documents or other property related to such accounts or other assets;

          B.      Deny any Person, except the Receiver, access to any safe deposit box or storage

   facility that is titled in the name of any Defendant either individually or jointly, or otherwise

   subject to access by any Defendant;

          C.      Provide Plaintiffs counsel and the Receiver, within three (3) days ofreceiving a

   copy of this Order, a sworn statement setting forth:

                   1.     The identification number of each account or asset;

                  2.      The balance of each such account, or a description of the nature and value

          of each such asset as of the close of business on the day on which a copy of this Order

          was provided and, if the account or asset has been closed or removed, the date closed or
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          removed, the total funds removed in order to close the account, and the name of the

          Person or entity to whom such account or asset was remitted; and

                  3.      The identification and location of any safe deposit box or storage facility

          that is either titled in the name, individually or jointly, of any Defendant , or is otherwise

          subject to access or control by any Defendant; and

          D.      Within three (3) days of a request from a Plaintiff's counsel or the Receiver,

   provide Plaintiff and the Receiver with copies of all records or other Documents pertaining to

   each such account or asset, including, but not limited to, originals or copies of account

   applications, account statements, corporate resolutions, signature cards, checks, drafts, deposit

   tickets, transfers to and from the accounts, including wire transfers and wire transfer instructions,

   all other debit and credit instruments or slips, currency transaction reports, 1099 forms, and all

   logs and records pertaining to such safe deposit boxes and storage facilities;

          E.      Plaintiff may properly serve this Order on any financial or brokerage institution,

   business entity or Person that holds, controls or maintains custody of any account or other asset

   of any Defendant or has held, controlled or maintained custody of any account or other asset of

   any Defendant at any time, by facsimile transmission, hand delivery, or overnight carrier; and

          F.      This Section shall apply to existing accounts and other assets, assets deposited or

   accounts opened after the effective date of this Order, and any accounts or other assets

   maintained, held, or controlled since January 2014. This Section shall not prohibit transfers in

   accordance with any provision of this Order, any further order of the Court, or by written

   agreement of the parties.

   VII.   FINANCIAL REPORTS
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          IT IS FURTHER ORDERED that each Defendant, within three (3) days of service of

   this Order, shall prepare and deliver to counsel for Plaintiff and the Receiver:

          A.      Completed financial statements on the forms served on the Defendants with this

   Order as Attachment A (Financial Statement of Individual Defendant) for themselves

   individually, and Attachment B (Financial Statement of Corporate Defendant) for each business

   entity under which they conduct business or of which they are an officer, director, member, or

   manager, and for each trust for which any Defendant is a trustee. The financial statement shall be

   accurate as of the date of entry of this Order and signed under penalty of perjury. Each

  Defendant shall include in the financial statements all information requested in the statements,

   including a full listing, verified under oath, of all accounts, funds, and other assets, whether

   located within or outside the territory of the United States. Defendants shall attach to these

   completed financial statements copies of all local, state, provincial, and federal income and

  property tax returns, with attachments and schedules, as called for by the instructions to the

   financial statements;

          B.      The name, address, and telephone number of each attorney, accountant, financial

  planner, investment advisor, stock broker or other individual, corporation, or partnership whom

   any of them have used for financial, business, trust, or tax advice or services since January 1,

  2014; and

          C.      A completed IRS Form 4506, served on the Defendants with this Order as

  Attachment C, requesting tax returns for the past four years (2013-2016) and delivered to

   counsel for the FTC at the following address:

                                               Michael Liggins
                                          Federal Trade Commission
                                      225 Peachtree Street, NE, Suite 1500
                                            Atlanta, Georgia 30303
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   VIII. PRESERVATION OF RECORDS

          IT IS FURTHER ORDERED that Defendants and their officers, agents, servants,

   employees, attorneys, and all other Persons in active concert or participation with any of them,

   who receive actual notice of this Order by personal service or otherwise, whether acting directly

   or through any trust, corporation, subsidiary, division, or other device, are hereby temporarily

   restrained and enjoined from:

          A.      Failing to create and maintain books, records, accounts, bank statements, current

   accountants' reports, general ledgers, general journals, cash receipts ledgers, cash disbursements

   ledgers and source Documents, Documents indicating title to real or personal property, and any

   other Documents or data which, in reasonable detail, accurately, fairly and completely reflect the

   Defendants' incomes, disbursements, transactions, dispositions, and use of Defendants' assets;

   and

          B.      Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

   transferring, or otherwise disposing of, in any manner, directly or indirectly, any Documents,

   including electronically stored materials, that relate in any way to: (1) the business, business

   practices, assets, or business or personal finances of any Defendant or any entity directly or

   indirectly under the control of any Defendant; (2) any webpage or website operated, in whole or

   in part, on any Defendant's behalf; and (3) any electronic communication sent to or received by

   Defendants.

   IX.    REPORT NEW BUSINESS ACTIVITY

          IT IS FURTHER ORDERED that Defendants and their officers, agents, servants,

   employees, attorneys, and all other Persons in active concert or participation with any of them,

   who receive actual notice of this Order by personal service or otherwise, whether acting directly
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   or through any trust, corporation, subsidiary, division, or other device, are hereby temporarily

   restrained and enjoined from creating, operating, or exercising any control over any new

   business entity, whether newly formed or previously inactive, including any company, limited

   liability company, partnership, limited partnership, joint venture, sole proprietorship, or

   corporation, without first providing Plaintiff with a written statement disclosing: (1) the name of

   the business entity; (2) the address, telephone number, e-mail address, and website address of the

   business entity; (3) the names of the business entity's officers, directors, principals, managers,

   and employees; and (4) a detailed description of the business entity's intended activities.

   X.     PROHIBITION ON RELEASE OF CONSUMER INFORMATION

          IT IS FURTHER ORDERED that Defendants and their officers, agents, servants,

   employees, attorneys, and all other persons or entities in active concert or participation with any

   of them, who receive actual notice of this Order by personal service or otherwise, whether acting

   directly or through any trust, corporation, subsidiary, division, or other device, are hereby

   temporarily restrained and enjoined from selling, renting, leasing, transferring, or otherwise

   disclosing, using, or benefitting from the name, address, birth date, telephone number, e-mail

   address, Social Security number, Social Insurance number, credit card number, bank account

   number, or other financial or identifying personal information of any person from whom or about

   whom any Defendant obtained such information in connection with activities alleged in

   Plaintiffs Complaint;

          Provided, that Defendants may disclose such financial or identifying personal

   information to a law enforcement agency or as required by any law, regulation, or court order.
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   XI.    TEMPORARY RECEIVER

          A.      APPOINTMENT OF TEMPORARY RECEIVER

          IT IS FURTHER ORDERED that Robert Carey is appointed Temporary Receiver

   ("Receiver") for the Receivership Entities with the full power of an equity receiver. The

   Receiver shall be the agent of this Court, and solely the agent of this Court, in acting as Receiver

   under this Order. The Receiver shall be accountable directly to this Court. The Receiver shall

   comply with all Local Rules of this Court governing receivers.

          B.      RECEIVERSHIP DUTIES

          IT IS FURTHER ORDERED that the Receiver is directed and authorized to

   accomplish the following:

                  1.      Assume full control of the Receivership Entities by removing, as the

          Receiver deems necessary or advisable, any director, officer, employee, independent

          contractor, or agent of the Receivership Entities, including any Individual Defendant,

          from control of, management of, or participation in, the affairs of the Receivership Entity;

                  2.      Conserve, hold, manage, and prevent the loss of all assets of the

          Receivership Entities, and perform all acts necessary or advisable to preserve the value of

          those assets, including, but not limited to, obtaining an accounting of the assets and

          preventing transfer, withdrawal, or misapplication of assets, and including the authority

          to liquidate or close out any open securities or commodity futures positions of the

          Receivership Entities. The Receiver shall have full power to sue for, collect, and receive,

          all assets of the Receivership Entities and other persons or entities whose interests are

          now held by or under the direction, possession, custody, or control of the Receivership

          Entities.
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                Provided, however, that the Receiver shall not attempt to collect any amount from

        a consumer or to allow the Receivership Entities to continue to debit or otherwise charge

         a consumer's account, if the Receiver believes the consumer was a victim of the

        deceptive acts or practices alleged in the Complaint in this matter;

                3.      Obtain, conserve, hold, manage, and prevent the loss of all Documents of

        the Receivership Entities, and perform all acts necessary or advisable to preserve such

        Documents. The Receiver shall: divert mail; preserve all Documents of the Recievership

         Entities that are accessible via electronic means (such as online access to financial

        accounts and access to electronic Documents held onsite or by Electronic Data Hosts), by

        changing usernames, passwords or other log-in credentials; and take possession of all

        electronic Documents of the Receivership Entities stored onsite or remotely.

                4.      Use any means necessary to secure and take exclusive custody of each

        location from which the Receivership Entities operate their businesses. Such steps may

        include, but are not limited to, the following as the Receiver deems necessary or

        advisable: (a) serving this Order; (b) completing a written inventory of all receivership

         assets; (c) obtaining pertinent information from all employees and other agents of the

         Receivership Entities, including, but not limited to, the name, home address, Social

         Security number, job description, method of compensation, and all accrued and unpaid

         commissions and compensation of each such employee or agent; (d) videotaping all

        portions of the locations; (e) securing the locations by changing the locks and alarm

         codes and disconnecting any internet access or other means of access to the computers,

         servers, internal networks, or other records maintained at the locations; (f) requiring any

        persons present on the premises at the time this Order is served to leave the premises, to
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        provide the Receiver with proof of identification, or to demonstrate to the satisfaction of

        the Receiver that such persons are not removing from the premises Documents or assets

        of the Receivership Entities; and (g) employ the assistance of law enforcement officers as

        the Receiver deems necessary to keep the peace and maintain security.

               5.      Enter into contracts and purchase insurance as advisable or necessary;

               6.      Prevent the inequitable distribution of assets and determine, adjust, and

        protect the interests of consumers and creditors who have transacted business with the

        Receivership Entities;

               7.      Manage and administer the business of the Receivership Entities until

        further order of this Court by performing all incidental acts that the Receiver deems to be

        advisable or necessary, which includes retaining, hiring, or dismissing any employees,

        independent contractors, or agents;

               8.      Choose, engage, and employ attorneys, accountants, appraisers, and other

        independent contractors and technical specialists, as the Receiver deems advisable or

        necessary in the performance of duties and responsibilities under the authority granted by

        this Order;

               9.      Make payments and disbursements from the receivership estate that are

        necessary or advisable for carrying out the directions of, or exercising the authority

        granted by, this Order. The Receiver shall apply to the Court for prior approval of any

        payment of any debt or obligation incurred by the Receivership Entities prior to the date

        of entry of this Order, except payments that the Receiver deems necessary or advisable to

        secure assets of the Receivership Entities, such as rental payments;
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                10.     Determine and implement the manner in which the Receivership Entities

        will comply with, and prevent violations of, this Order and all other applicable laws;

                11.     Institute, compromise, adjust, appear in, intervene in, or become party to

         such actions or proceedings in state, federal, or foreign courts that the Receiver deems

        necessary and advisable to preserve or recover the assets of the Receivership Entities or

        that the Receiver deems necessary and advisable to carry out the Receiver's mandate

        under this Order;

                12.     Defend, compromise, adjust, or otherwise dispose of any or all actions or

        proceedings instituted in the past or in the future against the Receiver in his or her role as

        Receiver, or against the Receivership Entities that the Receiver deems necessary and

        advisable to preserve the assets of the Receivership Entities or that the Receiver deems

        necessary and advisable to carry out the Receiver's mandate under this Order;

                13.     Issue subpoenas to obtain Documents and records pertaining to the

        receivership, and conduct discovery in this action on behalf of the receivership estate;

                14.     Take all steps necessary to prevent the modification, destruction, or

        erasure of any web page, website, or mobile app registered to and operated, in whole or

        in part, by any Receivership Entity, and to provide access to all such web pages,

        websites, or mobile apps to Plaintiff's representatives, agents, and assistants, as well as

        Defendants and their representatives;

                15.     Open one or more bank accounts as designated depositories for funds of

        the Receivership Entities. The Receiver shall deposit all funds of the Receivership

        Entities in such a designated account and shall make all payments and disbursements

        from the receivership estate from such an account;
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                  16.     Open all mail directed to or received by or at the premises, or post office

          or private or commercial mail boxes of the Receivership Entities, and to inspect all mail

          opened prior to the entry of this Order, to determine whether items or information therein

          fall within the mandates of this Order. In connection therewith, the Receiver is

          authorized to instruct the United States Postmaster and anyone in possession or control of

          a private or commercial mailbox to hold and/or reroute mail directed to any of the

          Receivership Entities. The Receivership Entities are directed not to open a new mailbox

          or take any steps or make any arrangements to receive mail in contravention of this

          Order, whether through the United States mail, a private or commercial mail depository,
                  .       .
          or couner service;

                  17.     Maintain accurate records of all receipts and expenditures that he or she

          makes as Receiver;

                   18.    Cooperate with reasonable requests for information or assistance from any

          state or federal law enforcement agency, including Plaintiff;

                   19.    Allow the Plaintiffs representatives, agents, and assistants, as well as

          Defendants and their representatives reasonable access to all Documents in the

          possession, custody, or control of the Receivership Entities; and

                  20.     File reports with the Court on a timely and reasonable basis.

                  C. RECEIVER'S REPORTS

          IT IS FURTHER ORDERED that the Receiver shall report to this Court on or before the

   date set for the hearing to Show Cause regarding the Preliminary Injunction, regarding: (1) the

   steps taken by the Receiver to implement the terms of this Order; (2) the value of all liquidated

   and unliquidated assets of the Receivership Entities; (3) the sum of all the liabilities of the
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   Receivership Entities; (4) the steps the Receiver intends to take in the future to: (a) prevent any

   diminution in the value of assets of the Receivership Entities, (b) pursue receivership assets from

   third parties, and (c) adjust the liabilities of the Receivership Entities, if appropriate; (5) whether

   the business of the Receivership Entities can be operated lawfully and profitably; and (6) any

   other matters which the Receiver believes should be brought to the Court's attention.

          Provided, however, if any of the required information would hinder the Receiver's ability

   to pursue receivership assets, the portions of the Receiver's report containing such information

   may be filed under seal and not served on the parties.

          D.       COOPERATION AND NON-INTERFERENCE WITH THE RECEIVER

           IT IS FURTHER ORDERED that:

                   1.      Defendants; Receivership entities; Defendants' or Receivership Entities'

           officers, agents, servants, employees, and attorneys, and all other Persons in active

           concert or participation with any of them, who receive actual notice of this Order, and

           any other Person served with a copy of this Order, by personal service or otherwise,

          whether acting directly or through any trust, corporation, subsidiary, division, or other

           device, shall fully cooperate with and assist the Receiver. Entities obligated to cooperate

          with the Receiver under this provision include, but are not limited to, banks, broker-

           dealers, savings and loans institutions, escrow agents, title companies, commodity trading

           companies, precious metals dealers, automated clearing house processors, credit card

          processors, payment processors, merchant banks, acquiring banks, independent sales

           organizations, third party processors, payment gateways, insurance companies, and other

          financial institutions and depositories of any kind, as well as common carriers,
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        telecommunication companies, and third-party billing agents. This cooperation and

        assistance shall include, but not be limited to:

                        a.     Providing any information to the Receiver that the Receiver deems

               necessary to exercising the authority and discharging the responsibilities of the

               Receiver under this Order;

                       b.      Providing any keys, codes, user names, and passwords required to

               access any computers, electronic devices, and machines (onsite or remotely) and

               any cloud account (including specific method to access account) or electronic file

               in any medium;

                       c.      Advising all Persons who owe money to the Receivership Entities

               that all debts should be paid directly to the Receiver;

                        d.     Transferring funds at the Receiver's direction and producing

               records related to the assets and sales of the Receivership Entities.

               2.      Defendants, their officers, agents, servants, employees, and attorneys, and

        all other persons in active concert or participation with any of them, who receive actual

        notice of this Order by personal service or otherwise, whether acting directly or through

        any trust, corporation, subsidiary, division, or other device, are restrained and enjoined

        from directly or indirectly:

                       a.      Transacting any of the business of the Receivership Entities;

                       b.      Destroying, secreting, defacing, transferring, or otherwise altering

                or disposing of any Documents of the Receivership Entities, including, but not

               limited to, books, records, accounts, writings, drawings, graphs, charts,

               photographs, audio and video recordings, computer records, and other data
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              compilations, electronically-stored records, or any other records of any kind or

              nature;

                         c.   Transferring, receiving, altering, selling, encumbering, pledging,

              assigning, liquidating, or otherwise disposing of any assets owned, controlled, or

              in the possession or custody of, or in which an interest is held or claimed by, the

              Receivership Entities, or the Receiver;

                         d.   Excusing debts owed to the Receivership Defendants;

                         e.   Failing to notify the Receiver of any asset, including accounts, of

              the Receivership Entities held in any name other than the name of the

              Receivership Entities, or by any Person or entity other than the Receivership

              Entities, or failing to provide any assistance or information requested by the

              Receiver in connection with obtaining possession, custody, or control of such

               assets;

                         f.   Doing any act or refraining from any act whatsoever to interfere

              with the Receiver's taking custody, control, possession, or managing of the assets

               or Documents subject to this receivership; to harass or interfere with the Receiver

               in any way; to interfere in any manner with the exclusive jurisdiction of this Court

               over the assets or Documents of the Receivership Entities; or to refuse to

               cooperate with the Receiver or the Receiver's duly authorized agents in the

               exercise of their duties or authority under any Order of this Court; or

                         g.   Filing, or causing to be filed, any petition on behalf of the

               Receivership Defendants for relief under the United States Bankruptcy Code, 11

               U.S.C. § 101, et seq., without prior permission from this Court.
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                3.      If the Receiver identifies a nonparty entity as a Receivership Entity, the

         Receiver shall promptly notify the entity as well as the parties, and inform the entity that

         it can challenge the Receiver's determination by filing a motion with this Court.

                Provided, however, that the Receiver may delay providing such notice until the

         Receiver has established control of the nonparty entity and its assets and records, if the

         Receiver determines that notice to the entity or the parties before the Receiver establishes

         control over the entity may result in the destruction of records, dissipation of assets, or

         any other obstruction of the Receiver's control of the entity;

                4.      If in the Receiver's judgment the business operations cannot be continued

         legally and profitably, the Receiver shall take all steps necessary to ensure that any of the

         Receivership Entities' web pages, websites, or mobile apps relating to the activities

         alleged in the Complaint are modified for consumer education and/or informational

         purposes, and take all steps necessary to ensure that any telephone numbers associated

         with the Receivership Entities cannot be accessed by the public, or are answered solely to

         provide information regarding the status of operations and consumer education, including

         information directing consumers to United States Department of Education websites

         containing information student loan repayment programs.

         E.      TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

         IT IS FURTHER ORDERED that:

                 1.     Defendants, Relief Entities, their officers, agents, servants, employees, and

         attorneys, and all other Persons in active concert or participation with any of them, who

         receive actual notice of this Order, and any other Person with possession, custody or

         control of property or of records relating to the Receivership Entities shall: (1)
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        immediately notify the Receiver of; (2) fully cooperate with and assist the Receiver in

        taking and maintaining possession, custody, or control of; and, (3) upon receiving a

        request from the Receiver, immediately transfer or deliver to the Receiver possession,

        custody, and control of, the following:

                         a.     All assets of the Receivership Entities, or those held by or for the

                benefit of the Receivership Entities, including assets subject to repatriation;

                         b.     All Documents of or pertaining to the Receivership Entities;

                         c.     All assets and Documents belonging to other Persons whose

                interests are under the direction, custody, possession, custody, control of the

                Receivership Entities;

                         d.     All computers, electronic devices, machines, mobile devices, and

                data in whatever form used to conduct the business of the Receivership Entities;

                and

                         e.     All available insurance information for both existing and prior

                insurance policies;

                         f.     All keys, codes, user names, and passwords necessary to gain or to

                secure access to any assets or Documents of the Receivership Entities, including,

                but not limited to, access to their business premises, means of communication,

                accounts, computer systems, mail boxes, or other property. This includes

                providing the necessary means to gain access to private or commercial mail

                boxes.

                2.       In the event any Person or entity fails to deliver or transfer any asset or

         document, or otherwise fails to comply with any provision of this Section, the Receiver
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         may file ex parte an Affidavit of Non-Compliance regarding the failure. Upon filing of

         the affidavit, the Court may authorize, without additional process or demand, Writs of

         Possession or Sequestration or other equitable writs requested by the Receiver. The writs

         shall authorize and direct the United States Marshal or any sheriff or deputy sheriff of

         any county, or any other federal or state law enforcement officer, to seize the asset,

         document, or other thing and to deliver it to the Receiver.

         F.     PROVISION OF INFORMATION TO RECEIVER

         IT IS FURTHER ORDERED that Defendants shall provide to the Receiver,

  immediately upon request, the following:

                 1.     A list of all accounts and other assets of the Receivership Entities that are

         held in any name other than the name of a Receivership Entity, or by any Person other

         than a Receivership Entity; and

                2.      A list of all agents, employees, officers, directors, managers, members, or

         those Persons in active concert and participation with any Receivership Entity, who have

         been associated or done business with any Receivership Entity.

                3.      A description of any Documents covered by attorney-client privilege or

         attorney work product, including files where such documents are likely to be located,

         authors or recipients of such documents, and search terms likely to identify such

         electronic documents.

         G. STAY OF ACTIONS

         IT IS FURTHER ORDERED that:

                1.      Except by leave of this Court, during pendency of the receivership ordered

         herein, Defendants, together with their officers, agents, directors, servants, employees,
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         attorneys, and all other persons in active concert or participation with any of them, who

         receive actual notice of this Order by personal service or otherwise, whether acting

         directly or indirectly, and all other Persons are hereby stayed from taking any action to

         establish or enforce any claim, right, or interest for, against, on behalf of, in, or in the

         name of, the Defendants, any of their subsidiaries, affiliates, partnerships, assets,

         Documents, or the Receiver or the Receiver's duly authorized agents acting in their

         capacities as such, including, but not limited to, the following actions:

                         a.      Filing or assisting in the filing of a petition for relief under the

                 Bankruptcy Code, 11 U.S.C. § 101 et seq., or of any similar insolvency

                 proceeding on behalf of the Receivership Entities;

                         b.      Commencing, prosecuting, continuing, entering, or enforcing any

                 suit or proceeding, except that such actions may be filed to toll any applicable

                 statute of limitations;

                         c.      Accelerating the due date of any obligation or claimed obligation;

                 filing, perfecting or enforcing any lien; taking or attempting to take possession,

                 custody, or control of any asset; attempting to foreclose, forfeit, alter, or terminate

                 any interest in any asset, whether such acts are part of a judicial proceeding, are

                 acts of self-help, or otherwise, or setoff of any debt owing to the Receivership

                 Entities that arose before the date of this Order against any claim against the

                 Receivership Entities; or

                         d.      Using self-help or executing, issuing, serving, or causing the

                 execution, issuance or service of, any legal process, including, but not limited to,
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                    attachments, garnishments, subpoenas, writs of replevin, writs of execution, or

                    any other form of process whether specified in this Order or not.

                    2.     This Order does not stay: (1) the commencement or continuation of a

          criminal action or proceeding; (2) the commencement or continuation of an action or

          proceeding by a governmental unit to enforce such governmental unit's police or

          regulatory power; or (3) the enforcement of a judgment, other than a money judgment,

          obtained in an action or proceeding by a governmental unit to enforce such governmental

          unit's police or regulatory power.

          H.        COMPENSATION OF RECEIVER

          IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

   as herein authorized, including counsel to the Receiver and accountants, are entitled to

   reasonable compensation for the performance of duties pursuant to this Order and for the cost of

   actual out-of-pocket expenses incurred by them, from the assets now held by, or in the

   possession or control of, or which may be received by the Receivership Entities. The Receiver

   shall file with the Court and serve on the parties periodic requests for the payment of such

   reasonable compensation, with the first such request filed no more than sixty (60) days after the

   date of this Order. The Receiver shall not increase the hourly rates used as the bases for such fee

   applications without prior approval of the Court.

          I.        RECEIVER'S BOND

          IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this Court a

   bond in the sum of $25,000 with sureties to be approved by the Court, conditioned that the

   Receiver will well and truly perform the duties of the office and abide by and perform all acts the

   Court directs.
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   XII.      IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS

             IT IS FURTHER ORDERED that in order to allow Plaintiff and the Receiver to

   preserve assets and evidence relevant to this action and to expedite discovery:

             A.    Plaintiff and the Receiver and their counsel, agents, representatives, contractors,

   and assistants shall have immediate access to all business premises and storage facilities owned,

   controlled, or used by the Receivership Entities. Such locations include, but are not limited to

   3221 NW 10th Terrace, Suite 507/508, Oakland Park, FL 33309 and any offsite location or

   commercial mailbox used by the Receivership Entities. The Receiver may exclude Defendants,

   Receivership Entities, and their employees from the business premises during the immediate

   access.

             B.    Plaintiff and the Receiver and their counsel, agents, representatives, contractors,

   and assistants shall also have immediate access to the records of the Receivership Entities, and

   are authorized to remove Documents and other materials from the Receivership Entities'

   premises in order that they may be inspected, inventoried, and copied for the purpose of

   preserving discoverable material in connection with this action.

             C.    Defendants, together with their officers, agents, directors, servants, employees,

   attorneys, and all other persons in active concert or participation with any of them, who receive

   actual notice of this Order by personal service or otherwise, must immediately identify to

   Plaintiffs counsel and the Receiver: (1) all Defendants' and Receivership Entities' business

   premises; (2) any other premises where Defendants and Receivership Entities conduct business;

   (3) any premises where Documents related to the business operations of Defendants and the

   Receivership Entities are maintained, including the name and location of any electronic data

   hosts; (4) any premises where assets belonging to Defendants and Receivership Entities are
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   maintained; and (5) all access codes, keys, passwords, or any other information necessary for

   Plaintiff and the Receiver to gain immediate access;

          D.      If any property, records, Documents, computers, or electronic storage devices

   containing information relating to the Receivership Entities' finances or business practice are

   located in a residence of any Defendant or are otherwise in the custody or control of any

   Defendant, then such Defendant and Receivership Entities shall produce them to Receiver within

   twenty-four (24) hours of service of this Order, along with any codes, keys any passwords, or

   other information needed for access. In order to prevent the destruction of computer data, upon

   service of this Order, any such computers or electronic storage devices shall be powered down in

   the normal course of the operating system used on such devices and shall not be powered up or

   used until produced for copying and inspection;

          E.      If any communications or records of any Receivership Entity are stored with an

   Electronic Data Host, such Receivership Entity shall, immediately upon receiving notice of this

   order, provide the Receiver with the username, passwords, and any other login credential needed

   to access the communications and records, and shall not attempt to access, or cause a third party

   to attempt to access, the communications or records;

          F.      Plaintiffs access to Receivership Entities' Documents pursuant to this Section

   shall not provide grounds for any Defendant to object to any subsequent request for Documents

   served by Plaintiff; and

          G.      The Receiver shall allow Defendants reasonable access to the business premises

   of the Receivership Entities and the business records of the Receivership within the Receiver's

   possession for the purpose of inspecting and copying materials relevant to this action, although
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   the Receiver shall have the discretion to determine the time, manner, and reasonable condition of

   such access; and

           H.      Plaintiff and the Receiver and their counsel, agents, representatives, contractors,

   and assistants are authorized to obtain the assistance of the U.S. Marshal's Office and other

   federal, state, and local law enforcement officers as they deem necessary to implement

   peacefully the provisions of this Order.

   XIII. REPATRIATION OF ASSETS AND DOCUMENTS

           IT IS FURTHER ORDERED that each Defendant shall:

           A.      Within three (3) business days following service of this Order, take such steps as

   are necessary to repatriate to the territory of the United States of America all Documents and

   assets that are located outside such territory and ( 1) are held by or for a Defendant; (2) titled in

   the name, individually or jointly, of any Defendant; (3) or are under a Defendant 's direct or

   indirect control, jointly, severally, or individually;

           B.      Within three (3) business days following service of this Order, provide Plaintiff

   with a full accounting of all Documents and assets that are located outside of the territory of the

   United States of America or that have been transferred to the territory of the United States of

   America pursuant to Subsection A above and (1) are held by or for a Defendant; (2) titled in the

   name, individually or jointly, of any Defendant; (3) or are under a Defendant's direct or indirect

   control, jointly, severally, or individually. Each Defendant shall also include the names and

   addresses of any foreign or domestic financial institution or other entity holding the Documents

   and assets, along with the account numbers and balances;

           C.      Hold and retain all such Documents and assets and prevent any transfer,

   disposition, or dissipation whatsoever of any such Documents or assets; and
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           D.      Within three (3) business days following service of this Order, provide Plaintiffs

   access to Defendants' records and documents held by financial institutions or other entities,

   whether located outside the territorial United States of America or otherwise, by signing and

   delivering to Plaintiffs' counsel the Consent to Release of Financial Records served along with

   this Order as Attachment D.

   XIV. NON-INTERFERENCE WITH REPATRIATION

           IT IS FURTHER ORDERED that Defendants, their officers, agents, servants,

   employees, attorneys, and all other persons or entities in active concert or participation with any

   of them, who receive actual notice of this Order by personal service or otherwise, whether acting

   directly or through any trust, corporation, subsidiary, division, or other device, are hereby

   temporarily restrained and enjoined from taking any action, directly or indirectly, which may

   result in the encumbrance or dissipation of foreign assets, or in the hindrance of the repatriation

   required by the preceding Section XIII of this Order, including, but not limited to:

           A.      Sending any statement, letter, facsimile, e-mail or wire transmission, or

   telephoning or engaging in any other act, directly or indirectly, that results in a determination by

   a foreign trustee or other entity that a "duress" event has occurred under the terms of a foreign

   trust agreement, until such time that assets have been fully repatriated pursuant to the preceding

   Section XIII of this Order; and

           B.      Notifying any trustee, protector or other agent of any foreign trust or other related

   entities of either the existence of this Order, or of the fact that repatriation is required pursuant to

   a court order, until such time as assets have been fully repatriated pursuant to the preceding

   Section XIII of this Order.

   XV.     CONSUMER REPORTING AGENCIES
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           IT IS FURTHER ORDERED that Plaintiff may obtain credit reports concerning any

   Defendant pursuant to Section 604(a)(l) of the Fair Credit Reporting Act, 15 U.S.C. §

   1681b(a)(l), and that, upon written request, any credit reporting agency from which such reports

   are requested shall provide them to Plaintiff.

   XVI. DISTRIBUTION OF ORDER BY DEFENDANTS

           IT IS FURTHER ORDERED that:

           A.      Within five (5) days following service of this Order, Defendants shall provide a

   copy of this Order to each of their Telemarketers, customer service agents, sales agents,

   corporations, subsidiaries, affiliates, partners, divisions, sales entities, successors, assigns,

   members, officers, directors, employees, independent contractors, agents, servants, attorneys,

   spouses, representatives, and all other Persons in active concert or participation with Defendants

   in the marketing, advertising, promotion, distribution, offer for sale, or sale of debt relief

   products or services or credit product or services;

           B.      Within seven (7) days following service of this Order, Defendants shall provide

   Plaintiff and the Receiver a sworn statement that this Section has been satisfied and that

   identifies the name, title, physical addresses, telephone numbers, and email addresses of each

   such person who received a copy of the Order and the date which such Person received it; and

           C.      Defendants shall not take any action that would encourage officers, agents,

   members, managers, directors, employees, salespersons, independent contractors, attorneys,

   subsidiaries, affiliates, successors, assigns, or other Persons or entities in active concert or

   participation with Defendants to disregard this Order or believe that they are not bound by its

   prov1s10ns.

   XVII. EXPIRATION DATE OF TEMPORARY RESTRAINING ORDER
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          IT IS FURTHER ORDERED that the Temporary Restraining Order granted herein

   shall expire on October 17, 2017, at 11:59 p.m. (Eastern Time), unless within such time, the

   Order, for good cause shown, is extended, or unless, as to any Defendant, the Defendant consents

   that it should be extended for a longer period of time.

   XVIII. ORDER TO SHOW CAUSE REGARDING PRELIMINARY INJUNCTION

          IT IS FURTHER ORDERED that, pursuant to Federal Rule of Civil Procedure 65, each

   Defendant shall appear before this Court on the 16th day of October, 2017, at 1: 15 p.m.

   (Eastern Time), at the United States Courthouse, United States District Court for the Southern

   District of Florida, Ft. Lauderdale, Florida, 33301, Courtroom 205B, to show cause, ifthere is

   any, why this Court should not enter a Preliminary Injunction, pending final ruling on the

   Complaint against Defendants, enjoining Defendants from further violations of the FTC Act, the

   TSR, and the FDUTPA, continuing the freeze of Defendants' assets, continuing the

   Receivership, and imposing such additional relief as may be appropriate.

   XX.    BRIEFS AND AFFIDAVITS CONCERNING PRELIMINARY INJUNCTION

          IT IS FURTHER ORDERED that Defendants shall file with the Court and serve on

   Plaintiff's counsel any answering affidavits, pleadings, motions, expert reports or declarations,

   and/or legal memoranda no later than October 10, 2017, at 3 p.m.

          Plaintiff may file responsive or supplemental pleadings, materials, affidavits, motions, or

   memoranda with the Court and serve the same on counsel for Defendants no later than October

   13, 2017 at 3 p.m.

          Provided that service shall be performed by personal or overnight delivery, by electronic

   filing, by electronic mail, or by facsimile, and Documents shall be delivered so that they shall be

   received by the other parties no later than 4:00 p.m. (Eastern Time) on the appropriate dates
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   listed in this Section. The hearing shall be limited to argument of counsel unless the Court grants

   express leave to the contrary in advance of the hearing.

   XXI.    SERVICE OF THIS ORDER

           IT IS FURTHER ORDERED that copies of this Order may be served by United States

   First Class Mail, overnight delivery, facsimile, electronic mail, or personally, by agents or

   employees of Plaintiff, by agents or employees of the Receiver, by any law enforcement agency,

   or by private process server, upon any person, financial institution, or other entity that may have

   possession or control of any property, property right, document, or asset of any Defendant, or

   that may be subject to any provision of this Order. Service upon any branch or office of any

   financial institution or entity shall effect service upon the entire financial institution or entity.

   XXII. RETENTION OF JURISDICTION

           IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

   all purposes.

           SO ORDERED, this 3rd day of October, 2017, at 9:40 a.m.




                                               United States District Judge

   Copies to:
   All Counsel of Record
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                     PLAINTIFF'S EXHIBIT 38 - 4
                        FTC v. Am. Student Loan Consolidators
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                               UNITED ST ATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 17-CV-80619-WPD


     FEDERAL TRADE COMMISSION,

           Plaintiff,

           V.

     STRATEGIC STUDENT SOLUTIONS LLC, a
     limited liability company, STRATEGIC CREDIT     FILED UNDER SEAL
     SOLUTIONS LLC, a limited liability company,
     STRATEGIC DEBT SOLUTIONS LLC, a limited
     liability company, STRATEGIC DOC PREP
     SOLUTIONS LLC, a limited liability company,
     STUDENT RELIEF CENTER LLC, a limited
     liability company, CREDIT RELIEF CENTER
     LLC, a limited liability company, and

     DAVE GREEN, individually and as an officer of
     STRATEGIC STUDENT SOLUTIONS LLC,
     STRATEGIC CREDIT SOLUTIONS LLC,
     STRATEGIC DEBT SOLUTIONS LLC,
     STRATEGIC DOC PREP SOLUTIONS LLC,
     STUDENT RELIEF CENTER LLC, and CREDIT
     RELIEF CENTER LLC,

           Defendants, and

     DG INVESTMENT PROPERTIES LLC,

           Relief Defendant.




                   EX PAR TE TEMPORARY RESTRAINING ORDER WITH
             ASSET FREEZE, APPOINTMENT OF A TEMPORARY RECEIVER,
            AND OTHER EQUITABLE RELIEF, AND ORDER TO SHOW CAUSE
               WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE




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           Plaintiff, the Federal Trade Commission, has filed its Complaint for Permanent

   Injunction and Other Equitable Relief pursuant to Section 13(b) of the Federal Trade

   Commission Act ("FTC Act"), 15 U.S.C. § 53(b), the Telemarketing and Consumer Fraud and

   Abuse Prevention Act ("Telemarketing Act"), 15 U.S.C. §§ 6101-6108, and Section 410(b) of

   the Credit Repair Organizations Act, 15 U.S.C. § 1679h(b), and has moved, pursuant to Fed. R.

   Civ. P. 65(b), for a temporary restraining order, asset freeze, other equitable relief, and an order

   to show cause why a preliminary injunction should not issue against Defendants.

           The Court, having considered the Complaint, the ex parte Motion for a Temporary

   Restraining Order, declarations, exhibits, and the memorandum of points and authorities filed in

   support thereof, and being otherwise advised, GRANTS Plaintiffs motion for a temporary

   restraining order and FINDS and ORDERS as follows:

                                          FINDINGS OF FACT

           A.      This Court has jurisdiction over the subject matter of this case, and there is good

   cause to believe that it will have jurisdiction over all parties hereto and that venue in this district

   is proper.

           B.      There is good cause to believe that Defendants Dave Green, Strategic Student

   Solutions LLC, Strategic Credit Solutions LLC, Strategic Debt Solutions LLC, Strategic Doc

   Prep Solutions LLC, Student Relief Center LLC, and Credit Relief Center LLC have engaged in

   and are likely to engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. §

   45(a), the FTC's Telemarketing Sales Rule ("TSR"), 16 C.F.R. Part 310, and the Credit Repair

   Organizations Act ("CROA''), 15 U.S.C. §§ l 679- l 679j, and that Plaintiff is therefore likely to

   prevail on the merits of this action. As demonstrated by the consumer declarations, Department



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    of Education and loan servicer declarations, consumer complaints, website captures, corporate

    filings, and records from banks and other corporate service providers, the FTC has established a

    likelihood of success in showing that Defendants have materially misrepresented their debt relief

    and credit repair services and have charged illegal advance fees.

           C.      There is good cause to believe that immediate and continuing harm will result

    from Defendants' ongoing violations of the FTC Act, the TSR, and the CROA unless Defendants

    are restrained and enjoined by order of this Court.

           D.      There is good cause to believe that Relief Defendant DG Investment Properties

    LLC received funds or assets that can be traced directly to Defendants' unlawful acts or practices

    and has no legitimate claim to those funds.

           E.      There is good cause to believe that immediate and irreparable damage to the

    Court's ability to grant effective final relief for consumers-including monetary restitution,

   rescission, disgorgement or refunds-will occur from the sale, transfer, destruction or other

    disposition or concealment by Defendants or Relief Defendant of their assets or records, unless

   Defendants and Relief Defendant are immediately restrained and enjoined by order of this Court;

   and that, in accordance with Fed. R. Civ. P. 65(b ), the interests of justice require that this Order

   be granted without prior notice to Defendants and Relief Defendant. Thus, there is good cause

   for relieving Plaintiff of the duty to provide Defendants and Relief Defendant with prior notice

   of its Motion for a Temporary Restraining Order.

           F.      Good cause exists for appointing a temporary receiver over the Corporate

    Defendants and their subsidiaries; freezing Defendants' assets; permitting the Plaintiff and the

   Receiver immediate access to the Defendants' business premises; and permitting the Plaintiff and

   the Receiver to take expedited discovery.



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            G.      Weighing the equities and considering Plaintiff's likelihood of ultimate success

    on the merits, a temporary restraining order with an asset freeze, the appointment of a temporary

    receiver, immediate access to business premises, expedited discovery, and other equitable relief

    is in the public interest.

            H.      This Court has authority to issue this Order pursuant to Section 13(b) of the FTC

    Act, 15 U.S.C. § 53(b); Fed. R. Civ. P. 65; and the All Writs Act, 28 U.S.C. § 1651.

            I.      No security is required of any agency of the United States for issuance of a

    temporary restraining order. Fed. R. Civ. P. 65(c).

                                              DEFINITIONS

    For the purpose of this Order, the following definitions shall apply:

            A.      "Asset" means any legal or equitable interest in, right to, or claim to, any

    property, wherever located and by whomever held.

            B.      "Corporate Defendants" means Strategic Student Solutions LLC, Strategic

    Credit Solutions LLC, Strategic Debt Solutions LLC, Strategic Doc Prep Solutions LLC, Student

    Relief Center LLC, Credit Relief Center LLC, and each of their subsidiaries, affiliates,

    successors, and assigns.

            C.      "Credit Repair Service" means any service for the express or implied purpose of

    improving any consumer's credit record, credit history, or credit rating; or providing advice or

    assistance to any consumer with regard to any activity or service the purpose of which is to

    improve a consumer's credit record, credit history, or credit rating.

            D.      "Debt Relief Service" means any program or service represented, directly or by

    implication, to renegotiate, settle, or in any way alter the terms of payment or other terms of the

    debt between a person and one or more unsecured creditors or debt collectors, including, but not



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    limited to, a reduction in the balance, interest rate, or fees owed by a person to an unsecured

   creditor or debt collector.

           E.      "Defendant(s)" means Corporate Defendants and Dave Green, individually,

   collectively, or in any combination.

           F.      "Document" is synonymous in meaning and equal in scope to the usage of

   "document" and "electronically stored information" in Fed. R. Civ. P. 34(a), and includes

   writings, drawings, graphs, charts, photographs, sound and video recordings, images, Internet

   sites, web pages, websites, electronic correspondence, including e-mail and instant messages,

   contracts, accounting data, advertisements, FTP Logs, Server Access Logs, books, written or

   printed records, handwritten notes, telephone logs, telephone scripts, receipt books, ledgers,

   personal and business canceled checks and check registers, bank statements, appointment books,

   computer records, customer or sales databases and any other electronically stored information,

    including Documents located on remote servers or cloud computing systems, and other data or

   data compilations from which information can be obtained directly or, if necessary, after

   translation into a reasonably usable form. A draft or non-identical copy is a separate document

   within the meaning of the term.

           G.      "Electronic Data Host" means any person or entity in the business of storing,

   hosting, or otherwise maintaining electronically stored information. This includes, but is not

   limited to, any entity hosting a website or server, and any entity providing "cloud based"

   electronic storage.

           H.      "Receiver" means the temporary receiver appointed in Section XII of this Order

   and any deputy receivers that shall be named by the temporary receiver.




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            I.      "Relief Defendant" means DG Investment Properties LLC, and each of its

    subsidiaries, affiliates, successors, and assigns.

                                                   ORDER

       I.        RESTRICTIONS ON ADVANCE FEES FOR DEBT RELIEF AND CREDIT
                                     REPAIR SERVICES

            IT IS THEREFORE ORDERED that the Defendants, and their officers, agents,

    employees, and those persons or entities in active concert or participation with any of them who

    receive actual notice of this Order, whether acting directly or indirectly, are hereby restrained

    and enjoined from:

            A.      providing, offering to provide, or arranging for others to provide any debt relief

    service and requesting or receiving payment of any fees or consideration for any debt relief

    service until and unless:

                    l.      the seller or telemarketer has renegotiated, settled, reduced, or otherwise

                    altered the terms of at least one debt pursuant to a settlement agreement, debt

                    management plan, or other such valid contractual agreement executed by the

                    customer;

                    2.      the customer has made at least one payment pursuant to that settlement

                    agreement, debt management plan, or other valid contractual agreement between

                    the customer and the creditor or debt collector; and

                    3.      to the extent that debts enrolled in a service are renegotiated, settled,

                    reduced, or otherwise altered individually, the fee or consideration either:




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                             a.      bears the same proportional relationship to the total fee for

                             renegotiating, settling, reducing, or altering the terms of the entire debt

                             balance as the individual debt amount bears to the entire debt amount.

                             The individual debt amount and the entire debt amount are those owed at

                             the time the debt was enrolled in the service; or

                             b.      is a percentage of the amount saved as a result of the renegotiation,

                             settlement, reduction, or alteration. The percentage charged cannot

                             change from one individual debt to another. The amount saved is the

                             difference between the amount owed at the time the debt was enrolled in

                             the service and the amount actually paid to satisfy the debt; and

           B.         providing, offering to provide, or arranging for others to provide any credit repair

    service and charging or receiving money or other valuable consideration for the performance of

    credit repair services before the services are fully performed.

                II.        PROHIBITION ON DECEPTIVE OR UNSUBSTANTIATED
                                         REPRESENTATIONS

           IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

    and attorneys, and all other persons in active concert or participation with them, who receive

    actual notice of this Order by personal service or otherwise, whether acting directly or indirectly,

    in connection with the advertising, marketing, promoting, or offering for sale of any debt relief

    or credit repair service, are temporarily restrained and enjoined from:

           A.         misrepresenting or assisting others in misrepresenting, expressly or by

    implication:

                      1.     that Defendants will enroll consumers in student loan forgiveness or other

                      programs that would lower their payments or balances;


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                    2.      that consumers' monthly payments to Defendants will be applied to pay

                    off the consumers' loans;

                    3.      that consumers' student loan debt will be forgiven in three years or less

                    after payment of initial fees;

                    4.     that if a consumer cancels his or her enrollment in a federal student loan

                    forgiveness program, it is very difficult or impossible to re-enter another

                    forgiveness program;

                    5.     that consumers' credit will be improved as a result of Defendants'

                    program; and

                    6.      any other fact material to consumers concerning any debt relief or credit

                    repair service, such as: the total costs; any material restrictions, limitations, or

                    conditions; or any material aspect of its performance, efficacy, nature, or central

                    characteristics; and

            B.      making or assisting others in making, any representation, expressly or by

    implication, about the benefits, performance, or efficacy of any product or service, unless the

    representation is non-misleading and, at the time such representation is made, Defendants

   possess and rely upon competent and reliable evidence that is sufficient in quality and quantity

    based on standards generally accepted in the relevant fields, when considered in light of the

    entire body of relevant and reliable evidence, to substantiate that the representation is true.

             III.    PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

            IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

    and attorneys, and all other Persons in active concert or participation with any of them, who

    receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

    restrained and enjoined from:

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            A.      Selling, renting, leasing, transferring, or otherwise disclosing, the name, address,

    birth date, telephone number, email address, credit card number, bank account number, Social

    Security number, or other financial or identifying information of any person that any Defendant

    obtained in connection with any activity that pertains to the subject matter of this Order; and

            B.      Benefitting from or using the name, address, birth date, telephone number, email

    address, credit card number, bank account number, Social Security number, or other financial or

    identifying information of any person that any Defendant obtained in connection with any

    activity that pertains to the subject matter of this Order.

           Provided, however, that Defendants may disclose such identifying information to a law

    enforcement agency, as required by any law, regulation, or court order, or in any filings,

    pleadings or discovery in this action in the manner required by the Federal Rules of Civil

    Procedure and by any protective order in the case.

                                          IV.     ASSET FREEZE

           IT IS FURTHER ORDERED that Defendants and their officers, agents, employees,

    and attorneys, and all other persons in active concert or participation with any of them, who

    receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

    restrained and enjoined from:

           A.       Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

    concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

    lien or security interest or other interest in, or otherwise disposing of any Assets, wherever

    located, including outside the United States, that are:

                    1.      owned or controlled, directly or indirectly, by any Defendant, including,

                    but not limited to those for which a Defendant is a signatory on the account;

                    2.      held, in part or in whole, for the benefit of any Defendant;

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                   3.      in the actual or constructive possession of any Defendant; or

                   4.      owned or controlled by, in the actual or constructive possession of, or

                   otherwise held for the benefit of, any corporation, partnership, asset protection

                   trust, or other entity that is directly or indirectly owned, managed or controlled by

                   any Defendant.

           B.      Opening or causing to be opened any safe deposit boxes, commercial mail boxes,

    or storage facilities titled in the name of any Defendant or subject to access by any Defendant,

    except as necessary to comply with written requests from the Receiver acting pursuant to its

    authority under this Order;

           C.      Incurring charges or cash advances on any credit or bank card issued in the name,

    individually or jointly, of any Corporate Defendant or any corporation, partnership, or other

    entity directly or indirectly owned, managed, or controlled by any Defendant or of which any

    Defendant is an officer, director, member, or manager. This includes any corporate bankcard or

    corporate credit card account for which any Defendant is, or was on the date that this Order was

    signed, an authorized signor; or

           D.      Cashing any checks or depositing any money orders or cash received from

    consumers, clients, or customers of any Defendant.

           The Assets affected by this Section shall include: (1) all Assets of Defendants as of the

    time this Order is entered; (2) Assets obtained by Defendants after this Order is entered if those

    Assets are derived from any activity that is the subject of the Complaint in this matter or that is

    prohibited by this Order. This Section does not prohibit any transfers to the Receiver or

    repatriation of foreign Assets specifically required by this order.




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                 V.     DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES

            IT IS FURTHER ORDERED that any financial or brokerage institution, Electronic

    Data Host, credit card processor, payment processor, merchant bank, acquiring bank,

    independent sales organization, third party processor, payment gateway, insurance company,

    business entity, or person who receives actual notice of this Order (by service or otherwise) and

    that (a) holds, controls, or maintains custody, through an account or otherwise, of any Document

    or Asset that is: owned or controlled, directly or indirectly, by any Defendant; held, in part or in

    whole, for the benefit of any Defendant; in the actual or constructive possession of any

    Defendant; or owned or controlled by, in the actual or constructive possession of, or otherwise

    held for the benefit of, any corporation, partnership, asset protection trust, or other entity that is

    directly or indirectly owned, managed, or controlled by any Defendant; (b) holds, controls, or

    maintains custody of any Document or Asset associated with credits, debits or charges made on

    behalf of any Defendant, including reserve funds held by payment processors, credit card

    processors, merchant banks, acquiring banks, independent sales organizations, third party

    processors, payment gateways, insurance companies, or other entities; or (c) has held, controlled,

    or maintained custody of any such Document, Asset, or account at any time since the date of

    entry of this Order shall:

           A.         Hold, preserve, and retain within its control and prohibit the withdrawal, removal,

    alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,

    conversion, sale, or other disposal of any such Document or Asset, as well as all Documents or

    other property related to such Assets, except by further order of this Court;

            B.        Deny any Person, except the Receiver, access to any safe deposit box, commercial

    mail box, or storage facility that is titled in the name of any Defendant, either individually or

    jointly, or otherwise subject to access by any Defendant;

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           C.      Provide Plaintiffs counsel and the Receiver, within three (3) business days of

   receiving a copy of this Order, a sworn statement setting forth:

                   1.      The identification number of each such account or Asset;

                   2.      The balance of each such account, or a description of the nature and value

                   of each such Asset as of the close of business on the day on which this Order is

                   served, and, if the account or other Asset has been closed or removed, the date

                   closed or removed, the total funds removed in order to close the account, and the

                   name of the person or entity to whom such account or other Asset was remitted;

                   and

                   3.      The identification of any safe deposit box, commercial mail box, or

                   storage facility that is either titled in the name, individually or jointly, of any

                   Defendant, or is otherwise subject to access by any Defendant; and

           D.      Upon the request of Plaintiffs counsel or the Receiver, promptly provide

    Plaintiffs counsel and the Receiver with copies of all records or other Documents pertaining to

    such account or Asset, including originals or copies of account applications, account statements,

    signature cards, checks, drafts, deposit tickets, transfers to and from the accounts, including wire

   transfers and wire transfer instructions, all other debit and credit instruments or slips, currency

    transaction reports, I 099 forms, and all logs and records pertaining to safe deposit boxes,

    commercial mail boxes, and storage facilities.

                                  VI.     FINANCIAL DISCLOSURES

           IT IS FURTHER ORDERED that each Defendant and Relief Defendant, within five (5)

    days of service of this Order upon them, shall prepare and deliver to Plaintiffs counsel and the

    Receiver (1) completed financial statements on the forms attached to this Order as Attachment

    A (Financial Statement of Individual Defendant) for the Individual Defendant, and Attachment

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    B (Financial Statement of Corporate Defendant) for each Corporate Defendant and Relief

    Defendant and (2) a completed statement, verified under oath, of all payments, transfers or

    assignments of funds, assets, or property worth $1,000 or more since May 15, 2012. Such

    statement shall include: (a) the amount transferred or assigned; (b) the name of each transferee or

    assignee; (c) the date of the transfer or assignment; and (d) the type and amount of consideration

    paid by the Defendant or Relief Defendant. Each statement shall specify the name and address

    of each financial institution and brokerage firm at which the Defendant or Relief Defendant has

    accounts or safe deposit boxes. Said statements shall include assets held in foreign as well as

    domestic accounts.

                              VII.    FOREIGN ASSET REPATRIATION

           IT IS FURTHER ORDERED that within five (5) days following the service of this

    Order, each Defendant shall:

           A.      Provide Plaintiff's counsel and the Receiver with a full accounting, verified under

    oath and accurate as of the date of this Order, of all Assets, Documents, and accounts outside of

    the United States which are: (I) titled in the name, individually or jointly, of any Defendant; (2)

    held by any person or entity for the benefit of any Defendant or for the benefit of, any

    corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,

    managed, or controlled by any Defendant; or (3) under the direct or indirect control, whether

    jointly or singly, of any Defendant;

           B.       Take all steps necessary to provide Plaintiffs counsel and Receiver access to all

    Documents and records that may be held by third parties located outside of the territorial United

    States of America, including signing the Consent to Release of Financial Records appended to

    this Order as Attachment C.



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              C.    Transfer to the territory of the United States and deliver to the Receiver all

    Documents and Assets located in foreign countries which are: (1) titled in the name, individually

    or jointly, of any Defendant; (2) held by any person or entity for the benefit of any Defendant or

    for the benefit of, any corporation, partnership, asset protection trust, or other entity that is

    directly or indirectly owned, managed, or controlled by any Defendant; or (3) under the direct or

    indirect control, whether jointly or singly, of any Defendant; and

              D.    The same business day as any repatriation, (1) notify the Receiver and counsel for

    Plaintiff of the name and location of the financial institution or other entity that is the recipient of

    such Documents or Assets; and (2) serve this Order on any such financial institution or other

    entity.

                       VIII. NON-INTERFERENCE WITH REPATRIATION

              IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

    and attorneys, and all other Persons in active concert or participation with any of them, who

    receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

    restrained and enjoined from taking any action, directly or indirectly, which may result in the

    encumbrance or dissipation of foreign Assets, or in the hindrance of the repatriation required by

    this Order, including, but not limited to:

              A.    Sending any communication or engaging in any other act, directly or indirectly,

    that results in a determination by a foreign trustee or other entity that a "duress" event has

    occurred under the terms of a foreign trust agreement until such time that all Defendants' Assets

    have been fully repatriated pursuant to this Order; or

              B.    Notifying any trustee, protector or other agent of any foreign trust or other related

    entities of either the existence of this Order, or of the fact that repatriation is required pursuant to



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    a court order, until such time that all Defendants' Assets have been fully repatriated pursuant to

    this Order.

                               IX.     CONSUMER CREDIT REPORTS

           IT IS FURTHER ORDERED that Plaintiff may obtain credit reports concerning any

    Defendants or Relief Defendant pursuant to Section 604(a)( 1) of the Fair Credit Reporting Act,

    15 U.S.C. 1681b(a)(l), and that, upon written request, any credit reporting agency from which

    such reports are requested shall provide them to Plaintiff.

                               X.      PRESERVATION OF RECORDS

           IT IS FURTHER ORDERED that Defendants and Relief Defendant, and their officers,

    agents, employees, and attorneys, and all other Persons in active concert or participation with

    any of them, who receive actual notice of this Order, whether acting directly or indirectly, are

    hereby temporarily restrained and enjoined from:

           A.      Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

    transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

    relate to: ( 1) the business, business practices, Assets, or business or personal finances of any

    Defendant or Relief Defendant; (2) the business practices or finances of entities directly or

    indirectly under the control of any Defendant or Relief Defendant; or (3) the business practices

    or finances of entities directly or indirectly under common control with any other Defendant or

    Relief Defendant; and

           B.      Failing to create and maintain Documents that, in reasonable detail, accurately,

    fairly, and completely reflect Defendants and Relief Defendant's incomes, disbursements,

    transactions, and use of Defendants and Relief Defendant's Assets.




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                          XI.     REPORT OF NEW BUSINESS ACTIVITY

           IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

    and attorneys, and all other persons in active concert or participation with any of them, who

    receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

    restrained and enjoined from creating, operating, or exercising any control over any business

    entity, whether newly formed or previously inactive, including any partnership, limited

    partnership, joint venture, sole proprietorship, or corporation, without first providing Plaintiffs

    counsel and the Receiver with a written statement disclosing: (1) the name of the business

    entity; (2) the address and telephone number of the business entity; (3) the names of the business

    entity's officers, directors, principals, managers, and employees; and (4) a detailed description of

    the business entity's intended activities.

                                   XII.    TEMPORARY RECEIVER

            IT IS FURTHER ORDERED that Charles H. Lichtman is appointed as temporary

    receiver of the Corporate Defendants with full powers of an equity receiver. The Receiver shall

    be solely the agent of this Court in acting as Receiver under this Order.

                         XIII. DUTIES AND AUTHORITY OF RECEIVER

            IT IS FURTHER ORDERED that the Receiver is directed and authorized to

    accomplish the following:

            A.      Assume full control of Corporate Defendants by removing, as the Receiver deems

    necessary or advisable, any director, officer, independent contractor, employee, attorney, or

    agent of any Corporate Defendant from control of, management of, or participation in, the affairs

    of the Corporate Defendant;




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            B.     Take exclusive custody, control, and possession of all Assets and Documents of,

    or in the possession, custody, or under the control of, any Corporate Defendant, wherever

    situated;

            C.     Obtain, conserve, hold, manage, and prevent the loss of all Assets of the

    Corporate Defendants, and perform all acts necessary or advisable to preserve the value of those

    Assets. The Receiver shall assume control over the income and profits therefrom and all sums of

    money now or hereafter due or owing to the Corporate Defendants. The Receiver shall have full

    power to sue for, collect, and receive, all Assets of the Corporate Defendants and of other

    persons or entities whose interests are now under the direction, possession, custody, or control

    of, the Corporate Defendants. Provided, however, that the Receiver shall not attempt to collect

    any amount from a consumer if the Receiver believes the consumer's debt to the Corporate

    Defendants has resulted from the deceptive acts or practices or other violations of law alleged in

    the Complaint in this matter, without prior Court approval;

            D.     Obtain, conserve, hold, manage, and prevent the loss of all Documents of the

    Corporate Defendants, and perform all acts necessary or advisable to preserve such Documents.

    The Receiver shall: divert mail; preserve all Documents of the Corporate Defendants that are

    accessible via electronic means such as online access to financial accounts and access to

    electronic documents held onsite or by Electronic Data Hosts, by changing usemames,

    passwords or other log-in credentials; take possession of all electronic Documents of the

    Corporate Defendants stored onsite or remotely; take whatever steps necessary to preserve all

    such Documents; and obtain the assistance of the FTC's Digital Forensic Unit for the purpose of

    obtaining electronic documents stored onsite or remotely;




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           E.      Choose, engage, and employ attorneys, accountants, appraisers, and other

    independent contractors and technical specialists, as the Receiver deems advisable or necessary

    in the performance of duties and responsibilities under the authority granted by this Order;

           F.      Make payments and disbursements from the receivership estate that are necessary

    or advisable for carrying out the directions of, or exercising the authority granted by, this Order,

    and to incur, or authorize the making of, such agreements as may be necessary and advisable in

    discharging his or her duties as Receiver. The Receiver shall apply to the Court for prior

    approval of any payment of any debt or obligation incurred by the Corporate Defendants prior to

    the date of entry of this Order, except payments that the Receiver deems necessary or advisable

    to secure Assets of the Corporate Defendants, such as rental payments;

           G.      Take all steps necessary to secure and take exclusive custody of each location

    from which the Corporate Defendants operate their businesses. Such steps may include, but are

    not limited to, any of the following, as the Receiver deems necessary or advisable: (1) securing

    the location by changing the locks and alarm codes and disconnecting any internet access or

    other means of access to the computers, servers, internal networks, or other records maintained at

   that location; and (2) requiring any persons present at the location to leave the premises, to

    provide the Receiver with proof of identification, and/or to demonstrate to the satisfaction of the

    Receiver that such persons are not removing from the premises Documents or Assets of the

    Corporate Defendants. Law enforcement personnel, including, but not limited to, police or

    sheriffs, may assist the Receiver in implementing these provisions in order to keep the peace and

    maintain security. If requested by the Receiver, the United States Marshal will provide

    appropriate and necessary assistance to the Receiver to implement this Order and is authorized to

    use any necessary and reasonable force to do so;



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          H.       Take all steps necessary to prevent the modification, destruction, or erasure of any

    web page or website registered to and operated, in whole or in part, by any Defendants, and to

    provide access to all such web page or websites to Plaintiffs representatives, agents, and

    assistants, as well as Defendants and their representatives;

          I.       Enter into and cancel contracts and purchase insurance as advisable or necessary;

          J.       Prevent the inequitable distribution of Assets and determine, adjust, and protect

    the interests of consumers who have transacted business with the Corporate Defendants;

          K.       Make an accounting, as soon as practicable, of the Assets and financial condition

    of the receivership and file the accounting with the Court and deliver copies thereof to all parties;

          L.       Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or

    otherwise become party to any legal action in state, federal or foreign courts or arbitration

    proceedings as the Receiver deems necessary and advisable to preserve or recover the Assets of

    the Corporate Defendants, or to carry out the Receiver's mandate under this Order, including but

    not limited to, actions challenging fraudulent or voidable transfers;

          M.       Issue subpoenas to obtain Documents and records pertaining to the Receivership,

    and conduct discovery in this action on behalf of the receivership estate;

          N.       Open one or more bank accounts at designated depositories for funds of the

    Corporate Defendants. The Receiver shall deposit all funds of the Corporate Defendants in such

    designated accounts and shall make all payments and disbursements from the receivership estate

    from such accounts. The Receiver shall serve copies of monthly account statements on all

    parties;

          0.       Maintain accurate records of all receipts and expenditures incurred as Receiver;

          P.       Allow the Plaintiffs representatives, agents, and assistants, as well as



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    Defendants' representatives and Defendants themselves, reasonable access to the premises of the

    Corporate Defendants, or any other premises where the Corporate Defendants conduct business.

    The purpose of this access shall be to inspect and copy any and all books, records, Documents,

    accounts, and other property owned by, or in the possession of, the Corporate Defendants or their

    agents. The Receiver shall have the discretion to determine the time, manner, and reasonable

    conditions of such access;

         Q.         Allow the Plaintiff's representatives, agents, and assistants, as well as Defendants

    and their representatives reasonable access to all Documents in the possession, custody, or

    control of the Corporate Defendants;

         R.         Cooperate with reasonable requests for information or assistance from any state or

    federal civil or criminal law enforcement agency;

         S.         Suspend business operations of the Corporate Defendants if in the judgment of the

    Receiver such operations cannot be continued legally and profitably;

         T.         Take all steps necessary to ensure that any of the Corporate Defendants' web

    pages or websites relating to debt relief or credit repair services cannot be accessed by the public,

    or are modified for consumer education and/or informational purposes, if the Receiver deems it

    necessary or advisable;

         U.         Take all steps necessary to ensure that any telephone numbers associated with the

    Corporate Defendants cannot be accessed by the public, or are answered solely to provide

    consumer education or information regarding the status of operations, if the Receiver deems it

    necessary or advisable; and

              V.    File timely reports with the Court at reasonable intervals, or as otherwise directed

    by the Court.



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                XIV.   TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

           IT IS FURTHER ORDERED that Defendants, Relief Defendant, and any other person

    with possession, custody, or control of property of, or records relating to, the Corporate

    Defendants shall, upon notice of this Order by personal service or otherwise, fully cooperate with

    and assist the Receiver in taking and maintaining possession, custody, or control of the Assets

    and Documents of the Corporate Defendants and immediately transfer or deliver to the Receiver

    possession, custody, and control of the following:

           A.      All Assets held by or for the benefit of the Corporate Defendants;

           B.      All Documents of or pertaining to the Corporate Defendants;

           C.      All computers, electronic devices, mobile devices and machines used to conduct

    the business of the Corporate Defendants;

           D.      All Assets and Documents belonging to other persons or entities whose interests

    are under the direction, possession, custody, or control of the Corporate Defendants; and

           E.      All keys, codes, user names and passwords necessary to gain access or to secure

    access to any Assets or Documents of or pertaining to the Corporate Defendants, including

    access to their business premises, means of communication, accounts, computer systems (onsite

    and remote), Electronic Data Hosts, or other property.

           In the event that any person or entity fails to deliver or transfer any Asset or Document,

    or otherwise fails to comply with any provision of this Section, the Receiver may file an

    Affidavit of Non-Compliance regarding the failure and a motion seeking compliance or a

    contempt citation.

                       XV.   PROVISION OF INFORMATION TO RECEIVER

           IT IS FURTHER ORDERED that Defendants shall immediately provide to the

    Receiver:
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           A.      A list of all Assets and accounts of the Corporate Defendants that are held in any

    name other than the name of a Corporate Defendant, or by any person or entity other than a

    Corporate Defendant; and

           B.      A list of all agents, employees, officers, attorneys, and servants of the Corporate

    Defendants, and those persons in active concert and participation with the Corporate Defendants,

    or who have been associated with or done business with the Corporate Defendants.

                          XVI.    COOPERATION WITH THE RECEIVER

           IT IS FURTHER ORDERED that the Defendants, Relief Defendant, Defendants'

    officers, agents, employees, and attorneys, all other persons in active concert or participation

    with any of them, and any other person with possession, custody, or control of property or of

    records relating to the Corporate Defendants who receive actual notice of this Order shall fully

    cooperate with and assist the Receiver. This cooperation and assistance shall include, but is not

    limited to, providing information to the Receiver that the Receiver deems necessary to exercise

    the authority and discharge the responsibilities of the Receiver under this Order; providing any

    keys, codes, user names and passwords required to access any computers, electronic devices,

    mobile devices, or machines (onsite or remotely) or any cloud account (including the specific

    method used to access the account) or electronic file in any medium; advising all persons who

    owe money to any Corporate Defendant that all debts should be paid directly to the Receiver;

    and transferring funds at the Receiver's direction and producing records related to the Assets and

    sales of the Corporate Defendants.

                      XVII. NON-INTERFERENCE WITH THE RECEIVER

           IT IS FURTHER ORDERED that the Defendants, Relief Defendant, Defendants'

    officers, agents, employees, attorneys, and all other persons in active concert or participation



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    with any of them, who receive actual notice of this Order, and any other person served with a

    copy of this Order, are hereby restrained and enjoined from directly or indirectly:

           A.      Interfering with the Receiver's efforts to manage, or take custody, control, or

    possession of, the Assets or Documents subject to the receivership;

           B.      Transacting any of the business of the Corporate Defendants;

           C.      Transferring, receiving, altering, selling, encumbering, pledging, assigning,

    liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

    custody of, or in which an interest is held or claimed by, the Corporate Defendants; or

           D.      Refusing to cooperate with the Receiver or the Receiver's duly authorized agents

    in the exercise of their duties or authority under any order of this Court.

                                       XVIII.STAY OF ACTIONS

           IT IS FURTHER ORDERED that, except by leave of this Court, during the pendency

    of the receivership ordered herein, Defendants, Relief Defendant, Defendants' officers, agents,

    employees, attorneys, and all other persons in active concert or participation with any of them,

    who receive actual notice of this Order, and their corporations, subsidiaries, divisions, or

    affiliates, and all investors, creditors, stockholders, lessors, customers and other persons seeking

    to establish or enforce any claim, right, or interest against or on behalf of Corporate Defendants,

    and all others acting for or on behalf of such persons, are hereby enjoined from taking action that

    would interfere with the exclusive jurisdiction of this Court over the Assets or Documents of the

    Corporate Defendants, including, but not limited to:

           A.      Filing or assisting in the filing of a petition for relief under the Bankruptcy Code,

    11 U .S.C. § 101 et seq., or of any similar insolvency proceeding on behalf of the Corporate

    Defendants;



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             B.     Commencing, prosecuting, or continuing a judicial, administrative, or other action

    or proceeding against the Corporate Defendants, including the issuance or employment of

    process against the Corporate Defendants, except that such actions may be commenced if

    necessary to toll any applicable statute of limitations; or

             C.     Filing or enforcing any lien on any Asset of the Corporate Defendants, taking or

    attempting to take possession, custody, or control of any Asset of the Corporate Defendants,

    attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of the Corporate

    Defendants, whether such acts are part of a judicial proceeding, are acts of self-help, or

    otherwise.

             Provided, however, that this Order does not stay: ( 1) the commencement or continuation

    of a criminal action or proceeding; (2) the commencement or continuation of an action or

    proceeding by a governmental unit to enforce such governmental unit's police or regulatory

    power; or (3) the enforcement of a judgment, other than a money judgment, obtained in an action

    or proceeding by a governmental unit to enforce such governmental unit's police or regulatory

    power.

                               XIX.    COMPENSATION OF RECEIVER

             IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

    as herein authorized, including counsel to the Receiver and accountants, are entitled to

    reasonable compensation for the performance of duties pursuant to this Order and for the cost of

    actual out-of-pocket expenses incurred by them, from the Assets now held by, in the possession

    or control of, or which may be received by, the Corporate Defendants. The Receiver shall file

    with the Court and serve on the parties periodic requests for the payment of such reasonable

    compensation, with the first such request filed no more than sixty (60) days after the date of



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    entry of this Order. The Receiver shall not increase the hourly rates used as the bases for such

    fee applications without prior approval of the Court.

                                      XX.     RECEIVER'S BOND

           IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this Court a

    bond in the sum of $10,000 with sureties to be approved by the Court, conditioned that the

    Receiver will well and truly perform the duties of the office and abide by and perform all acts the

    Court directs. 28 U.S.C. § 754.

           XXI.    IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS

           IT IS FURTHER ORDERED that:

           A.      In order to allow Plaintiff and the Receiver to preserve Assets and evidence

    relevant to this action and to expedite discovery, Plaintiff and the Receiver, and their

    representatives, agents, contractors, and assistants, shall have immediate access to the business

    premises and storage facilities owned, controlled, or used by the Corporate Defendants. Such

    locations include, but are not limited to, 1489 W. Palmetto Park Rd., Suite Nos. 467 and 495,

    Boca Raton, FL 33486, and any offsite location or commercial mailbox used by the Corporate

    Defendants. The Receiver may exclude Defendants, Relief Defendant, and their employees from

    the business premises during the immediate access.

           B.      Plaintiff and the Receiver, and their representatives, agents, contractors, and

    assistants, shall also have immediate access to the records of the Corporate Defendants and the

    Relief Defendant, and are authorized to remove Documents from the Corporate Defendants'

    premises in order that they may be inspected, inventoried, and copied. Plaintiff shall return any

    removed materials to the Receiver within five (5) business days of completing inventorying and

    copying, or such time as is agreed upon by Plaintiff and the Receiver;



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           C.      Plaintiffs access to the Corporate Defendants' and Relief Defendant's documents

    pursuant to this Section shall not provide grounds for any Defendant or Relief Defendant to

    object to any subsequent request for documents served by Plaintiff.

           D.      Plaintiff and the Receiver, and their representatives, agents, contractors, and

    assistants, are authorized to obtain the assistance of federal, state, and local law enforcement

    officers as they deem necessary to effect service and to implement peacefully the provisions of

    this Order;

           E.      If any Documents, computers, or electronic storage devices containing

    information related to the business practices or finances of the Corporate Defendants are at a

    location other than those listed herein, including personal residence(s) of any Defendant, then,

    immediately upon receiving notice of this order, Defendants and Relief Defendant shall produce

    to the Receiver all such Documents, computers, and electronic storage devices, along with any

    codes or passwords needed for access. In order to prevent the destruction of computer data, upon

    service of this Order, any such computers or electronic storage devices shall be powered down in

    the normal course of the operating system used on such devices and shall not be powered up or

    used until produced for copying and inspection; and

           F.      If any communications or records of any Corporate Defendant are stored with an

    Electronic Data Host, such Entity shall, immediately upon receiving notice of this order, provide

    the Receiver with the user name, passwords, and any other login credential needed to access the

    communications and records, and shall not attempt to access, or cause a third-party to attempt to

    access, the communications or records.

                      XXII. DISTRIBUTION OF ORDER BY DEFENDANTS

           IT IS FURTHER ORDERED that Defendants shall immediately provide a copy of this

    Order to each affiliate, telemarketer, marketer, sales entity, successor, assign, member, officer,

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    director, employee, agent, independent contractor, attorney, spouse, former spouse, subsidiary,

    division, and representative of any Defendant and any company owned or controlled by any

    Defendant, and shall, by 5:00 PM on May 19, 2017 provide Plaintiff and the Receiver with a

    sworn statement that this provision of the Order has been satisfied, which statement shall include

    the names, physical addresses, phone number, and email addresses of each such person or entity

    who received a copy of the Order. Furthermore, Defendants shall not take any action that would

    encourage officers, agents, members, directors, employees, salespersons, independent

    contractors, attorneys, subsidiaries, affiliates, successors, assigns or other persons or entities in

    active concert or participation with them to disregard this Order or believe that they are not

    bound by its provisions.

                                    XXIII. EXPEDITED DISCOVERY

            IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed. R. Civ. P.

    26(d) and (f) and 30(a)(2)(c), and pursuant to Fed. R. Civ. P. 30(a), 34, and 45, Plaintiff and the

    Receiver are granted leave, at any time after service of this Order, to conduct limited expedited

    discovery for the purpose of discovering: (1) the nature, location, status, and extent of

    Defendants' and Relief Defendant's Assets; (2) the nature, location, and extent of Defendants'

    business transactions and operations; (3) Documents reflecting Defendants' business transactions

    and operations; or (4) compliance with this Order. The limited expedited discovery set forth in

    this Section shall proceed as follows:

            A.      Plaintiff and the Receiver may take the deposition of parties and non-parties.

    Forty-eight (48) hours' notice shall be sufficient notice for such depositions. The limitations and

    conditions set forth in Fed. R. Civ. P. 30(a)(2)(B) and 31 (a)(2)(B) regarding subsequent

    depositions of an individual shall not apply to depositions taken pursuant to this Section. Any

    such deposition taken pursuant to this Section shall not be counted towards the deposition limit

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    set forth in Rules 30(a)(2)(A) and 31 (a)(2)(A) and depositions may be taken by telephone or

    other remote electronic means;

            B.      Plaintiff and the Receiver may serve upon parties requests for production of

    Documents or inspection that require production or inspection within five (5) days of service,

    provided, however, that three (3) days of notice shall be deemed sufficient for the production of

    any such Documents that are maintained or stored only in an electronic format.

            C.     Plaintiff and the Receiver may serve upon parties interrogatories that require

    response within five (5) days after Plaintiff serves such interrogatories;

            D.      Plaintiff and the Receiver may serve subpoenas upon non-parties that direct

    production or inspection within five (5) days of service.

            E.      Service of discovery upon a party to this action, taken pursuant to this Section,

    shall be sufficient if made by facsimile, email, or by overnight delivery.

            F.     Any expedited discovery taken pursuant to this Section is in addition to, and is not

    subject to, the limits on discovery set forth in the Federal Rules of Civil Procedure and the Local

    Rules of this Court. The expedited discovery permitted by this Section does not require a

    meeting or conference of the parties, pursuant to Fed. R. Civ. P. 26(d) & (f).

            G.     The Parties are exempted from making initial disclosures under Fed. R. Civ. P.

    26(a)(l) until further order of this Court.

                                   XXIV. SERVICE OF THIS ORDER

            IT IS FURTHER ORDERED that copies of this Order as well as the Motion for

    Temporary Restraining Order and all other pleadings, Documents, and exhibits filed

    contemporaneously with that Motion (other than the complaint and summons), may be served by

    any means, including facsimile transmission, electronic mail or other electronic messaging,

    personal or overnight delivery, U.S. Mail or FedEx, by agents and employees of Plaintiff, by any

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    law enforcement agency, or by private process server, upon any Defendant or any Person

    (including any financial institution) that may have possession, custody, or control of any Asset or

    Document of any Defendant, or that may be subject to any provision of this Order pursuant to

    Fed. R. Civ. P. 65(d)(2). For purposes of this Section, service upon any branch, subsidiary,

    affiliate or office of any entity shall effect service upon the entire entity.

                   XXV. CORRESPONDENCE AND SERVICE ON PLAINTIFF

            IT IS FURTHER ORDERED that, for the purpose of this Order, all correspondence

    and service of pleadings on Plaintiff shall be addressed to:

                                    Miya Tandon
                                    Federal Trade Commission
                                    600 Pennsylvania Ave., NW, CC-10232
                                    Washington, DC 20580
                                    Phone: (202) 326-2351
                                    Fax:(202)326-3768
                                    mtandon@ftc.gov


                           XXVI. PRELIMINARY INJUNCTION HEARING

            A HEARING is set before this Court in the United States Courthouse located at 299 East

    Broward Boulevard, Fort Lauderdale, Florida 33301, Courtroom 205F, on May 26, 2017, at

    10:30 PM,, at which time Defendants and Relief Defendant and/or any other affected persons

    may challenge the appropriateness of this Order and move to dissolve the same and at which

    time the Court will hear argument on Plaintiffs requested Preliminary Injunction and other

    Equitable Relief;

            (1)     Plaintiff shall serve copies of the Complaint; the Motion for Temporary

    Restraining Order, Asset Freeze, Appointment of a Receiver, Immediate Access, and Other

    Equitable Relief; and this Order; on each Defendant by 5:00 PM on May 18, 2017.




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           (2)     Any response or opposition to Plaintiff's Motion for Preliminary Injunction and

    the continued freezing of assets and appointment of Receiver must be filed and served on

    Plaintiff's counsel by May 23, 2017 by 1:00 PM. Plaintiff shall file any Reply Memorandum on

    or before May 25, 2017 by 1 :00 PM. The above dates may be revised upon stipulation by all

    parties and approval of this Court.

           (3)     Provided that such affidavits, pleadings, motions, expert reports, declarations,

    legal memoranda, or oppositions must be served by personal or overnight delivery, facsimile, or

    email, and be received by the other party or parties by the date and time set forth in this Section.

           H.      An evidentiary hearing on Plaintiff's request for a preliminary injunction is not

    necessary unless Defendants and Relief Defendant demonstrate that they have, and intend to

    introduce, evidence that raises a genuine and material factual issue. The question of whether this

    Court should enter a preliminary injunction shall be resolved on the pleadings, declarations,

    exhibits, and memoranda filed by, and oral argument of, the parties. Live testimony shall be

    heard only on further order of this Court. Any motion to permit such testimony shall be filed

    with the Court and served on counsel for the other parties by May 22, 2017 by 5:00 PM. Such

    motion shall set forth the name, address, and telephone number of each proposed witness, a

    detailed summary or affidavit revealing the substance of each proposed witness's expected

    testimony, and an explanation of why the taking of live testimony would be helpful to this Court.

    Any papers opposing a timely motion to present live testimony or to present live testimony in

    response to another party's timely motion to present live testimony shall be filed with this Court

    and served on the other parties no later than May 24, 2017 by 5:00 PM.




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           Provided, however, that service shall be performed by personal or overnight delivery,

    facsimile, or email, and Documents shall be delivered so that they shall be received by the other

    parties on the appropriate dates and times provided in this Section.

                             XXVII.          DURATION OF THE ORDER

           IT IS FURTHER ORDERED that this Order shall expire fourteen (14) days from the

    date of entry noted below, unless within such time, the Order is extended for an additional period

    pursuant to Fed. R. Civ. P. 65(b)(2).

                            XXVIII.         RETENTION OF JURISDICTION

           IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

    appropriate purposes.

           SO ORDERED, this 15 th day of May, 2017, at 4:00 p.m. at Fort Lauderdale, Broward

    County, Florida.




                                            United States District Judge



    Copies to:
    All counsel of record




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                     PLAINTIFF'S EXHIBIT 38 - 5
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 Case No.17-CV-80619-WPD


    FEDERAL TRADE COMMISSION,

          Plaintiff,

          V.

    STRATEGIC STUDENT SOLUTIONS LLC, a
    limited liability company, STRATEGIC CREDIT      FILED UNDER SEAL
    SOLUTIONS LLC, a limited liability company,
    STRATEGIC DEBT SOLUTIONS LLC, a limited
    liability company, STRATEGIC DOC PREP
    SOLUTIONS LLC, a limited liability company,
    STUDENT RELIEF CENTER LLC, a limited
    liability company, CREDIT RELIEF CENTER
    LLC, a limited liability company, and

    DA VE GREEN, individually and as an officer of
    STRATEGIC STUDENT SOLUTIONS LLC,
    STRATEGIC CREDIT SOLUTIONS LLC,
    STRATEGIC DEBT SOLUTIONS LLC,
    STRATEGIC DOC PREP SOLUTIONS LLC,
    STUDENT RELIEF CENTER LLC, and CREDIT
    RELIEF CENTER LLC,

          Defendants, and

    DG INVESTMENT PROPERTIES LLC,

          Relief Defendant.



                EX PARTE TEMPORARY RESTRAINING ORDER WITH
            ASSET FREEZE, APPOINTMENT OF A TEMPORARY RECEIVER,
           AND OTHER EQUITABLE RELIEF, AND ORDER TO SHOW CAUSE
              WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE




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           Plaintiff, the Federal Trade Commission, has filed its Complaint for Permanent

   Injunction and Other Equitable Relief pursuant to Section l 3(b) of the Federal Trade

   Commission Act ("FTC Act"), 15 U.S.C. § 53(b), the Telemarketing and Consumer Fraud and

   Abuse Prevention Act ("Telemarketing Act"), 15 U.S.C. §§ 6101-6108, and Section 410(b) of

   the Credit Repair Organizations Act, 15 U.S.C. § 1679h(b), and has moved, pursuant to Fed. R.

   Civ. P. 65(b), for a temporary restraining order, asset freeze, other equitable relief, and an order

   to show cause why a preliminary injunction should not issue against Defendants.

           The Court, having considered the Complaint, the ex parte Motion for a Temporary

   Restraining Order, declarations, exhibits, and the memorandum of points and authorities filed in

   support thereof, and being otherwise advised, GRANTS Plaintiffs motion for a temporary

   restraining order and FINDS and ORDERS as follows:

                                          FINDINGS OF FACT

           A.      This Court has jurisdiction over the subject matter of this case, and there is good

   cause to believe that it will have jurisdiction over all parties hereto and that venue in this district

   1s proper.

           B.      There is good cause to believe that Defendants Dave Green, Strategic Student

   Solutions LLC, Strategic Credit Solutions LLC, Strategic Debt Solutions LLC, Strategic Doc

   Prep Solutions LLC, Student Relief Center LLC, and Credit Relief Center LLC have engaged in

   and are likely to engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. §

   45(a), the FTC's Telemarketing Sales Rule ("TSR"), 16 C.F.R. Part 310, and the Credit Repair

   Organizations Act ("CROA''), 15 U.S.C. §§ 1679-1679j, and that Plaintiff is therefore likely to

   prevail on the merits of this action. As demonstrated by the consumer declarations, Department



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   of Education and loan servicer declarations, consumer complaints, website captures, corporate

   filings, and records from banks and other corporate service providers, the FTC has established a

   likelihood of success in showing that Defendants have materially misrepresented their debt relief

   and credit repair services and have charged illegal advance fees.

          C.      There is good cause to believe that immediate and continuing harm will result

   from Defendants' ongoing violations of the FTC Act, the TSR, and the CROA unless Defendants

   are restrained and enjoined by order of this Court.

          D.      There is good cause to believe that Relief Defendant DG Investment Properties

   LLC received funds or assets that can be traced directly to Defendants' unlawful acts or practices

   and has no legitimate claim to those funds.

          E.      There is good cause to believe that immediate and irreparable damage to the

   Court's ability to grant effective final relief for consumers-including monetary restitution,

   rescission, disgorgement or refunds-will occur from the sale, transfer, destruction or other

   disposition or concealment by Defendants or Relief Defendant of their assets or records, unless

   Defendants and Relief Defendant are immediately restrained and enjoined by order of this Court;

   and that, in accordance with Fed. R. Civ. P. 65(b ), the interests of justice require that this Order

   be granted without prior notice to Defendants and Relief Defendant. Thus, there is good cause

   for relieving Plaintiff of the duty to provide Defendants and Relief Defendant with prior notice

   of its Motion for a Temporary Restraining Order.

          F.      Good cause exists for appointing a temporary receiver over the Corporate

   Defendants and their subsidiaries; freezing Defendants' assets; permitting the Plaintiff and the

   Receiver immediate access to the Defendants' business premises; and permitting the Plaintiff and

   the Receiver to take expedited discovery.



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           G.      Weighing the equities and considering Plaintiffs likelihood of ultimate success

   on the merits, a temporary restraining order with an asset freeze, the appointment of a temporary

   receiver, immediate access to business premises, expedited discovery, and other equitable relief

   is in the public interest.

           H.      This Court has authority to issue this Order pursuant to Section l 3(b) of the FTC

   Act, 15 U.S.C. § 53(b); Fed. R. Civ. P. 65; and the All Writs Act, 28 U.S.C. § 1651.

           I.      No security is required of any agency of the United States for issuance of a

   temporary restraining order. Fed. R. Civ. P. 65(c).

                                             DEFINITIONS

   For the purpose of this Order, the following definitions shall apply:

           A.      "Asset" means any legal or equitable interest in, right to, or claim to, any

   property, wherever located and by whomever held.

           B.      "Corporate Defendants" means Strategic Student Solutions LLC, Strategic

   Credit Solutions LLC, Strategic Debt Solutions LLC, Strategic Doc Prep Solutions LLC, Student

   Relief Center LLC, Credit Relief Center LLC, and each of their subsidiaries, affiliates,

   successors, and assigns.

           C.      "Credit Repair Service" means any service for the express or implied purpose of

   improving any consumer's credit record, credit history, or credit rating; or providing advice or

   assistance to any consumer with regard to any activity or service the purpose of which is to

   improve a consumer's credit record, credit history, or credit rating.

           D.      "Debt Relief Service" means any program or service represented, directly or by

   implication, to renegotiate, settle, or in any way alter the terms of payment or other terms of the

   debt between a person and one or more unsecured creditors or debt collectors, including, but not



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   limited to, a reduction in the balance, interest rate, or fees owed by a person to an unsecured

   creditor or debt collector.

           E.      "Defendant(s)" means Corporate Defendants and Dave Green, individually,

   collectively, or in any combination.

           F.      "Document" is synonymous in meaning and equal in scope to the usage of

   "document" and "electronically stored information" in Fed. R. Civ. P. 34(a), and includes

   writings, drawings, graphs, charts, photographs, sound and video recordings, images, Internet

   sites, web pages, websites, electronic correspondence, including e-mail and instant messages,

   contracts, accounting data, advertisements, FTP Logs, Server Access Logs, books, written or

   printed records, handwritten notes, telephone logs, telephone scripts, receipt books, ledgers,

   personal and business canceled checks and check registers, bank statements, appointment books,

   computer records, customer or sales databases and any other electronically stored information,

   including Documents located on remote servers or cloud computing systems, and other data or

   data compilations from which information can be obtained directly or, if necessary, after

   translation into a reasonably usable form. A draft or non-identical copy is a separate document

   within the meaning of the term.

           G.      "Electronic Data Host" means any person or entity in the business of storing,

   hosting, or otherwise maintaining electronically stored information. This includes, but is not

   limited to, any entity hosting a website or server, and any entity providing "cloud based"

   electronic storage.

           H.      "Receiver" means the temporary receiver appointed in Section XII of this Order

   and any deputy receivers that shall be named by the temporary receiver.




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           I.      "Relief Defendant" means DG Investment Properties LLC, and each of its

   subsidiaries, affiliates, successors, and assigns.

                                                  ORDER

      I.        RESTRICTIONS ON ADVANCE FEES FOR DEBT RELIEF AND CREDIT
                                   REPAIR SERVICES

           IT IS THEREFORE ORDERED that the Defendants, and their officers, agents,

   employees, and those persons or entities in active concert or participation with any of them who

   receive actual notice of this Order, whether acting directly or indirectly, are hereby restrained

   and enjoined from:

           A.      providing, offering to provide, or arranging for others to provide any debt relief

   service and requesting or receiving payment of any fees or consideration for any debt relief

   service until and unless:

                   I.      the seller or telemarketer has renegotiated, settled, reduced, or otherwise

                   altered the terms of at least one debt pursuant to a settlement agreement, debt

                   management plan, or other such valid contractual agreement executed by the

                   customer;

                   2.      the customer has made at least one payment pursuant to that settlement

                   agreement, debt management plan, or other valid contractual agreement between

                   the customer and the creditor or debt collector; and

                   3.      to the extent that debts emolled in a service are renegotiated, settled,

                   reduced, or otherwise altered individually, the fee or consideration either:




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                            a.      bears the same proportional relationship to the total fee for

                            renegotiating, settling, reducing, or altering the terms of the entire debt

                            balance as the individual debt amount bears to the entire debt amount.

                            The individual debt amount and the entire debt amount are those owed at

                            the time the debt was enrolled in the service; or

                            b.      is a percentage of the amount saved as a result of the renegotiation,

                            settlement, reduction, or alteration. The percentage charged cannot

                            change from one individual debt to another. The amount saved is the

                            difference between the amount owed at the time the debt was enrolled in

                            the service and the amount actually paid to satisfy the debt; and

          B.         providing, offering to provide, or arranging for others to provide any credit repair

   service and charging or receiving money or other valuable consideration for the performance of

   credit repair services before the services are fully performed.

               II.        PROHIBITION ON DECEPTIVE OR UNSUBSTANTIATED
                                        REPRESENTATIONS

          IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

   and attorneys, and all other persons in active concert or participation with them, who receive

   actual notice of this Order by personal service or otherwise, whether acting directly or indirectly,

   in connection with the advertising, marketing, promoting, or offering for sale of any debt relief

   or credit repair service, are temporarily restrained and enjoined from:

          A.         misrepresenting or assisting others in misrepresenting, expressly or by

   implication:

                     1.     that Defendants will enroll consumers in student loan forgiveness or other

                     programs that would lower their payments or balances;


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                   2.      that consumers' monthly payments to Defendants will be applied to pay

                   off the consumers' loans;

                   3.      that consumers' student loan debt will be forgiven in three years or less

                   after payment of initial fees;

                   4.      that if a consumer cancels his or her enrollment in a federal student loan

                   forgiveness program, it is very difficult or impossible to re-enter another

                   forgiveness program;

                   5.      that consumers' credit will be improved as a result of Defendants'

                   program; and

                   6.      any other fact material to consumers concerning any debt relief or credit

                   repair service, such as: the total costs; any material restrictions, limitations, or

                   conditions; or any material aspect of its performance, efficacy, nature, or central

                   characteristics; and

          B.       making or assisting others in making, any representation, expressly or by

   implication, about the benefits, performance, or efficacy of any product or service, unless the

   representation is non-misleading and, at the time such representation is made, Defendants

   possess and rely upon competent and reliable evidence that is sufficient in quality and quantity

   based on standards generally accepted in the relevant fields, when considered in light of the

   entire body of relevant and reliable evidence, to substantiate that the representation is true.

            III.    PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

          IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

   and attorneys, and all other Persons in active concert or participation with any of them, who

   receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

   restrained and enjoined from:
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           A.      Selling, renting, leasing, transferring, or otherwise disclosing, the name, address,

   birth date, telephone number, email address, credit card number, bank account number, Social

   Security number, or other financial or identifying information of any person that any Defendant

   obtained in connection with any activity that pertains to the subject matter of this Order; and

           B.      Benefitting from or using the name, address, birth date, telephone number, email

   address, credit card number, bank account number, Social Security number, or other financial or

   identifying information of any person that any Defendant obtained in connection with any

   activity that pertains to the subject matter of this Order.

          Provided, however, that Defendants may disclose such identifying information to a law

   enforcement agency, as required by any law, regulation, or court order, or in any filings,

   pleadings or discovery in this action in the manner required by the Federal Rules of Civil

   Procedure and by any protective order in the case.

                                         IV.     ASSET FREEZE

          IT IS FURTHER ORDERED that Defendants and their officers, agents, employees,

   and attorneys, and all other persons in active concert or participation with any of them, who

   receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

   restrained and enjoined from:

          A.       Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

   concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

   lien or security interest or other interest in, or otherwise disposing of any Assets, wherever

   located, including outside the United States, that are:

                   1.      owned or controlled, directly or indirectly, by any Defendant, including,

                  but not limited to those for which a Defendant is a signatory on the account;

                   2.      held, in part or in whole, for the benefit of any Defendant;

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                  3.      in the actual or constructive possession of any Defendant; or

                  4.      owned or controlled by, in the actual or constructive possession of, or

                  otherwise held for the benefit of, any corporation, partnership, asset protection

                  trust, or other entity that is directly or indirectly owned, managed or controlled by

                  any Defendant.

           B.     Opening or causing to be opened any safe deposit boxes, commercial mail boxes,

   or storage facilities titled in the name of any Defendant or subject to access by any Defendant,

   except as necessary to comply with written requests from the Receiver acting pursuant to its

   authority under this Order;

          C.      Incurring charges or cash advances on any credit or bank card issued in the name,

   individually or jointly, of any Corporate Defendant or any corporation, partnership, or other

   entity directly or indirectly owned, managed, or controlled by any Defendant or of which any

   Defendant is an officer, director, member, or manager. This includes any corporate bankcard or

   corporate credit card account for which any Defendant is, or was on the date that this Order was

   signed, an authorized signor; or

          D.      Cashing any checks or depositing any money orders or cash received from

   consumers, clients, or customers of any Defendant.

          The Assets affected by this Section shall include: (1) all Assets of Defendants as of the

   time this Order is entered; (2) Assets obtained by Defendants after this Order is entered if those

   Assets are derived from any activity that is the subject of the Complaint in this matter or that is

   prohibited by this Order. This Section does not prohibit any transfers to the Receiver or

   repatriation of foreign Assets specifically required by this order.




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               V.     DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES

           IT IS FURTHER ORDERED that any financial or brokerage institution, Electronic

   Data Host, credit card processor, payment processor, merchant bank, acquiring bank,

   independent sales organization, third party processor, payment gateway, insurance company,

   business entity, or person who receives actual notice of this Order (by service or otherwise) and

   that (a) holds, controls, or maintains custody, through an account or otherwise, of any Document

   or Asset that is: owned or controlled, directly or indirectly, by any Defendant; held, in part or in

   whole, for the benefit of any Defendant; in the actual or constructive possession of any

   Defendant; or owned or controlled by, in the actual or constructive possession of, or otherwise

   held for the benefit of, any corporation, partnership, asset protection trust, or other entity that is

   directly or indirectly owned, managed, or controlled by any Defendant; (b) holds, controls, or

   maintains custody of any Document or Asset associated with credits, debits or charges made on

   behalf of any Defendant, including reserve funds held by payment processors, credit card

   processors, merchant banks, acquiring banks, independent sales organizations, third party

   processors, payment gateways, insurance companies, or other entities; or (c) has held, controlled,

   or maintained custody of any such Document, Asset, or account at any time since the date of

   entry of this Order shall:

          A.        Hold, preserve, and retain within its control and prohibit the withdrawal, removal,

   alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,

   conversion, sale, or other disposal of any such Document or Asset, as well as all Documents or

   other property related to such Assets, except by further order of this Court;

          B.        Deny any Person, except the Receiver, access to any safe deposit box, commercial

   mail box, or storage facility that is titled in the name of any Defendant, either individually or

   jointly, or otherwise subject to access by any Defendant;

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           C.     Provide Plaintiffs counsel and the Receiver, within three (3) business days of

   receiving a copy of this Order, a sworn statement setting forth:

                   1.     The identification number of each such account or Asset;

                  2.      The balance of each such account, or a description of the nature and value

                  of each such Asset as of the close of business on the day on which this Order is

                  served, and, if the account or other Asset has been closed or removed, the date

                  closed or removed, the total funds removed in order to close the account, and the

                  name of the person or entity to whom such account or other Asset was remitted;

                  and

                  3.      The identification of any safe deposit box, commercial mail box, or

                  storage facility that is either titled in the name, individually or jointly, of any

                  Defendant, or is otherwise subject to access by any Defendant; and

          D.      Upon the request of Plainti ff s counsel or the Receiver, promptly provide

   Plaintiffs counsel and the Receiver with copies of all records or other Documents pertaining to

   such account or Asset, including originals or copies of account applications, account statements,

   signature cards, checks, drafts, deposit tickets, transfers to and from the accounts, including wire

   transfers and wire transfer instructions, all other debit and credit instruments or slips, currency

   transaction reports, 1099 forms, and all logs and records pertaining to safe deposit boxes,

   commercial mail boxes, and storage facilities.

                                 VI.     FINANCIAL DISCLOSURES

          IT IS FURTHER ORDERED that each Defendant and Relief Defendant, within five (5)

   days of service of this Order upon them, shall prepare and deliver to Plaintiffs counsel and the

   Receiver ( 1) completed financial statements on the forms attached to this Order as Attachment

   A (Financial Statement of Individual Defendant) for the Individual Defendant, and Attachment

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   B (Financial Statement of Corporate Defendant) for each Corporate Defendant and Relief

   Defendant and (2) a completed statement, verified under oath, of all payments, transfers or

   assignments of funds, assets, or property worth $1,000 or more since May 15, 2012. Such

   statement shall include: (a) the amount transferred or assigned; (b) the name of each transferee or

   assignee; (c) the date of the transfer or assignment; and (d) the type and amount of consideration

   paid by the Defendant or Relief Defendant. Each statement shall specify the name and address

   of each financial institution and brokerage firm at which the Defendant or Relief Defendant has

   accounts or safe deposit boxes. Said statements shall include assets held in foreign as well as

   domestic accounts.

                             VII.    FOREIGN ASSET REPATRIATION

          IT IS FURTHER ORDERED that within five (5) days following the service of this

   Order, each Defendant shall:

          A.      Provide Plaintiff's counsel and the Receiver with a full accounting, verified under

   oath and accurate as of the date of this Order, of all Assets, Documents, and accounts outside of

   the United States which are: ( 1) titled in the name, individually or jointly, of any Defendant; (2)

   held by any person or entity for the benefit of any Defendant or for the benefit of, any

   corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,

   managed, or controlled by any Defendant; or (3) under the direct or indirect control, whether

   jointly or singly, of any Defendant;

          B.      Take all steps necessary to provide Plaintiff's counsel and Receiver access to all

   Documents and records that may be held by third parties located outside of the territorial United

   States of America, including signing the Consent to Release of Financial Records appended to

   this Order as Attachment C.



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             C.    Transfer to the territory of the United States and deliver to the Receiver all

   Documents and Assets located in foreign countries which are: (1) titled in the name, individually

   or jointly, of any Defendant; (2) held by any person or entity for the benefit of any Defendant or

   for the benefit of, any corporation, partnership, asset protection trust, or other entity that is

   directly or indirectly owned, managed, or controlled by any Defendant; or (3) under the direct or

   indirect control, whether jointly or singly, of any Defendant; and

             D.    The same business day as any repatriation, ( 1) notify the Receiver and counsel for

   Plaintiff of the name and location of the financial institution or other entity that is the recipient of

   such Documents or Assets; and (2) serve this Order on any such financial institution or other

   entity.

                      VIII. NON-INTERFERENCE WITH REPATRIATION

             IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

   and attorneys, and all other Persons in active concert or participation with any of them, who

   receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

   restrained and enjoined from taking any action, directly or indirectly, which may result in the

   encumbrance or dissipation of foreign Assets, or in the hindrance of the repatriation required by

   this Order, including, but not limited to:

             A.    Sending any communication or engaging in any other act, directly or indirectly,

   that results in a determination by a foreign trustee or other entity that a "duress" event has

   occurred under the terms of a foreign trust agreement until such time that all Defendants' Assets

   have been fully repatriated pursuant to this Order; or

             B.    Notifying any trustee, protector or other agent of any foreign trust or other related

   entities of either the existence of this Order, or of the fact that repatriation is required pursuant to



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   a court order, until such time that all Defendants' Assets have been fully repatriated pursuant to

   this Order.

                              IX.     CONSUMER CREDIT REPORTS

          IT IS FURTHER ORDERED that Plaintiff may obtain credit reports concerning any

   Defendants or Relief Defendant pursuant to Section 604( a)( 1) of the Fair Credit Reporting Act,

   15 U.S.C. 1681b(a)(l), and that, upon written request, any credit reporting agency from which

   such reports are requested shall provide them to Plaintiff.

                              X.      PRESERVATION OF RECORDS

          IT IS FURTHER ORDERED that Defendants and Relief Defendant, and their officers,

   agents, employees, and attorneys, and all other Persons in active concert or participation with

   any of them, who receive actual notice of this Order, whether acting directly or indirectly, are

   hereby temporarily restrained and enjoined from:

          A.      Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

   transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

   relate to: ( 1) the business, business practices, Assets, or business or personal finances of any

   Defendant or Relief Defendant; (2) the business practices or finances of entities directly or

   indirectly under the control of any Defendant or Relief Defendant; or (3) the business practices

   or finances of entities directly or indirectly under common control with any other Defendant or

   Relief Defendant; and

          B.      Failing to create and maintain Documents that, in reasonable detail, accurately,

   fairly, and completely reflect Defendants and Relief Defendant's incomes, disbursements,

   transactions, and use of Defendants and Relief Defendant's Assets.




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                         XI.     REPORT OF NEW BUSINESS ACTIVITY

          IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

   and attorneys, and all other persons in active concert or participation with any of them, who

   receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

   restrained and enjoined from creating, operating, or exercising any control over any business

   entity, whether newly formed or previously inactive, including any partnership, limited

   partnership, joint venture, sole proprietorship, or corporation, without first providing Plaintiffs

   counsel and the Receiver with a written statement disclosing: (1) the name of the business

   entity; (2) the address and telephone number of the business entity; (3) the names of the business

   entity's officers, directors, principals, managers, and employees; and (4) a detailed description of

   the business entity's intended activities.

                                  XII.    TEMPORARY RECEIVER

           IT IS FURTHER ORDERED that Charles H. Lichtman is appointed as temporary

   receiver of the Corporate Defendants with full powers of an equity receiver. The Receiver shall

   be solely the agent of this Court in acting as Receiver under this Order.

                        XIII. DUTIES AND AUTHORITY OF RECEIVER

          IT IS FURTHER ORDERED that the Receiver is directed and authorized to

   accomplish the following:

           A.     Assume full control of Corporate Defendants by removing, as the Receiver deems

   necessary or advisable, any director, officer, independent contractor, employee, attorney, or

   agent of any Corporate Defendant from control of, management of, or participation in, the affairs

   of the Corporate Defendant;




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           B.     Take exclusive custody, control, and possession of all Assets and Documents of,

   or in the possession, custody, or under the control of, any Corporate Defendant, wherever

   situated;

           C.     Obtain, conserve, hold, manage, and prevent the loss of all Assets of the

   Corporate Defendants, and perform all acts necessary or advisable to preserve the value of those

   Assets. The Receiver shall assume control over the income and profits therefrom and all sums of

   money now or hereafter due or owing to the Corporate Defendants. The Receiver shall have full

   power to sue for, collect, and receive, all Assets of the Corporate Defendants and of other

   persons or entities whose interests are now under the direction, possession, custody, or control

   of, the Corporate Defendants. Provided, however, that the Receiver shall not attempt to collect

   any amount from a consumer if the Receiver believes the consumer's debt to the Corporate

   Defendants has resulted from the deceptive acts or practices or other violations of law alleged in

   the Complaint in this matter, without prior Court approval;

           D.     Obtain, conserve, hold, manage, and prevent the loss of all Documents of the

   Corporate Defendants, and perform all acts necessary or advisable to preserve such Documents.

   The Receiver shall: divert mail; preserve all Documents of the Corporate Defendants that are

   accessible via electronic means such as online access to financial accounts and access to

   electronic documents held onsite or by Electronic Data Hosts, by changing usemames,

   passwords or other log-in credentials; take possession of all electronic Documents of the

   Corporate Defendants stored onsite or remotely; take whatever steps necessary to preserve all

   such Documents; and obtain the assistance of the FTC's Digital Forensic Unit for the purpose of

   obtaining electronic documents stored onsite or remotely;




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          E.      Choose, engage, and employ attorneys, accountants, appraisers, and other

   independent contractors and technical specialists, as the Receiver deems advisable or necessary

   in the performance of duties and responsibilities under the authority granted by this Order;

          F.      Make payments and disbursements from the receivership estate that are necessary

   or advisable for carrying out the directions of, or exercising the authority granted by, this Order,

   and to incur, or authorize the making of, such agreements as may be necessary and advisable in

   discharging his or her duties as Receiver. The Receiver shall apply to the Court for prior

   approval of any payment of any debt or obligation incurred by the Corporate Defendants prior to

   the date of entry of this Order, except payments that the Receiver deems necessary or advisable

   to secure Assets of the Corporate Defendants, such as rental payments;

          G.      Take all steps necessary to secure and take exclusive custody of each location

   from which the Corporate Defendants operate their businesses. Such steps may include, but are

   not limited to, any of the following, as the Receiver deems necessary or advisable: (1) securing

   the location by changing the locks and alarm codes and disconnecting any internet access or

   other means of access to the computers, servers, internal networks, or other records maintained at

   that location; and (2) requiring any persons present at the location to leave the premises, to

   provide the Receiver with proof of identification, and/or to demonstrate to the satisfaction of the

   Receiver that such persons are not removing from the premises Documents or Assets of the

   Corporate Defendants. Law enforcement personnel, including, but not limited to, police or

   sheriffs, may assist the Receiver in implementing these provisions in order to keep the peace and

   maintain security. If requested by the Receiver, the United States Marshal will provide

   appropriate and necessary assistance to the Receiver to implement this Order and is authorized to

   use any necessary and reasonable force to do so;



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         H.       Take all steps necessary to prevent the modification, destruction, or erasure of any

   web page or website registered to and operated, in whole or in part, by any Defendants, and to

   provide access to all such web page or websites to Plaintiffs representatives, agents, and

   assistants, as well as Defendants and their representatives;

         I.       Enter into and cancel contracts and purchase insurance as advisable or necessary;

         J.       Prevent the inequitable distribution of Assets and determine, adjust, and protect

   the interests of consumers who have transacted business with the Corporate Defendants;

         K.       Make an accounting, as soon as practicable, of the Assets and financial condition

   of the receivership and file the accounting with the Court and deliver copies thereof to all parties;

         L.       Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or

   otherwise become party to any legal action in state, federal or foreign courts or arbitration

   proceedings as the Receiver deems necessary and advisable to preserve or recover the Assets of

   the Corporate Defendants, or to carry out the Receiver's mandate under this Order, including but

   not limited to, actions challenging fraudulent or voidable transfers;

         M.       Issue subpoenas to obtain Documents and records pertaining to the Receivership,

   and conduct discovery in this action on behalf of the receivership estate;

         N.       Open one or more bank accounts at designated depositories for funds of the

   Corporate Defendants. The Receiver shall deposit all funds of the Corporate Defendants in such

   designated accounts and shall make all payments and disbursements from the receivership estate

   from such accounts. The Receiver shall serve copies of monthly account statements on all

   parties;

         0.       Maintain accurate records of all receipts and expenditures incurred as Receiver;

         P.       Allow the Plaintiffs representatives, agents, and assistants, as well as


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   Defendants' representatives and Defendants themselves, reasonable access to the premises of the

   Corporate Defendants, or any other premises where the Corporate Defendants conduct business.

   The purpose of this access shall be to inspect and copy any and all books, records, Documents,

   accounts, and other property owned by, or in the possession of, the Corporate Defendants or their

   agents. The Receiver shall have the discretion to determine the time, manner, and reasonable

   conditions of such access;

        Q.         Allow the Plaintiffs representatives, agents, and assistants, as well as Defendants

   and their representatives reasonable access to all Documents in the possession, custody, or

   control of the Corporate Defendants;

        R.         Cooperate with reasonable requests for information or assistance from any state or

   federal civil or criminal law enforcement agency;

        S.         Suspend business operations of the Corporate Defendants if in the judgment of the

   Receiver such operations cannot be continued legally and profitably;

        T.         Take all steps necessary to ensure that any of the Corporate Defendants' web

   pages or websites relating to debt relief or credit repair services cannot be accessed by the public,

   or are modified for consumer education and/or informational purposes, if the Receiver deems it

   necessary or advisable;

        U.         Take all steps necessary to ensure that any telephone numbers associated with the

   Corporate Defendants cannot be accessed by the public, or are answered solely to provide

   consumer education or information regarding the status of operations, if the Receiver deems it

   necessary or advisable; and

             V.    File timely reports with the Court at reasonable intervals, or as otherwise directed

   by the Court.


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               XIV.   TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

          IT IS FURTHER ORDERED that Defendants, Relief Defendant, and any other person

   with possession, custody, or control of property of, or records relating to, the Corporate

   Defendants shall, upon notice of this Order by personal service or otherwise, fully cooperate with

   and assist the Receiver in taking and maintaining possession, custody, or control of the Assets

   and Documents of the Corporate Defendants and immediately transfer or deliver to the Receiver

   possession, custody, and control of the following:

          A.      All Assets held by or for the benefit of the Corporate Defendants;

          B.      All Documents of or pertaining to the Corporate Defendants;

          C.      All computers, electronic devices, mobile devices and machines used to conduct

   the business of the Corporate Defendants;

          D.      All Assets and Documents belonging to other persons or entities whose interests

   are under the direction, possession, custody, or control of the Corporate Defendants; and

          E.      All keys, codes, user names and passwords necessary to gain access or to secure

   access to any Assets or Documents of or pertaining to the Corporate Defendants, including

   access to their business premises, means of communication, accounts, computer systems (onsite

   and remote), Electronic Data Hosts, or other property.

          In the event that any person or entity fails to deliver or transfer any Asset or Document,

   or otherwise fails to comply with any provision of this Section, the Receiver may file an

   Affidavit of Non-Compliance regarding the failure and a motion seeking compliance or a

   contempt citation.

                      XV.   PROVISION OF INFORMATION TO RECEIVER

          IT IS FURTHER ORDERED that Defendants shall immediately provide to the

   Receiver:
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          A.      A list of all Assets and accounts of the Corporate Defendants that are held in any

   name other than the name of a Corporate Defendant, or by any person or entity other than a

   Corporate Defendant; and

          B.      A list of all agents, employees, officers, attorneys, and servants of the Corporate

   Defendants, and those persons in active concert and participation with the Corporate Defendants,

   or who have been associated with or done business with the Corporate Defendants.

                         XVI. COOPERATION WITH THE RECEIVER

          IT IS FURTHER ORDERED that the Defendants, Relief Defendant, Defendants'

   officers, agents, employees, and attorneys, all other persons in active concert or participation

   with any of them, and any other person with possession, custody, or control of property or of

   records relating to the Corporate Defendants who receive actual notice of this Order shall fully

   cooperate with and assist the Receiver. This cooperation and assistance shall include, but is not

   limited to, providing information to the Receiver that the Receiver deems necessary to exercise

   the authority and discharge the responsibilities of the Receiver under this Order; providing any

   keys, codes, user names and passwords required to access any computers, electronic devices,

   mobile devices, or machines (onsite or remotely) or any cloud account (including the specific

   method used to access the account) or electronic file in any medium; advising all persons who

   owe money to any Corporate Defendant that all debts should be paid directly to the Receiver;

   and transferring funds at the Receiver's direction and producing records related to the Assets and

   sales of the Corporate Defendants.

                     XVII. NON-INTERFERENCE WITH THE RECEIVER

          IT IS FURTHER ORDERED that the Defendants, Relief Defendant, Defendants'

   officers, agents, employees, attorneys, and all other persons in active concert or participation



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   with any of them, who receive actual notice of this Order, and any other person served with a

   copy of this Order, are hereby restrained and enjoined from directly or indirectly:

          A.      Interfering with the Receiver's efforts to manage, or take custody, control, or

   possession of, the Assets or Documents subject to the receivership;

          B.      Transacting any of the business of the Corporate Defendants;

           C.     Transferring, receiving, altering, selling, encumbering, pledging, assigning,

   liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

   custody of, or in which an interest is held or claimed by, the Corporate Defendants; or

          D.      Refusing to cooperate with the Receiver or the Receiver's duly authorized agents

   in the exercise of their duties or authority under any order of this Court.

                                      XVIII.STAY OF ACTIONS

          IT IS FURTHER ORDERED that, except by leave of this Court, during the pendency

   of the receivership ordered herein, Defendants, Relief Defendant, Defendants' officers, agents,

   employees, attorneys, and all other persons in active concert or participation with any of them,

   who receive actual notice of this Order, and their corporations, subsidiaries, divisions, or

   affiliates, and all investors, creditors, stockholders, lessors, customers and other persons seeking

   to establish or enforce any claim, right, or interest against or on behalf of Corporate Defendants,

   and all others acting for or on behalf of such persons, are hereby enjoined from taking action that

   would interfere with the exclusive jurisdiction of this Court over the Assets or Documents of the

   Corporate Defendants, including, but not limited to:

          A.      Filing or assisting in the filing of a petition for relief under the Bankruptcy Code,

   11 U.S.C. § 101 et seq., or of any similar insolvency proceeding on behalf of the Corporate

   Defendants;



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            B.     Commencing, prosecuting, or continuing a judicial, administrative, or other action

   or proceeding against the Corporate Defendants, including the issuance or employment of

   process against the Corporate Defendants, except that such actions may be commenced if

   necessary to toll any applicable statute oflimitations; or

            C.     Filing or enforcing any lien on any Asset of the Corporate Defendants, taking or

   attempting to take possession, custody, or control of any Asset of the Corporate Defendants,

   attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of the Corporate

   Defendants, whether such acts are part of a judicial proceeding, are acts of self-help, or

   otherwise.

            Provided, however, that this Order does not stay: ( 1) the commencement or continuation

   of a criminal action or proceeding; (2) the commencement or continuation of an action or

   proceeding by a governmental unit to enforce such governmental unit's police or regulatory

   power; or (3) the enforcement of a judgment, other than a money judgment, obtained in an action

   or proceeding by a governmental unit to enforce such governmental unit's police or regulatory

   power.

                              XIX.   COMPENSATION OF RECEIVER

            IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

   as herein authorized, including counsel to the Receiver and accountants, are entitled to

   reasonable compensation for the performance of duties pursuant to this Order and for the cost of

   actual out-of-pocket expenses incurred by them, from the Assets now held by, in the possession

   or control of, or which may be received by, the Corporate Defendants. The Receiver shall file

   with the Court and serve on the parties periodic requests for the payment of such reasonable

   compensation, with the first such request filed no more than sixty (60) days after the date of



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   entry of this Order. The Receiver shall not increase the hourly rates used as the bases for such

   fee applications without prior approval of the Court.

                                     XX.     RECEIVER'S BOND

          IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this Court a

   bond in the sum of $10,000 with sureties to be approved by the Court, conditioned that the

   Receiver will well and truly perform the duties of the office and abide by and perform all acts the

   Court directs. 28 U.S.C. § 754.

          XXI.    IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS

          IT IS FURTHER ORDERED that:

          A.      In order to allow Plaintiff and the Receiver to preserve Assets and evidence

   relevant to this action and to expedite discovery, Plaintiff and the Receiver, and their

   representatives, agents, contractors, and assistants, shall have immediate access to the business

   premises and storage facilities owned, controlled, or used by the Corporate Defendants. Such

   locations include, but are not limited to, 1489 W. Palmetto Park Rd., Suite Nos. 467 and 495,

   Boca Raton, FL 33486, and any offsite location or commercial mailbox used by the Corporate

   Defendants. The Receiver may exclude Defendants, Relief Defendant, and their employees from

   the business premises during the immediate access.

          B.      Plaintiff and the Receiver, and their representatives, agents, contractors, and

   assistants, shall also have immediate access to the records of the Corporate Defendants and the

   Relief Defendant, and are authorized to remove Documents from the Corporate Defendants'

   premises in order that they may be inspected, inventoried, and copied. Plaintiff shall return any

   removed materials to the Receiver within five (5) business days of completing inventorying and

   copying, or such time as is agreed upon by Plaintiff and the Receiver;



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          C.      Plaintiff's access to the Corporate Defendants' and Relief Defendant's documents

   pursuant to this Section shall not provide grounds for any Defendant or Relief Defendant to

   object to any subsequent request for documents served by Plaintiff.

          D.      Plaintiff and the Receiver, and their representatives, agents, contractors, and

   assistants, are authorized to obtain the assistance of federal, state, and local law enforcement

   officers as they deem necessary to effect service and to implement peacefully the provisions of

   this Order;

          E.      If any Documents, computers, or electronic storage devices containing

   information related to the business practices or finances of the Corporate Defendants are at a

   location other than those listed herein, including personal residence(s) of any Defendant, then,

   immediately upon receiving notice of this order, Defendants and Relief Defendant shall produce

   to the Receiver all such Documents, computers, and electronic storage devices, along with any

   codes or passwords needed for access. In order to prevent the destruction of computer data, upon

   service of this Order, any such computers or electronic storage devices shall be powered down in

   the normal course of the operating system used on such devices and shall not be powered up or

   used until produced for copying and inspection; and

          F.      If any communications or records of any Corporate Defendant are stored with an

   Electronic Data Host, such Entity shall, immediately upon receiving notice of this order, provide

   the Receiver with the user name, passwords, and any other login credential needed to access the

   communications and records, and shall not attempt to access, or cause a third-party to attempt to

   access, the communications or records.

                     xxn.    DISTRIBUTION OF ORDER BY DEFENDANTS

          IT IS FURTHER ORDERED that Defendants shall immediately provide a copy of this

   Order to each affiliate, telemarketer, marketer, sales entity, successor, assign, member, officer,

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   director, employee, agent, independent contractor, attorney, spouse, former spouse, subsidiary,

   division, and representative of any Defendant and any company owned or controlled by any

   Defendant, and shall, by 5:00 PM on May 19, 2017 provide Plaintiff and the Receiver with a

   sworn statement that this provision of the Order has been satisfied, which statement shall include

   the names, physical addresses, phone number, and email addresses of each such person or entity

   who received a copy of the Order. Furthermore, Defendants shall not take any action that would

   encourage officers, agents, members, directors, employees, salespersons, independent

   contractors, attorneys, subsidiaries, affiliates, successors, assigns or other persons or entities in

   active concert or participation with them to disregard this Order or believe that they are not

   bound by its provisions.

                                  XXIII. EXPEDITED DISCOVERY

           IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed. R. Civ. P.

   26(d) and (f) and 30(a)(2)(c), and pursuant to Fed. R. Civ. P. 30(a), 34, and 45, Plaintiff and the

   Receiver are granted leave, at any time after service of this Order, to conduct limited expedited

   discovery for the purpose of discovering: ( 1) the nature, location, status, and extent of

   Defendants' and Relief Defendant's Assets; (2) the nature, location, and extent of Defendants'

   business transactions and operations; (3) Documents reflecting Defendants' business transactions

   and operations; or (4) compliance with this Order. The limited expedited discovery set forth in

   this Section shall proceed as follows:

          A.      Plaintiff and the Receiver may take the deposition of parties and non-parties.

   Forty-eight (48) hours' notice shall be sufficient notice for such depositions. The limitations and

   conditions set forth in Fed. R. Civ. P. 30(a)(2)(B) and 31(a)(2)(B) regarding subsequent

   depositions of an individual shall not apply to depositions taken pursuant to this Section. Any

   such deposition taken pursuant to this Section shall not be counted towards the deposition limit

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   set forth in Rules 30(a)(2)(A) and 3 l(a)(2)(A) and depositions may be taken by telephone or

   other remote electronic means;

           B.      Plaintiff and the Receiver may serve upon parties requests for production of

   Documents or inspection that require production or inspection within five (5) days of service,

   provided, however, that three (3) days of notice shall be deemed sufficient for the production of

   any such Documents that are maintained or stored only in an electronic format.

           C.      Plaintiff and the Receiver may serve upon parties interrogatories that require

   response within five (5) days after Plaintiff serves such interrogatories;

           D.      Plaintiff and the Receiver may serve subpoenas upon non-parties that direct

   production or inspection within five (5) days of service.

           E.      Service of discovery upon a party to this action, taken pursuant to this Section,

   shall be sufficient if made by facsimile, email, or by overnight delivery.

           F.      Any expedited discovery taken pursuant to this Section is in addition to, and is not

   subject to, the limits on discovery set forth in the Federal Rules of Civil Procedure and the Local

   Rules of this Court. The expedited discovery permitted by this Section does not require a

   meeting or conference of the parties, pursuant to Fed. R. Civ. P. 26(d) & (f).

           G.      The Parties are exempted from making initial disclosures under Fed. R. Civ. P.

   26( a)( 1) until further order of this Court.

                                   XXIV. SERVICE OF THIS ORDER

           IT IS FURTHER ORDERED that copies of this Order as well as the Motion for

   Temporary Restraining Order and all other pleadings, Documents, and exhibits filed

   contemporaneously with that Motion (other than the complaint and summons), may be served by

   any means, including facsimile transmission, electronic mail or other electronic messaging,

   personal or overnight delivery, U.S. Mail or FedEx, by agents and employees of Plaintiff, by any

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   law enforcement agency, or by private process server, upon any Defendant or any Person

   (including any financial institution) that may have possession, custody, or control of any Asset or

   Document of any Defendant, or that may be subject to any provision of this Order pursuant to

   Fed. R. Civ. P. 65(d)(2). For purposes of this Section, service upon any branch, subsidiary,

   affiliate or office of any entity shall effect service upon the entire entity.

                  XXV. CORRESPONDENCE AND SERVICE ON PLAINTIFF

           IT IS FURTHER ORDERED that, for the purpose of this Order, all correspondence

   and service of pleadings on Plaintiff shall be addressed to:

                                   Miya Tandon
                                   Federal Trade Commission
                                   600 Pennsylvania Ave., NW, CC-10232
                                   Washington, DC 20580
                                   Phone: (202) 326-2351
                                   Fax: (202) 326-3768
                                   mtandon@ftc.gov


                          XXVI. PRELIMINARY INJUNCTION HEARING

           A HEARING is set before this Court in the United States Courthouse located at 299 East

   Broward Boulevard, Fort Lauderdale, Florida 33301, Courtroom 205F, on May 26, 2017, at

   10:30 PM,, at which time Defendants and Relief Defendant and/or any other affected persons

   may challenge the appropriateness of this Order and move to dissolve the same and at which

   time the Court will hear argument on Plaintiffs requested Preliminary Injunction and other

   Equitable Relief;

           (1)     Plaintiff shall serve copies of the Complaint; the Motion for Temporary

   Restraining Order, Asset Freeze, Appointment of a Receiver, Immediate Access, and Other

   Equitable Relief; and this Order; on each Defendant by 5:00 PM on May 18, 2017.




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          (2)     Any response or opposition to Plaintiffs Motion for Preliminary Injunction and

   the continued freezing of assets and appointment of Receiver must be filed and served on

   Plaintiffs counsel by May 23, 2017 by 1:00 PM. Plaintiff shall file any Reply Memorandum on

   or before May 25, 2017 by 1 :00 PM. The above dates may be revised upon stipulation by all

   parties and approval of this Court.

          (3)     Provided that such affidavits, pleadings, motions, expert reports, declarations,

   legal memoranda, or oppositions must be served by personal or overnight delivery, facsimile, or

   email, and be received by the other party or parties by the date and time set forth in this Section.

          H.      An evidentiary hearing on Plaintiff's request for a preliminary injunction is not

   necessary unless Defendants and Relief Defendant demonstrate that they have, and intend to

   introduce, evidence that raises a genuine and material factual issue. The question of whether this

   Court should enter a preliminary injunction shall be resolved on the pleadings, declarations,

   exhibits, and memoranda filed by, and oral argument of, the parties. Live testimony shall be

   heard only on further order of this Court. Any motion to permit such testimony shall be filed

   with the Court and served on counsel for the other parties by May 22, 2017 by 5:00 PM. Such

   motion shall set forth the name, address, and telephone number of each proposed witness, a

   detailed summary or affidavit revealing the substance of each proposed witness's expected

   testimony, and an explanation of why the taking of live testimony would be helpful to this Court.

   Any papers opposing a timely motion to present live testimony or to present live testimony in

   response to another party's timely motion to present live testimony shall be filed with this Court

   and served on the other parties no later than May 24, 2017 by 5:00 PM.




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          Provided, however, that service shall be performed by personal or overnight delivery,

   facsimile, or email, and Documents shall be delivered so that they shall be received by the other

   parties on the appropriate dates and times provided in this Section.

                            XXVII.          DURATION OF THE ORDER

          IT IS FURTHER ORDERED that this Order shall expire fourteen (14) days from the

   date of entry noted below, unless within such time, the Order is extended for an additional period

   pursuant to Fed. R. Civ. P. 65(b)(2).

                           XXVIII.         RETENTION OF JURISDICTION

          IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

   appropriate purposes.

          SO ORDERED, this 15 th day of May, 2017, at 4:00 p.m. at Fort Lauderdale, Broward

   County, Florida.




                                           United States District Judge



   Copies to:
   All counsel of record




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                                               FEDERAL TRADE COMMISSION

                                   FINANCIAL STATEMENT OF INDIVIDUAL DEFENDANT

Definitions and Instructions:

     1.   Complete all items. Enter "None" or "N/A" ("Not Applicable") in the first field only of any item that does not apply
          to you. If you cannot fully answer a question, explain why.

    2.    "Dependents" include your spouse, live-in companion, dependent children, or any other person, whom you or your
          spouse (or your children's other parent) claimed or could have claimed as a dependent for tax purposes at any
          time during the past five years.

    3.    "Assets· and "Liabilities" include ALL assets and liabilities, located within the United States or any foreign country
          or territory, whether held individually or jointly and whether held by you, your spouse, or your dependents, or held
          by others for the benefit of you, your spouse, or your dependents.

    4.    Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
          being continued. On the continuation page(s), identify the Item number(s) being continued.

    5.    Type or print legibly.

    6.    Initial each page in the space provided in the lower right comer.

    7.    Sign and date the completed financial statement on the last page.


Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) "in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully falsifies, conceals or covers up by any trick, scheme, or devise a material fact;
makes any materially false, fictitious or fraudulent statement or representation; or makes or uses any false writing or
document knowing the same to contain any materially false, fictitious or fraudulent statement or entry" (18 U.S.C. § 1001);

          (2) "in any ... statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true• (18 U.S.C. § 1621); or

        (3) "in any ( ... statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false
material declaration or makes or uses any other information ... knowing the same to contain any false material
declaration· (18 U.S.C. § 1623).

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (I) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross
loss. 18 U.S.C. § 3571.




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                                                      BACKGROUND INFORMATION
Item 1. Information About You
Full Name                                                                   Social Security No.

Current Address of Primary Residence                                        Driver's license No.                                                       IState Issued

                                                                            Phone Numbers                        Date of Birth:           I        I
                                                                            Home: (   )                                     (mm/dd/yyyy)
                                                                                                              Place of Birth
                                                                            Fax:   (     )
URent Down                   From (Date):     I   I                         E-Mail Address
                                            Cmm/dd/vwvl
Internet Home Page


Previous Addresses for past five years (if required, use additional pages at end of form)
Address                                                                                              From:            I       I                Until:          I       I
                                                                                                                 (mm/dd/yyyy)                           (mm/dd/yyyy)

                                                                                                     •   Rent Down
Address                                                                                              From:            I       I               Until:       I       I


                                                                                                     •   Rent         •   Own
Address                                                                                              From:            I       I               Until:       I       I


                                                                                                     •   Rent         •   Own
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they
were used:


Item 2. Information About Your Spouse or Live-In Companion
Spouse/Companion's Name                                                     Social Security No.                       Date of Birth
                                                                                                                          I       I
                                                                                                                      (mm/dd/yyyy)
Address (if different from yours)                                           Phone Number                              Place of Birth
                                                                            (   )
                                                                            URent LJOwn                      From (Date):             I        I
                                                                                                                      (mm/dd/yyyy)
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they were used:


Employer's Name and Address                                                 Job Title

                                                                            Years in Present Job     Annual Gross Salary/Wages
                                                                                                     $


Item 3. Information About Your Previous Spouse
Name and Address                                                                                     Social Security No.

                                                                                                     Date of Birth
                                                                                                         I        I
                                                                                                     (mm/dd/yyyy)

Item 4. Contact Information           (name and address of closest living relative other than your spouse)
Name and Address                                                                                     Phone Number
                                                                                                     (       )




                                                                                                                                                           Initials:

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Item 5. Information About Dependents (whether or not they reside with you)
Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        I    I
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship

Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        I    I
                                                                                                                     (mm/dd/wwl
                                                                               Relationship


Name and Address                                                                                                        Date of Birth
                                                                               Social Security No.
                                                                                                                           I    I
                                                                                                                        (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                        Date of Birth
                                                                               Social Security No.
                                                                                                                           I    I
                                                                                                                        lmm/dd/vvvv\
                                                                               Relationship


Item 6. Employment Information/Employment Income
Provide the following information for this year-to-date and for each of the previous five full years, for each business entity of which you were a director,
officer, member, partner, employee (including self-employment), agent, owner, shareholder, contractor, participant or consultant at any time during that
period. "Income" Includes, but is not limHed to, any salary, commissions, distributions, draws, consulting fees, loans, loan payments, dividends,
royalties, and benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments) received by you or anyone else
on your behalf.
Company Name and Address                                                          Dates Employed                     Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                   Year                    Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          I                         I              20                      $
Ownership Interest?   •   Yes   •   No                                                                                                     $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          I                         I                                      $
                                                                           I                         I                                     $
                                                                           I                         I                                     $
Company Name and Address                                                           Dates Employed                  Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                   Year                    Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          I                         I              20                      $
Ownership Interest?   • Yes •       No                                                                                                     $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          I                        I                                       $
                                                                           I                         I                                     $
                                                                           I                         I                                     $
Company Name and Address                                                           Dates Employed                  Income Received: Y-T-D & 5 Prior Yrs.
                                                                                                                   Year                    Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          I                        I               20                      $
Ownership Interest?   D Yes •       No                                                                                                     $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          I                         I                                      $
                                                                           I                         I                                     $
                                                                           I                         I                                     $



                                                                                                                                           Initials:

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Item 7. Pending Lawsuits Flied By or Against You or Your Spouse
List all pending lawsuits that have been filed by or against you or your spouse in any court or before an administrative agency in the United States or in
any foreign country or territory. Note: At Item 12, I/st lawsuits that resulted in final Judgments or settlements in your favor. At Item 21, list lawsuits that
resulted In final Judgments or settlements against you.
                                                                                                     Nature of                                         Status or
        Caption of Proceeding              Court or Agency and Location           Case No.                                 Relief Requested
                                                                                                    Proceedina                                        DiSnrnlition




Item 8. Safe Deposit Boxes
List au safe deposit boxes, located within the United States or in any foreign country or territory, whether held Individually or Jointly and whether held by
you, your spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents.
         Name of Owner(s)                         Name & Address of Depository Institution                     Box No.                      Contents




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                                                         FINANCIAL INFORMATION
REMINDER: When an item asks for information regarding your ·asse11• and "liabilities" include & assets and liabilities. located within
the United States or in any foreign country or territory, or Institution, whether held individually or jointly, and whether held by you, your
spouse, or f11fY of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents. In addition, provide
all documents - -- - -• - in Hem 24 with vour comoleted Financial Statement.
                           J




                                                                         ASSETS
Item 9. Cash, Bank, and Money Market Accounts
List cash on hand (as opposed to cash In bank accounts or other financial accounts) and all bank accounts, money market accounts, or other financial
accounts, including but not limited to checking accounts, savings accounts, and certificates of deposit. The term "cash on hand" Includes but Is not
limited to cash In the form of currency, uncashed checks, and money orders.

   a. Amount of Cash on Hand $                                            I Form of Cash on Hand
   b. Name on Account                          Name & Address of Financial Institution                           Account No.                      Current Balance

                                                                                                                                              $




                                                                                                                                              $




                                                                                                                                              $




                                                                                                                                              $




                                                                                                                                              $




Item 10. Publicly Traded Securities
List all publicly traded securities, Including but not limited to, stocks, stock options, corporate bonds, mutual funds, U.S. government securities (including
but not llmlted to treasury bills and treasury notes), and state and municipal bonds. Also list any U.S. savings bonds.
Owner of Security                                                                Issuer                      I   Type of Security      I   No. of Units Owned


Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value
                                                                                 $
                                                                                                                         I   ~oan{s) Against Security

Owner of Security                                                                Issuer                      I   Type of Security      I   No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value
                                                                                 $
                                                                                                                         I   ~oan(s) Against Security

Owner of Security                                                                Issuer                      I   Type of Security      I   No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value
                                                                                 $
                                                                                                                         I   ~oan(s) Against Security




                                                                                                                                                  Initials:

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Item 11. Non-Public Business and Financial Interests
List all non-public business and financial interests, including but not limited to any interest In a non-public corporation, subchapter-S corporation, fimited
liability corporation ("LLCj, general or limited partnership, joint venture, sole proprietorship, international business corporation or personal investment
corporation, and oil or mineral lease.
                                                        Type of Business or Financial                  Owner               Ownership        If Officer, Director, Member
            Entity's Name & Address
                                                       Interest (e.g., LLC, partnership)        (e.g., self, spouse)           %               or Partner, Exact Title




Item 12. Amounts Owed to You, Your Spouse, or Your Dependents
Debtor's Name & Address                                  Date Obligation            Original Amount Owed          Nature of Obligation (If the result of a final court
                                                      Incurred (Month/Year)        $                              judgment or settlement, provide court name
                                                                I                                                 and docket number)
                                                      Current Amount Owed          Payment Schedule
                                                      $                            $
Debtor's Telephone                                    Debtor's Relationship to You


Debtor's Name & Address                                   Date Obligation              Original Amount Owed      Nature of Obligation (if the result of a final court
                                                       Incurred (Month/Year)       $                             judgment or settlement, provide court name
                                                                 I                                               and docket number)
                                                      Current Amount Owed          Payment Schedule
                                                      $                            $
Debtor's Telephone                                    Debtor's Relationship to You


Item 13. Life Insurance Pollcles
List all llfe Insurance policies (Including endowment policies) with any cash surrender value.
Insurance Company's Name, Address, & Telephone No.                    Beneficiary                                      Policy No.                 Face Value
                                                                                                                                                  $
                                                                     Insured                                           Loans Against Policy       Surrender Value
                                                                                                                       $                          $
Insurance Company's Name, Address, & Telephone No.                   Beneficiary                                       Policy No.                 Face Value
                                                                                                                                                  $
                                                                     Insured                                           Loans Against Policy       Surrender Value
                                                                                                                       $                          $

Item 14. Deferred Income Arrangements
List all deferred income arrangements, Including but not limited to, deferred annuities, pensions plans, profit-sharing plans, 401(k) plans, IRAs, Keoghs,
other retirement accounts, and college savings plans (e.g., 529 Plans).
Trustee or Administrator's Name, Address & Telephone No.                           Name on Account                                  I Account No.
                                                                                 Date EstabHshed           Type of Plan                 Surrender Value before
                                                                                        I   I                                           Taxes and Penalties
                                                                                 (mm/dd/yyyy)                                           $
Trustee or Administrator's Name, Address & Telephone No.                         Name on Account                                    I Account No.
                                                                                 Date Established          Type of Plan                 Surrender Value before
                                                                                        I   I                                           Taxes and Penalties
                                                                                                                                        $


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Item 15. Pending Insurance Payments or Inheritances
List any pending Insurance payments or Inheritances owed to you.
Type                                                                                                      Amount Expected      Date Expected (mm/dd/yyyy)
                                                                                                      $                          I   I
                                                                                                      $                           I     I
                                                                                                      $                           I     I

Item 16. Vehicles
List all cars, trucks, motorcycles, boats, airplanes, and other vehicles.
Vehicle Type       I Year           Registered Owner's Name             Purchase Price
                                                                        $
                                                                                                          Original Loan Amount
                                                                                                          $
                                                                                                                                      Current Balance
                                                                                                                                      $
Make                                Registration State & No.            Account/Loan No.                  Current Value               Monthly Payment
                                                                                                          $                           $
Model                               Address of Vehicle's Location       Lender's Name and Address




Vehicle Type     I   Year           Registered Owner's Name             Purchase Price
                                                                        $
                                                                                                          Original Loan Amount
                                                                                                          $
                                                                                                                                      Current Balance
                                                                                                                                      $
Make                                Registration State & No.            Account/Loan No.                  Current Value               Monthly Payment
                                                                                                          $                           $
Model                               Address of Vehicle's Location       Lender's Name and Address




Vehicle Type    I Year              Registered Owner's Name             Purchase Price
                                                                        $
                                                                                                    Original Loan Amount
                                                                                                    $
                                                                                                                                  Current Balance
                                                                                                                                  $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle's Location       Lender's Name and Address




Vehicle Type    I Year              Registered Owner's Name             Purchase Price
                                                                        $
                                                                                                    Original Loan Amount
                                                                                                    $
                                                                                                                                  Current Balance
                                                                                                                                  $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle's Location       Lender's Name and Address




Item 17. Other Personal Property
List all other personal property not listed in Items 9-16 by category, whether held for personal use, investment or any other reason, including but not
limited to coins, stamps, artwork, gemstones, jewelry, bullion, other collectibles, copyrights, patents, and other Intellectual property.

   Property Category
                                      Name of Owner                             Property Location                  Acquisition Cost              Current Value
 (e.g., artwor1(, jewelry)

                                                                                                                  $                         $


                                                                                                                  $                         $


                                                                                                                  $                         $




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Item 18. Real Property
List an real property Interests (including any land contract)
Property's Location                          Type of Property                     Name(s) on Title or Contract and Ownership Percentages



Acquisition Date (mm/dd/yyyy)
  I    I
                                    I   :urchase Price                      I~urrent Value                    Basis of Valuation

Lender's Name and Address                                       Loan or Account No.                           Current Balance On First Mortgage or
                                                                                                              Contract
                                                                                                              $
                                                                                                              Monthly Payment
                                                                                                              $
Other Mortgage Loan{s) (describe)                                   Monthly Payment                           D Rental Unit
                                                                    $
                                                                    Current Balance                            Monthly Rent Received
                                                                    $                                          $
Property's Location                          Type of Property                     Name(s) on Title or Contract and Ownership Percentages



Acquisition Date (mm/dd/yyyy)
  I     I
                                    I   ;urchase Price                      I ~urrent Value                   Basis of Valuation

Lender's Name and Address                                       Loan or Account No.                           Current Balance On First Mortgage or
                                                                                                              Contract
                                                                                                              $
                                                                                                             Monthly Payment
                                                                                                             $
Other Mortgage Loan{s) {describe)                                   Monthly Payment                          D Rental Unit
                                                                    $
                                                                    Current Balance                          Monthly Rent Received
                                                                    $                                        $

                                                                        LIABILITIES·

Item 19. Credit Cards
List each credit card account held by you, your spouse, or your dependents, and any other credit cards that you, your spouse, or your dependents use,
whether Issued by a United States or foreign financ:ial Institution.
 Name of Credit Card (e.g., Visa,                    Account No.                              Name(s) on Account                     Current Balance
 MasterCard, Department Store)
                                                                                                                               $
                                                                                                                               $
                                                                                                                               $
                                                                                                                               $
                                                                                                                               $
Item 20. Taxes Payable
List all taxes, such as Income taxes or real estate taxes, owed by you, your spouse, or your dependents.
                           TypeofTax                                              Amount Owed                                 Year Incurred
                                                                        $
                                                                        $
                                                                        $




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Item 21. Other Amounts Owed by You, Your Spouse, or Your Dependents
List all other amounts, not listed elsewhere in this financial statement, owed by you, your spouse, or your dependents.
Lender/Creditor's Name, Address, and Telephone No.          Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                            number)


                                                            Lender/Creditor's Relationship to You



Date Liability Was Incurred          Original Amount Owed                Current Amount Owed                  Payment Schedule
  I    I
(mm/ddlww}                           $                                   $
Lender/Creditor's Name, Address, and Telephone No. Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                      number)


                                                            Lender/Creditor's Relationship to You



Date Liability Was Incurred             Original Amount Owed                     Current Amount Owed                 Payment Schedule
  I    I
{mm/dd/vvvv}                            $                                        $


                                                     OTHER FINANCIAL INFORMATION

Item 22. Trusts and Escrows
List all funds and other assets that are being held in trust or escrow by any person or entity for you, your spouse, or your dependents. Include any legal
retainers being held on your behalf by legal counsel. Also list all funds or other assets that are being held in trust or escrow by you, your spouse, or your
dependents, for any person or entity.
                                                    Date Established
 Trustee or Escrow Agent's Name & Address                                  Grantor             Beneficiaries               Present Market Value of Assets•
                                                     (mmldd/yyyy)
                                                        I   I                                                          $




                                                        I   I                                                          $




                                                       I    I                                                          $




•1f the market value of any asset is unknown, describe the asset and state its cost, If you know It.

Item 23. Transfers of Assets
List each person or entity to whom you have transferred, in the aggregate, more than $5,000 in funds or other assets during the previous five years by
loan, gift, sale, or other transfer (exclude ordinary and necessary living and business expenses paid to unrelated third parties). For each such person or
entity, state the total amount transferred during that period.
                                                                                                          Transfer Date              Type of Transfer
Transferee's Name, Address, & Relationship            Property Transferred        Aggregate Value*
                                                                                                          (mm/ddlyyyy)               (e.g., Loan, Gift)
                                                                                  $                        I  I




                                                                                  $                        I   I



                                                                                  $                        I   I



•1f the market value of any asset Is unknown, describe the asset and state Its cost, if you know it.


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Item 24. Document Requests
Provide copies of the following documents with your completed Financial Statement.
                 Federal tax returns filed during the last three years by or on behalf of you, your spouse, or your dependents.
                 All applications for bank loans or other extensions of credit (other than credit cards) that you, your spouse, or your
                 dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.
Item 9           For each bank account listed in Item 9, all account statements for the past 3 years.

                 For each business entity listed in Item 11, provide (induding by causing to be generated from accounting records) the
Item 11          most recent balance sheet, tax return, annual income statement, the most recent year-to-date income statement, and all
                 general ledger files from account records.

                 All appraisals that have been prepared for any property listed in Item 17, including appraisals done for insurance
Item 17          purposes. You may exclude any category of property where the total appraised value of all property in that category is
                 less than $2,000.

Item 18          All appraisals that have been prepared for real property listed in Item 18.
Item 21          Documentation for all debts listed in Item 21.
                 All executed documents for any trust or escrow listed in Item 22. Also provide any appraisals, induding insurance
Item 22
                 appraisals that have been done for any assets held by any such trust or in any such escrow.

                                               SUMMARY FINANCIAL SCHEDULES
Item 25. Combined Balance Sheet for You, Your Spouse, and Your Dependents
Assets                                                                 Llabilitles
Cash on Hand (Item 9)                                       $          Loans Against Publidy Traded Securities (Item 10)             $
Funds Held in Financial Institutions (Item 9)               $          Vehicles• Liens (Item 16)                                     $
U.S. Government Securities (Item 10)                        $          Real Property - Encumbrances (Item 18)                        $
Publicly Traded Securities (Item 10)                        $          Credit Cards (Item 19)                                        $
Non-Public Business and Financial Interests (Item 11)       $          Taxes Payable (Item 20)                                       $
Amounts Owed to You (Item 12)                               $          Amounts Owed by You (Item 21)                                 $
Life Insurance Policies (Item 13)                           $          Other Llabllltles (Itemize)
Deferred Income Arrangements (Item 14)                      $                                                                        $
Vehicles (Item 16)                                          $                                                                        $
Other Personal Property (Item 17)                           $                                                                        $
Real Property (Item 18)                                     $                                                                        $
Other Assets (Itemize)                                                                                                               $
                                                            $                                                                        $
                                                            $                                                                        $
                                                            $                                                                        $
                                        Total Assets        $         Total Liabilities                                              $
Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents
Provide the current monthly Income and expenses for you, your spouse, and your dependents. Do not Include credit card payments separately; rather,
Include credit card expenditures in the appropriate categories.
Income (State source of each Item)                                 Expenses
Salary - After Taxes                                               Mortgage or Rental Payments for Residence(s)
Source:
                                                        $                                                                                $
Fees, Commissions, and Royalties                                   Property Taxes for Resldence(s)
Source:
                                                        $                                                                                $
Interest                                                           Rental Property Expenses, Including Mortgage Payments, Taxes,
Source:                                                 $          and Insurance                                                         $
Dividends and Capital Gains                                        Car or Other Vehicle Lease or Loan Payments
Source:
                                                        $                                                                                $
Gross Rental Income                                                Food Expenses
Source:
                                                        $                                                                                $
Profits from Sole Proprietorships                                  Clothing Expenses
Source:
                                                        $                                                                                $
Distributions from Partnerships, $-Corporations,                   Utilities
and LLCs                                                $                                                                                $
Source:


                                                                                                                                    Initials:

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Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents (cont.)
Distributions from Trusts and Estates                                 Medical Expenses, Including Insurance
                                                       $                                                                                   $
Source:
Distributions from Deferred Income Arrangements                      Other Insurance Premiums
Source:
                                                       $                                                                                   $
Social Security Payments                               $             Other Transportation Expenses                                         $
Alimony/Child Support Received                         $              Other Expenses (Itemize)
Gambling Income                                        $                                                                                   s
Other Income (Itemize)                                                                                                                     $
                                                       $                                                                                   s
                                                       $                                                                                   $
                                                       $                                                                                   s
                                     Total Income      $             Total Expenses                                                        s
                                                                ATTACHMENTS
Item 27. Documents Attached to this Flnanclal Statement
List all documents that are being submitted with this financial statement. For any Item 24 documents that are not attached, explain why.

Item No. Document Relates To                                                            Description of Document




         I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.


Executed on:


(Date)                                                       Signature




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                                            FEDERAL TRADE COMMISSION

                             FINANCIAL STATEMENT OF CORPORATE DEFENDANT



Instructions:

I.       Complete all items. Enter "None" or "N/A" ("Not Applicable") where appropriate. If you cannot fully answer a
         question, explain why.

2.       The font size within each field will adjust automatically as you type to accommodate longer responses.

3.      In completing this financial statement, "the corporation" refers not only to this corporation but also to each of its
        predecessors that are not named defendants in this action.

4.      When an Item asks for information about assets or liabilities "held by the corporation," include ALL such assets
        and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the
        benefit of the corporation.

5.      Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
        being continued. On the continuation page(s), identify the Item number being continued.

6.      Type or print legibly.

7.      An officer of the corporation must sign and date the completed financial statement on the last page and initial
        each page in the space provided in the lower right comer.




Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) "in any matter within the jurisdiction of any department or agency of the United States knowingly and ·
        willfully falsifies, conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
        fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
        same to contain any false, fictitious or fraudulent statement or entry" (18 U.S.C. § 1001 );

        (2) "in any ... statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
        willfully subscribes as true any material matter which he does not believe to be true" (18 U.S.C. § 1621); or

        (3) "in any( ... statement under penalty of perjury as permitted under section 1746 of title 28, United States
        Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any
        false material declaration or makes or uses any other information ... knowing the same to contain any false
        material declaration."(18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
18 u.s.c. § 3571.
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                                           BACKGROUND INFORMATION


Item 1.            General Information

Corporation's Full Name _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Primary Business Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ From (Date) _ _ __

Telephone No. - - - - - - - - - - - - - Fax No. - - - - - - - - - - - - -

 E-Mail Address                                  Internet Home Page
                                                                   ----------
All other current addresses & previous addresses for past five years, including post office boxes and mail drops:

Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ From/Until_ _ _ _ _ _ _ __

Address
           - - - - - - - - - - - - - - - - - - - - - - - - - - From/Until- - - - - - - - -
Address                                                                             From/Until- - - - - - - - -

All predecessor companies for past five years:

Name & Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ From/Until _ _ _ _ __

Name & Address                                                                            From/Until
                                                                                                       ------
Name & Address                                                                            From/Until _ _ _ _ __


Item 2.            Legal Information

Federal Taxpayer ID No. _ _ _ _ _ _ _ _ _ _ _ State & Date oflncorporation _ _ _ _ _ _ _ _ _ __

State Tax ID No. _ _ _ _ _ _ _ _ _ State _ _ _ _ _ _ _ Profit or Not For Profit _ _ _ _ _ _ _ __

Corporation's Present Status: Active _ _ _ _ _ _ _ Inactive _ _ _ _ _ _ Dissolved _ _ _ _ _ _ __

If Dissolved: Date dissolved                                  By Whom
                                                                        ----------------
Reas ons
           --------------------------------------
Fiscal Year-End (Mo./Day) _ _ _ _ _ _ _ Corporation's Business Activities _ _ _ _ _ _ _ _ _ _ __


Item 3.            Registered Agent

Name of Registered Agent _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Telephone No. _ _ _ _ _ _ __




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Item 4.            Principal Stockholders

List all persons and entities that own at least 5% of the corporation's stock.


                                            Name & Address                                                   %Owned




Item 5.            Board Members

List all members of the corporation's Board of Directors.


                                   Name & Address                                        % Owned      Term (From/Until}




Item 6.            Officers

List all of the corporation's officers, including de facto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

                                            Name & Address                                                  %Owned




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Item 7.            Businesses Related to the Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.


                                  Name & Address                                        Business Activities     % Owned




State which of these businesses, if any, has ever transacted business with the corporation _ _ _ _ _ _ _ _ __




Item 8.            Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation's principal stockholders, board
members, or officers (i.e., the individuals listed in Items 4 - 6 above) have an ownership interest.


 Individual's Name                       Business Name & Address                         Business Activities     % Owned




State which of these businesses, if any, have ever transacted business with the corporation _ _ _ _ _ _ _ _ __




Item 9.            Related Individuals

List all related individuals with whom the corporation has had any business transactions during the three previous fiscal
years and current fiscal year-to-date. A "related individual" is a spouse, sibling, parent, or child of the principal
stockholders, board members, and officers (i.e., the individuals listed in Items 4 - 6 above).


                            Name and Address                                  Relationship          Business Activities




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Item 10.         Outside Accountants

List all outside accountants retained by the corporation during the last three years.

                                    Firm Name                                 Address                        CPA/PA?




Item 11.         Corporation's Recordkeeplng

List all individuals within the corporation with responsibility for keeping the corporation's financial books and records for
the last three years.

                              Name, Address, & Telephone Number                                      Position(s) Held




Item 12.         Attorneys

List all attorneys retained by the corporation during the last three years.

                                       Finn Name                                        Address




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Item 13.        Pending Lawsuits Filed by the Corporation

List all pending lawsuits that have been filed by the cotporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the cotporation in Item 25).

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address
                         --------------------------------
Docket No. _ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address
                         --------------------------------
Docket No. _ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address
                         --------------------------------
Docket No._ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit"_ _ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No._ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address
                         -----------------------------
Court's Name & Address
                      --------------------------------
Docket No. _ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address
                         --------------------------------
Docket No._ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __


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Item 14.        Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency. {List
lawsuits that resulted in final judgments, settlements, or orders in Items 26 • 27).

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No.- - - - - - - Relief Requested- - - - - - - - - Nature of Lawsuit- - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No._ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __


- - - - - - - - - - - - - - - Status- - - - - - - - - - - - - - - - - - - - - - -
Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No.- - - - - - - Relief Requested- - - - - - - - - Nature of Lawsuit· - - - - - - - - -

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No.- - - - - - - Relief Requested- - - - - - - - - Nature of Lawsuit- - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No._ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit._ _ _ _ _ _ _ __


---------------- Status------------------------
Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address
                         --------------------------------
Docket No. _ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __


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Item 15.         Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date _ _ _ _ _ _ _ Termination Date _ _ _ _ _ _ _ Docket No. _ _ _ _ _ _ __

If State Court: Court & County - - - - - - - - - - If Federal Court: District - - - - - - - - - - - -
Disposition _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Item 16.                  Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents ofeach box.

Owner's Name              Name & Address of Depository Institution                                                  Box No,




                                                FINANCIAL INFORMATION

REMINDER: When an Item asks for information about assets or liabilities "held by the corporation," include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.

Item 17.         Tax Returns

List all federal and state corporate tax returns filed for the last three complete fiscal years. Attach copies ofall returns.

  Federal/       Tax Year        Tax Due       Tax Paig       Tax Due       Tax Paid              Preparer's Nmne
 State/Both                      Federal        Federal        State         State

                             $             $              $             $

                             $             $              $             $

                             $             $              $             $




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Item 18.         Financial Statements

List all financial statements that were prepared for the corporation's last three complete fiscal years and for the current
fiscal year-to-date. Attach copies ofall statements, providing audited statements if available.

   Year      Balance Sheet     Profit & Loss Statement     Cash Flow Statement     Chanses in Owner's Egujty Audited?




Item 19.        Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the corporation has not
provided a profit and loss statement in accordance with Item 18 above, provide the following summary financial
infonnation.
                             Current Year-to-Date          1 Year Ago             2 Years Ago              3 Years Ago
 Gross Revenue             $_ _ _ _ _ _ __            $_ _ _ __               $_ _ _ _ __              $_ _ _ __

 Expenses                  $_ _ _ _ _ __              $_ _ _ _ __             $_ _ _ _ _ __            $_ _ _ _ _ __

 Net Profit After Taxes    $_ _ _ _ _ __

 Payables                  $- - - - - - - -
 Receivables               $_ _ _ _ _ __


Item 20.        Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term "cash" includes currency and uncashed checks.

Cash on Hand$_ _ _ _ _ _ _ _ _ _ _ Cash Held for the Corporation's Benefit$_ _ _ _ _ _ _ _ __

  Name & Address of Financial Institution               Signator(s) on Account             Account No.           Current
                                                                                                                 Balance
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ __




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Item 21.          Government Obligations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer _ _ _ _ _ _ _ _ _ _ _ _ _ _ Type of Security/Obligation _ _ _ _ _ _ _ _ _ _ _ _ _ __

No. of Units Owned - - - - Current Fair Market Value$- - - - - - - - Maturity Date - - - - - - -

Issuer _ _ _ _ _ _ _ _ _ _ _ _ _ _ Type of Security/Obligation _ _ _ _ _ _ _ _ _ _ _ _ _ __

No. of Units Owned _ _ _ _ Current Fair Market Value$_ _ _ _ _ _ _ _ Maturity Date _ _ _ _ __


Item 22.          Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property_ _ _ _ _ _ _ _ _ _ _ _ _ _ Property's Location_ _ _ _ _ _ _ _ _ _ _ _ _ __

Name(s) on Title and Ownership Percentages._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Current Value$
              --------- Loan or Account No. ------------
Lender's Name and Address
                         -------------------------------
Current Balance On First Mortgage$_ _ _ _ _ _ _ Monthly Payment$_ _ _ _ __

Other Loan(s) (describe)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Current Balance$_ _ _ _ _ __

Monthly Payment$_ _ _ _ _ _ _ _ Rental Unit?_ _ _ _ _ _ _ Monthly Rent Received$_ _ _ _ __



Type of Property_ _ _ _ _ _ _ _ _ _ _ _ _ _ Property's Location_ _ _ _ _ _ _ _ _ _ _ _ _ __

Name(s) on Title and Ownership Percentages_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Current Value $                             Loan or Account No.
                  ---------                                        ------------
Lender's Name and Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Current Balance On First Mortgage$_ _ _ _ _ _ Monthly Payment $_ _ _ _ __

Other Loan(s) (describe)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Current Balance$_ _ _ _ _ __

Monthly Payment$_ _ _ _ _ _ _ _ Rental Unit?_ _ _ _ _ _ _ Monthly Rent Received $_ _ _ _ __




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Item 23.          Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other
intellectual property.

           Property Category                               Property Location                          Acguisition       Current
                                                                                                        Cost            Value

                                                                                                  $                 $

                                                                                                 $                  $

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                                                                                                 $                  $

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                                                                                                 $                  $

                                                                                                 $                  $

                                                                                                 $                  $


ltfm 24.          Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.


           Trustee or Escrow Agent's                      Description and Location of Assets                 Present Market
                Name & Address                                                                               Value of Assets

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _ __

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Item 25.         Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address- - - - - - - - - - - - - - - - - - - - - - Docket No.- - - - - -

Nature of Lawsuit_ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment_ _ _ _ _ _ _ Amount $_ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address                                                                    Docket No.
                         ----------------------                                                        ------
Nature ofLawsuit._ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment_ _ _ _ _ _ _ Amount $_ _ _ __




Item 26.         Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation.

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address- - - - - - - - - - - - - - - - - - - - - - Docket No.- - - - - -

Nature of Lawsuit_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date_ _ _ _ _ _ Amount$_ _ _ _ __

Opposing Party's Name & Address
                            -----------------------------
Court's Name & Address
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Nature of Lawsuit_ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment_ _ _ _ _ _ _ Amount $_ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address                                                                   Docket No.
                        ----------------------                                                        ------
Nature of Lawsuit_ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment_ _ _ _ _ _ _ Amount$_ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address- - - - - - - - - - - - - - - - - - - - - - Docket No.- - - - - -

Nature of Lawsuit_ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment_ _ _ _ _ _ _ Amount$_ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address- - - - - - - - - - - - - - - - - - - - - - Docket No.- - - - - -

Nature of Lawsuit_ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment_ _ _ _ _ _ _ Amount$_ _ _ __




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Item 27.          Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

Name of Agency
                   ------------------- Contact Person ------------
Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Telephone No. _ _ _ _ _ __

Agreement Date _ _ _ _ _ _ Nature of Agreement _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Item 28.          Credit Cards

List all of the corporation's credit cards and store charge accounts and the individuals authorized to use them.

           Name of Credit Card or Store                           Names of Authorized Users and Positions Held




Item 29.          Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. "Compensation" includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. "Other benefits" include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.

           Name/Position                 Cim:ent Fiscal       1 Y~Ago       2 Years A2;0        Comnensation or
                                         Year-to-Date                                           Twe of Benefits

                                     $                    $             $

                                     $                    $             $

                                     $                    $             $

                                     $                    $             $

                                     $                    $             $




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Item 30.          Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. "Compensation" includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. "Other benefits"
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.

           Name/Position                  Current Fiscal       I Year Ago       2 Years Ago         Compensation or
                                          Year-to-Date                                              Type of Benefits

                                      $                    $                $

                                      $                    $                $

                                      $                    $                $

                                      $                    $                $

                                      $                    $                $

                                      $                    $                $

                                      $                    $                $

                                      $                    $                $

Item 31.          Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

 Transferee's Name, Address, & Relationship             Property                Aggregate     Transfer   Type of Transfer
                                                       Transferred               Value         Date      <e.g., Loan, Gift}

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


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Item 32.           Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statement.

  Item No. Document       Description of Document
      Relates To




         I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:


(Date)                                             Signature



                                                  Corporate Position




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                           CONSENT TO RELEASE FINANCIAL RECORDS
     I, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,of _ _ _ _ _ _ _ _ _ __

     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (City, State), do hereby direct any bank,

     saving and loan association, credit union, depository institution, finance company, commercial

     lending company, credit card processor, credit card processing entity, automated clearing house,

     network transaction processor, bank debit processing entity, brokerage house, escrow agent,

     money market or mutual fund, title company, commodity trading company, trustee, or person

     that holds, controls, or maintains custody of assets, wherever located, that are owned or

     controlled by me or at which there is an account of any kind upon which I am authorized to

     draw, and its officers, employees, and agents, to disclose all information and deliver copies of all

     documents of very nature in its possession or control which relate to the said accounts to any

     attorney of the Federal Trade Commission, and to give evidence relevant thereto, in the matter of

     the Federal Trade Commission v. Strategic Student Solutions LLC, et al., now pending in the

     United States District Court for the Southern District of Florida, and this shall be irrevocable

     authority for so doing.

              This direction is intended to apply to the laws of countries other than the Unites States of

     America which restrict or prohibit disclosure of bank or other financial information without the

     consent of the holder of the account, and shall be construed as consent with respect hereto, and

     the same shall apply to any of the accounts for which I may be a relevant principal.



     Dated:                                         Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ __
              -------------
                                                    Printed Name:
                                                                    -------------
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      Case No. 17-cv-20848-GAYLES


    FEDERAL TRADE COMMISSION,
         Plaintiff,

    v.
                                                              FILED UNDER SEAL
    WORLD PATENT MARKETING, INC., et
    al.,
         Defendants.
                                                       I


     TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE WHY
            A PRELIMINARY INJUNCTION SHOULD NOT ISSUE
              Plaintiff, the Federal Trade Commission ("FTC"), has filed its Complaint for Permanent

    Injunction and Other Equitable Relief pursuant to Section 13(b) of the Federal Trade

    Commission Act ("FTC Act"), 15 U.S.C. §§ 53(b), and has moved, pursuant to Federal Rule of

    Civil Procedure 65(b ), for a temporary restraining order and for an order to show cause why a

    preliminary injunction should not issue against Defendants World Patent Marketing, Inc., Desa

    Industries, Inc., and Scott Cooper (collectively, "Defendants").

                                                FINDINGS
              The Court has considered the Complaint, motion for a temporary restraining order and for

    an order to show cause, declarations, exhibits, and memoranda filed in support of the FTC's

    motion and, being otherwise advised, makes the following findings of fact:

              1.     This Court has jurisdiction over the subject matter of this case, and there is good

    cause to believe it will have jurisdiction over all parties hereto, and that venue in this district is

    proper.

              2.     There is good cause to believe that Defendants have engaged in and are likely to

    engage in acts and practices that violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and that

    the FTC is therefore likely to prevail on the merits of this action. As demonstrated by the
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    consumer declarations, consumer complaint records, Defendants' correspondence and records,

    records from state regulators and Better Business Bureaus, and by the other documentary

    evidence filed by the FTC, the FTC has established a likelihood of success in showing that

    Defendants have made material misrepresentations in the sale of invention patenting and

    promotion to numerous consumers. Through the documentary evidence it filed, the FTC has also

    established a likelihood of success in showing that Defendants have violated the FTC Act by

    engaging in deceptive and unfair marketing and sales tactics.

             3.     There is good cause to believe that immediate and irreparable harm will result

    from Defendants' ongoing violations of the FTC Act unless Defendants are restrained and

    enjoined by Order of this Court.

             4.     There is good cause to believe that immediate and irreparable damage to the

    Court's ability to grant effective final relief for consumers-including the refund of monies paid,

    restitution, or rescission or reformation of contracts-will occur from the sale, transfer, or other

    disposition or concealment by Defendants of Assets or records if Defendants are provided with

    advance notice of this Order, and that therefore in accordance with Fed. R. Civ. P. 65(b), the

    interests of justice require that this Order be granted without prior notice to Defendants. There is

    thus good cause for relieving the FTC of the duty to provide Defendants with prior notice of the

    FTC's motion.

             5.     Good cause exists for: (a) the appointment of a Temporary Receiver over the

    Corporate Defendants; (b) freezing of Defendants' Assets; and (c) the ancillary relief ordered

    below.

             6.     Considering Plaintiff's likelihood of ultimate success and weighing the equities, it

    is in the public interest that the Court enter a temporary restraining order that: (1) enjoins and

    restrains Defendants from making misrepresentations and from violating the FTC Act; (2)

    imposes a temporary freeze on Defendants' Assets; (3) appoints a Temporary Receiver over the

    Corporate Defendants to marshal and preserve their Assets, manage their business affairs, and

    ascertain whether they engage in any lawful, profitable activity; (4) grants the FTC and the


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    Temporary Receiver immediate access to the premises and records of the Corporate Defendants;

    (5) requires Defendants to fully disclose all of their Assets; (6) allows for limited expedited

    discovery; and (7) requires Defendants to show cause why a preliminary injunction should not

    issue against them.

            7.     The FTC is an independent agency of the United States and no security is required

    of any agency of the United States for the issuance of a temporary restraining order. Fed. R. Civ.

    P. 65(c).

                                             DEFINITIONS
            For purpose of this Order, the following definitions shall apply:

            1.     "Asset" means any legal or equitable interest in, right to, or claim to, any real,

    personal, or intellectual property of any Corporate Defendant or Individual Defendant, or held

    for the benefit of any Corporate Defendant or Individual Defendant, wherever located, including,

    but not limited to, chattel, goods, instruments, equipment, fixtures, general intangibles, effects,

    leaseholds, contracts, mail or other deliveries, shares of stock, securities, inventory, checks,

    notes, accounts, credits, receivables (as those terms are defined in the Uniform Commercial

    Code), cash, trusts, including, but not limited to, any trust held for the benefit of any of the

    Defendants, and reserve funds or any other accounts associated with payments processed by, or

    on behalf of, any of the Defendants, including, but not limited to, reserve funds held by payment

    processors or financial institutions.

            2.     "Corporate Defendants" means World Patent Marketing, Inc. and Desa

    Industries, Inc., and their successors and assigns.

            3.     "Defendants" means the Individual Defendant and the Corporate Defendants,

    individually, collectively, or in any combination.

            4.     "Document" or "Documents" is synonymous in meaning and equal in scope to

    the usage of the term in Federal Rule of Civil Procedure 34(a), and includes writing, drawings,

    graphs, charts, photographs, sound and video recordings, images, Internet sites, Web pages, Web

    sites, electronic correspondence, including e-mail and instant messages, contracts, accounting


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    data, advertisements (including advertisements placed on the World Wide Web), FTP Logs,

    Server Access Logs, USENET Newsgroup postings, World Wide Web pages, books, written or

    printed records, handwritten notes, telephone logs, telephone scripts, receipt books, ledgers,

    personal and business canceled checks and check registers, bank statements, appointment books,

    computer records, and any other electronically stored information, and other data or data

    compilations from which information can be obtained directly or, if necessary, after translation

    into a reasonably usable form. A draft or non-identical copy is a separate document within the

    meaning of the term.

            5.     "Individual Defendant" means Scott Cooper.

            6.      "Person" means a natural person, organization, or other legal entity, including a

    corporation, partnership, proprietorship, association, cooperative, government or governmental

    subdivision or agency, or any other group or combination acting as an entity.

            7.     "Receiver" means the temporary receiver appointed in Section XII of this Order

    and any deputy receivers that shall be named by the temporary receiver.

                                                  ORDER
   I.       Prohibition on Misrepresentations

            It is therefore ordered that Defendants and Defendants' officers, agents, employees, and

    attorneys, and all other Persons in active concert or participation with any Defendant, who

    receive actual notice of this Order, whether acting directly or indirectly in connection with the

    advertising, marketing, promotion, offering for sale, or sale of any products or services, are

    hereby temporarily restrained and enjoined from making any false or unsubstantiated

    representations, expressly or by implication, regarding any material fact, including, but not

    limited to:

            A.      Purchase of Defendants' invention-promotion services 1s likely to result m

    financial gain for their customers;

            B.     Defendants have successfully marketed the invention ideas of many of their

    customers, resulting in royalties or sales of their inventions;


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           C.      Defendants successfully marketed specific invention ideas, such as Teddie's

    Ballie Bumpers, Live Expert Chat, and Supreme Diva Jeans;

           D.      Consumers who buy one of Defendants' "global" packages will receive a

    globally-applicable patent;

           E.      Defendants have regularly negotiated licensing and manufacturing agreements

    that have resulted in the manufacture and sale of their customers' inventions; or

           F.      Consumers who buy Defendants' invention-promotion services will not have to

    pay any more money to receive Defendants' promised services.

   II.     Prohibition on Complaint Suppression

           It is further ordered that Defendants and Defendants' officers, agents, employees, and

    attorneys, and all other Persons in active concert or participation with any Defendant, who

    receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

    restrained and enjoined from making any threats or intimidating any Person concerning

    complaints or comments about products or services offered or sold by Defendants, including but

    not limited to requesting that negative comments be withdrawn or removed.

   III.    Asset Freeze

           It is further ordered that Defendants and their officers, agents, employees, and

    attorneys, and all other persons in active concert or participation with any Defendant, who

    receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

    restrained and enjoined from:

           A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

    concealing, dissipating, disbursing, assigning, spending, conveying, gifting, withdrawing,

    granting a lien or security interest or other interest in, or otherwise disposing of any funds, real or

    personal property, accounts, contracts, consumer lists, shares of stock, or other Assets, or any

    interest therein, wherever located, whether within the United States or within a jurisdiction

    outside the United States, that are:




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                   1)     owned or controlled, directly or indirectly, by any of the Defendants, in

                          whole or in part;

                   2)     held, in whole or in part, for the benefit of any Defendant;

                   3)     in the actual or constructive possession of any Defendant; or

                   4)     owned, controlled by, or in the actual or constructive possession of, or

                          otherwise held for the benefit of any corporation, partnership, or other

                          entity directly or indirectly owned, managed, or controlled by any

                          Defendant, or any entity acting under a fictitious name owned by or

                          controlled by an Defendants, including, but not limited to, any Assets held

                          by or for, or subject to access by any Defendant at any bank or savings and

                          loan institution, or with any broker-dealer, escrow agent, title company,

                          commodity trading company, precious metals dealer, or other financial

                          institution or depository institution of any kind;

           B.      Opening or causing to be opened any safe deposit boxes titled in the name of, or

    subject to access by, any Defendant;

           C.      Incurring charges or cash advances on any credit card issued in the name, singly

    or jointly, of any Corporate Defendant;

           D.      Obtaining a loan encumbering the Assets of any Defendant, or any corporation,

    partnership, or other entity directly or indirectly owned, managed, or controlled by any

    Defendant;

           E.      Incurring liens or other encumbrances on real property, personal property or other

    Assets titled in the name, singly or jointly, of any Defendant or any corporation, partnership, or

    other entity directly or indirectly owned, managed, or controlled by any Defendant; and

           F.      Cashing any checks or depositing any money orders, cash, or any other payment

    (including credit card and debit card payments) received from consumers, clients, or customers

    of any Defendant.




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           Provided, that the Assets affected by this Section Ill shall include: (1) all Assets of any

    Defendant as of the date and time this Order was entered; and (2) for Assets obtained after the

    date and time this Order was entered, only those Assets that are derived, directly or indirectly,

    from Defendants' activities as alleged in the FTC's Complaint. This Section does not prohibit

    transfers to the Receiver, as specifically required in Section XIV (Transfer of Receivership

    Property to the Receiver), nor does it prohibit the repatriation of foreign Assets, as specifically

    required in Section V (Repatriation of Assets and Documents).

   IV.     Duties of Asset Holders

           It is further ordered that any financial or brokerage institution, credit card processing

    company, payment processor, merchant bank, acquiring bank, independent sales organization,

    business entity, or Person served with a copy of this Order, or who otherwise has actual

    knowledge of this Order, that (a) holds, controls or maintains custody of any account, safe

    deposit box, post office box, or other Asset of any Defendant, (b) holds, controls, or maintains

    custody of any Asset associated with credits, debits, or charges made on behalf of any Defendant,

    including, but not limited to, reserve funds held by payment processors or other entities, or (c)

    has held, controlled, or maintained any such account, safe deposit box, or other Asset shall:

           A.      Hold and retain within its control and prohibit the withdrawal, removal,

    assignment, transfer, pledge, encumbrance, disbursement, dissipation, conversion, sale, or other

    disposal of any such Asset, except by further order of the Court;

           B.      Deny any person, except the Receiver acting pursuant to Section XIII of this

    Order (Receiver's Duties and Authority), access to any safe deposit box that is titled in the name

    of, individually or jointly, or otherwise subject to access by, any Defendant;

           C.      Provide FTC counsel and the Receiver, within five (5) business days of receiving

    a copy of this Order, a sworn statement setting forth:

                   1)      The identification number of each such account or Asset titled in the

                           name, individually or jointly, of any Defendant, or held on behalf of or for

                           the benefit of any Defendant;


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                   2)      The balance of each such account, or a description of the nature and value

                           of such Asset as of the close of business on the day on which this Order is

                           served, and, if the account or other Asset has been closed or removed, the

                           date closed or removed, the total funds removed in order to close the

                           account, and the name of the Person or entity to whom such account or

                           other Asset was remitted; and

                   3)      The identification of any safe deposit box that is titled in the name of,

                           individually or jointly, or otherwise subject to access by any Defendants;

                           and

           D.      Upon request by the FTC or the Receiver, promptly provide the FTC and the

    Receiver with copies of all records or other documentation pertaining to each such account or

    Asset, including, but not limited to, originals or copies of account applications, account

    statements, signature cards, checks, drafts, deposit tickets, transfers to and from the accounts, all

    other debit and credit instruments or slips, currency transaction reports, 1099 forms, and safe

    deposit box logs.

   V.      Financial Disclosures

           It is further ordered that within five (5) calendar days of service of this Order, each

    Defendant shall prepare, fill in all required information, and deliver, completed and executed, to

    counsel for the FTC and to the Receiver, completed financial statements on the forms attached to

    this Order as Attachment A (Financial Statement of Individual Defendant) for each Defendant

    individually and Attachment B (Financial Statement of Corporate Defendant) for each business

    entity under which any Defendant conducts business or of which any Defendant is an officer, and

    for each trust for which any Defendant is a trustee. The financial statements shall be accurate as

    of the date of entry of this Order. Each Defendant shall include in the financial statements a full

    accounting of all funds and Assets, whether located inside or outside of the United States, that

    are: (1) titled in the name of such Defendant, jointly, severally, or individually; (2) held by any

    Person or entity for the benefit of such Defendant; or (3) under the direct or indirect control of


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    such Defendant. Defendants shall attach to these completed financial statements copies of all

    local, state, provincial, and federal income and property tax returns, with attachments and

    schedules, as called for by the instructions to the financial statements.

   VI.     Repatriation of Assets and Documents

           It is further ordered that within five (5) days following the service of this Order, each

    Defendant shall:

           A.      Provide the FTC and the Receiver with a full accounting of all funds, Documents,

    and Assets outside of the United States which are: (1) titled in the name, individually or jointly,

    of any Defendant; or (2) held by any Person or entity for the benefit of any Defendant; or (3)

    under the direct or indirect control, whether jointly or singly, of any Defendant;

           B.      Transfer to the territory of the United States and deliver to the Receiver all funds,

    Documents, and Assets located in foreign countries which are: (1) titled in the name individually

    or jointly of any Defendant; or (2) held by any Person or entity, for the benefit of any Defendant;

    or (3) under the direct or indirect control of any Defendant, whether jointly or singly;

           C.      Provide the FTC and the Receiver access to all records of accounts or Assets of

    any Defendant held by financial institutions located outside the territorial United States by

    signing the Consent to Release of Financial Records appended to this Order as Attachment C.

  VII.     Non-Interference with Repatriation

           It is further ordered that Defendants and Defendants' officers, agents, employees, and

    attorneys, and all other Persons in active concert or participation with any Defendant, who

    receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

    restrained and enjoined from taking any action, directly or indirectly, which may result in the

    encumbrance or dissipation of foreign Assets, or in the hindrance of the repatriation required by

    Section V (Repatriation of Assets and Documents) of this Order, including, but not limited to:

            A.     Sending any statement, letter, fax, e-mail or wire transmission, telephoning or

    engaging in any other act, directly or indirectly, that results in a determination by a foreign

    trustee or other entity that a "duress" event has occurred under the terms of a foreign trust


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    agreement until such time that all Assets have been fully repatriated pursuant to Section VI of

    this Order; or

            B.       Notifying any trustee, protector or other agent of any foreign trust or other related

    entities of either the existence of this Order, or of the fact that repatriation is required pursuant to

    a court order, until such time that all Assets have been fully repatriated pursuant to Section VI of

    this Order.

  VIII.     Consumer Credit Reports

            It is further ordered that pursuant to Section 604(a)(l) of the Fair Credit Reporting Act,

    15 U.S.C. § 1681 b(a)(l ), any consumer reporting agency served with this Order shall promptly

    furnish consumer credit reports as requested concerning any Defendant and any spouse of a

    Defendant to the FTC. The Commission may also directly access any Defendant's consumer

    credit report.

   IX.      Preservation of Records

            It is further ordered that Defendants and Defendants' officers, agents, employees, and

    attorneys, and all other Persons in active concert or participation with any Defendant, who

    receive actual notice of this Order, are hereby temporarily restrained and enjoined from:

            A.       Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

    transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

    relate to: (1) the business, business practices, Assets, or business or personal finances of any of

    the Defendants, (2) the business practices or finances of entities directly or indirectly under the

    control of any of the Defendants, or (3) the business practices or finances of entities directly or

    indirectly under common control with any other Defendant, including any and all marketing

    materials, websites and webpages, consumer complaints, customer records, rate decks, call detail

    records, telephone logs, telephone scripts, contracts, correspondence, email, corporate books and

    records, accounting data, financial statements, receipt books, ledgers, personal and business

    canceled checks and check registers, bank statements, calendars, appointment books, and tax

    returns; and


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            B.     Failing to create and maintain Documents that, in reasonable detail, accurately,

    fairly, and completely reflect Defendants' incomes, disbursements, transactions, and use of

    Defendants' Assets.

   X.       Notification of New Business Activity

            It is further ordered that Defendants and Defendants' officers, agents, employees, and

    attorneys, and all other persons in active concert or participation with any Defendant, who

    receive actual notice of this Order, are hereby temporarily restrained and enjoined from

    creating, operating, or exercising any control over any new business entity, whether newly

    formed or previously inactive, including any partnership, limited partnership, joint venture, sole

    proprietorship, or corporation, without first providing FTC counsel with a written statement

    disclosing: (1) the name of the business entity; (2) the address and telephone number of the

    business entity; (3) the names of the business entity's officers, directors, principals, managers,

    members, and employees; and (4) a detailed description of the business entity's intended

    activities.

   XI.      Prohibition on Release of Consumer Information

            It is further ordered that Defendants and Defendants' officers, agents, employees, and

    attorneys, and all other persons in active concert or participation with any Defendant, are hereby

    temporarily restrained and enjoined from selling, renting, leasing, transferring, using,

    disclosing, or otherwise benefitting from the name, address, telephone number, credit card

    number, bank account number, email address, or other identifying information of any Person

    who:     (1) paid money to any Defendant; (2) was previously contacted by Defendants in

    connection with invention promotion services, including, but not limited to research, patenting,

    invention licensing, manufacturing, or marketing; or (3) was on a list to be contacted by

    Defendants.

            Provided, however, that Defendants may disclose such identifying information to a law

    enforcement agency or as required by any law, regulation, or court order.




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  XII.      Appointment of Temporary Receiver

            IT IS FURTHER ORDERED that Jonathan Perlman of Genovese Joblove & Battista,

    P.A. is appointed temporary receiver for the Corporate Defendants, as well as for any affiliates,

    subsidiaries, divisions, or telephone sales or customer service operations, wherever located, with

    the full power of an equity receiver. The Receiver shall be the agent of this Court, and solely the

    agent of this Court, in acting as Receiver under this Order. The Receiver shall be accountable

    directly to this Court.

  XIII.     Receiver's Duties and Authority

            It is further ordered that the Receiver is authorized and directed to accomplish the

    following:

            A.      Assume full control of the Corporate Defendants by removing, as the Receiver

    deems necessary or advisable, any director, officer, independent contractor, employee, or agent

    of any of the Corporate Defendants, including any Defendant, from control of, management of,

    or participation in, the affairs of the Corporate Defendants;

            B.      Take exclusive custody, control, and possession of all Assets and Documents of,

    or in the possession, custody, or under the control of, the Corporate Defendants, wherever

    situated. The Receiver shall have full power to divert mail and to sue for, collect, receive, take in

    possession, hold, and manage all Assets and Documents of the Corporate Defendants and other

    persons or entities whose interests are now under the direction, possession, custody, or control of,

    the Corporate Defendants.      The Receiver shall assume control over the income and profits

    therefrom and all sums of money now or hereafter due or owing to the Corporate Defendants.

    Provided, however, that the Receiver shall not attempt to collect any amount from a consumer if

    the Receiver believes the consumer was a victim of the unfair or deceptive acts or practices or

    other violations of law alleged in the Complaint in this matter, without prior Court approval;

            C.      Take all steps necessary to secure each location from which the Corporate

    Defendants operate their business. Such steps may include, but are not limited to, any of the

    following, as the Receiver deems necessary or advisable: (1) serving this Order; (2) completing


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    a written inventory of all Receivership Assets; (3) obtaining pertinent information from all

    employees and other agents of the Corporate Defendants, including, but not limited to, the name,

    home address, Social Security Number, job description, passwords or access codes, method of

    compensation, and all accrued and unpaid commissions and compensation of each such

    employee or agent; (4) photographing and videotaping any or all portions of the location;

    (5) securing the location by changing the locks and disconnecting any computer modems or other

    means of access to the computer or other records maintained at that location; and (6) requiring

    any persons present on the premises at the time this Order is served to leave the premises, to

    provide the Receiver with proof of identification, or to demonstrate to the satisfaction of the

    Receiver that such persons are not removing from the premises Documents or Assets of the

    Corporate Defendants.    Law enforcement personnel, including, but not limited to, police or

    sheriffs, may assist the Receiver in implementing these provisions in order to keep the peace and

    maintain security. If requested by the Receiver, the United States Marshals Service will provide

    appropriate and necessary assistance to the Receiver to implement this Order and is authorized to

    use any necessary and reasonable force to do so;

           D.      Suspend business operations of the Corporate Defendants if in the judgment of the

    Receiver such operations cannot be continued legally and profitably;

           E.      Conserve, hold, and manage all Assets of the Corporate Defendants, and perform

    all acts necessary or advisable to preserve the value of those Assets in order to prevent any

    irreparable loss, damage, or injury to consumers or creditors of the Corporate Defendants,

    including, but not limited to, obtaining an accounting of the Assets and preventing the

    unauthorized transfer, withdrawal, or misapplication of Assets;

           F.      Enter into contracts and purchase insurance as advisable or necessary;

           G.      Prevent the inequitable distribution of Assets and determine, adjust, and protect

    the interests of consumers and creditors who have transacted business with the Corporate

    Defendants;




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            H.      Prevent the destruction or erasure of any web page or website registered to and

    operated, in whole or in part, but the Corporate Defendants, directly or indirectly;

            I.      Prevent the destruction or erasure of any of the Corporate Defendants' marketing

    materials, sales scripts, training materials, customer information, call logs, and any other

    Documents or records that reflect marketing, advertising, promotion, distribution, and offers for

    sale or sale of services;

            J.      Prevent the destruction or erasure of any of the Corporate Defendants' corporate

    records, business records, financial records, and financial transactions as they relate to the

    practices charged in the FTC's Compliant and ensure that all such Documents are preserved;

            K.      Manage and administer the business of the Corporate Defendants until further

    order of this Court by performing all incidental acts that the Receiver deems to be advisable or

    necessary, which includes but is not limited to retaining, hiring, or dismissing any employees,

    independent contractors, or agents;

            L.      Choose, engage, and employ attorneys, accountants, appraisers, and other

    independent contractors and technical specialists, as the Receiver deems advisable or necessary

    in the performance of duties and responsibilities under the authority granted by this Order;

            M.      Make payments and disbursements from the receivership estate that are necessary

    or advisable for carrying out the directions of, or exercising the authority granted by, this Order.

    The Receiver shall apply to the Court for prior approval of any payment of any debt or obligation

    incurred by the Corporate Defendants prior to the date of entry of this Order, except payments

    that the Receiver deems necessary or advisable to secure Assets of the Corporate Defendants,

    such as rental payments;

            N.      Institute, compromise, adjust, appear in, intervene in, or become party to such

    actions or proceedings in state, federal or foreign courts or arbitration proceedings as the

    Receiver deems necessary and advisable to preserve or recover the Assets of the Corporate

    Defendants, or that the Receiver deems necessary and advisable to carry out the Receiver's




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   mandate under this Order, including, but not limited to, actions challenging fraudulent or

   voidable transfers;

            0.     Defend, compromise, adjust, or otherwise dispose of any or all actions or

   proceedings instituted in the past or in the future against the Receiver in his role as Receiver, or

   against the Corporate Defendants, as the Receiver deems necessary and advisable to preserve the

   Assets of the Corporate Defendants, or as the Receiver deems necessary and advisable to carry

   out the Receiver's mandate under this Order;

            P.     Issue subpoenas to obtain Documents and records (including but not limited to

    Google, Inc.) pertaining to the Receivership, and conduct discovery in this action on behalf of

   the Receivership estate;

            Q.     Open one or more bank accounts as designated depositories for funds of the

    Corporate Defendants. The Receiver shall deposit all funds of the Corporate Defendants in such

    a designated account and shall make all payments and disbursements from the Receivership

    estate from such an account. The Receiver shall serve copies of monthly account statements on

    all parties;

            R.     Maintain accurate records of all receipts and expenditures incurred as Receiver;

            s.     Cooperate with reasonable requests for information, Documents, materials, or

    assistance from any state or federal law enforcement agency;

            T.     File reports with the Court on a timely basis and at regular intervals or as

    otherwise directed by the Court;

            U.     Allow the Plaintiff's representatives, agents, and assistants, as well as Defendants'

    Representatives and Defendants themselves, reasonable access to the premises of the

    Receivership Defendants, or any other premises where the Receivership Defendants conduct

    business operations. The purpose of this access shall be to inspect and copy any and all books,

    records, Documents, accounts, and other property owned by, or in the possession of, the

    Receivership Defendants or its agents. The Receiver shall have the discretion to determine the

    time, manner, and reasonable conditions of such access; and


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           V.      Allow the Plaintiff's representatives, agents, and assistants, as well as

    Defendants' Representatives and Defendants themselves, reasonable access to Documents in the

    possession, custody, or control of the Receivership Defendants, or on their behalf, including, but

    not limited to, books, records, tapes, discs, accounting data, checks, correspondence, forms,

    advertisements, brochures, manuals, electronically stored data, banking records, customer lists,

    customer files, invoices, telephone records, ledgers and payroll records, and any other Document

    or record that relates to the business practices or finances of the Receivership Defendants,

    including electronically stored information (such as electronic mail).

  XIV.     Transfer of Receivership Property to the Receiver

           It is further ordered that:

           A.      Immediately upon service of this Order upon them, or within a period permitted

    by the Receiver, Defendants, Defendants' officers, agents, employees, and attorneys, and all

    other Persons in active concert or participation with any Defendant, who receive actual notice of

    this Order, and any other Person with possession, custody or control of property or of records

    relating to the Corporate Defendants, shall transfer or deliver possession, custody, and control of

    the following to the Receiver:

                   1)      All Assets of the Corporate Defendants;

                   2)      All Documents of the Corporate Defendants, including, but not limited to,

                           books and records of accounts, all financial and accounting records,

                           balance sheets, income statements, bank records (including monthly

                           statements, canceled checks, records of wire transfers, and check

                           registers), client lists, title Documents and other papers;

                   3)      All Assets belonging to other persons or entities whose interests are now

                           under the direction, possession, custody, or control of the Corporate

                           Defendants;

                   4)      All computers and data in whatever form used to conduct the business of

                           the Corporate Defendants; and


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                    5)      All keys, codes, and passwords necessary to gain or to secure access to

                            any Assets or Documents of the Corporate Defendants, including, but not

                            limited to, access to their business premises, means of communication,

                            accounts, computer systems, or other property.

            B.      In the event any Person or entity fails to deliver or transfer any Asset or otherwise

    fails to comply with any provision of this Section, the Receiver may file ex parte an Affidavit of

   Non-Compliance regarding the failure. Upon filing of the affidavit, the Court may authorize,

    without additional process or demand, Writs of Possession or Sequestration or other equitable

    writs requested by the Receiver. The writs shall authorize and direct the United States Marshals

    Service or any sheriff or deputy sheriff of any county to seize the Asset, Document, or other item

    and to deliver it to the Receiver.

  XV.       Provision of Information to the Receiver

            It is further ordered that Defendants shall provide to the Receiver, immediately upon

    request, the following: ( 1) a list of all Assets and property, including accounts, of the Corporate

    Defendants that are held in any name other than the name of a Corporate Defendant, or by any

    Person or entity other than a Corporate Defendant; and (2) a list of all agents, employees,

    officers, servants or those persons in active concert and participation with the Individual

    Defendants and Corporate Defendants who have been associated with or done business with the

    Corporate Defendants.

  XVI.      Cooperation with the Receiver

            It is further ordered that Defendants and Defendants' officers, agents, employees, and

    attorneys, and all other Persons in active concert or participation with any Defendant, who

    receive actual notice of this Order, shall fully cooperate with and assist the Receiver in taking

    and maintaining possession, custody, or control of the Assets of the Corporate Defendants. This

    cooperation and assistance shall include, but not be limited to: (1) providing information to the

    Receiver that the Receiver deems necessary in order to exercise the authority and discharge the

    responsibilities of the Receiver under this Order; (2) providing any password required to access


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    any computer, electronic file, or telephonic data in any medium; (3) advising all Persons who

    owe money to the Corporate Defendants that all debts should be paid directly to the Receiver;

    and (4) transferring funds at the Receiver's direction and producing records related to the Assets

    and sales of the Corporate Defendants.

            The entities obligated to cooperate with the Receiver under this provision include, but are

    not limited to, banks, broker-dealers, savings and loans, escrow agents, title companies,

    commodity trading companies, precious metals dealers and any financial institutions and

    depositories of any kind, payment processors, payment gateways, insurance companies, as well

    as all third-party billing agents, common carriers, and other telecommunications companies.

  XVII.     Interference with the Receiver

            It is further ordered that Defendants, Defendants' officers, agents, employees,

    attorneys, and all other persons in active concert or participation with any Defendant, who

    receive actual notice of this Order, and their corporations, subsidiaries, divisions, or affiliates, are

    hereby restrained and enjoined from directly or indirectly:

            A.      Interfering with the Receiver managing, or taking custody, control, or possession

    of the Assets or Documents subject to this Receivership;

            B.      Transacting any of the business of the Corporate Defendants or any substantially

    similar name;

            C.      Transferring, receiving, altering, selling, encumbering, pledging, ass1gnmg,

    liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

    custody of, or in which an interest is held or claimed by, the Corporate Defendants, or the

    Receiver;

            D.      Destroying, secreting, defacing, transferring, or otherwise altering or disposing of

    any Documents of the Corporate Defendants, including, but not limited to, books, records,

    accounts, or any other papers;

            E.      Excusing debts owed to the Corporate Defendants;




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            F.      Refusing to cooperate with the Receiver or the Receiver's duly authorized agents

    in the exercise of their duties or authority under any order of this Court; and

            G.      Harassing or interfering with the Receiver in any way.

  XVIII.    Stay of Actions Against Corporate Defendants

            It is further ordered that except by leave of this Court, during pendency of the

    Receivership ordered herein, Defendants, their Representatives, and all investors, creditors,

    stockholders, lessors, customers and other persons seeking to establish or enforce any claim,

    right, or interest against or on behalf of Defendants, and all others acting for or on behalf of such

    persons, are hereby enjoined from taking action that would interfere with the exclusive

    jurisdiction of this Court over the Assets or Documents of the Corporate Defendants, including,

    but not limited to:

            A.      Petitioning, or assisting in the filing of a petition, that would cause any Corporate

    Defendant to be placed in bankruptcy;

            B.      Commencing a judicial, administrative, or other action or proceeding against the

    Corporate Defendants, including the issuance or employment of process against the Corporate

    Defendants, except that such actions may be commenced if necessary to toll any applicable

    statute of limitations;

            C.      Filing or enforcing any lien on any Asset of the Corporate Defendants; taking or

    attempting to take possession, custody, or control of any Asset of the Corporate Defendants;

    accelerating the due date of any obligation; or attempting to foreclose, forfeit, alter, or terminate

    any interest in any Asset of the Corporate Defendants, whether such acts are part of a judicial

    proceeding, are acts of self-help, or otherwise; or

            D.      Initiating any other process or proceeding that would interfere with the Receiver

    managing or taking custody, control, or possession of, the Assets or Documents subject to this

    receivership.

            Provided that, this Order does not stay: (1) the commencement or continuation of a

    criminal action or proceeding; (2) the commencement or continuation of an action or proceeding


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    by a governmental unit to enforce such governmental unit's police or regulatory power; or (3) the

    enforcement of a judgment, other than a money judgment, obtained in an action or proceeding by

    a governmental unit to enforce such governmental unit's police or regulatory power.

  XIX.     Compensation of Receiver

           It is further ordered that the Receiver and all personnel hired by the Receiver as herein

    authorized, including counsel to the Receiver and accountants, are entitled to reasonable

    compensation for the performance of duties pursuant to this Order and for the cost of actual out-

    of-pocket expenses incurred by them, from the Assets now held by or in the possession or control

    of or which may be received by the Corporate Defendants. The Receiver shall file with the

    Court and serve on the parties periodic requests for the payment of such reasonable

    compensation, with the first such request filed no more than sixty (60) days after the date of

    entry of this Order. The Receiver shall not increase the hourly rates used as the bases for such

    fee applications without prior approval of the Court.

   XX.     Receiver's Bond

           It is further ordered that the Receiver shall not file with the Clerk of this Court a bond

    until further order of the Court, conditioned that the Receiver will well and truly perform the

    duties of the office and abide by and perform all acts the Court directs. 28 U.S.C. § 754.

  XXI.     Immediate Production of Business Records

           It is further ordered that the Corporate Defendants shall allow the FTC's employees and

    agents access to the Corporate Defendants' business records to inspect and copy Documents in

    preparation for the preliminary injunction hearing and to identify and locate assets.

           The Corporate Defendants shall, within five (5) days of receiving notice of this Order

    (except as required for immediate turnover under XXII.F infra), produce to the FTC for

    inspection, inventory, and copying, at a location designated by FTC, the following materials: (1)

    all customer information, including names, phone numbers, addresses, e-mail addresses,

    customer complaints, and payment information for all consumers who have purchased Corporate

    Defendants' invention-promotion services; (2) all contracts; (3) any correspondence, including


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    electronic correspondence, that refers or relates to the Corporate Defendants' invention-

    promotion services; (4) an electronic copy of all advertisements for the Corporate Defendants'

    invention-promotion services; and (5) accounting information, including profit and loss

    statements, annual reports, receipt books, ledgers, personal and business canceled checks and

    check registers, bank statements, appointment books, copies of federal, state or local business or

    personal income or property tax returns, and 1099 forms. The FTC shall return any materials

    produced pursuant to this Paragraph within seven (7) days of the Corporate Defendants'

    production.

  XXII.    Immediate Access to Business Premises and Documents

           It is further ordered that:

           A.      In order to allow the FTC and the Receiver to preserve Assets and evidence

    relevant to this action and to expedite discovery, the FTC and the Receiver, and their

    representatives, agents, contractors, and assistants, shall have immediate access to any and all

    business premises, storage facilities, and all other business locations owned, controlled, or used

    by the Corporate Defendants, including any premises where the Corporate Defendants conduct

    business or store records. Such locations include, but are not limited to 2940 North Lincoln

    Avenue, 2nd Fl., Chicago, IL 60657. The Receiver and the FTC, and their representatives,

    agents, contractors, and assistants, are authorized to employ the assistance of the United States

    Postal Inspection Service, the United States Marshals Service, police or sheriffs, and other

    federal, state, or local law enforcement officers as they deem necessary to effect service and to

    peacefully implement the provisions of this Order.

           B.      The Receiver may exclude Defendants and their employees from the business

    premises during the immediate access.

           C.      The Receiver and the FTC may inspect and copy Documents relevant to this

    action. The Receiver and the FTC, and their representatives, agents, contractors, and assistants,

    are authorized to remove Documents from the Corporate Defendants' premises in order that they




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    may be inspected, inventoried, and copied. Documents so removed by the FTC shall be returned

    to the Receiver within five (5) days of completing inventorying and copying.

           D.      The Receiver shall allow Defendants reasonable access to the premises and

    business records of the Corporate Defendants within his possession for the purpose of inspecting

    and copying materials relevant to this action.       The Receiver shall have the discretion to

    determine the time, manner, and reasonable conditions of such access.

           E.      Defendants and all agents or employees of Defendants shall provide the Receiver

    and the FTC with any necessary means of access to Documents, including, without limitation,

    the locations of Corporate Defendants' business premises and storage facilities, keys and

    computer access codes of all computers used to conduct Corporate Defendants' business, cloud

    and internet services access codes, and storage area access information.

           F.      If any Documents, computers, or electronic data storage devices containing

    information related to the business practices or finances of a Corporate Defendant are at a

    location other than the location listed in Subsection A of this Section, including a non-physical

    location or the personal residence(s) of any Defendant, then, immediately upon notice of this

    Order, Defendants shall produce to the Receiver all such Documents, computers, or electronic

    data storage devices. This includes, without limitation, all Documents, computers, or electronic

    data storage devices that were previously located at 1680 Meridian Ave, Suites 600-602, Miami

    Beach, Florida 33139. In order to prevent the destruction of electronic data, upon service of this

    Order upon Corporate Defendant(s), any computers or electronic data storage devices containing

    such information shall be powered down (turned off) in the normal course for the operating

    systems.

 XXIII.    Expedited Discovery

           It is further ordered that, notwithstanding the time periods, notice provisions, and other

    requirements of Rules 26(d), 26(f), and 30(a)(2)( c) of the Federal Rules of Civil Procedure, and

    pursuant to Federal Rules of Civil Procedure 30(a), 34, and 45, the Receiver and the FTC are

    granted leave, at any time after entry of this Order, to conduct limited expedited discovery as to


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    parties and non-parties for the purpose of discovering: ( 1) the nature, location, status, and extent

    of Defendants' Assets; (2) the nature and location of Documents reflecting Defendants'

    businesses, business transactions, and operations; and (3) the location of any premises where

    Defendants, or through any third party, conduct business operations and /or Defendants'

    whereabouts. The limited expedited discovery set forth in this Section shall proceed as follows:

            A.      The Receiver and the FTC may take the depositions of parties and their officers,

    agents, servants, employees, and attorneys, who have been served with copies of this Order.

    Twenty-four (24) hours' notice shall be sufficient notice for such depositions. The Receiver and

    the FTC may also take the depositions of any other non-parties on forty-eight (48) hours' notice.

    Deposition transcripts that have not been signed by the witness may be used at the preliminary

    injunction hearing in this matter. The limitations set forth in Federal Rule of Civil Procedure

    30(a)(2) and 3 l(a)(2) regarding subsequent depositions of an individual shall not apply to

    depositions taken pursuant to this Section, and those depositions shall not count toward the

    deposition limit set forth in said rules;

            B.      The Receiver and the FTC may serve upon parties and their officers, agents,

    servants, employees, and attorneys, who have been served with copies of this Order, requests for

    production of Documents or inspection that require production or inspection within twenty-four

    (24) hours of service, and may serve subpoenas upon any other non-party that direct production

    or inspection within five (5) calendar days of service;

            C.      The Receiver and the FTC may serve deposition notices and other discovery

    requests upon the parties to this action by facsimile or overnight courier, and depositions may be

    taken by telephone, video conference, or other remote electronic means; and

            D.      Any discovery taken pursuant to this Order is in addition to, and is not subject to,

    the presumptive limits on discovery set forth in the Federal Rules of Civil Procedure and Local

    Rules of this Court.




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 XXIV.      Service on Financial Institutions, Entities or Persons

            It is further ordered that copies of this Order and the initial pleadings filed in this case

    may be served upon any financial institution or other entity or Person that may have possession,

    custody, or control of any Documents or Assets of any Defendant, or that may otherwise be

    subject to any provision of this Order, by FTC employees, by employees of any other law

    enforcement agency, by agents of the FTC or by agents of any process service retained by the

    FTC. This Order and the initial pleadings filed in this matter may be served upon any financial

    institution or other entity or Person that may have possession, custody, or control of any

    Documents or Assets of any Defendant, or that may otherwise be subject to any provision of this

    Order, by any means, including facsimile transmission, e-mail, and overnight delivery service.

    Service upon any branch or office of any financial institution shall effect service upon the entire

    financial institution.

  XXV.      Correspondence with the FTC

            It is further ordered that all correspondence and service of pleadings or other

    Documents related to this Order or the FTC's motion for a preliminary injunction shall be

    addressed to:

                    Colleen Robbins
                    James Evans
                    Jody Goodman
                    Federal Trade Commission
                    600 Pennsylvania Ave., NW
                    Mailstop CC-8528
                    Washington, DC 20580
                    Fax: 202-326-3395
                    Email: crobbins@ftc.gov; jevans@ftc.gov; jgoodman l@ftc.gov
 XXVI.      Defendants' Duty to Distribute Order

            It is further ordered that Defendants shall immediately provide a copy of this Order to

    each of their affiliates, subsidiaries, divisions, sales entities, successors, assigns, officers,

    directors, employees, independent contractors, client companies, agents, attorneys, spouses, and

    representatives, and shall, within three (3) days from the date of entry of this Order, provide the

    FTC with a sworn statement that: ( 1) confirms that Defendants have provided copies of the


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    Order as required by this paragraph; and (2) lists the names and addresses of each entity or

    Person to whom Defendants provided a copy of the Order. Furthermore, Defendants shall not

    take any action that would encourage officers, agents, directors, employees, salespersons,

    independent contractors, attorneys, subsidiaries, affiliates, successors, assigns or other Persons or

    entities in active concert or participation with them to disregard this Order or believe that they

    are not bound by its provisions.

 XXVII.    Duration of Temporary Restraining Order

           It is further ordered that except as ordered by this Court, this Temporary Restraining

    Order shall expire within fourteen (I 4) days from the date of entry, as computed by Rule 6 of the

    Federal Rules of Civil Procedure, unless within such time, the Order, for good cause shown, is

    extended for an additional period not to exceed fourteen ( 14) days, or unless it is further

    extended pursuant to Federal Rule of Civil Procedure 65 or by stipulation.

 XXVIII.   Order to Show Cause Hearing Regarding Preliminary Injunction

           It is further ordered that each Defendant shall appear before this Court at 400 North
    Miami Avenue, Courtroom 11-1, Miami, Florida, 33128, on March 14, 2017, at 10:30 AM to

    show cause, if there is any, why this Court should not enter a Preliminary Injunction enjoining

    the violations of law alleged in the FTC's Complaint, continuing the freeze of their Assets,

    continuing the receivership, and imposing such additional relief as may be appropriate pending

    final adjudication of the Complaint filed in this matter.

 XXIX.     Briefs and Affidavits Concerning Preliminary Injunction

           It is further ordered that:

           A.      Defendants shall file with the Court and serve on the Commission's counsel all

    memoranda, affidavits, declarations, and other evidence on which they intend to rely at the

    preliminary injunction hearing set in Section XXVIII no later than four (4) days before the date

    of the hearing. The FTC may file responsive or supplemental pleadings, materials, affidavits, or

    memoranda with the Court and serve the same on Defendants no later than one (1) day prior to

    the preliminary injunction hearing.


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           Provided that service shall be performed by personal or overnight delivery, facsimile or

    electronic mail, and Documents shall be delivered so that they shall be received by the other

    parties no later than 4:00 p.m. (Eastern Time Zone) on the appropriate dates set forth in this

    Paragraph;

           B.      The question of whether this Court should enter a preliminary injunction pursuant

    to Rule 65 of the Federal Rules of Civil Procedure shall be resolved on the pleadings,

    declarations, exhibits, and memoranda filed by, and oral argument of, the parties.

           C.      Live testimony shall be heard only on further order of this Court on motion

    filed with the Court and served on counsel for the other parties at least three (3) days prior to the

    preliminary injunction hearing in this matter. Such motion shall set forth the name, address, and

    telephone number of each proposed witness, a detailed summary or affidavit disclosing the

    substance of each proposed witness's testimony, and an explanation of why the taking of live

    testimony would be helpful to the Court. Any papers opposing a timely motion to present live

    testimony shall be filed with this Court and served on the other parties at least two (2) days prior

    to the preliminary injunction hearing in this matter.

            D.     Provided that service shall be performed by the Case Management/Electronic

    Case Files (CM/ECF) system, personal or overnight delivery, or electronic mail, and all

    Documents shall be delivered so that they shall be received by the other parties no later than 4:00

    p.m. on the appropriate dates set forth in this Section.

  XXX.     Retention of Jurisdiction

           It is further ordered that this Court shall retain jurisdiction of this matter for all

    purposes.
           DONE AND ORDERED in Chambers at Miami, Florida, this 7th day of March, 2017.




                                                            DARRIN P. GAYLES
                                                            UNITED STATES DISTRI


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                     PLAINTIFF'S EXHIBIT 38 - 7
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 15-61034-CIV-COHN/SELTZER

   FEDERAL TRADE COMMISSION,

          Plaintiff,

   V.

   MAIL TREE INC., et al.,

          Defendants.
   -------------·'
                         SEALED TEMPORARY RESTRAINING ORDER

          THIS CAUSE is before the Court upon Plaintiff Federal Trade Commission's

   ("FTC") Ex Parle Motion for a Temporary Restraining Order with Asset Freeze,

   Appointment of a Receiver, Other Equitable Relief, and Order to Show Cause Why a

   Preliminary Injunction Should Not Issue [DE 4].

                                       FINDINGS OF FACT

          This Court, having considered the complaint, the TRO motion, and all attached

   declarations, exhibits, and the memorandum of law filed in support, finds that:

           1.     This Court has jurisdiction over the subject matter of this case, there is

   good cause to believe it will have jurisdiction over all the parties hereto, and venue in

   this district is proper;

          2.      There is good cause to believe that Defendants Mail Tree Inc., Michael

   McKay Co., Spin Mail, Inc., MCP Marketing Activities, LLC, Trans National Concepts,

   Inc., Romeria Global, LLC, Supreme Media, LLC, Vernier Holdings, Inc., Awards

   Research Consultant, LLC, Mailpro Americas Corp., Masterpiece Marketing, LLC,

   Matthew Pisoni, Marcus Pradel, John Leon, and Victor Ramirez have engaged and are
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   likely to continue to engage in acts or practices that violate Section 5(a) of the FTC Act,

   15 U.S.C. § 45(a), and that the FTC is therefore likely to prevail on the merits of this

   action;

             3.   There is good cause to believe that consumers will suffer immediate and

   continuing harm from Defendants' ongoing violations of Section 5(a) of the FTC Act

   unless Defendants are restrained and enjoined by Order of this Court;

             4.   There is good cause to believe that immediate and irreparable damage to

   the Court's ability to grant effective final relief for consumers in the form of monetary

   restitution and/or disgorgement of ill-gotten gains will occur from the transfer,

   dissipation, or concealment by Defendants of their assets or business records unless

   Defendants are immediately restrained and enjoined by Order of this Court; and that in

   accordance with Fed. R. Civ. P. 65(b) and Local Rule 5.4(d), the interest of justice

   requires that the FTC's Motion be heard ex parte without prior notice to Defendants.

   Therefore, there is good cause for relieving the FTC of the duty to provide Defendants

   with prior notice of the FTC's Motion;

             5.   Good cause exists for appointing a receiver over the Corporate

   Defendants, permitting the FTC immediate access to Defendants' business premises,

   and permitting the FTC to take expedited discovery;

             6.   Weighing the equities and considering the FTC's likelihood of ultimate

   success, a temporary restraining order with an asset freeze, appointment of a receiver,

   immediate access to business premises, expedited discovery as to the existence and

   location of assets and documents, and other equitable relief is in the public interest; and




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          7.     No security is required of any agency of the United States for issuance of

   a TRO. Fed. R. Civ. P. 65(c).

                                          DEFINITIONS

          For the purposes of this TRO, the following definitions shall apply:

          1.     "Asset" or "Assets" means any legal or equitable interest in, right to, or

   claim to, any real or personal property, including, but not limited to, "goods,"

   "instruments," "equipment," "fixtures," "general intangibles," "inventory," "checks," or

   "notes" (as these terms are defined in the Uniform Commercial Code), lines of credit,

   chattels, leaseholds, contracts, mail or other deliveries, shares of stock, lists of

   consumer names, accounts, credits, premises, receivables, funds, and all cash,

   wherever located.

          2.     "Assisting others" includes, but is not limited to: (a) performing customer

   service functions, including, but not limited to, receiving or responding to consumer

   complaints; (b) formulating or providing, or arranging for the formulation or provision of,

   any prize promotion letter, sales script or other marketing material; (c) providing names

   of, or assisting in the generation of, potential customers; (d) performing or providing

   marketing or billing services of any kind; (e) acting as an officer or director of a business

   entity; (f) hosting websites; or (g) processing payments.

          3.     "Corporate Defendants" or "Receivership Defendants" means Mail Tree

   Inc., a Florida corporation; Michael McKay Co., a Florida corporation; Spin Mail, Inc., a

   Florida corporation; MCP Marketing Activities, LLC, a Nevada limited liability company,

   also d/b/a Magellan Mail and Magellan Marketing; Trans National Concepts, Inc., a

   Nevada corporation; Romeria Global, LLC, a Florida limited liability company, also d/b/a



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   Lowenstein, Varick and Nagel; Supreme Media, LLC, a Florida limited liability company;

   Vernier Holdings, Inc., a Florida corporation; Awards Research Consultant, LLC, a

   Nevada limited liability company; Mailpro Americas Corp., a Florida corporation; and

   Masterpiece Marketing, LLC, a Texas limited liability company, also d/b/a Affiliated

   Opportunities Group (AOG), Corporate Accounting Authority (CAA), Dispatch

   Notification Services (ONS), Information Reporting Group (IRG), National Directory

   Center (NOC), and Priority Information Exchange (PIE); and their successors and

   assigns, as well as any subsidiaries, affiliates, and any fictitious business entities or

   business names created or used by these entities, or any of them.

          4.     "Defendants" means all of the Individual Defendants and the Corporate

   Defendants, individually, collectively, or in any combination.

          5.     "Document" or "Documents" means any materials listed in Federal Rule of

   Civil Procedure 34(a), and includes writings, drawings, graphs, charts, photographs,

   audio and video recordings, computer records, and other data compilations from which

   information can be obtained and translated, if necessary, through detection devices into

   reasonably usable form. A draft or non-identical copy is a separate document within the

   meaning of the term.

          6.     "Financial Institution" means any bank, savings and loan institution, credit

   union, or any financial depository of any kind, including, but not limited to, any

   brokerage house, trustee, broker-dealer, escrow agent, title company, commodity

   trading company, or precious metal dealer.

          7.     "Individual Defendants" means Matthew Pisoni, Marcus Pradel, John

   Leon, and Victor Ramirez, and by whatever other names each may be known.



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          8.     "Person" means a natural person, an organization or other legal entity,

   including a corporation, partnership, sole proprietorship, limited liability company,

   association, cooperative, or any other group or combination acting as an entity.

                         I.      PROHIBITED BUSINESS ACTIVITIES

          IT IS THEREFORE ORDERED that Defendants and their officers, agents,

   servants, employees, and attorneys, and all other persons in active concert or

   participation with any of them who receive actual notice of this Order by personal

   service or otherwise, whether acting directly or through any corporation, subsidiary,

   division, or other device, in connection with the advertising, marketing, promotion,

   offering for sale, or sale of sweepstakes information, are hereby temporarily restrained

   and enjoined from:

          A.     Misrepresenting, or assisting others in misrepresenting, directly or

   indirectly, expressly or by implication, any material fact, including, but not limited to, that

   consumers who pay Defendants a fee will receive a substantial cash prize; and

          B.     Failing to disclose, clearly and prominently:

                 1.      That such sweepstakes information is being distributed for the

   purpose of soliciting a purchase, if such is the case, along with a complete description

   of the goods and services being sold; and

                 2.      That the consumer to whom the promotion is provided has not won

   a monetary or any other type of prize, if such is the case.




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                                     II.    ASSET FREEZE

          IT IS FURTHER ORDERED that Defendants, and their officers, agents, servants,

   employees, attorneys, and all other persons in active concert or participation with any of

   them, who receive actual notice of this Order by personal service or otherwise, whether

   acting directly or through any trust, corporation, subsidiary, division, or other device,

   except as provided herein, as stipulated by the parties, or as directed by further order of

   the Court, are hereby temporarily restrained and enjoined from:

          A.     Transferring, liquidating, converting, encumbering, pledging, loaning,

   selling, concealing, dissipating, disbursing, assigning, spending, withdrawing, granting a

   lien or security interest or other interest in, or otherwise disposing of any funds, real or

   personal property, accounts, contracts, shares of stock, lists of consumer names, or

   other assets, or any interest therein, wherever located, including outside the territorial

   United States, that are:

                 1.     Owned, controlled, or held by, in whole or in part, for the benefit of,

   or subject to access by, or belonging to, any Defendant;

                 2.     In the actual or constructive possession of any Defendant; or

                 3.     In the actual or constructive possession of, or owned, controlled, or

   held by, or subject to access by, or belonging to, any other corporation, partnership,

   trust, or any other entity directly or indirectly owned, managed, or controlled by, or under

   common control with, any Defendant, including, but not limited to, any assets held by or

   for any Defendant in any account at any bank or savings and loan institution, or with any

   credit card processing agent, automated clearing house processor, network transaction

   processor, bank debit processing agent, customer service agent, commercial mail




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   receiving agency, or mail holding or forwarding company, or any credit union, retirement

   fund custodian, money market or mutual fund, storage company, trustee, or with any

   broker-dealer, escrow agent, title company, commodity trading company, precious

   metal dealer, or other financial institution or depository of any kind, either within or

   outside the territorial United States;

          B.     Opening or causing to be opened any safe deposit boxes, commercial

   mail boxes, or storage facilities titled in the name of any Defendant, or subject to access

   by any Defendant or under any Defendant's control, without providing the Commission

   prior notice and an opportunity to inspect the contents in order to determine that they

   contain no assets covered by this Section;

          C.     Cashing any checks or depositing or processing any payments from

   customers or clients of Defendants;

          D.     Incurring charges or cash advances on any credit card issued in the

   name, singly or jointly, of any Defendant; or

          E.     Incurring liens or encumbrances on real property, personal property, or

   other assets in the name, singly or jointly, of any Defendant or of any corporation,

   partnership, or other entity directly or indirectly owned, managed, or controlled by any

   Defendant.

          Notwithstanding the asset freeze provisions of Section 11.A-E above, and subject

   to prior written agreement with the Commission, an Individual Defendant may, upon

   compliance with Section VI (Financial Statements) infra, pay from his individual

   personal funds reasonable, usual, ordinary, and necessary living expenses.




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          The funds, property, and assets affected by this Section shall include both

   existing assets and assets acquired after the effective date of this Order.

          Ill.    DUTIES OF THIRD PARTIES HOLDING DEFENDANTS' ASSETS

          IT IS FURTHER ORDERED that any financial institution, business entity, or

   person maintaining or having custody or control of any account or other asset of any

   Defendant, or any corporation, partnership, or other entity directly or indirectly owned,

   managed, or controlled by, or under common control with any Defendant, which is

   served with a copy of this Order, or otherwise has actual or constructive knowledge of

   this Order, shall:

          A.      Hold and retain within its control and prohibit the withdrawal, removal,

   assignment, transfer, pledge, hypothecation, encumbrance, disbursement, dissipation,

   conversion, sale, liquidation, or other disposal of any of the assets, funds, documents,

   or other property held by, or under its control:

                  1.     On behalf of, or for the benefit of, any Defendant or any other party

   subject to Section II above;

                  2.     In any account maintained in the name of, or for the benefit of, or

   subject to withdrawal by, any Defendant or other party subject to Section II above; and

                  3.     That are subject to access or use by, or under the signatory power

   of, any Defendant or other party subject to Section II above;

          B.      Deny Defendants access to any safe deposit boxes or storage facilities

   that are either:

                  1.     Titled in the name, individually or jointly, of any Defendant, or other

   party subject to Section II above; or




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                 2.      Subject to access by any Defendant or other party subject to

   Section II above;

          C.     Within five (5) days of the date of service of this Order, provide Plaintiff a

   sworn statement setting forth:

                  1.     The identification number of each account or asset titled in the

   name, individually or jointly, of any Defendant, or held on behalf of, or for the benefit of,

   any Defendant or other party subject to Section II above, including all trust accounts

   managed on behalf of any Defendant or subject to any Defendant's control;

                 2.      The balance of each such account, or a description of the nature

   and value of such asset;

                  3.     The identification and location of any safe deposit box, commercial

   mail box, or storage facility that is either titled in the name, individually or jointly, of any

   Defendant, or is otherwise subject to access or control by any Defendant or other party

   subject to Section II above, whether in whole or in part; and

                 4.      If the account, safe deposit box, storage facility, or other asset has

   been closed or removed, the date closed or removed and the balance on said date;

          D.      Within five (5) days of a request from Plaintiff, provide Plaintiff copies of all

   records or other documentation pertaining to each such account or asset, including, but

   not limited to, originals or copies of account applications, account statements, corporate

   resolutions, signature cards, checks, drafts, deposit tickets, transfers to and from the

   accounts, all other debit and credit instruments or slips, currency transaction reports,

    1099 forms, and safe deposit box logs; and




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          E.     This Section shall apply to existing accounts and assets, assets deposited

   or accounts opened after the effective date of this Order, and any accounts or assets

   maintained, held or controlled three years prior to the effective date of this Order. This

   Section shall not prohibit transfers in accordance with any provision of this Order, any

   further order of the Court, or by written agreement of the parties.

          IV.    MAINTAIN RECORDS AND REPORT NEW BUSINESS ACTIVITY

          IT IS FURTHER ORDERED that Defendants, and their officers, agents, servants,

   employees, attorneys, and all other persons in active concert or participation with any of

   them, who receive actual notice of this Order by personal service or otherwise, whether

   acting directly or through any trust, corporation, subsidiary, division, or other device, are

   hereby temporarily restrained and enjoined from:

          A.     Failing to create and maintain books, records, accounts, bank statements,

   current accountants' reports, general ledgers, general journals, cash receipt ledgers,

   cash disbursement ledgers and source documents, documents indicating title to real or

   personal property, and any other data which, in reasonable detail, accurately, fairly and

   completely reflect the incomes, disbursements, transactions, dispositions, and uses of

   the Defendants' assets;

          B.     Destroying, erasing, mutilating, concealing, altering, transferring, or

   otherwise disposing of, in any manner, directly or indirectly, any documents, including

   electronically stored materials, that relate in any way to the business practices or

   business or personal finances of Defendants; to the business practices or finances of

   entities directly or indirectly under the control of Defendants; or to the business




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   practices or finances of entities directly or indirectly under common control with any

   other Defendant; and

          C.     Creating, operating, or exercising any control over any new business

   entity, whether newly formed or previously inactive, including any partnership, limited

   partnership, joint venture, sole proprietorship, or corporation, without first providing

   Plaintiff with a written statement disclosing: (1) the name of the business entity; (2) the

   address, telephone number, email address, and website address of the business entity;

   (3) the names of the business entity's officers, directors, principals, managers, and

   employees; and (4) a detailed description of the business entity's intended activities.

            v.      PROHIBITION ON DISCLOSING CUSTOMER INFORMATION

          IT IS FURTHER ORDERED that Defendants, and their officers, agents, servants,

   employees, attorneys, and all other persons in active concert or participation with any of

   them, who receive actual notice of this Order by personal service or otherwise, whether

   acting directly or through any trust, corporation, subsidiary, division, or other device, are

   hereby temporarily restrained and enjoined from:

          A.     Selling, renting, leasing, transferring, or otherwise disclosing the name,

   address, birth date, telephone number, email address, Social Security number, Social

   Insurance number, credit card number, bank account number, or other financial or

   identifying personal information of any person from whom or about whom any

   Defendant obtained such information in connection with activities alleged in Plaintiff's

   Complaint; and

          B.      Benefiting from or using the name, address, birth date, telephone

   number, email address, Social Security number, Social Insurance number, credit card



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   number, bank account number, or other financial or identifying personal information of

   any person from whom or about whom any Defendant obtained such information in

   connection with activities alleged in Plaintiff's Complaint.

          Provided, however, that Defendants may disclose such financial or identifying

   personal information to a law enforcement agency or as required by any law, regulation,

   or court order.

                               VI.     FINANCIAL STATEMENTS

          IT IS FURTHER ORDERED that each Defendant shall serve upon counsel for

   Plaintiff, no later than five (5) business days after service of this Order, a completed

   financial statement accurate as of the date of entry of this Order, on the forms served on

   Defendants with this Order for Individual Defendants (Attachment A) and for Corporate

   Defendants (Attachment B), as the case may be, signed under penalty of perjury.

          The financial statements shall include assets held outside the territory of the

   United States, shall be accurate as of the date of the entry of this Order, and shall be

   verified under oath. Defendants shall attach to these completed financial statements

   copies of all local, state, provincial, and federal income and property tax returns, with

   attachments and schedules, as called for by the instructions to the financial statements.

                                VII.   TEMPORARY RECEIVER

          A.     APPOINTMENT OF TEMPORARY RECEIVER

          IT IS FURTHER ORDERED that Robb Evans & Associates LLC (see DE 13) is

   appointed Temporary Equity Receiver ("Receiver") for Receivership Defendants and

   any of their affiliates, subsidiaries, divisions, or sales or customer service operations,

   wherever located, with the full power of an equity receiver. The Receiver shall be the



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   agent of this Court, and solely the agent of this Court, in acting as Receiver under this

   Order. The Receiver shall be accountable directly to this Court. The Receiver shall

   comply with all Local Rules of this Court governing receivers.

          B.     RECEIVERSHIP DUTIES

          IT IS FURTHER ORDERED that the Receiver is directed and authorized to

   accomplish the following:

                 1.     Assume full control of the Receivership Defendants by removing,

   as the Receiver deems necessary or advisable, any director, officer, employee,

   independent contractor, or agent of the Receivership Defendants, including any

   Individual Defendant, from control of, management of, or participation in, the affairs of

   the Receivership Defendants;

                 2.     Take exclusive custody, control, and possession of all assets and

   documents of, or in the possession, custody, or under the control of, the Receivership

   Defendants, wherever situated. The Receiver shall have full power to divert mail and to

   sue for, collect, receive, take in possession, hold, and manage all assets and

   documents of the Receivership Defendants and other persons or entities whose

   interests are now held by or under the direction, possession, custody, or control of the

   Receivership Defendants. Provided, however, that the Receiver shall not attempt to

   collect any amount from a consumer or to allow the Receivership Defendants to

   continue to debit or otherwise charge a consumer's account, if the Receiver believes the

   consumer was a victim of the deceptive acts or practices alleged in the Complaint in this

   matter;




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                 3.     Use any means necessary to take possession of and to secure all

   areas of the business premises of the Receivership Defendants. Such steps may

   include, but are not limited to, the following as the Receiver deems necessary or

   advisable: (a) serving this Order; (b) completing a written inventory of all receivership

   assets; (c) obtaining pertinent information from all employees and other agents of the

   Receivership Defendants, including, but not limited to, the name, home address, Social

   Security number, job description, method of compensation, and all accrued and unpaid

   commissions and compensation of each such employee or agent; (d) videotaping all

   portions of the locations; (e) securing the locations by changing the locks and

   disconnecting any computer modems or other means of access to the computer or

   other records maintained at the locations; (f) requiring any persons present on the

   premises at the time this Order is served to leave the premises, to provide the Receiver

   with proof of identification, or to demonstrate to the satisfaction of the Receiver that

   such persons are not removing from the premises documents or assets of the

   Receivership Defendants; and/or (g) employ the assistance of law enforcement officers

   as the Receiver deems necessary to implement the provisions of this Order;

                 4.     Conserve, hold, and manage all receivership assets, and perform

   all acts necessary or advisable to preserve the value of those assets, in order to prevent

   any irreparable loss, damage, or injury to consumers or to creditors of the Receivership

   Defendants, including, but not limited to, obtaining an accounting of the assets and

   preventing transfer, withdrawal, or misapplication of assets, and including the authority

   to liquidate or close out any open securities or commodity futures positions of the

   Receivership Defendants;



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                 5.     Enter into contracts and purchase insurance as advisable or

   necessary;

                 6.     Prevent the inequitable distribution of assets and determine, adjust,

   and protect the interests of consumers and creditors who have transacted business with

   the Receivership Defendants;

                 7.     Manage and administer the business of the Receivership

   Defendants until further order of this Court by performing all incidental acts that the

   Receiver deems to be advisable or necessary, which includes retaining, hiring, or

   dismissing any employees, independent contractors, or agents;

                 8.     Choose, engage, and employ attorneys, accountants, appraisers,

   and other independent contractors and technical specialists, as the Receiver deems

   advisable or necessary in the performance of duties and responsibilities under the

   authority granted by this Order;

                 9.     Make payments and disbursements from the receivership estate

   that are necessary or advisable for carrying out the directions of, or exercising the

   authority granted by, this Order. The Receiver shall apply to the Court for prior approval

   of any payment of any debt or obligation incurred by the Receivership Defendants prior

   to the date of entry of this Order, except payments that the Receiver deems necessary

   or advisable to secure assets of the Receivership Defendants, such as rental payments;

                 10.    Determine and implement the manner in which the Receivership

   Defendants will comply with, and prevent violations of, this Order and all other

   applicable laws;




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                 11.    Institute, compromise, adjust, appear in, intervene in, or become

   party to such actions or proceedings in state, federal or foreign courts that the Receiver

   deems necessary and advisable to preserve or recover the assets of the Receivership

   Defendants or that the Receiver deems necessary and advisable to carry out the

   Receiver's mandate under this Order;

                 12.    Defend, compromise, adjust, or otherwise dispose of any or all

   actions or proceedings instituted in the past or in the future against the Receiver in his

   or her role as Receiver, or against the Receivership Defendants that the Receiver

   deems necessary and advisable to preserve the assets of the Receivership Defendants

   or that the Receiver deems necessary and advisable to carry out the Receiver's

   mandate under this Order;

                 13.    Continue and conduct the business of the Receivership Defendants

   in such manner, to such extent, and for such duration as the Receiver may in good faith

   deem to be necessary or appropriate to operate the business profitably and lawfully, if

   at all; provided, however, that the continuation and conduct of the business shall be

   conditioned upon the Receiver's good faith determination that the business can be

   lawfully operated at a profit using the assets of the receivership estate;

                 14.    Issue subpoenas to obtain documents and records pertaining to the

   receivership, and conduct discovery in this action on behalf of the receivership estate;

                 15.    Open one or more bank accounts as designated depositories for

   funds of the Receivership Defendants. The Receiver shall deposit all funds of the

   Receivership Defendants in such a designated account and shall make all payments

   and disbursements from the receivership estate from such an account;



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                 16.        Maintain accurate records of all receipts and expenditures that he

   or she makes as Receiver;

                 17.        Cooperate with reasonable requests for information or assistance

   from any state or federal law enforcement agency; and

                 18.        File reports with the Court on a timely and reasonable basis.

          C.     COOPERATION WITH THE RECEIVER

          IT IS FURTHER ORDERED that:

                 1.         Defendants and their officers, agents, servants, employees, and

   attorneys, and all other persons in active concert or participation with any of them, who

   receive actual notice of this Order by personal service or otherwise, whether acting

   directly or through any trust, corporation, subsidiary, division, or other device, shall fully

   cooperate with and assist the Receiver. This cooperation and assistance shall include,

   but not be limited to:

                            a.    Providing any information to the Receiver that the Receiver

   deems necessary to exercising the authority and discharging the responsibilities of the

   Receiver under this Order;

                            b.     Providing any password required to access any computer,

   electronic file, or telephonic data in any medium; or

                            c.    Advising all persons who owe money to the Receivership

   Defendants that all debts should be paid directly to the Receiver.

                 2.         Defendants and their officers, agents, servants, employees, and

   attorneys, and all other persons in active concert or participation with any of them, who

   receive actual notice of this Order by personal service or otherwise, whether acting




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   directly or through any trust, corporation, subsidiary, division, or other device, are

   hereby restrained and enjoined from directly or indirectly:

                        a.     Transacting any of the business of the Receivership

   Defendants;

                        b.     Destroying, secreting, defacing, transferring, or otherwise

   altering or disposing of any documents of the Receivership Defendants, including, but

   not limited to, books, records, accounts, writings, drawings, graphs, charts,

   photographs, audio and video recordings, computer records, and other data

   compilations, electronically stored records, or any other records of any kind or nature;

                        c.     Transferring, receiving, altering, selling, encumbering,

   pledging, assigning, liquidating, or otherwise disposing of any assets owned, controlled,

   or in the possession or custody of, or in which an interest is held or claimed by, the

   Receivership Defendants, or the Receiver;

                        d.      Excusing debts owed to the Receivership Defendants;

                        e.      Failing to notify the Receiver of any asset, including

   accounts, of the Receivership Defendants held in any name other than the name of the

   Receivership Defendants, or by any person or entity other than the Receivership

   Defendants, or failing to provide any assistance or information requested by the

   Receiver in connection with obtaining possession, custody, or control of such assets;

                        f.      Doing any act or refraining from any act whatsoever to

   interfere with the Receiver's taking custody, control, possession, or managing of the

   assets or documents subject to this receivership; or to harass or interfere with the

   Receiver in any way; or to interfere in any manner with the exclusive jurisdiction of this




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   Court over the assets or documents of the Receivership Defendants; or to refuse to

   cooperate with the Receiver or the Receiver's duly authorized agents in the exercise of

   their duties or authority under any Order of this Court; or

                        g.     Filing, or causing to be filed, any petition on behalf of the

   Receivership Defendants for relief under the United States Bankruptcy Code, 11 U.S.C.

   § 101, et seq., without prior permission from this Court.

          D.     DELIVERY OF RECEIVERSHIP PROPERTY

          IT IS FURTHER ORDERED that:

                 1.     Immediately upon service of this Order upon them, or within such

   period as may be permitted by the Receiver, Defendants or any other person or entity

   shall transfer or deliver possession, custody, and control of the following to the

   Receiver:

                        a.     All assets of the Receivership Defendants, including assets

   subject to repatriation pursuant to Section IX, infra;

                        b.     All documents of the Receivership Defendants, including, but

   not limited to, books and records of accounts, all financial and accounting records,

   balance sheets, income statements, bank records (including monthly statements,

   canceled checks, records of wire transfers, and check registers), client lists, title

   documents and other papers;

                        c.      All assets belonging to members of the public now held by

   the Receivership Defendants; and

                        d.      All keys, codes, and passwords necessary to gain or to

   secure access to any assets or documents of the Receivership Defendants, including,




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   but not limited to, access to their business premises, means of communication,

   accounts, computer systems, mail boxes, storage units, or other property. This includes

   providing the necessary means to gain access to at least the following commercial mail

   boxes:

                        (i)      P.O. Box 25220, Miami, FL 33102-5220;

                        (ii)     P.O. Box 4667, New York, NY 10163-4667;

                        (iii)    P.O. Box 409010, Ft. Lauderdale, FL 33340-9010;

                        (iv)     P.O. Box 409011, Ft. Lauderdale, FL 33340-9011;

                        (v)      6278 N. Federal Hwy, Ste. 446, Ft. Lauderdale, FL 33308;

                        (vi)     2805 E. Oakland Park, #252, Ft. Lauderdale, FL 33306;

                        (vii)    757 SE 17th St., Ft. Lauderdale, FL 33316;

                        (viii)   21218 St. Andrews Blvd., #713, Boca Raton, FL 33433; and

                        (ix)     2881 E. Oakland Park Blvd., Ste. 206, Ft. Lauderdale, FL

                                 33306.

                 2.     In the event any person or entity fails to deliver or transfer any

   receivership asset or document or otherwise fails to comply with any provision of this

   Section, the Receiver may file ex parte an Affidavit of Non-Compliance regarding the

   failure. Upon filing of the affidavit, the Court may authorize, without additional process or

   demand, Writs of Possession or Sequestration or other equitable writs requested by the

   Receiver. The writs shall authorize and direct the United States Marshal or any sheriff or

   deputy sheriff of any county, or any other federal or state law enforcement officer, to

   seize the asset, document, or other thing and to deliver it to the Receiver.




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          E.      TRANSFER OF FUNDS TO THE RECEIVER

          IT IS FURTHER ORDERED that, upon service of a copy of this Order, all

   financial institutions, finance companies, commercial lending companies, credit card

   processing agents or agents providing electronic funds transfer services or automated

   clearing house processing, brokerage houses, escrow agents, money market or mutual

   funds, title companies, commodity futures merchants, commodity trading companies,

   precious metal dealers, trustees, or other financial institutions or depositories of any

   kind, shall cooperate with all reasonable requests of the Receiver relating to

   implementation of this Order, including transferring funds at his or her direction and

   producing records related to the assets of the Receivership Defendants.

          F.      STAY OF ACTIONS

          IT IS FURTHER ORDERED that:

                  1.     Except by leave of this Court, during pendency of the receivership

   ordered herein, Defendants and all other persons and entities be and hereby are stayed

   from taking any action to establish or enforce any claim, right, or interest for, against, on

   behalf of, in, or in the name of, the Receivership Defendants, any of their subsidiaries,

   affiliates, partnerships, assets, documents, or the Receiver or the Receiver's duly

   authorized agents acting in their capacities as such, including, but not limited to, the

   following actions:

                         a.    Commencing, prosecuting, continuing, entering, or enforcing

   any suit or proceeding, except that such actions may be filed to toll any applicable

   statute of limitations;




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                          b.    Accelerating the due date of any obligation or claimed

   obligation; filing, perfecting or enforcing any lien; taking or attempting to take

   possession, custody, or control of any asset; attempting to foreclose, forfeit, alter, or

   terminate any interest in any asset, whether such acts are part of a judicial proceeding,

   are acts of self-help, or otherwise, or setoff of any debt owing to the Receivership

   Defendants that arose before the date of this Order against any claim against the

   Receivership Defendants;

                          c.    Executing, issuing, serving, or causing the execution,

   issuance or service of, any legal process, including, but not limited to, attachments,

   garnishments, subpoenas, writs of replevin, writs of execution, or any other form of

   process whether specified in this Order or not; or

                          d.    Doing any act or thing whatsoever to interfere with the

   Receiver taking custody, control, possession, or management of the assets or

   documents subject to this receivership, or to harass or interfere with the Receiver in any

   way, or to interfere in any manner with the exclusive jurisdiction of this Court over the

   assets or documents of the Receivership Defendants.

                 2.       This Order does not stay:

                          a.    The commencement or continuation of a criminal action or

   proceeding;

                          b.    The commencement or continuation of an action or

   proceeding by a governmental unit to enforce such governmental unit's police or

   regulatory power; or




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                        c.     The enforcement of a judgment, other than a money

   judgment, obtained in an action or proceeding by a governmental unit to enforce such

   governmental unit's police or regulatory power.

                 3.     Except as otherwise provided in this Order, all persons and entities

   in need of documentation from the Receiver shall in all instances first attempt to secure

   such information by submitting a formal written request to the Receiver, and, if such

   request has not been responded to within thirty (30) days of receipt by the Receiver,

   any such person or entity may thereafter seek an Order of this Court with regard to the

   relief requested.

          G.     COMPENSATION OF RECEIVER

          IT IS FURTHER ORDERED that the Receiver and all personnel hired by the

   Receiver as herein authorized, including counsel to the Receiver and accountants, are

   entitled to reasonable compensation for the performance of duties pursuant to this

   Order and for the cost of actual out-of-pocket expenses incurred by them, from the

   assets now held by, or in the possession or control of, or which may be received by the

   Receivership Defendants. The Receiver shall file with the Court and serve on the

   parties periodic requests for the payment of such reasonable compensation, with the

   first such request filed no more than sixty (60) days after the date of this Order. The

   Receiver shall not increase the hourly rates used as the bases for such fee applications

   without prior approval of the Court.

          H.     RECEIVER'S BOND

          IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this

    Court a bond in the sum of $10,000.00 with sureties to be approved by the Court,



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   conditioned that the Receiver will well and truly perform the duties of the office and

   abide by and perform all acts the Court directs.

                         VIII.   ACCESS TO BUSINESS PREMISES

          IT IS FURTHER ORDERED that Defendants, and their officers, agents, servants,

   employees, and attorneys, and all other persons in active concert or participation with

   any of them, who receive actual notice of this Order by personal service or otherwise,

   whether acting directly or through any trust, corporation, subsidiary, division, or other

   device, and the Receiver, shall allow Plaintiff's representatives, agents, and assistants,

   as well as the Receivership Defendants' representatives, and the Individual Defendants

   themselves, reasonable access to all of Receivership Defendants' business premises,

   or any other premises where the Receivership Defendants conduct business or

   customer service operations. Such locations include, without limitation, 3363 NE 163

   Street, Suite 802, North Miami Beach, FL 33160.

          The purpose of this access shall be to inspect and copy any and all books,

   records, documents, accounts, and other property owned by, or in the possession of,

   the Receivership Defendants or their agents. The Receiver shall have the discretion to

   determine the time, manner, and reasonable conditions of such access. Plaintiff may

   remove materials from the Receivership Defendants' business premises to inspect,

   inventory, and copy such materials. Plaintiff shall return materials so removed within five

   (5) business days of completing said inventory and copying. Plaintiff's access to

   Defendants' documents pursuant to this Section shall not provide grounds for any

   Defendant to object to any subsequent request for documents served by Plaintiff.




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                    IX.    REPATRIATION OF ASSETS AND DOCUMENTS

          IT IS FURTHER ORDERED that Defendants shall:

          A.       Within three (3) business days following service of this Order, take such

   steps as are necessary to repatriate to the territory of the United States of America all

   documents and assets that are located outside such territory and are held by or for

   Defendants or are under Defendants' direct or indirect control, jointly, severally, or

   individually;

          B.       Within three (3) business days following service of this Order, provide

   Plaintiff with a full accounting of all documents and assets that are located outside of the

   territory of the United States of America or that have been transferred to the territory of

   the United States of America pursuant to Subsection A above and are held by or for any

   Defendant or are under any Defendant's direct or indirect control, jointly, severally, or

   individually, including the addresses and names of any foreign or domestic financial

   institution or other entity holding the documents and assets, along with the account

   numbers and balances;

          C.       Hold and retain all such documents and assets and prevent any transfer,

   disposition, or dissipation whatsoever of any such documents or assets; and

          D.       Within three (3) business days following service of this Order, provide

   Plaintiff access to Defendants' records and documents held by financial institutions or

   other entities outside the territory of the United States of America, by signing and

   delivering to Plaintiff's counsel the Consent to Release of Financial Records attached to

   this Order as Attachment C.




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                        X.      INTERFERENCE WITH REPATRIATION

          IT IS FURTHER ORDERED that Defendants are hereby temporarily restrained

   and enjoined from taking any action, directly or indirectly, which may result in the

   encumbrance or dissipation of foreign assets, or in the hindrance of the repatriation

   required by the preceding Section IX of this Order, incloding, but not limited to:

          A.     Sending any statement, letter, facsimile, email or wire transmission, or

   telephoning or engaging in any other act, directly or indirectly, that results in a

   determination by a foreign trustee or other entity that a "duress" event has occurred

   under the terms of a foreign trust agreement, until such time that assets have been fully

   repatriated pursuant to the preceding Section of this Order; and

          8.     Notifying any trustee, protector or other agent of any foreign trust or other

   related entities of either the existence of this Order, or of the fact that repatriation is

   required pursuant to a Court Order, until such time as assets have been fully repatriated

   pursuant to the preceding Section of this Order.

                                 XI.    EXPEDITED DISCOVERY

          IT IS FURTHER ORDERED that pursuant to Federal Rules of Civil Procedure

   30(a), 31(a), 34, and 45, and notwithstanding the provisions of Federal Rules of Civil

   Procedure 26(d) and (f), 30(a)(2)(A), and 31 (a)(2)(A), the parties are granted leave, at

   any time after entry of this Order to:

          A.     Take the deposition of any person, whether or not a party, for the purpose

   of discovering the nature, location, status, and extent of the assets of Defendants, and

   Defendants' affiliates and subsidiaries; the nature and location of documents reflecting

   the business transactions of Defendants, and Defendants' affiliates and subsidiaries; the



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   location of any premises where Defendants, directly or through any third party, conduct

   business operations; the Defendants' whereabouts; and/or the applicability of any

   evidentiary privileges to this action; and

          B.     Demand the production of documents from any person, whether or not a

   party, relating to the nature, status, and extent of the assets of Defendants, and

   Defendants' affiliates and subsidiaries; the nature and location of documents reflecting

   the business transactions of Defendants, and Defendants' affiliates and subsidiaries; the

   location of any premises where Defendants, directly or through any third party, conduct

   business operations; the Defendants' whereabouts; and/or the applicability of any

   evidentiary privileges to this action.

          Three (3) days' notice shall be deemed sufficient for any such deposition, five (5)

   days' notice shall be deemed sufficient for the production of any such documents, and

   twenty-four (24) hours' notice shall be deemed sufficient for the production of any such

   documents that are maintained or stored only as electronic data. The provisions of this

   Section shall apply both to parties to this case and to non-parties. The limitations and

   conditions set forth in Federal Rules of Civil Procedure 30(a)(2)(A)(ii) and 31 (a)(2)(A)(ii)

   regarding subsequent depositions of an individual shall not apply to depositions taken

   pursuant to this Section. Any such depositions taken pursuant to this Section shall not

    be counted toward any limit on the number of depositions under the Federal Rules of

   Civil Procedure, including those set forth in Federal Rules of Civil Procedure 30(a)(2)(A)

    and 31(a)(2)(A). Service of discovery upon a party, taken pursuant to this Section, shall

    be sufficient if made through the means described in Section XV of this Order.




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                    XII.    DISTRIBUTION OF ORDER BY DEFENDANTS

          IT IS FURTHER ORDERED that Defendants shall immediately provide a copy of

   this Order to each of their corporations, subsidiaries, affiliates, divisions, directors,

   officers, agents, partners, successors, assigns, employees, attorneys, agents,

   representatives, sales entities, sales persons, telemarketers, independent contractors,

   and any other persons in active concert or participation with them. Within five (5)

   calendar days following service of this Order, each Defendant shall file with this Court

   and serve on Plaintiff, an affidavit identifying the names, titles, addresses, and

   telephone numbers of the persons that Defendants have served with a copy of this

   Order in compliance with this provision.

            XIII.   EXPIRATION DATE OF TEMPORARY RESTRAINING ORDER

          IT IS FURTHER ORDERED that the Temporary Restraining Order granted

   herein shall expire on June 2, 2015, at 5:00 p.m., Eastern Time, unless within such time

   the Order, for good cause shown, is extended, or unless, as to any Defendant, the

   Defendant consents that it should be extended for a longer period of time.

                                XIV.   ORDER TO SHOW CAUSE

          IT IS FURTHER ORDERED that each Defendant shall appear before this Court

   on June 2, 2015, at 9:00 a.m. at the United States Courthouse, United States District

   Court for the Southern District of Florida, Fort Lauderdale, Courtroom 203E, to show

   cause, if any, why this Court should not enter a preliminary injunction, pending final

   ruling on the Complaint, against said Defendants enjoining them from further violations

   of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a); continuing the freeze of their assets;




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   making the temporary Receiver's appointment permanent; and imposing such additional

   relief as may be appropriate.

             XV.    SERVICE OF PLEADINGS, MEMORANDA, AND EVIDENCE

          IT IS FURTHER ORDERED that Defendants shall file with the Court and serve

   on Plaintiff's counsel any answering affidavits, pleadings, motions, expert reports or

   declarations, and/or legal memoranda no later than four (4) business days prior to the

   hearing on Plaintiff's request for a preliminary injunction.

          Plaintiff may file responsive or supplemental pleadings, materials, affidavits, or

   memoranda with the Court and serve the same on counsel for Defendants no later than

   one (1) day prior to the preliminary injunction hearing in this matter, provided that

   service shall be performed by personal or overnight delivery, by electronic filing, by

   electronic mail, or by facsimile, and documents shall be delivered so that they shall be

   received by the other parties no later than 4:00 p.m. (Eastern Time) on the appropriate

   dates listed in this Section.

            XVI.   MOTION FOR LIVE TESTIMONY; WITNESS IDENTIFICATION

          IT IS FURTHER ORDERED that the question of whether this Court should enter

   a preliminary injunction pursuant to Rule 65 of the Federal Rules of Civil Procedure

   enjoining the Defendants during the pendency of this action shall be resolved on the

   pleadings, declarations, exhibits, and memoranda filed by, and oral argument of, the

   parties. Live testimony shall be heard only on further order of this Court or on motion

   filed with the Court and served on counsel for the other parties at least four (4) business

   days prior to the preliminary injunction hearing in this matter. Such motion shall set forth

   the name, address, and telephone number of each proposed witness, a detailed



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   summary or affidavit revealing the substance of each proposed witness's expected

   testimony, and an explanation of why the taking of live testimony would be helpful to this

   Court. Any papers opposing a timely motion to present live testimony or to present live

   testimony in response to another party's timely motion to present live testimony shall be

   filed with this Court and served on the other parties at least two (2) business days prior

   to the preliminary injunction hearing in this matter, provided that service shall be

   performed by personal or overnight delivery, by electronic filing, by electronic mail, or by

   facsimile, and documents shall be delivered so that they shall be received by the other

   parties no later than 4:00 p.m. (Eastern Time) on the appropriate dates provided in this

   Section.

          Provided further, however, that an evidentiary hearing on Plaintiff's request for a

   preliminary injunction is not necessary unless Defendants demonstrate that they have,

   and intend to introduce, evidence that raises a genuine and material factual issue.

                                XVII. SERVICE OF THIS ORDER

          IT IS FURTHER ORDERED that copies of this Order may be distributed by

   United States First Class Mail, overnight delivery, facsimile, electronic mail, or

   personally, by agents or employees of Plaintiff, by agents or employees of the Receiver,

   by any law enforcement agency, or by private process server, upon any person,

   financial institution, or other entity that may have possession or control of any property,

   property right, document, or asset of any Defendant, or that may be subject to any

   provision of this Order. Service upon any branch or office of any financial institution or

   entity shall effect service upon the entire financial institution or entity.




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                         XVIII. CONSUMER REPORTING AGENCIES

         IT IS FURTHER ORDERED that, pursuant to Section 604 of the Fair Credit

   Reporting Act, 15 U.S.C. § 1681b, any consumer reporting agency may furnish a

   consumer or credit report concerning any Defendant to Plaintiff.

              XIX.     CORRESPONDENCE WITH AND NOTICE TO PLAINTIFF

          IT IS FURTHER ORDERED that, for purposes of this Order, all correspondence

   and pleadings to the Commission shall be addressed to:

                              GuyG. Ward

                              Federal Trade Commission

                              55 West Monroe Street, Suite 1825

                              Chicago, Illinois 60603

                              (312) 960-5612 [phone]

                              (312) 960-5600 [facsimile]

                           XX.    RETENTION OF JURISDICTION

          IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter

   for all purposes.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

   Florida, this 19th day of May, 2015, at 2:30 p.m.




   Copies provided to:
   Counsel of record via electronic mail




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                     PLAINTIFF'S EXHIBIT 38 - 8
                             FTC v. InboundCall Experts
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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 14-81395-CIV-MARRA


    FEDERAL TRADE COMMISSION, and

    STA TE OF FLORIDA,

              Plaintiffs,

         V.

    Inbound Call Experts, LLC also d/b/a Advanced Tech
    Support, a limited liability company,

    Advanced Tech Supportco, LLC, a limited liability company,

    PC Vitalware, LLC, a limited liability company,
                                                                     Filed Under Seal
    Super PC Support, LLC, a limited liability company,

    Robert D. Deignan, individually and as an officer of Inbound
    Call Experts, LLC, Advanced Tech Supportco, LLC, PC
    Vitalware, LLC, and Super PC Support, LLC,

    Paul M. Herdsman, individually and as an officer of Inbound
    Call Experts, LLC, PC Vitalware, LLC, and Super PC
    Support, LLC,

    Justin M. Wright, individually and as an officer of Inbound
    Call Experts, LLC, PC Vitalware, LLC, and Super PC
    Support, LLC,

    PC Cleaner, Inc., a corporation,

    Netcom3 Global, Inc., a corporation,

    Netcom3, Inc. also d/b/a Netcom3 Software Inc., and

    Cashier Myricks, Jr. a/k/a Cashier Myrick, individually and as
    an officer of PC Cleaner, Inc., Netcom3 Global, Inc., and
    Netcom3, Inc.,

              Defendants.
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                               TEMPORARY RESTRAINING ORDER

           Plaintiffs, the Federal Trade Commission ("FTC" or the "Commission") and the State

    of Florida, Office of the Attorney General ("State of Florida"), have filed a Complaint for

    Permanent Injunction and Other Equitable Relief ("Complaint"), pursuant to Sections l 3(b)

    and 19 of the Federal Trade Commission Act ("FTC Act''), 15 U.S.C. §§ 53(b) and 57b, the

    Telemarketing and Consumer Fraud and Abuse Prevention Act ("Telemarketing Act"), 15

    U.S.C. §§ 6101-6108, and the Florida Deceptive and Unfair Trade Practices Act Chapter 501,

    Part II, Florida Statues ("FDUTPA"), and have moved ex parte for a temporary restraining

    order and for an order to show cause why a preliminary injunction should not be granted

    pursuant to Rule 65(b) of the Federal Rules of Civil Procedure against Defendants Inbound

    Call Experts, LLC also d/b/a Advanced Tech Support, Advanced Tech Supportco, LLC, PC

    Vitalware, LLC, Super PC Support, LLC, Robert D. Deignan, Paul M. Herdsman, Justin M.

    Wright, PC Cleaner, Inc., Netcom3 Global, Inc., Netcom3, Inc. also d/b/a Netcom3 Software

    Inc. and Cashier Myricks, Jr. (collectively, "Defendants").

                                         FINDINGS OF FACT

           The Court, having considered the Complaint, the ex parte motion for a temporary

    restraining order, declarations, exhibits, and the memorandum of points and authorities filed in

    support thereof, and being otherwise advised, finds that:

    1.     This Court has jurisdiction over the subject matter of this case and over all parties. Venue

           in this district is proper;

    2.     Plaintiffs have sufficiently demonstrated that the Defendants have engaged in and are

           likely to engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C.

           § 45(a), the FTC's Trade Regulation Rule entitled "Telemarketing Sales Rule" ("TSR"),




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          16 C.F.R. Part 310, and Section 501.204 of FDUTPA, and that the FTC and the State of

          Florida are therefore likely to prevail on the merits of this action;

    3.    Plaintiffs have sufficiently demonstrated that immediate and irreparable harm will result

          from the Defendants' ongoing violations of Section 5 of the FTC Act, the TSR and

          Section 501.204 of FDUTPA unless Defendants are restrained and enjoined by Order of

         this Court;

    4.    Plaintiffs have sufficiently demonstrated that immediate and irreparable damage to this

          Court's ability to grant effective final relief for consumers, including monetary

          restitution, rescission, disgorgement or refunds, will occur from the sale, transfer,

          destruction or other disposition or concealment by Defendants of their Assets,

          Documents, records or other evidence if Defendants are provided with advance notice of

          this Order, and that therefore, in accordance with Fed. R. Civ. P. 65(b), the interests of

         justice require that this Order be granted without prior notice to Defendants. Thus, there

          is good cause for relieving the FTC and the State of Florida of their duties to provide

          Defendants with prior notice of the FTC and the State of Florida's application;

    5.    Plaintiffs have sufficiently demonstrated the need for: (a) the appointment of a

          Temporary Receiver over the ICE Corporate Defendants (defined below); (b) the freezing

          of Defendants' Assets; and (c) ancillary relief ordered below;

    6.    Weighing the equities and considering Plaintiffs' likelihood of ultimate success on the

          merits, a temporary restraining order with an asset freeze, and other equitable relief is in

          the public interest; and

    7.    The FTC is an independent agency of the United States of America and no security is

          required of any agency of the United States for issuance of a temporary restraining order.




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            Fed. R. Civ. P. 65(c). Similarly, under Florida Rules of Civil Procedure and governing

            case law, no security is required for the State of Florida.

                                               DEFINITIONS

            For the purpose of this Temporary Restraining Order ("Order"), the following definitions

    shall apply:

        1. "Asset" means any legal or equitable interest in, right to, or claim to, any real, personal,

    or intellectual property including chattel, goods, instruments, equipment, fixtures, general

    intangibles, effects, leaseholds, contracts, mail or other deliveries, shares or stock, securities,

    inventory, checks, notes, accounts, credits, receivables (as those terms are defined in the Uniform

    Commercial Code), insurance policies, lines of credit, cash, trusts (including asset protection

    trusts), lists of consumer names and reserve funds or any other accounts associated with any

    payments processed by, or on behalf of, any Defendant, including such reserve funds held by

    payment processors, credit card processors, banks or other financial institutions.

       2. "Corporate Defendants" means, individually, collectively, or in any combination,

    Inbound Call Experts, LLC also d/b/a Advanced Tech Support, Advanced Tech Supportco, LLC,

    PC Vitalware, LLC, Super PC Support, LLC, PC Cleaner, Inc., Netcom3 Global, Inc. and

    Netcom3, Inc. also d/b/a Netcom3 Software Inc., and their subsidiaries, affiliates, successors,

    and assigns.

       3. "Defendants" means, individually, collectively, or in any combination, all of the

    Individual Defendants and the Corporate Defendants.

       4. "Document" includes writings, drawings, graphs, charts, photographs, audio and video

    recordings, computer records, and any other data compilations from which information can be

    obtained and translated, if necessary, through detection devices into reasonably usable form. A

    draft or non-identical copy is a separate document within the meaning of the term.



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        5.    "Financial Institution" means any bank, savings and loan institution, credit union, or

    any financial depository of any kind, including, but not limited to, any brokerage house, trustee,

    broker-dealer, escrow agent, title company, commodity trading company, or precious metal

    dealer.

        6. "FTC Act" means the Federal Trade Commission Act codified at 15 U.S.C. §§ 41-58.

        7. "ICE Corporate Defendants" means Inbound Call Experts, LLC, Advanced Tech

    Supportco, LLC, PC Vitalware, LLC and Super PC Support, LLC.

        8. "Individual Defendants" means Robert D. Deignan, Paul M. Herdsman, Justin M.

    Wright and Cashier Myricks, Jr.

        9. "PC Cleaner Corporate Defendants" means PC Cleaner, Inc., Netcom3 Global, Inc.

    and Netcom3, Inc.

        10. "Person" means a natural person, organization, or other legal entity, including a

    corporation, limited liability company, partnership, proprietorship, association, cooperative,

    government or governmental subdivision or agency, or any other group or combination acting as

    an entity.

        11. "Plaintiffs'' means the Federal Trade Commission and the State of Florida.

        12. "Receiver" or "Temporary Receiver'' means the temporary receiver appointed in

    Section XII of this Order and any deputy receivers that shall be named by the temporary

    receiver.

        13. "Receivership Defendants" means the ICE Corporate Defendants.

        14. "Representative" means Defendants' officers, agents, servants, successors, assigns,

    employees, and attorneys, and any other person or entity in active concert or participation with

    them, who receives actual notice of this Order by personal service or otherwise.




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        15. "Seller'' means any person who, in connection with a telemarketing transaction, provides,

    offers to provide, or arranges for others to provide goods or services to the customer in exchange

    for consideration, whether or not such person is under the jurisdiction of the Commission.

        16. "Tech Support Product or Service" means any plan, program or software, marketed to

    repair, maintain or improve a computer's performance or security, including registry cleaners,

    anti-virus programs and computer or software diagnostic services.

        17. "Telemarketer" means any person who, in connection with telemarketing, initiates or

    receives telephone calls to or from a customer or donor.

        18. "Telemarketing" means any plan, program, or campaign that is conducted to induce the

    purchase of goods or services or a charitable contribution by use of one or more telephones.

        19. "Telemarketing Sales Rule" or "TSR" means the Telemarketing Sales Rule set forth in

    16 C.F.R. Part 310.

                                                           I.

                               PROHIBITED MISREPRESENTATIONS

           IT IS HEREBY ORDERED that Defendants and their Representatives, whether acting

    directly or indirectly, in connection with the marketing, advertising, promotion, distribution,

    offering for sale, or sale of any goods or services, are hereby temporarily restrained and enjoined

    from misrepresenting, either orally or in writing, expressly or by implication that they have

    identified problems on consumers' computers that will affect the performance or security of the

    consumers' computers.


                                                      II.

                     CONDUCT PROHIBITIONS REGARDING MARKETING

           IT IS HEREBY ORDERED that Defendants and their Representatives, whether acting

    directly or indirectly, in connection with the marketing, advertising, promotion, distribution,

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    offering for sale, or sale of any goods or services, are hereby temporarily restrained and enjoined

    from:

            A.     Using any false or misleading statement to induce any person to pay for goods or

    services; or

            B.     Violating the Telemarketing Sales Rule, 16 C.F .R. Part 310, attached as Appendix

    A.

                                                    III.

                 PROHIBITION AGAINST CHARGING OR BILLING CONSUMERS

            IT IS FURTHER ORDERED that Defendants and their Representatives, whether acting

    directly or indirectly, are temporarily restrained and enjoined from charging any consumer for

    the purchase of Defendants' Tech Support Products or Services.

                                                    IV.

                   SUSPENSION OF CORPORATE DEFENDANTS' WEB SITES

            IT IS FURTHER ORDERED that any party hosting any webpage or website for any

    Corporate Defendant and any domain registrar who has provided or is providing domain name

    registration services on any Corporate Defendant's behalf are hereby temporarily restrained and

    enjoined from failing to:

            A.     Immediately take whatever steps may be necessary to ensure that any webpage or

    website operated, in whole or in part, in connection with the Corporate Defendants' provision of

    Tech Support Products or Services cannot be accessed by the public; and

            B.     Prevent the destruction or erasure of any webpage or website operated, in whole

    or in part, on any Corporate Defendant's behalf, preserving such documents in the format in




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    which they are currently maintained, and prevent the destruction or erasure of all records relating

    to the Corporate Defendants.

                                                       V.

        DISCONNECTION OF CORPORATE DEFENDANTS' TELEPHONE NUMBERS

            IT IS FURTHER ORDERED that any telephone service provider for any Corporate

    Defendant, including but not limited to Voice Over Internet Protocol and telecommunications

    service providers and toll-free forwarding services, who has provided or is providing telephone

    services on any Corporate Defendant's behalf are hereby temporarily restrained and enjoined

    from failing to immediately take whatever steps may be necessary to ensure that any telephone

    or fax number operated, in whole or in part, in connection with the Corporate Defendants'

    provision of computer repair services, is disconnected from service.


                                                       VI.

                                               ASSET FREEZE

            IT IS FURTHER ORDERED that Defendants and their Representatives, whether acting

    directly or through any entity, corporation, subsidiary, division, director, manager, member,

    affiliate, independent contractor, accountant, financial advisor, or other device, are hereby

    temporarily restrained and enjoined from:

            A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

    concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

    lien or security interest or other interest in, or otherwise disposing any funds, real or personal

    property, accounts, contracts, shares of stock, lists of consumer names, or other Assets of any

    Corporate Defendant, or any interest therein, wherever located, including outside the United

    States, that are:

                        1. owned, controlled or held, in whole or in part, by any Corporate Defendant;

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               2. held, in whole or in part, for the direct or indirect benefit of, any Corporate

                    Defendant;

               3. in the actual or constructive possession of any Corporate Defendant;

               4. owned or controlled by, or in the actual or constructive possession of, or

                    otherwise held for the benefit of, any corporation, partnership, asset protection

                    trust, or other entity that is directly or indirectly owned, managed or controlled

                    by any of the Corporate Defendants. This includes, but is not limited to, any

                    Assets held by, for, or subject to access by, any of the Corporate Defendants

                    at any bank or savings and loan institution, or at/with any broker-dealer,

                    escrow agent, title company, insurance company, commodity trading

                    company, precious metal dealer, payment processor, credit card processor,

                    acquiring bank, merchant bank, independent sales organization, third-party

                    processor, payment gateway or other financial institution or depository of any

                    kind;

               5. held by an agent of any Corporate Defendant as a retainer for the agent's

                    provision of services to Defendants;

               6. held in any account for which any Corporate Defendant is, or was on the date

                    that this Order was signed, an authorized signor;

               7. is in the possession, custody, or control of any individual Defendant that is

                    owned by any Corporate Defendant or in which any Corporate Defendant has

                    any legal or equitable interest or claim; or

               8.   property of any kind, including cash, that is in the in the possession, custody,

                    or control of any individual Defendant which was transferred or received from




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                       any Corporate Defendant within thirty (30) days prior to the entry of this

                       Temporary Restraining Order.

             B.    Physically opening or causing to be opened any safe deposit boxes, commercial

    mail boxes, or storage facilities titled in the name of any Defendant, either individually or jointly,

    or subject to access by any Defendant, except as necessary to comply with Section XIV of this

    Order;

             C.    Incurring charges or cash advances on any credit or bank card issued in the name,

    individually or jointly, of any Corporate Defendant or any corporation or partnership. This

    includes, but is not limited to, any corporate bank card or corporate credit card account for which

    any Defendant is, or was on the date that this Order was signed, an authorized signor;

             D.    Obtaining a personal or secured loan encumbering the Assets of any Corporate

    Defendant; and

             E.    Incurring liens or other encumbrances on real property, personal property, or

    other Assets in the name, individually or jointly, of any Corporate Defendant.

                                                    VII.

                                     DUTIES OF ASSET HOLDERS

             IT IS FURTHER ORDERED that any financial or brokerage institution, credit card

    processor, payment processor, merchant bank, acquiring bank, independent sales organization,

    third-party processor, payment gateway, insurance company, business entity, or person served

    with a copy of this Order that (a) holds, controls, or maintains custody of any account, safe

    deposit box or Asset of any Corporate Defendant, (b) holds, controls, or maintains custody of

    any Asset associated with credits, debits or charges made on behalf of any Corporate Defendant,

    including reserve funds held by payment processors, credit card processors, payment merchant

    banks, acquiring banks, independent sales organizations, third-party processors, payment



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    gateways, insurance companies or other entities, or (c) has held, controlled, or maintained

    custody of any such account, safe deposit box or Asset at any time since the date of entry of this

    Order shall:

           A.      Hold and retain within its control and prohibit the withdrawal, removal,

    assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,

    conversion, sale, or other disposal of any such Assets, as well as all Documents or other property

    related to such Assets, except by further order of this Court;

           B.      Deny any person, except the Receiver acting pursuant to Section XIII of this

    Order, access to any safe deposit box, commercial mail box, or storage facility that is:

                   1.      titled in the name of any Corporate Defendant, either individually or

                           jointly; or

                   2.      otherwise subject to access by any Defendant;

           C.      Provide the FTC's counsel, State of Florida's counsel and the Receiver, within ten

    (10) business days ofreceiving a copy of this Order, a sworn statement setting forth:

                   1. the identification number of each account or Asset:

                        a) titled in the name, individually or jointly, of any of the Corporate

                           Defendants;

                        b) held on behalf of, or for the benefit of, any of the Corporate Defendants;

                           or

                        c) associated with credit or debit charges made on behalf of the Corporate

                           Defendants;

                   2. the balance of each such account, or a description of the nature and value of

                        each such Asset as of the close of business on the day on which this Order is

                        served, and, if the account or other Asset has been closed or removed, the date



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                       closed or removed, the total funds removed in order to close the account, and

                       the name of the person or entity to whom such account or other Asset was

                       remitted; and

                   3. the identification of any safe deposit box, commercial mail box, or storage

                       facility that is either titled in the name, individually or jointly, of any of the

                       Corporate Defendants, or is otherwise subject to access by any of the

                       Defendants; and

           D.      Upon request of the FTC, State of Florida, or the Receiver, promptly provide the

    FTC, State of Florida and the Receiver with copies of all records or other documentation

    pertaining to such account or Asset, including originals or copies of account applications,

    account statements, signature cards, checks, drafts, deposit tickets, transfers to and from the

    accounts, including wire transfers and wire transfer instructions, all other debit and credit

    instruments or slips, currency transaction reports, I 099 forms, and all logs and records pertaining

    to safe deposit boxes, commercial mail boxes and storage facilities.




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                                                     VIII.

                               INTERFERENCE WITH REPATRIATION

           IT IS FURTHER ORDERED that Defendants and their Representatives, whether acting

    directly or through any entity, corporation, subsidiary, division, director, manager, member,

    affiliate, independent contractor, accountant, financial advisor, or other device, are hereby

    temporarily restrained and enjoined from taking any action, directly or indirectly, which may

    result in the encumbrance or dissipation of foreign Assets.

                                                      IX.

                                    CONSUMER CREDIT REPORTS

           IT IS FURTHER ORDERED that pursuant to Section 604(1) of the Fair Credit

    Reporting Act, 15 U.S.C. § 168lb(l), any consumer reporting agency served with this Order

    shall promptly furnish consumer reports as requested concerning any Defendant to counsel for

    Plaintiffs. Plaintiffs may also directly access any Defendant's consumer report.

                                                      X.
                                 PRESERVATION OF RECORDS
                            AND REPORT OF NEW BUSINESS ACTIVITY

           IT IS FURTHER ORDERED that Defendants and their Representatives, as well as any

    document custodians receiving actual notice of this Order, whether acting directly or through any

    entity, corporation, subsidiary, division, director, manager, member, affiliate, independent

    contractor, accountant, financial advisor, or other device, are hereby temporarily restrained and

    enjoined from:


           A.        Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

    transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

    relate to: (I) the business, business practices, Assets, or business or personal finances of any


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    Defendant, (2) the business practices or finances of entities directly or indirectly under the

    control of any Defendant, or (3) the business practices or finances of entities directly or

    indirectly under common control with any other Defendant, including: any and all marketing

    materials, Internet pages, consumer complaints, call detail records, telephone logs, telephone

    scripts, contracts, correspondence, e-mail, corporate books and records, accounting data,

    financial statements, receipt books, ledgers, personal and business canceled checks and check

    registers, bank statements, calendars, appointment books, and tax returns;

           B.      Failing to create and maintain Documents that, in reasonable detail, accurately,

    fairly, and completely reflect Defendants' incomes, disbursements, transactions, and use of the

    Defendants' Assets; and

           C.      Creating, operating, or exercising any control over any new business entity,

    whether newly formed or previously inactive, including any partnership, limited partnership,

    joint venture, sole proprietorship, or corporation, without first providing counsel for the

    Commission with a written statement disclosing: ( 1) the name of the business entity; (2) the

    address and telephone number of the business entity; (3) the names of the business entity's

    officers, directors, principals, managers, and employees; and (4) a detailed description of the

    business entity's intended activities.

                                              XI.
                                    PROHIBITION ON RELEASE
                                   OF CUSTOMER INFORMATION

           IT IS FURTHER ORDERED that Defendants and their Representatives, whether acting

    directly or through any entity, corporation, subsidiary, division, director, manager, member,

    affiliate, independent contractor, accountant, financial advisor, or other device, are hereby

    temporarily restrained and enjoined from:




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             A.    Selling, renting, leasing, transferring, using, disclosing, or otherwise benefitting

    from the name, address, telephone number, credit card number, bank account number, e-mail

    address, or other identifying information of any person that Defendant obtained prior to entry of

    this Order in connection with any activity that pertains to the subject matter of the Complaint;

    and

             B.    Benefitting from or using the name, address, birth date, telephone number, e-mail

    address, Social Security number, Social Insurance number, credit card number, bank account

    number, or other financial or identifying personal information of any Person from whom or

    about whom any Defendant obtained such information in connection with any activity that

    pertains to the subject matter of this Order;

             PROVIDED, HOWEVER, that the Defendants may disclose such identifying

    information to any civil or criminal law enforcement agency or as required by any law,

    regulation, or court order.

                                                    XII.

                           APPOINTMENT OF TEMPORARY RECEIVER

             IT IS FURTHER ORDERED that Jeffrey C. Schneider is appointed temporary receiver

    for the Receivership Defendants and any of their affiliates, subsidiaries, divisions, or telephone

    sales, technical support or customer service operations, wherever located, with the full power of

    an equity receiver. The Receiver shall be the agent of this Court, and solely the agent of this

    Court, in acting as Receiver under this Order. The Receiver shall be accountable directly to this

    Court.

                                                    XIII.

                             RECEIVER'S DUTIES AND AUTHORITIES

             IT IS FURTHER ORDERED that the Receiver is authorized and directed to



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    accomplish the following:

           A.      Assume full control of the Receivership Defendants by removing, as the Receiver

    deems necessary or advisable, any director, officer, independent contractor, employee, or agent

    of any of the Receivership Defendants, including any Defendant, from control of, management

    of, or participation in, the affairs of the Receivership Defendants;

           B.      Take exclusive custody, control, and possession of all Assets and Documents of,

    or in the possession, custody, or under the control of, the Receivership Defendants, wherever

    situated. The Receiver shall have full power to divert mail and to sue for, collect, receive, take in

    possession, hold, and manage all Assets and Documents of the Receivership Defendants and

    other persons or entities whose interests are now under the direction, possession, custody, or

    control of, the Receivership Defendants. The Receiver shall assume control over the

    Receivership Defendants' income and profits therefrom and all sums of money now or hereafter

    due or owing to the Receivership Defendants. Provided, however, that the Receiver shall not

    attempt to collect any amount from a consumer if the Receiver believes the consumer was a

    victim of the deceptive acts or practices or other violations of law alleged in the Complaint in

    this matter, without prior Court approval;

           C.      Take all steps necessary to secure and take exclusive custody of each location

    from which the Receivership Defendants operate their businesses. Such steps may include, but

    are not limited to, any of the following, as the Receiver deems necessary or advisable:

    (1) serving this Order; (2) completing a written inventory of all Receivership Assets;

    (3) obtaining pertinent information from all employees and other agents of the Receivership

    Defendants, including the name, home address, Social Security Number, job description,

    company history, passwords or access codes, method of compensation, and all accrued and

    unpaid commissions and compensation of each such employee or agent; (4) photographing and



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    videotaping any or all portions of the location; (5) securing the location by changing the locks

    and disconnecting any internet access or other means of access to the computers, internet or

    records maintained at that location; and (6) requiring any persons present on the premises at the

    time this Order is served to leave the premises, to provide the Receiver with proof of

    identification, or to demonstrate to the satisfaction of the Receiver that such persons are not

    removing from the premises Documents or Assets of the Receivership Defendants. Law

    enforcement personnel, including police or sheriffs, may assist the Receiver in implementing

    these provisions in order to keep the peace and maintain security. If requested by the Receiver,

    the United States Marshal will provide appropriate and necessary assistance to the Receiver to

    implement this Order and is authorized to use any necessary and reasonable force to do so;

           D.      Conserve, hold, and manage all Assets of the Receivership Defendants, and

    perform all acts necessary or advisable to preserve the value of those Assets in order to prevent

    any irreparable loss, damage, or injury to consumers or creditors of the Receivership Defendants,

    including determining the available Assets and preventing the unauthorized transfer, withdrawal,

    or misapplication of Assets;

           E.      Enter into and cancel contracts, and purchase insurance as advisable or necessary;

           F.      Prevent the inequitable distribution of Assets and determine, adjust, and protect

    the interests of consumers and creditors who have transacted business with the Receivership

    Defendants;

           G.      Manage and administer the business of the Receivership until further order of this

    Court by performing all incidental acts that the Receiver deems to be advisable or necessary,

    which includes but is not limited to retaining, hiring, or dismissing any employees, independent

    contractors, or agents, provided that the Receiver shall suspend business operations of the




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    Receivership Defendants if, in the judgment of the Receiver, such operations cannot be

    continued legally or profitably;

           H.      Choose, engage, and employ attorneys, accountants, appraisers, and other

    independent contractors and technical specialists, as the Receiver deems advisable or necessary

    in the performance of duties and responsibilities under the authority granted by this Order;

           I.      Make payments and disbursements from the receivership estate that are necessary

    or advisable for carrying out the directions of, or exercising the authority granted by, this Order.

    The Receiver shall apply to the Court for prior approval of any payment of any debt or obligation

    incurred by the Receivership Defendants prior to the date of entry of this Order, except payments

    that the Receiver deems necessary or advisable to secure Assets of the Receivership Defendants,

    such as rental payments;

           J.      Suspend business operations of the Receivership Defendants if in the judgment of

    the Receiver, such operations cannot be continued legally and profitably;

           K.      Prevent the destruction or erasure of any web page or website registered to and

    operated, in whole or in part, by Receivership Defendants;

           L.      Take all steps necessary to ensure that any of the Receivership Defendants' web

    pages or websites relating to technical support cannot be accessed by the public, or are modified

    for consumer education and/or informational purposes;

           M.      Take all steps necessary to ensure that any telephone numbers associated with the

    Receivership Defendants cannot be accessed by the public, or are answered solely to provide

    consumer education or information regarding the status of operations;

           N.      Institute, compromise, adjust, appear in, intervene in, or become party to such

    actions or proceedings in state, federal or foreign courts or arbitration proceedings as the

    Receiver deems necessary and advisable to preserve or recover the Assets of the Receivership



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    Defendants, or that the Receiver deems necessary and advisable to carry out the Receiver's

    mandate under this Order, including actions challenging fraudulent or voidable transfers;

            0.     Defend, compromise, adjust, or otherwise dispose of any or all actions or

    proceedings instituted in the past or in the future against the Receiver in his role as Receiver, or

    against the Receivership Defendants, as the Receiver deems necessary and advisable to preserve

    the Assets of the Receivership Defendants, or as the Receiver deems necessary and advisable to

    carry out the Receiver's mandate under this Order;

            P.     Issue subpoenas to obtain Documents and records pertaining to the receivership,

    and conduct discovery in this action on behalf of the receivership estate;

            Q.     Open one or more bank accounts as designated depositories for funds of the

    Receivership Defendants. The Receiver shall deposit all funds of the Receivership Defendants in

    such a designated account and shall make all payments and disbursements from the Receivership

    estate from such an account. The Receiver shall serve copies of monthly account statements on

    all parties;

            R.     Maintain accurate records of all receipts and expenditures incurred as Receiver;

            S.     Allow the Plaintiffs' representatives, agents, and assistants, as well as

    Defendants' Representatives and Defendants themselves, reasonable access to the premises of

    the Receivership Defendants, or any other premises where the Receivership Defendants conduct

    business or telephone sales operations. The purpose of this access shall be to inspect and copy

    any and all books, records, Documents, accounts, and other property owned by, or in the

    possession of, the Receivership Defendants or its agents. The Receiver shall have the discretion

    to determine the time, manner, and reasonable conditions of such access;

            T.     Allow the Plaintiffs' representatives, agents, and assistants, as well as

    Defendants' Representatives and Defendants themselves, reasonable access to Documents in the



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    possession, custody, or control of the Receivership Defendants, or on their behalf, including, but

    not limited to, books, records, tapes, discs, accounting data, checks, correspondence, forms,

    advertisements, brochures, manuals, electronically stored data, banking records, customer lists,

    customer files, invoices, telephone records, ledgers and payroll records, and any other Document

    or record that relates to the business practices or finances of the Receivership Defendants,

    including electronically stored information (such as electronic mail);

           U.       Cooperate with reasonable requests for information or assistance from any state or

    federal law enforcement agency; and

           V.       File timely reports with the Court at reasonable intervals, or as otherwise directed

    by the Court.

                                                      XIV.

                    TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

           IT IS FURTHER ORDERED that the Defendants, their Representatives, and any other

    Person with possession, custody or control of property of, or records relating to, the Receivership

    Defendants shall, upon notice of this Order by personal service or otherwise, immediately notify

    the Receiver of, and, upon receiving a request from the Receiver, immediately transfer or deliver·

    to the Receiver possession, custody, and control of, the following:

           A.       All Assets of the Receivership Defendants;

           B.       All Documents of the Receivership Defendants, including books and records of

    accounts, all financial and accounting records, balance sheets, income statements, bank records

    (including monthly statements, canceled checks, records of wire transfers, and check registers),

    client lists, title Documents and other papers;

           C.       All computers, electronic devices, mobile devices and machines and data in

    whatever form used to conduct the business of the Receivership Defendants;



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           D.      All Assets and Documents belonging to other persons or entities whose interests

    are under the direction, possession, custody, or control of the Receivership Defendants; and

           E.      All keys, codes, user names and passwords necessary to gain or to secure access

    to any Assets or Documents of the Receivership Defendants, including access to their business

    premises, means of communication, accounts, computer systems, or other property.

           In the event that any person or entity fails to deliver or transfer any Asset or Document,

    or otherwise fails to comply with any provision of this Section, the Receiver may file an

    Affidavit of Non-Compliance regarding the failure and a motion seeking compliance.

                                                   xv.
                         PROVISION OF INFORMATION TO RECEIVER

           IT IS FURTHER ORDERED that the Receivership Defendants shall provide to the

    Receiver, immediately upon request, the following:

           A.      A list of all Assets and property, including accounts, of the Receivership

    Defendants that are held in any name other than the name of a Receivership Defendant, or by any

    person or entity other than a Receivership Defendant; and

           B.      A list of all agents, employees, officers, servants and those persons in active

    concert and participation with the Receivership Defendants, who have been associated or done

    business with the Receivership Defendants. Such list should include every entity that provides

    leads to the Receivership Defendants.

                                                  XVII.

                              COOPERATION WITH THE RECEIVER

           IT IS FURTHER ORDERED that Defendants, their Representatives, and any other

    person served with a copy of this Order shall fully cooperate with and assist the Receiver in

    taking and maintaining possession, custody, or control of the Assets and Documents of the



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    Receivership Defendants. This cooperation and assistance shall include, but not be limited to:

    providing information to the Receiver that the Receiver deems necessary to exercise the

    authority and discharge the responsibilities of the Receiver under this Order; providing any

    password required to access any computer, mobile device, electronic file, or telephonic data in

    any medium; advising all persons who owe money to the Receivership Defendants that all debts

    should be paid directly to the Receiver; transferring funds at the Receiver's direction; and

    producing records related to the Assets and sales of the Receivership Defendants. The entities

    obligated to cooperate with the Receiver under this provision include, but are not limited to,

    banks, broker-dealers, savings and loans, escrow agents, title companies, commodity trading

    companies, precious metals dealers, credit card processors, payment processors, merchant banks,

    acquiring banks, independent sales organizations, third-party processors, payment gateways,

    insurance companies and other financial institutions and depositories of any kind, as well as all

    common carriers, telecommunications companies and third-party billing agents.

                                                   XVII.

                            NO INTERFERENCE WITH THE RECEIVER

           IT IS FURTHER ORDERED that Defendants and their Representatives, whether acting

    directly or through any entity, corporation, subsidiary, division, director, manager, member,

    affiliate, independent contractor, accountant, financial advisor, or other device, except as

    provided herein, as stipulated by the parties, or as directed by further order of the Court, are

    hereby restrained and enjoined from:

           A.      Interfering with the Receiver's efforts to manage, or take custody, control, or

    possession of, the Assets or Documents subject to this Receivership;

           B.      Transacting any of the business of the Receivership Defendants;




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           C.       Transferring, receiving, altering, selling, encumbering, pledging, assigning,

    liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

    custody of, or in which an interest is held or claimed by, the Receivership Defendants or the

    Receiver; and

           D.       Refusing to cooperate with the Receiver or the Receiver's duly authorized agents

    in the exercise of their duties or authority under any order of this Court.

                                                   XVIII.

                                           RECEIVER'S BOND

           IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this Court a

    bond in the sum of $25,000.00 with sureties to be approved by the Court, conditioned that the

    Receiver will well and truly perform the duties of the office and abide by and perform all acts the

    Court directs. 28 U.S.C. § 754.

                                                    XIX.

                                   COMPENSATION OF RECEIVER

           IT IS FURTHER ORDERED that the Receiver, and all persons or entities retained or

    hired by the Receiver as authorized under this Order, including counsel to the Receiver and

    accountants, shall be entitled to reasonable compensation for the performance of duties pursuant

    to this Order and for the cost of actual out-of-pocket expenses incurred by them, from the Assets

    now held by, in the possession or control of, or which may be received by, the Receivership

    Defendants. The Receiver shall file with the Court and serve on the parties periodic requests for

    the payment of such reasonable compensation, with the first such request filed no more than

    sixty (60) days after the date of entry of this Order. The Receiver shall not increase the hourly

    rates used as the bases for such fee applications without prior approval of the Court.

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                           ACCESS TO RECEIVERSHIP DEFENDANTS'
                             BUSINESS PREMISES AND RECORDS

           IT IS FURTHER ORDERED that, in order to allow the FTC, the State of Florida, and

    the Receiver to preserve Assets and evidence relevant to this action, and to expedite discovery,

    Plaintiffs and the Receiver, and their agents and assistants, shall have immediate access to all

    business premises and storage facilities, owned, controlled, or used by the Receivership

    Defendants, including but not limited to the offices of the Receivership Defendants. Such

    locations include, but are not limited to: 700 Banyan Trail, Suite 200, Boca Raton, Florida 33431

    and 4800 T Rex Ave St. 350, Boca Raton, Florida 33431. The FTC, the State of Florida, and the

    Receiver are authorized to obtain the assistance of the U.S. Marshal's office and other federal,

    state and local law enforcement officers as they deem necessary to effect service and to

    implement peacefully the provisions of this Order. The FTC, the State of Florida, and the

    Receiver, and their representatives, agents, and assistants, are authorized to remove Documents

    from the Receivership Defendants' premises in order that they may be inspected, inventoried,

    and copied for the purpose of preserving discoverable material in connection with this action.

    Plaintiffs shall return such material within seven (7) business days of completing inspection,

    inventory and copying. Plaintiffs' access to the Receivership Defendants' documents pursuant to

    this Section shall not provide grounds for the Receivership Defendants to object to any

    subsequent request for documents served by any Plaintiff.

           The Defendant, and all employees or agents of the Corporate Defendants shall provide

    the FTC, the State of Florida, and the Receiver with any necessary means of access to the

    Corporate Defendants' Documents and records, including, without limitation, the locations of the

    Corporate Defendants' business premises, keys and combinations to locks, computer access

    codes, and storage area access information;




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           If any computers or other electronic data storage devices containing information related

    to the business practices or finances of the Corporate Defendants are at a location other than

    those listed herein, including the personal residences of the Individual Defendants, then

    immediately upon service of this Order upon them the Individual Defendants shall produce to the

    Receiver all such computers and other electronic data storage devices. In order to prevent the

    destruction of electronic data, upon service of this Order upon the Defendants, any computers or

    other electronic data storage devices containing such information shall be powered down (turned

    off) in the normal course for the operating systems used on such devices and shall not be used

    until produced for copying and inspection, along with any codes needed for access.

           Furthermore, the Receiver shall allow the Defendants reasonable access to the premises

    and business records of the Receivership Defendants within his possession for the purpose of

    inspecting and copying materials relevant to this action. Subject to the Court's authority to

    supersede the Receiver's actions, the Receiver shall have the discretion to determine the time,

    manner, and reasonable conditions of such access.

                                                   XXI.

                              IMMEDIATE PRODUCTION OF
                     BUSINESS RECORDS BY PC CLEANER DEFENDANTS

           IT IS FURTHER ORDERED that the PC Cleaner Defendants shall allow the Plaintiffs'

    employees and agents access to the PC Cleaner Defendants' business records to inspect and copy

    Documents in preparation for the preliminary injunction hearing and to identify and locate assets.

           PC Cleaner Defendants shall, within ten ( 10) days of receiving notice of this Order,

    produce to Plaintiffs for inspection, inventory, and/or copying, at a location designated by

    Plaintiffs, the following materials: (1) all customer information, including names, phone

    numbers, addresses, e-mail addresses, customer complaints, and payment information for all



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    consumers who have purchased PC Cleaner Defendants' Tech Support Products or Services; (2)

    all contracts; (3) any correspondence, including electronic correspondence, that refer or relate to

    the PC Cleaner Defendants' Tech Support Products or Services; (4) an electronic copy of all

    advertisements for the PC Cleaner Defendants' computer security or technical support services;

    and (5) accounting information, including profit and loss statements, annual reports, receipt

    books, ledgers, personal and business canceled checks and check registers, bank statements,

    appointment books, copies of federal, state or local business or personal income or property tax

    returns, and 1099 forms. The Plaintiffs shall return produced materials pursuant to this

    Paragraph within twelve (12) days of the PC Cleaner Defendants' production.

                                                   XXII.

                                       EXPEDITED DISCOVERY

           IT IS FURTHER ORDERED that, notwithstanding the time periods, notice provisions,

    and other requirements of Rules 26(d), 26(f), and 30(a)(2)(c) of the Federal Rules of Civil

    Procedure, and pursuant to Federal Rules of Civil Procedure 30(a), 34, and 45, the FTC and the

    State of Florida are granted leave, at any time after entry of this Order, to conduct limited

    expedited discovery as to parties and non-parties for the purpose of discovering: ( 1) the nature,

    location, status, and extent of Defendants' Assets; (2) the nature and location of Documents

    reflecting Defendants' businesses, business transactions, and operations; or (3) compliance with

    this Order. Procedures for conducting such discovery shall be determined at the hearing

    scheduled for the entry of a preliminary injunction.




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                                                 XXIII.

                      DURATION OF TEMPORARY RESTRAINING ORDER

              IT IS FURTHER ORDERED that the Temporary Restraining Order granted herein

    shall expire fourteen (14) days from the date of entry noted below unless, within such time, the

    Order is extended for an additional period not to exceed fourteen (14) days for good cause

    shown, or unless, as to any Defendant, such Defendant consents to an extension for a longer

    period.

                                                  XXIV.

                             PRELIMINARY INJUNCTION HEARING

              IT IS FURTHER ORDERED, pursuant to Federal Rule of Civil Procedure 65(b), that

    each Defendant shall appear before this Court on the 24 th day of November, 2014, at 9:00

    o'clock a.m., 701 Clematis Street, West Palm Beach, Fl 33401, Courtroom 4,to show cause, if

    there is any, why this Court should not enter a Preliminary Injunction enjoining the violations of

    law alleged in the Complaint, continuing the freeze of their Assets, and imposing such additional

    relief as may be appropriate.




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                                                 XXV.

                                 RETENTION OF JURISDICTION

           IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

    all purposes.




           DONE AND ORDERED in chambers in West Palm Beach, Palm Beach County,

    Florida, this 12th day of November, 2014, at 1:50 p.m.


                                                                 ·'°   .;✓
                                                              ~---,1...-------
                                                             KENNETH A. MARRA
                                                             United States District Judge




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                     PLAINTIFF'S EXHIBIT 38 - 9
                             FTC v. Boost Software, Inc.
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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 14-81397-CIV-MARRA

    FEDERAL TRADE COMMISSION, and STATE
    OF FLORIDA

    Plaintiffs,                                           Filed U oder Seal
         V.


    Boost Software, Inc., a Massachusetts Corporation,

    Vast Tech Support, LLC, a Florida limited liability
    company, also does business as OMG Tech Help,
    OMG Total Protection, OMG Back Up,
    Downloadsoftware.com, and
    Softwaretechsupport.com,

    OMG Tech Help, LLC, a Florida limited liability
    company,

    Success Capital, LLC, a Florida limited liability
    company,

    Jon Paul Holdings, LLC, a Florida limited liability
    company,

    Amit Mehta, individually and as an officer of Boost
    Software, Inc.,

    Elliot Loewenstem, individually and as a Member of
    Vast Tech Support, LLC, OMG Tech Help, LLC,
    and Success Capital, LLC,

    Jon-Paul Vasta, individually and as a member/office
    of Vast Tech Support, LLC, and OMG Tech Help,
    LLC,

    Mark Donohue, individually and as an officer of
    Mark Alexander Group,

    Defendants.


                               TEMPORARY RESTRAINING ORDER
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            Plaintiffs, the Federal Trade Commission ("FTC" or the "Commission") and the State of

    Florida have filed a Complaint for Permanent Injunction and Other Equitable Relief pursuant to

    Sections 13(b) and 19 of the Federal Trade Commission Act ("FTC Act"), 15 U.S.C. §§ 53(b)

    and 57b, the Telemarketing and Consumer Fraud and Abuse Prevention Act ("Telemarketing

    Act"), 15 U.S.C. §§ 6101-6108, and the Florida Deceptive and Unfair Trade Practices Act

    ("FDUTPA"), Fla. Stat. 501.201 et seq., and have moved, pursuant to Federal Rule of Civil

    Procedure 65(b), for a Temporary Restraining Order, Asset Freeze, Other Equitable Relief, and

    for an Order to Show Cause Why a Preliminary Injunction Should Not Issue against Defendants

    Boost Software, Inc., Vast Tech Support, LLC, OMG Tech Help, LLC, Success Capital, LLC,

    Jon Paul Holdings, LLC, Amit Mehta, Elliot Loewenstern, Jon-Paul Vasta, and Mark Donohue.

                                           FINDINGS OF FACT

            The Court, having considered the Complaint, the ex parte motion for a temporary

    restraining order, declarations, exhibits, and the memorandum of points and authorities filed in

    support thereof, and being otherwise advised, finds that:

            1.      This Court has jurisdiction over the subject matter of this case and over all parties.

    Venue in this district is proper;

            2.      Plaintiffs have sufficiently demonstrated that the Defendants Boost Software, Inc.,

    Vast Tech Support, LLC, OMG Tech Help, LLC, Success Capital, LLC, Jon Paul Holdings,

    LLC, Amit Mehta, Elliot Loewenstern, Jon-Paul Vasta, and Mark Donohue have engaged in and

    are likely to engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. §

    45(a), the FTC's Trade Regulation Rule entitled "Telemarketing Sales Rule" ("TSR"), 16 C.F.R.

    Part 310, and Section 501.204 ofFDUTPA, and that the FTC and the State of Florida are

    therefore likely to prevail on the merits of this action;



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           3.      Plaintiffs have sufficiently demonstrated that immediate and irreparable harm will

    result from the Defendants' ongoing violations of Section 5 of the FTC Act, the TSR and Section

    501.204 of FDUTPA unless Defendants are restrained and enjoined by Order of this Court;

           4.      Plaintiffs have sufficiently demonstrated that immediate and irreparable damage

    to this Court's ability to grant effective final relief for consumers, including monetary restitution,

    rescission, disgorgement or refunds, will occur from the sale, transfer, or other disposition or

    concealment by Defendants of their Assets or records if Defendants are provided with advance

    notice of this Order, and that therefore in accordance with Fed. R. Civ. P. 65(b), the interests of

    justice require that this Order be granted without prior notice to Defendants. Thus, there is good

    cause for relieving the FTC and the State of Florida of the duty to provide Defendants with prior

    notice of the FTC and the State of Florida's application;

            5.     Plaintiffs have sufficiently demonstrated the need for (a) the appointment of a

    Temporary Receiver over the Defendants Vast Tech Support, LLC, OMG Tech Help, LLC,

    Success Capital, LLC, (b) freezing the Assets of Defendants Vast Tech Support, LLC, OMG

    Tech Help, LLC, Success Capital, LLC, Elliot Loewenstem, Jon-Paul Vasta, and Mark Donohue

    and (c) the ancillary relief ordered below;

            6.      Weighing the equities and considering Plaintiffs' likelihood of ultimate success

    on the merits, a temporary restraining order with an asset freeze, and other equitable relief, is in

    the public interest; and

            7.     The FTC is an independent agency of the United States of America and no

    security is required of any agency of the United States for the issuance of a temporary restraining

    order. Fed. R. Civ. P. 65(c). Similarly, under Florida Rules of Civil Procedure and governing

    case law, no security is required for the State of Florida.



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                                              DEFINITIONS

           For the purpose of this Temporary Restraining Order ("Order"), the following definitions

    shall apply:

            1.     "Asset" " means any legal or equitable interest in, right to, or claim to, any real,

                   personal, or intellectual property including chattel, goods, instruments,

                   equipment, fixtures, general intangibles, effects, leaseholds, contracts, mail or

                   other deliveries, shares or stock, securities, inventory, checks, notes, accounts,

                   credits, receivables (as those terms are defined in the Uniform Commercial Code),

                   insurance policies, lines of credit, cash, trusts (including asset protection trusts),

                   lists of consumer names and reserve funds or any other accounts associated with

                   any payments processed by, or on behalf of, any Defendant, including such

                   reserve funds held by payment processors, credit card processors, banks or other

                   financial institutions.

           2.      "Boost Corporate Defendant" means Boost Software, Inc. and their

                   subsidiaries, affiliates, successors and assigns.

           3.      "Boost Defendants" means individually, collectively, or in any combination

                   Boost Software, Inc., and Amit Mehta.

           4.      "Commission" or "FTC" means the Federal Trade Commission.

           5.      "Corporate Defendants" means, individually, collectively, or in any

                   combination, Boost Software, Inc., Vast Tech Support, LLC, OMG Tech Help,

                   LLC, Success Capital, LLC, Jon Paul Holdings, LLC and their subsidiaries,

                   affiliates, successors and assigns.




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          6.    "Defendants" means individually, collectively, or in any combination, each

                Corporate Defendant and Individual Defendant.

          7.    "Document" includes writings, drawings, graphs, charts, photographs, audio and

                video recordings, computer records, and any other data compilations from which

                information can be obtained and translated, if necessary, through detection

                devices into reasonably usable form. A draft or non-identical copy is a separate

                document within the meaning of the term.

          8.    "Electronic Data Host" means any person or entity in the business of storing,

                hosting, or otherwise maintaining electronically stored information.

          9.    "Financial Institution" means any bank, savings and loan institution, credit

                union, or any financial depository of any kind, including, but not limited to, any

                brokerage house, trustee, broker-dealer, escrow agent, title company, commodity

                trading company, or precious metal dealer.

          10.   "FTC Act" means the Federal Trade Commission Act codified at 15 U.S.C. §§

                41-58.

          11.   "Individual Defendants'' means Amit Mehta, Elliot Loewenstern, Jon-Paul

                Vasta, and Mark Donohue.

          12.   "PC HealthBoost Product" means any registry cleaner software by or on behalf

                of the Boost Corporate Defendant.

          13.   "Person" means a natural person, organization, or other legal entity, including a

                corporation, limited liability company, partnership, proprietorship, association,

                cooperative, government or governmental subdivision or agency, or any other

                group or combination acting as an entity.



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          14.   "Plaintiffs" means the Federal Trade Commission and the State of Florida.

          15.   "Receiver" or "Temporary Receiver" means the temporary receiver appointed

                in Section XI of this Order and any deputy receivers that shall be named by the

                temporary receiver.

          16.   "Receivership Defendants" means the Vast Corporate Defendants.

          17.   "Representative" means Defendants' successors, assigns, officers, agents,

                servants, employees, and attorneys, and any person or entity in active concert or

                participation with them who receives actual notice of this Order by personal

                service or otherwise.

          18.   "Tech Support Product or Service" means any plan, program or software,

                marketed to repair, maintain or improve a computer's performance or security,

                including registry cleaners, anti-virus programs, fire wall programs, and computer

                or software diagnostic services.

          19.   "Telemarketing" means any plan, program, or campaign that is conducted to

                induce the purchase of goods or services or a charitable contribution by use of one

                or more telephones.

          20.   "Telemarketing Sales Rule" or ''TSR" means the Telemarketing Sales Rule set

                forth in 16 C.F.R. Part 310.

          21.   "Vast Corporate Defendants'' means Vast Tech Support, LLC, OMG Tech

                Help, LLC, Success Capital, LLC, Jon Paul Holdings, LLC, and by whatever

                other names each may be known, and any subsidiaries, divisions, affiliates, any

                fictitious business entities or business names created or used by these entities, or




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                    any of them, and their successors and assigns, individually, collectively, or in any

                    combination.

            22.     "Vast Defendants" means individually, collectively, or in any combination, each

                    Vast Corporate Defendant and Vast Individual Defendant.

            23.     "Vast Individual Defendants" means Elliot Loewenstem, Jon-Paul Vasta, and

                    Mark Donohue.

                                                       I.

                               PROHIBITED MISREPRESENTATIONS

            IT IS HEREBY ORDERED that Defendants and their Representatives, whether acting

    directly or indirectly, in connection with the marketing, advertising, promotion, distribution,

    offering for sale, or sale of any goods or services, are hereby temporarily restrained and enjoined

    from misrepresenting, directly or indirectly, expressly or by implication, any material fact, including

    that they have identified problems on consumers' computers that will affect the performance or

    security of the consumers' computers.

                                                      II.

                     CONDUCT PROHIBITIONS REGARDING MARKETING

            IT IS HEREBY ORDERED that Defendants and their Representatives, whether acting

    directly or indirectly, in connection with the marketing, advertising, promotion, distribution,

    offering for sale, or sale of any goods or services, are hereby temporarily restrained and enjoined

    from:

            A.      Using any false or misleading statement to induce any person to pay for goods or

    services; or




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           B.      Violating the Telemarketing Sales Rule, 16 C.F.R. Part 310, attached as Appendix

    A.

                                                   III.

                  SUSPENSION OF CORPORATE DEFENDANTS' WEB SITES

           IT IS FURTHER ORDERED that any party hosting pchealthboost.com or any

    webpage or website for any Vast Corporate Defendant and any domain registrar who has

    provided or is providing domain name registration services to pchealthboost.com or on any Vast

    Corporate Defendant's behalf are hereby temporarily restrained and enjoined from failing to:

           A.      Immediately take whatever steps may be necessary to ensure that

    pchealthboost.com and any webpage or website operated, in whole or in part, in connection

    with the Vast Corporate Defendants' provision of Tech Support Products or Services cannot be

    accessed by the public; and

           B.      Prevent the destruction or erasure of pchealthboost.com and any webpage or

    website operated, in whole or in part, on any Vast Corporate Defendant's behalf, preserving such

    documents in the format in which they are currently maintained, and prevent the destruction or

    erasure of all records relating to pchealthboost.com and the Vast Corporate Defendants.

                                                   IV.

                PROHIBITION AGAINST CHARGING OR BILLING CONSUMERS

           IT IS FURTHER ORDERED that Defendants and their Representatives, whether acting

    directly or indirectly, are temporarily restrained and enjoined from charging any consumer for

    the purchase of Defendants' Tech Support Products or Services or PC HealthBoost Product.




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                                                         V.

                                                ASSET FREEZE

            IT IS FURTHER ORDERED that Vast Tech Support, LLC, OMG Tech Help, LLC,

    Success Capital, LLC, Elliot Loewenstern, Jon-Paul Vasta, and Mark Donohue, i.e., the Vast

    Defendants, and their Representatives, whether acting directly or through any entity, corporation,

    subsidiary, division, director, manager, member, affiliate, independent contractor, accountant,

    financial advisor, or other device, are hereby temporarily restrained and enjoined from:

            A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

    concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

    lien or security interest or other interest in, or otherwise disposing any funds, real or personal

    property, accounts, contracts, shares of stock, lists of consumer names, or other Assets of any

    Corporate Defendant, or any interest therein, wherever located, including outside the United

    States, that are:

                        1. owned, controlled or held, in whole or in part, by any Vast Corporate

                           Defendant;

                    2. held, in whole or in part, for the direct or indirect benefit of, any Vast

                           Corporate Defendant;

                    3. in the actual or constructive possession of any Vast Corporate Defendant;

                    4. owned or controlled by, or in the actual or constructive possession of, or

                           otherwise held for the benefit of, any corporation, partnership, asset protection

                           trust, or other entity that is directly or indirectly owned, managed or controlled

                           by any of the Vast Corporate Defendants. This includes, but is not limited to,

                           any Assets held by, for, or subject to access by, any of the Vast Corporate



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                          Defendants at any bank or savings and loan institution, or at/with any broker-

                          dealer, escrow agent, title company, insurance company, commodity trading

                          company, precious metal dealer, payment processor, credit card processor,

                          acquiring bank, merchant bank, independent sales organization, third party

                          processor, payment gateway or other financial institution or depository of any

                          kind;

                   5. held by an agent of any Vast Corporate Defendant as a retainer for the agent's

                          provision of services to Vast Defendants;

                   6. held in any account for which any Vast Corporate Defendant is, or was on the

                          date that this Order was signed, an authorized signor, except as necessary to

                          comply with Section XIII of this Order;

                   7. in the possession, custody, or control of any Vast Individual Defendant that is

                          owned by a Vast Corporate Defendant or in which any Vast Corporate

                          Defendant has any legal or equitable interest or claim;

                   8. property of any kind, including cash, that is in the possession, custody, or

                          control of any Vast Individual Defendant which was transferred or received

                          from any Vast Corporate Defendant within thirty (30) days prior to the entry

                          of this Temporary Restraining Order.

           B.      Physically opening or causing to be opened any safe deposit boxes, commercial

    mail boxes, or storage facilities titled in the name of any Vast Defendant, either individually or

    jointly, or subject to access by any Vast Defendants, except as necessary to comply with Section

    XIII of this Order;




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           C.       Incurring charges or cash advances on any credit or bank card issued in the name,

    individually or jointly, of any of the Vast Corporate Defendants, or any corporation or

    partnership. This includes, but is not limited to, any corporate bank card or corporate credit card

    account for which any Vast Defendant is, or was on the date that this Order was signed, an

    authorized signor;

           D.      Obtaining a personal or secured loan encumbering the Assets of any Vast

    Corporate Defendant; and


           E.       Incurring liens or other encumbrances on real property, personal property or other

    Assets in the name, individually or jointly, of any Vast Corporate Defendants.
                                                     VI.

                                    DUTIES OF ASSET HOLDERS

           IT IS FURTHER ORDERED that any financial or brokerage institution, credit card

    processor, payment processor, merchant bank, acquiring bank, independent sales organization,

    third party processor, payment gateway, insurance company, business entity, or person served

    with a copy of this Order that (a) holds, controls, or maintains custody of any account, safe

    deposit box or Asset of any corporate Vast Defendant, (b) holds, controls, or maintains custody

    of any Asset associated with credits, debits or charges made on behalf of any corporate Vast

    Defendant, including reserve funds held by payment processors, credit card processors, payment

    merchant banks, acquiring banks, independent sales organizations, third party processors,

    payment gateways, insurance companies or other entities, or (c) has held, controlled, or

    maintained custody of any such account, safe deposit box or Asset at any time since the date of

    entry of this Order shall:

           A        Hold and retain within its control and prohibit the withdrawal, removal,

    assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,

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    conversion, sale, or other disposal of any such Asset, as well as all Documents or other property

    related to such Assets, except by further order of this Court;

            B.     Deny any person, except the Receiver acting pursuant to Section XII of this

    Order, access to any safe deposit box, commercial mailbox, or storage facility that is:

                   1.      Titled in the name of any corporate Vast Defendant, either individually or

    jointly; or

                   2.      Otherwise subject to access by any Vast Defendant;

            C.     Provide the FTC' s counsel and the Receiver, within ten (I 0) business days of

    receiving a copy of this Order, a sworn statement setting forth:

                   1.      The identification number of each account or Asset:

                        a) titled in the name, individually or jointly, of any of the corporate Vast

                           Defendants;

                        b) held on behalf of, or for the benefit of, any of the corporate Vast

                           Defendants; or

                        c) associated with credit or debit charges made on behalf of corporate Vast

                           Defendants;

                   2.      The balance of each such account, or a description of the nature and value

    of each such Asset as of the close of business on the day on which this Order is served, and, if

    the account or other Asset has been closed or removed, the date closed or removed, the total

    funds removed in order to close the account, and the name of the person or entity to whom such

    account or other Asset was remitted; and




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                    3.      The identification of any safe deposit box, commercial mail box, or

    storage facility that is either titled in the name, individually or jointly, of any of the corporate

    Defendants, or is otherwise subject to access by any of the Defendants; and

            D.      Upon request of the Plaintiffs or the Receiver, promptly provide the Plaintiffs or

    Receiver with copies of all records or other documentation pertaining to such account or Asset,

    including originals or copies of account applications, account statements, signature cards,

    checks, drafts, deposit tickets, transfers to and from the accounts, including wire transfers and

    wire transfer instructions, all other debit and credit instruments or slips, currency transaction

    reports, l 099 forms, and all logs and records pertaining to safe deposit boxes, commercial mail

    boxes and storage facilities.

                                                      VII.

                              INTERFERENCE WITH REPATRIATION

            IT IS FURTHER ORDERED that Vast Defendants and their Representatives, whether

    acting directly or through any entity, corporation, subsidiary, division, director, manager,

    member, affiliate, independent contractor, accountant, financial advisor, or other device, are

    hereby temporarily restrained and enjoined from taking any action, directly or indirectly, which

    may result in the encumbrance or dissipation of foreign Assets.

                                                     VIII.

                                    CONSUMER CREDIT REPORTS

            IT IS FURTHER ORDERED that pursuant to Section 604(1) of the Fair Credit

    Reporting Act, 15 U.S.C. § 1681 b(l), any consumer reporting agency served with this Order

    shall promptly furnish consumer reports as requested concerning any Defendant to counsel for

    Plaintiffs. Plaintiffs may also directly access any Defendant's consumer report.



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                                                      IX.

                                 PRESERVATION OF RECORDS
                            AND REPORT OF NEW BUSINESS ACTIVITY

            IT IS FURTHER ORDERED that Defendants and their Representatives, as well as any

    document custodians receiving actual notice of this Order, whether acting directly or through any

    entity, corporation, subsidiary, division, director, manager, member, affiliate, independent

    contractor, accountant, financial advisor, or other device, are hereby temporarily restrained and

    enjoined from:

            A.       Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

    transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

    relate to: (1) the business, business practices, Assets, or business or personal finances of any

    Defendant, (2) the business practices or finances of entities directly or indirectly under the

    control of any Defendant, or (3) the business practices or finances of entities directly or

    indirectly under common control with any other Defendant, including: any and all marketing

    materials, Internet pages, consumer complaints, call detail records, telephone logs, telephone

    scripts, contracts, correspondence, e-mail, corporate books and records, accounting data,

    financial statements, receipt books, ledgers, personal and business canceled checks and check

    registers, bank statements, calendars, appointment books, and tax returns;

            B.       Failing to create and maintain Documents that, in reasonable detail, accurately,

    fairly, and completely reflect Defendants' incomes, disbursements, transactions, and use of the

    Defendants' Assets; and

            C.       Creating, operating, or exercising any control over any new business entity,

    whether newly formed or previously inactive, including any partnership, limited partnership,

    joint venture, sole proprietorship, or corporation, without first providing counsel for the Plaintiffs


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    with a written statement disclosing: (1) the name of the business entity; (2) the address and

    telephone number of the business entity; (3) the names of the business entity's officers, directors,

    principals, managers, and employees; and (4) a detailed description of the business entity's

    intended activities.

                                                      X.

                                    PROHIBITION ON RELEASE
                                   OF CUSTOMER INFORMATION

            IT IS FURTHER ORDERED that Defendants and their Representatives, whether acting

    directly or through any entity, corporation, subsidiary, division, director, manager, member,

    affiliate, independent contractor, accountant, financial advisor, or other device, are hereby

    temporarily restrained and enjoined from:

           A.       Selling, renting, leasing, transferring, using, disclosing, or otherwise benefitting

    from the name, address, telephone number, credit card number, bank account number, e-mail

    address, or other identifying information of any person that Defendant obtained prior to entry of

    this Order in connection with any activity that pertains to the subject matter of this Order; and

           B.       Benefitting from or using the name, address, birth date, telephone number, e-mail

    address, Social Security number, Social Insurance number, credit card number, bank account

    number, or other financial or identifying personal information of any Person from whom or

    about whom any Defendant obtained such information in connection with any activity that

    pertains to the subject matter of this Order.

           PROVIDED, HOWEVER, that the Defendants may disclose such identifying

    information to any civil or criminal law enforcement agency or as required by any law,

    regulation, or court order.




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                                                    XI.

                          APPOINTMENT OF TEMPORARY RECEIVER

           IT IS FURTHER ORDERED that David S. Mandel is appointed temporary receiver for

    the Vast Corporate Defendants and any of their telephone sales, technical support, or customer

    service operations, wherever located, with the full power of an equity receiver. The Receiver

    shall be the agent of this Court, and solely the agent of this Court, in acting as Receiver under

    this Order. The Receiver shall be accountable directly to this Court.

                                                    XII.

                            RECEIVER'S DUTIES AND AUTHORITIES

           IT IS FURTHER ORDERED that the Receiver is authorized and directed to

    accomplish the following:

           A.      Assume full control of the Vast Corporate Defendants by removing, as the

    Receiver deems necessary or advisable, any director, officer, independent contractor, employee,

    or agent of any of the Vast Corporate Defendants, including any Defendant, from control of,

    management of, or participation in, the affairs of the Vast Corporate Defendants;

           B.      Take exclusive custody, control, and possession of all Assets and Documents of,

    or in the possession, custody, or under the control of, the Vast Corporate Defendants, wherever

    situated. The Receiver shall have full power to divert mail and to sue for, collect, receive, take in

    possession, hold, and manage all Assets and Documents of the Vast Corporate Defendants and

    other persons or entities whose interests are now under the direction, possession, custody, or

    control of, the Vast Corporate Defendants. The Receiver shall assume control over the income

    and profits therefrom and all sums of money now or hereafter due or owing to the Vast

    Corporate Defendants. Provided, however, that the Receiver shall not attempt to collect any



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    amount from a consumer if the Receiver believes the consumer was a victim of the deceptive

    acts or practices or other violations of law alleged in the Complaint in this matter, without prior

    Court approval;

           C.      Take all steps necessary to secure and take exclusive custody of each location

    from which the Vast Corporate Defendants operate their businesses. Such steps may include, but

    are not limited to, any of the following, as the Receiver deems necessary or advisable: (1)

    serving this Order; (2) completing a written inventory of all Receivership Defendants' Assets;

    (3) obtaining pertinent information from all employees and other agents of the Vast Corporate

    Defendants, including, but not limited to, the name, home address, Social Security Number, job

    description, company history, passwords or access codes, method of compensation, and all

    accrued and unpaid commissions and compensation of each such employee or agent; (4)

    photographing and videotaping any or all portions of the location; (5) securing the location by

    changing the locks and disconnecting any internet access or other means of access to the

    computers, internet or other records maintained at that location; and (6) requiring any persons

    present on the premises at the time this Order is served to leave the premises, to provide the

    Receiver with proof of identification, or to demonstrate to the satisfaction of the Receiver that

    such persons are not removing from the premises Documents or Assets of the Vast Corporate

    Defendants. Law enforcement personnel, including, but not limited to, police or sheriffs, may

    assist the Receiver in implementing these provisions in order to keep the peace and maintain

    security. If requested by the Receiver, the United States Marshal will provide appropriate and

    necessary assistance to the Receiver to implement this Order and is authorized to use any

    necessary and reasonable force to do so;




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           D.      Conserve, hold, and manage all Assets of the Vast Corporate Defendants, and

    perform all acts necessary or advisable to preserve the value of those Assets in order to prevent

    any irreparable loss, damage, or injury to consumers or creditors of the Vast Corporate

    Defendants, including, determining the available Assets and preventing the unauthorized

    transfer, withdrawal, or misapplication of Assets;

           E.      Enter into and cancel contracts and purchase insurance as advisable or necessary;

           F.      Prevent the inequitable distribution of Assets and determine, adjust, and protect

    the interests of consumers and creditors who have transacted business with the Vast Corporate

    Defendants;

           G.      Manage and administer the business of the Vast Corporate Defendants until

    further order of this Court by performing all incidental acts that the Receiver deems to be

    advisable or necessary, which includes retaining, hiring, or dismissing any employees,

    independent contractors, or agents, provided that the Receiver shall suspend business operations

    of the Vast Corporate Defendants if, in the judgment of the Receiver, such operations cannot be

    continued legally or profitably;

           H.      Choose, engage, and employ attorneys, accountants, appraisers, and other

    independent contractors and technical specialists, as the Receiver deems advisable or necessary

    in the performance of duties and responsibilities under the authority granted by this Order;

           I.      Make payments and disbursements from the receivership estate that are necessary

    or advisable for carrying out the directions of, or exercising the authority granted by, this Order.

    The Receiver shall apply to the Court for prior approval of any payment of any debt or obligation

    incurred by the Vast Corporate Defendants prior to the date of entry of this Order, except




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    payments that the Receiver deems necessary or advisable to secure Assets of the Vast Corporate

    Defendants, such as rental payments;

            J.      Suspend business operations of the Vast Corporate Defendants if in the judgment

    of the Receiver such operations cannot be continued legally and profitably;

            K.     Prevent the destruction or erasure of any web page or website registered to and

    operated, in whole or in part, by Receivership Defendants;

            L.     Take all steps necessary to ensure that any of the Receivership Defendants' web

    pages or websites relating to technical support cannot be accessed by the public, or are modified

    for consumer education and/or informational purposes;

            M.     Take all steps necessary to ensure that any telephone numbers associated with the

    Receivership Defendants cannot be accessed by the public, or are answered solely to provide

    consumer education or information regarding the status of operations.

           N.      Institute, compromise, adjust, appear in, intervene in, or become party to such

    actions or proceedings in state, federal or foreign courts or arbitration proceedings as the

    Receiver deems necessary and advisable to preserve or recover the Assets of the Vast Corporate

    Defendants, or that the Receiver deems necessary and advisable to carry out the Receiver's

    mandate under this Order, including but not limited to, actions challenging fraudulent or

    voidable transfers;

           0.      Defend, compromise, adjust, or otherwise dispose of any or all actions or

    proceedings instituted in the past or in the future against the Receiver in his role as Receiver, or

    against the Vast Corporate Defendants, as the Receiver deems necessary and advisable to

    preserve the Assets of the Vast Corporate Defendants, or as the Receiver deems necessary and

    advisable to carry out the Receiver's mandate under this Order;



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            P.     Issue subpoenas to obtain Documents and records pertaining to the Receivership,

    and conduct discovery in this action on behalf of the receivership estate;

            Q.     Open one or more bank accounts as designated depositories for funds of the Vast

    Corporate Defendants. The Receiver shall deposit all funds of the Vast Corporate Defendants in

    such a designated account and shall make all payments and disbursements from the Receivership

    estate from such an account. The Receiver shall serve copies of monthly account statements on

    all parties;

            R.     Maintain accurate records of all receipts and expenditures incurred as Receiver;

            S.     Allow the Plaintiffs' representatives, agents, and assistants, as well as

    Defendants' representatives and Defendants themselves, reasonable access to the premises of the

    Vast Corporate Defendants , or any other premises where the Vast Corporate Defendants conduct

    business or telephone sales operations. The purpose of this access shall be to inspect and copy

    any and all books, records, Documents, accounts, and other property owned by, or in the

    possession of, the Vast Corporate Defendants or its agents. The Receiver shall have the

    discretion to determine the time, manner, and reasonable conditions of such access;

            T.     Allow the Plaintiffs' representatives, agents, and assistants, as well as Vast

    Defendants' representatives and Vast Defendants themselves, reasonable access to Documents in

    the possession, custody, or control of the Vast Corporate Defendants, or on their behalf,

    including, but not limited to, books, records, tapes, discs, accounting data, checks,

    correspondence, forms, advertisements, brochures, manuals, electronically stored data, banking

    records, customer lists, customer files, invoices, telephone records, ledgers and payroll records,

    and any other Document or record that relates to the business practices or finances of the Vast

    Corporate Defendants, including electronically stored information (such as electronic mail); and



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           U.       Cooperate with reasonable requests for information or assistance from any state or

    federal civil or criminal law enforcement agency; and

           V.       File timely reports with the Court at reasonable intervals, or as otherwise directed

    by the Court.

                                                      XIII.

                    TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

           IT IS FURTHER ORDERED that the Defendants, their Representatives, and any other

    Person, with possession, custody or control of property of, or records relating to, the

    Receivership Defendants shall, upon notice of this Order by personal service or otherwise,

    immediately notify the Receiver of, and, upon receiving a request from the Receiver,

    immediately transfer or deliver to the Receiver possession, custody, and control of, the

    following:

           A.       All Assets of the Receivership Defendants;

           B.       All Documents of the Receivership Defendants, including books and records of

    accounts, all financial and accounting records, balance sheets, income statements, bank records

    (including monthly statements, canceled checks, records of wire transfers, and check registers),

    client lists, title Documents and other papers;

           C.       All computers, electronic devices, mobile devices and machines and data in

    whatever form used to conduct the business of the Receivership Defendants;

           D.       All Assets and Documents belonging to other persons or entities whose interests

    are under the direction, possession, custody, or control of the Receivership Defendants; and




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           E.      All keys, codes, user names and passwords necessary to gain or to secure access

    to any Assets or Documents of the Receivership Defendants, including access to their business

    premises, means of communication, accounts, computer systems, or other property.

           In the event that any person or entity fails to deliver or transfer any Asset or Document,

    or otherwise fails to comply with any provision of this Section, the Receiver may file an

    Affidavit of Non-Compliance regarding the failure and a motion seeking compliance.

                                                   XIV.

                         PROVISION OF INFORMATION TO RECEIVER

           IT IS FURTHER ORDERED that Defendants shall provide to the Receiver,

    immediately upon request, the following:

           A.      A list of all Assets and property, including accounts, of the Receivership

    Defendants that are held in any name other than the name of a Receivership Defendant, or by any

    person or entity other than a Receivership Defendant; and

           B.      A list of all agents, employees, officers, servants and those persons in active

    concert and participation with the Vast Individual Defendants and Receivership Defendants, who

    have been associated or done business with the Receivership Defendants. Such list should

    include every entity that provides leads to the Receivership Defendants.

                                                   xv.
                              COOPERATION WITH THE RECEIVER

           IT IS FURTHER ORDERED that Defendants, their Representatives, and any other

    person served with a copy of this Order shall fully cooperate with and assist the Receiver in

    taking and maintaining possession, custody, or control of the Assets and Documents of the

    Receivership Defendants. This cooperation and assistance shall include, but not be limited to:



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    providing information to the Receiver that the Receiver deems necessary to exercise the

    authority and discharge the responsibilities of the Receiver under this Order; providing any

    password required to access any computer, mobile device, electronic file, or telephonic data in

    any medium; advising all persons who owe money to the Receivership Defendants that all debts

    should be paid directly to the Receiver; transferring funds at the Receiver's direction; and

    producing records related to the Assets and sales of the Receivership Defendants. The entities

    obligated to cooperate with the Receiver under this provision include, but are not limited to,

    banks, broker-dealers, savings and loans, escrow agents, title companies, commodity trading

    companies, precious metals dealers, credit card processors, payment processors, merchant banks,

    acquiring banks, independent sales organizations, third-party processors, payment gateways,

    insurance companies and other financial institutions and depositories of any kind, as well as all

    common carriers, telecommunications companies and third-party billing agents.



                                                   XVI.

                            NO INTERFERENCE WITH THE RECEIVER

           IT IS FURTHER ORDERED that Defendants and their Representatives, whether acting

    directly or through any entity, corporation, subsidiary, division, director, manager, member,

    affiliate, independent contractor, accountant, financial advisor, or other device, except as

    provided herein, as stipulated by the parties, or as directed by further order of the Court, are

    hereby restrained and enjoined from:

           A.      Interfering with the Receiver's efforts to manage, or take custody, control, or

    possession of, the Assets or Documents subject to this Receivership;

           B.      Transacting any of the business of the Receivership Defendants;



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           C.       Transferring, receiving, altering, selling, encumbering, pledging, assigning,

    liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

    custody of, or in which an interest is held or claimed by, the Receivership Defendants, or the

    Receiver; and

           D.       Refusing to cooperate with the Receiver or the Receiver's duly authorized agents

    in the exercise of their duties or authority under any order of this Court.

                                                   XVII.

                                           RECEIVER'S BOND

           IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this Court a

    bond in the sum of $25,000.00 with sureties to be approved by the Court, conditioned that the

    Receiver will well and truly perform the duties of the office and abide by and perform all acts the

    Court directs. 28 U.S.C. § 754.

                                                   XVIII.

                               COMPENSATION OF THE RECEIVER

           IT IS FURTHER ORDERED that the Receiver, and all persons or entities retained or

    hired by the Receiver as authorized under this Order, including counsel to the Receiver and

    accountants, shall be entitled to reasonable compensation for the performance of duties pursuant

    to this Order and for the cost of actual out-of-pocket expenses incurred by them, from the Assets

    now held by, in the possession or control of, or which may be received by, the Receivership

    Defendants. The Receiver shall file with the Court and serve on the parties periodic requests for

    the payment of such reasonable compensation, with the first such request filed no more than

    sixty (60) days after the date of entry of this Order. The Receiver shall not increase the hourly

    rates used as the bases for such fee applications without prior approval of the Court.



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                                                   XIX.

                         ACCESS TO VAST CORPORATE DEFENDANTS'
                            BUSINESS PREMISES AND RECORDS

           IT IS FURTHER ORDERED that, in order to allow the FTC, the State of Florida, and

    the Receiver to preserve Assets and evidence relevant to this action, and to expedite discovery,

    Plaintiffs and the Receiver, and their agents and assistants, shall have immediate access to all

    business premises and storage facilities, owned, controlled, or used by the Vast Corporate

    Defendants, including but not limited to the offices of the Vast Corporate Defendants. Such

    locations include, but are not limited to: 2855 S. Congress Avenue, Suite AB, Delray Beach,

    Florida, 33445. The FTC, the State of Florida, and the Receiver are authorized to obtain the

    assistance of the U.S. Marshal's office and other federal, state and local law enforcement

    officers, as they deem necessary to effect service and to implement peacefully the provisions of

    this Order. The FTC, the State of Florida, and the Receiver, and their representatives, agents,

    and assistants, are authorized to remove Documents from the Vast Corporate Defendants'

    premises in order that they may be inspected, inventoried, and copied for the purpose of

    preserving discoverable material in connection with this action. Plaintiffs shall return such

    material within seven (7) business days of completing inspection, inventory and copying.

    Plaintiff's access to the Vast Corporate Defendants' documents pursuant to this Section shall not

    provide grounds for the Vast Corporate Defendants to object to any subsequent request for

    documents served by any Plaintiff.

           The Vast Defendants and all employees or agents of the Vast Corporate Defendants shall

    provide the FTC, the State of Florida, and the Receiver with any necessary means of access to

    the Vast Corporate Defendants' Documents and records, including, without limitation, the




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    locations of the Vast Corporate Defendants' business premises, keys and combinations to locks,

    computer access codes, and storage area access information;

           If any computers or other electronic data storage devices containing information related

    to the business practices or finances of the Vast Corporate Defendants are at a location other than

    those listed herein, including the personal residences of the Vast Individual Defendants, then

    immediately upon service of this Order upon them the Vast Individual Defendants shall produce

    to the Receiver all such computers and other electronic data storage devices. In order to prevent

    the destruction of electronic data, upon service of this Order upon the Vast Defendants, any

    computers or other electronic data storage devices containing such information shall be powered

    down (turned off) in the normal course for the operating systems used on such devices and shall

    not be used until produced for copying and inspection, along with any codes needed for access.

           Furthermore, the Receiver shall allow the Vast Defendants reasonable access to the

    premises and business records of the Vast Corporate Defendants within his possession for the

    purpose of inspecting and copying any Documents relevant to this action. Subject to the Court's

    authority to supersede the Receiver's actions, the Receiver shall have the discretion to determine

    the time, manner, and reasonable conditions of such access.


                                                    xx.
                    IMMEDIATE PRODUCTION OF BUSINESS RECORDS BY
                               THE BOOST DEFENDANTS

           IT IS FURTHER ORDERED that Boost Defendants shall, within ten (10) days of the

    entry of this Order, produce to Plaintiffs for inspection, inventory, and/or copying, at a location

    designated by Plaintiffs, the following materials:




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           A.      All PC HealthBoost Product sales or marketing materials, including, but not

    limited to all iterations of the PC HealthBoost Product's free scan;

           B.      All customer information, including names, phone numbers, addresses, e-mail

    addresses, customer lists, and payment and refund information for all consumers who have

    purchased PC HealthBoost, or any other goods or services, directly from the Boost Defendants or

    through a third-party on behalf of the Boost Defendants;

           C.      All Documents related to the Boost Defendants' association with the Vast

    Defendants;

           D.      All complaints, including all refund requests, from customers, whether sent

    directly to the Boost Defendants or received through any law enforcement agency or third-party

    organizations such as the Better Business Bureau, and any responses from the Boost Defendants;

           E.      All accounting information, including sales data, profit and loss statements,

    annual reports, receipt books, ledgers, reports generated by accounting software, and names and

    contact information for all accounting professionals retained or utilized by or on behalf of the

    Defendants;

           F.      Recordings of any sales calls or customer service calls;

           G.      Any agreements and correspondence (including e-mail, short message service

    (SMS), instant messaging, or any other electronic communication) between any Boost Defendant

    and any payment processing company, independent sales organization, or financial institution;

    and

           H.      All computers and electronic data, in whatever form, used by the Boost Corporate

    Defendant, as well as all access codes, passwords, log-in information, and equipment needed to

    access such material. Within one (1) business day of the entry of this Order, the Boost



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    Defendants shall (i) notify counsel for the Plaintiffs of the name and location of any person or

    entity that is hosting, storing, or otherwise maintaining electronic data ("Electronic Data Host")

    related the Boost Defendants' operations; and (2) serve this Order on any such person or entity.

    The Boost Defendants shall provide such Electronic Data Host with their consent for the

    Plaintiffs and their agents to receive access to Boost Corporate Defendant's data for forensic

    imaging and the Boost Defendants shall execute any documents and otherwise cooperate as

    necessary to facilitate such access.

           The Plaintiffs shall return any material produced pursuant to this Section within twelve

    (12) days of the Boost Defendants' production.

                                                    XXI.

                                       EXPEDITED DISCOVERY

           IT IS FURTHER ORDERED that, notwithstanding the time periods, notice provisions,

    and other requirements of Rules 26(d), 26(t), and 30(a)(2)(c) of the Federal Rules of Civil

    Procedure, and pursuant to Federal Rules of Civil Procedure 30(a), 34, and 45, the FTC is

    granted leave, at any time after entry of this Order, to conduct limited expedited discovery as to

    parties and non-parties for the purpose of discovering: ( 1) the nature, location, status, and extent

    of Defendants' Assets; (2) the nature and location of Documents reflecting Defendants'

    businesses, business transactions, and operations; or (3) compliance with this Order. Procedures

    for conducting such discovery shall be determined at the hearing scheduled for the entry of a

    preliminary injunction.




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                                                  XXIII.

                      DURATION OF TEMPORARY RESTRAINING ORDER

              IT IS FURTHER ORDERED that the Temporary Restraining Order granted herein

    shall expire fourteen (14) days from the date of entry noted below unless, within such time, the

    Order is extended for an additional period not to exceed fourteen ( 14) days for good cause

    shown, or unless, as to any Defendant, such Defendant consents to an extension for a longer

    period.

                                                  XXIV.

                             PRELIMINARY INJUNCTION HEARING

              IT IS FURTHER ORDERED, pursuant to Federal Rule of Civil Procedure 65(b), that

    each Defendant shall appear before this Court on the 24 th day of November, 2014, at 1:00

    o'clock p.m., 70 I Clematis Street, West Palm Beach, FL 33401, Courtroom 4, to show cause, if

    there is any, why this Court should not enter a Preliminary Injunction enjoining the violations of

    law alleged in the Complaint, continuing the freeze of their Assets, and imposing such additional

    relief as may be appropriate.




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                                                 XXV.

                                 RETENTION OF JURISDICTION

           IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

    all purposes.



           DONE AND ORDERED in chambers in West Palm Beach, Palm Beach County,

    Florida, this 12th day of November, 2014 at 2:16 p.m.




                                                                 //
                                                             /4:::....---,,L. ______
                                                            KENNETH A. MARRA
                                                            United States District Judge




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                     PLAINTIFF'S EXHIBIT 38 - 10
                             FTC v. Centro Natural Corp.
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 14-23879-CIV-ALTONAGA/O'Sullivan

    FEDERAL TRADE COMMISSION,

           Plaintiff,
    vs.

    CENTRO NATURAL CORP., et al.,

           Defendants, and

    BIONORE INC.,

                  Relief Defendant.

                                          I

                        SEALED TEMPORARY RESTRAINING ORDER

           Plaintiff, the Federal Trade Commission ("FTC"), has filed its Complaint for Permanent

    Injunction and Other Equitable Relief pursuant to Sections 13(b) and 19 of the Federal Trade

    Commission Act ("FTC Act"), 15 U.S.C. §§ 53(b) and 57b, Section 814 of the Fair Debt

    Collection Practices Act ("FDCPA"), 15 U.S.C. § 1692/, and the Telemarketing and Consumer

    Fraud and Abuse Prevention Act ("Telemarketing Act"), 15 U.S.C. §§ 6101-6108 [ECF No. l],

    and has moved, pursuant to Federal Rule of Civil Procedure 65(b), for a Temporary Restraining

    Order, and for an Order to Show Cause Why a Preliminary Injunction Should Not Issue against

    Defendants Centro Natural Corp; Sumore, L.L.C.; Carolina Orellana; Damian Biondi; Javier

    Sumbre; Jessica Anzola; and proposed Relief Defendant Bionore Inc. (the "Motion") [ECF No.

    4].
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                                                     Case No. 14-23879-CIV-ALTONAGA/O'Sullivan


                                        I. FINDINGS OF FACT

           The Court, having considered the Complaint, the ex parte Motion for a Temporary

    Restraining Order, declarations, exhibits, and the memorandum of points and authorities filed in

    support thereof, and being otherwise advised, finds that:

    1.     This Court has jurisdiction over the subject matter of this case, and there is good cause to

           believe that it will have jurisdiction over all parties hereto and that venue in this district is

           proper.

    2.     There is good cause to believe Defendants have engaged in and are likely to engage in

           acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and the

           FDCPA, 15 U.S.C. §§ 1692-1692p, and the FTC's Trade Regulation Rule entitled

           "Telemarketing Sales Rule" ("TSR"), 16 C.F.R. Part 310, and that the FTC is therefore

           likely to prevail on the merits of this action.         As demonstrated by the consumer

           declarations, transcripts of calls with and from the Defendants, consumer complaints, and

           the additional documentation filed by the FTC, the FTC has established a likelihood of

           success in showing that the Defendants have made serious misrepresentations leading

           consumers to believe that they are facing legal action and other consequences if they fail

           to pay an alleged debt. Through the documentation filed by the FTC, the FTC has also

           established a likelihood of success in showing that the Defendants have violated the TSR

           by engaging in deceptive and abusive call tactics and disregarding the TSR requirements

           regarding the Do Not Call Registry.

    3.     There is good cause to believe that immediate and irreparable harm will result from the

           Defendants' ongoing violations of Section 5(a) of the FTC Act, the FDCPA, and the TSR

           unless Defendants are restrained and enjoined by Order of this Court.




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    4.   There is good cause to believe that immediate and irreparable damage to the Court's

         ability to grant effective final relief for consumers (including monetary restitution,

          rescission, disgorgement or refunds) will occur from the sale, transfer, destruction or

         other disposition or concealment by Defendants of their Assets, Documents, records or

         other evidence if Defendants are provided with advance notice of this Order, and that

         therefore, in accordance with Fed. R. Civ. P. 65(b), the interests of justice require that

         this order be granted without prior notice to Defendants. Thus, there is good cause for

          relieving the FTC of the duty to provide Defendants with prior notice of the FTC's

          Motion for a Temporary Restraining Order.

    5.   Good cause also exists for: (a) the appointment of a Temporary Receiver over Corporate

         Defendants; (b) the freezing of Defendants' and Relief Defendant's Assets; and (c)

         ancillary relief ordered below.

    6.    Weighing the equities and considering the FTC's likelihood of ultimate success on the

         merits, it is in the public interest that the Court enter a Temporary Restraining Order that:

         (I) enjoins and restrains Defendants from engaging in further unlawful conduct; (2)

          imposes a temporary freeze on the Assets of Defendants and Relief Defendant; (3)

         appoints a Temporary Receiver over the Corporate Defendants to marshal and preserve

         their Assets, manage their business affairs, and ascertain whether they engage in any

          lawful, profitable activity; (4) grants permission to the FTC and the Temporary Receiver

         to immediately access the premises and records of the Corporate Defendants, and the

          records of the Relief Defendant; (5) requires that Defendants and Relief Defendant fully

         disclose all their Assets; (6) allows for limited expedited discovery; and (7) imposes

          limited temporary travel restrictions over the Individual Defendants.




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    7.     The FTC is an independent agency of the United States of America and no security is

           required of any agency of the United States for issuance of a temporary restraining order.

           Fed. R. Civ. P. 65(c).

                                             II. DEFINITIONS

           For the purpose of this Temporary Restraining Order ("Order"), the following definitions

    shall apply:

    1.     "Asset" means any legal or equitable interest in, right to, or claim to, any real, personal,

           or intellectual property including chattel, goods, instruments, equipment, fixtures, general

            intangibles, effects, leaseholds, contracts, mail or other deliveries, shares or stock,

            securities, inventory, checks, notes, accounts, credits, receivables (as those terms are

           defined in the Uniform Commercial Code), insurance policies, lines of credit, cash, trusts

           (including asset protection trusts), lists of consumer names and reserve funds or any other

           accounts associated with any payments processed by, or on behalf of, any Defendant,

            including such reserve funds held by payment processors, credit card processors, banks or

           other financial institutions.

    2.     "Assisting Others" means providing substantial assistance or support, including any of

           the following goods or services, to another entity: (1) performing customer service

           functions, including charging consumers for products or services, or receiving or

           responding to consumer complaints; (2) formulating or providing, or arranging for the

           formulation or provision of, any sales script or other marketing material; (3) providing

            names of, or assisting in the generation of, potential customers; (4) performing or

           providing marketing or billing services of any kind; (5) processing credit and debit card

           payments; or (6) acting as an officer or director of a business, corporation or other entity.




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    3.    "Corporate Defendants" means, individually, collectively, or in any combination,

          Centro Natural Corp and Sumore, L.L.C. and their subsidiaries, affiliates, successors, and

          assigns.

    4.    "Debt Collection" means any attempt to collect, directly or indirectly, debts owed or

          asserted to be owed, or due.

    5.    "Defendants" means the Individual Defendants and the Corporate Defendants,

          individually, collectively, or in any combination.

    6.    "Document" or "Documents" includes writings, drawings, graphs, charts, photographs,

          sound and video recordings, images, Internet sites, Web pages, Web sites, electronic

          correspondence, including e-mail and instant messages, contracts, accounting data,

          advertisements (including advertisements placed on the World Wide Web), FTP Logs,

          Server Access Logs, USENET Newsgroup postings, World Wide Web pages, books,

          written or printed records, handwritten notes, telephone logs, telephone scripts, receipt

          books, ledgers, personal and business canceled checks and check registers, bank

          statements, appointment books, computer records, and any other electronically stored

          information, and other data or data compilations from which information can be obtained

          directly or, if necessary, after translation into a reasonably usable form.   A draft or non-

          identical copy is a separate document within the meaning of the term.

    7.    "Individual Defendants" means Carolina Orellana, Damian Biondi, Javier Sumbre, and

          Jessica Anzola, individually, collectively, or in any combination.

    8.     "Person" means a natural person, organization, or other legal entity, including a

          corporation,   limited   liability   company,   partnership,   proprietorship,   association,




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           cooperative, government or governmental subdivision or agency, or any other group or

           combination acting as an entity.

    9.     "Plaintiff' or "Commission" or "FTC" means the Federal Trade Commission.

    10.     "Receiver" or "Temporary Receiver" means the temporary receiver appointed m

           Section XIV of this Order and any deputy receivers that shall be named by the temporary

           receiver.

    11.    "Receivership Defendants" means the Corporate Defendants.

    12.    "Relief Defendant" means Bionore Inc. and its subsidiaries, affiliates, successors, and

           assigns.

    13.     "Telemarketer" means any Person who, in connection with telemarketing, initiates or

           receives telephone calls to or from a customer or donor.

    14.    "Telemarketing" means any plan, program, or campaign that is conducted to induce the

           purchase of goods or services or a charitable contribution by use of one or more

           telephones.

                            III. BAN REGARDING DEBT COLLECTION

           IT IS HEREBY ORDERED that Defendants are restrained and enjoined from engaging

    in Debt Collection or Assisting others engaged in Debt Collection, whether directly or through

    an intermediary.

                                  IV. BAN ON TELEMARKETING

           IT IS FURTHER ORDERED that Defendants are restrained and enjoined from

    engaging in Telemarketing or Assisting others engaged in Telemarketing, whether directly or

    through an intermediary.




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               V. PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

           IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, servants,

    employees, and attorneys, and all other Persons in active concert or participation with any of

    them, who receive actual notice of this Order, whether acting directly or indirectly, in connection

    with the sale of any good or service, are hereby temporarily restrained and enjoined from:

    A.     Selling, renting, leasing, transferring, or otherwise disclosing the name, address,

           telephone number, credit card number, bank account number, email address, or other

           identifying information of any Person who paid money to a Defendant or who were

           contacted or are on a list to be contacted by any Defendant; and

    B.     Selling, renting, leasing, transferring, or otherwise disclosing the name, address,

           telephone number, credit card number, bank account number, email address, or other

           identifying information of any Person who paid money to a Defendant or who were

           contacted or are on a list to be contacted by any Defendant; and

    C.     Benefitting from or using the name, address, birth date, telephone number, email address,

           Social Security number, Social Insurance number, credit card number, bank account

           number, or other financial or identifying personal information of any Person from whom

           or about whom any Defendant obtained such information in connection with any activity

           that pertains to the subject matter of this Order.

    PROVIDED, however, that the Defendants may disclose such identifying information to a law

    enforcement agency or as required by any law, regulation, or court order.

                                             VI. ASSET FREEZE

           IT IS FURTHER ORDERED that Defendants and Relief Defendant, and their officers,

    agents, servants, employees, and attorneys, and all other Persons in active concert or




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    participation with any of them, who receive actual notice of this Order, whether acting directly or

    indirectly, are hereby temporarily restrained and enjoined from:

    A.     Transferring,       liquidating,   converting,   encumbering,   pledging,   loaning,   selling,

           concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing,

           granting a lien or security interest or other interest in, or otherwise disposing any funds,

           real or personal property, accounts, contracts, shares of stock, lists of consumer names, or

           other Assets, or any interest therein, wherever located, including outside the United

           States, that are:

                   I. owned, controlled or held, in whole or in part, by any Defendant or Relief

                       Defendant;

                   2. held, in whole or in part, for the direct or indirect benefit of, any Defendant or

                       Relief Defendant;

                   3. in the actual or constructive possession of any Defendant or Relief Defendant;

                   4. held by an agent of any Defendant or Relief Defendant as a retainer for the

                       agent's provision of services to Defendants or Relief Defendant;

                   5. owned or controlled by, or in the actual or constructive possession of, or

                       otherwise held for the benefit of, any corporation, partnership, asset protection

                       trust, or other entity that is directly or indirectly owned, managed or controlled

                       by any of the Defendants or Relief Defendant, or of which any Defendant or

                       Relief Defendant is an officer, director, member, or manager. This includes

                       any Assets held by, for, or subject to access by, any of the Defendants or

                       Relief Defendant at any bank or savings and loan institution, or at/with any

                       broker-dealer, escrow agent, title company, insurance company, commodity




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                     trading company, precious metal dealer, payment processor, credit card

                     processor, acquiring bank, merchant bank, independent sales organization,

                     third party processor, payment gateway or other financial institution or

                     depository of any kind; or

                 6. held in any account for which any Defendant or Relief Defendant is, or was

                     on the date that this Order was signed, an authorized signor.

    B.    Opening or causing to be opened any safe deposit boxes, commercial mail boxes, or

          storage facilities titled in the name of any Defendant or Relief Defendant, either

          individually or jointly, or subject to access by any Defendant or Relief Defendant, except

          as necessary to comply with Section XV of this Order;

    C.    Obtaining a personal or secured loan encumbering the Assets of any Defendant or Relief

          Defendant, or subject to access by any Defendant or Relief Defendant;

    D.    Incurring liens or other encumbrances on real property, personal property, or other Assets

          in the name, individually or jointly, of any Defendant or Relief Defendant or of any

          corporation, partnership, or other entity directly or indirectly owned, managed, or

         controlled by any Defendant or Relief Defendant; or

    E.    Incurring charges or cash advances on any credit or bank card issued in the name,

          individually or jointly, of any Corporate Defendant or Relief Defendant or any

          corporation, partnership, or other entity directly or indirectly owned, managed, or

          controlled by any Defendant or Relief Defendant or of which any Defendant or Relief

          Defendant is an Officer, Director, Member, or Manager. This includes any corporate

          bank card or corporate credit card account for which any Defendant or Relief Defendant

          is, or was on the date that this Order was signed, an authorized signor.




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           PROVIDED that the Assets affected by this Section shall include: (a) all Assets of the

    Corporate Defendants and Relief Defendant; and (b) all Assets of the Individual Defendants

    existing as of the date this Order was entered, or acquired by any Individual Defendant following

    entry of this Order, if such Assets are derived from any activity that is the subject of the

    Commission's Complaint or that is prohibited by this Order.

                      VII. DUTIES OF HOLDERS OF DEFENDANTS' ASSETS

           IT IS FURTHER ORDERED that any financial or brokerage institution, credit card

    processor, payment processor, merchant bank, acquiring bank, independent sales organization,

    third party processor, payment gateway, insurance company, business entity, or Person served

    with a copy of this Order that (a) holds, controls, or maintains custody of any account or Asset of

    any Defendant or Relief Defendant, (b) holds, controls, or maintains custody of any Asset

    associated with credits, debits or charges made on behalf of any Defendant or Relief Defendant,

    including reserve funds held by payment processors, credit card processors, payment merchant

    banks, acquiring banks, independent sales organizations, third party processors, payment

    gateways, insurance companies or other entities, or (c) has held, controlled, or maintained

    custody of any such account or Asset at any time since the date of entry of this Order shall:

    A.     Hold and retain within its control and prohibit the withdrawal, removal, assignment,

           transfer, pledge, encumbrance, disbursement, dissipation, relinquishment, conversion,

           sale, or other disposal of any such Assets, as well as all Documents or other property

           related to such Assets, except by further order of this Court;

    B.     Deny any Person, except the Receiver acting pursuant to Section XV of this Order, access

           to any safe deposit box, commercial mail box, or storage facility that is:




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                 1. titled in the name of any Defendant or Relief Defendant, either individua11y or

                    jointly; or

                 2. otherwise subject to access by any Defendant or Relief Defendant;

    C.    Provide the FTC's counsel and the Receiver, within five (5) days of receiving a copy of

         this Order, a sworn statement setting forth:

                 1. the identification number of each account or Asset:

                          a) titled in the name, individua11y or jointly, of any of the Defendants or

                              Relief Defendant;

                          b) held on behalf of, or for the benefit of, any of the Defendants or

                              Relief Defendant; or

                          c) associated with credit or debit charges made on behalf of Defendants

                              or Relief Defendant;

                 2. the balance of each such account, or a description of the nature and value of

                    each such Asset as of the close of business on the day on which this Order is

                    served, and, if the account or other Asset has been closed or removed, the date

                    closed or removed, the total funds removed in order to close the account, and

                    the name of the Person or entity to whom such account or other Asset was

                    remitted; and

                 3. the identification of any safe deposit box, commercial mail box, or storage

                    facility that is either titled in the name, individua11y or jointly, of any of the

                    Defendants or Relief Defendant, or is otherwise subject to access by any of

                    the Defendants or Relief Defendant; and




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    D.     Upon the request of the FTC or the Receiver, promptly provide the FTC and the Receiver

           with copies of all records or other Documentation pertaining to such account or Asset,

           including originals or copies of account applications, account statements, signature cards,

           checks, drafts, deposit tickets, transfers to and from the accounts, including wire transfers

           and wire transfer instructions, all other debit and credit instruments or slips, currency

           transaction reports, 1099 forms, and all logs and records pertaining to such safe deposit

           boxes, commercial mail boxes and storage facilities.

                                      VIII. FINANCIAL REPORTS

           IT IS FURTHER ORDERED that each Defendant and Relief Defendant, within five (5)

    days of service of this Order upon them, shall prepare and deliver to Counsel for the Commission

    and the Receiver:

    A.     Completed financial statements on the forms attached to the Motion as Attachment A

           (Financial Statement of Individual Defendant) for themselves individually, and

           Attachment B (Financial Statement of Corporate Defendant) for each business entity

           under which they conduct business or of which they are an officer, and for each trust for

           which any Defendant or Relief Defendant is a trustee. The financial statements shall be

           accurate as of the date of entry of this Order and signed under penalty of perjury. Each

           Defendant and Relief Defendant shall include in the financial statements all information

           requested in the statements, including a full description of all funds and Assets, whether

           located inside or outside of the United States, that are: (a) titled in the name of such

           Defendant or Relief Defendant, jointly, severally, or individually; (b) held by any Person

           or entity for the benefit of such Defendant or Relief Defendant; or (c) under the direct or

           indirect control of such Defendant or Relief Defendant.             Defendants and Relief




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           Defendant shall attach to these completed financial statements copies of all local, state,

           provincial, and federal income and property tax returns, with attachments and schedules,

           as called for by the instructions to the financial statements;

    B.     A completed statement, signed under penalty of perjury, of all payments, transfers, or

           assignments of Assets worth $1,000 or more since 2011. Such statement shall include:

           (1) the amount transferred or assigned; (2) the name of each transferee or assignee; (3)

           the date of transfer or assignment; and (4) the type and amount of consideration paid to

           Defendant or Relief Defendant. Each statement shall specify the name and address of

           each financial institution and brokerage firm at which Defendant or Relief Defendant has

           accounts or safe deposit boxes. These statements shall include Assets held in foreign and

           domestic accounts; and

    C.     A completed IRS Form 4506, appended to the Motion as Attachment C, requesting tax

           returns for the past three years (2011-2014) be sent to counsel for the FTC at the

           following address:

                  Janice L. Kopec
                  Federal Trade Commission
                  600 Pennsylvania A venue NW
                  Mail Stop CC-8528
                  Washington, DC 20580
                  (202) 326-2550

                                 IX. FOREIGN ASSET REPATRIATION

           IT IS FURTHER ORDERED that within five (5) days following the service of this

    Order, each Defendant and Relief Defendant shall:

    A.      Provide the Commission and the Receiver with a full description, verified under oath

           and accurate as of the date of this Order, of all funds, Documents, and Assets outside of

           the United States which are: (I) titled in the name, individually or jointly, of any



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           Defendant or Relief Defendant; or (2) held by any Person or entity for the benefit of any

           Defendant or Relief Defendant; or (3) under the direct or indirect control, whether jointly

           or singly, of any Defendant or Relief Defendant; and

    B.     Provide the Commission and Receiver access to all records of accounts or Assets of any

           Defendant held by financial institutions located outside the territorial United States by

           signing the Consent to Release of Financial Records appended to the Motion as

           Attachment D.

    C.     Transfer to the territory of the United States and deliver to the Receiver all funds,

           Documents, and Assets located in foreign countries which are: (I) titled in the name

           individually or jointly of any Defendant or Relief Defendant; or (2) held by any Person or

           entity, for the benefit of any Defendant or Relief Defendant; or (3) under the direct or

           indirect control of any Defendant or Relief Defendant, whether jointly or singly; and

    D.     The same business day as any repatriation, (I) notify counsel for the Commission of the

           name and location of the financial institution or other entity that is the recipient of such

           funds, Documents, or Assets; and (2) serve this Order on any such financial institution or

           other entity.

                              X. INTERFERENCE WITH REPATRIATION

           IT IS FURTHER ORDERED that Defendants and Relief Defendant, and their officers,

    agents, servants, employees, and attorneys, and all other Persons in active concert or

    participation with any of them, who receive actual notice of this Order, whether acting directly or

    indirectly, are hereby temporarily restrained and enjoined from taking any action, directly or

    indirectly, which may result in the encumbrance or dissipation of foreign Assets, or in the

    hindrance of the repatriation required by Section IX of this Order, including, but not limited to:




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    A.    Sending any statement, letter, fax, email or wire transmission, or telephoning or engaging

         in any other act, directly or indirectly, that results in a determination by a foreign trustee

         or other entity that a "duress" event has occurred under the terms of a foreign trust

         agreement until such time that all Defendants' and Relief Defendant's Assets have been

         fully repatriated pursuant to Section IX of this Order; or

    B.   Notifying any trustee, protector or other agent of any foreign trust or other related entities

         of either the existence of this Order, or of the fact that repatriation is required pursuant to

         a court order, until such time that all Defendants' and Relief Defendant's Assets have

         been fully repatriated pursuant to Section IX of this Order.

   XI. TEMPORARY PASSPORT SURRENDER AND TRAVEL RESTRICTION PENDING

                    ACCOUNT IDENTIFICATION AND REPATRIATION

         IT IS FURTHER ORDERED that:

    A.    Individual Defendants shall immediately surrender to the Clerk of the Court all passports

         that he or she holds. Each Individual Defendant's passport(s) will be retained by the

         Court pending (I) each Individual Defendant's repatriation of foreign Assets and

         provision to the FTC of a sworn financial accounting as set forth in Sections VIII and IX

         supra, and (2) resolution of the Order to Show Cause, see infra, Section XXVIII, after

         which Individual Defendants may apply for return of his or her passport(s);

    B.    Individual Defendants are prohibited from traveling outside of the United States pending

          Individual Defendant's repatriation of foreign Assets and provision to the FTC of a sworn

         financial accounting as set forth in Sections VIII and IX supra, and (2) resolution of the

         Order to Show Cause, see infra, section XXVIII, after which Individual Defendants may

         apply to lift this restriction; and




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    C.     Any Individual Defendants not currently located within the United States upon service of

           the Order, shall comply with Sections XI-A and XI-B above immediately upon entry into

           the United States.

                                XII. CONSUMER CREDIT REPORTS

           IT IS FURTHER ORDERED that pursuant to Section 604(1) of the Fair Credit

    Reporting Act, 15 U.S.C. § 168lb(l), any consumer reporting agency served with this Order

    shall promptly furnish consumer reports as requested concerning any Defendant or Relief

    Defendant to counsel for the Commission.

                  XIII. PRESERVATION OF RECORDS AND REPORT OF

                                     NEW BUSINESS ACTIVITY

           IT IS FURTHER ORDERED that Defendants and Relief Defendant, and their officers,

    agents, servants, employees, and attorneys, and all other Persons in active concert or

    participation with any of them, who receive actual notice of this Order, whether acting directly or

    indirectly, are hereby temporarily restrained and enjoined from:

    A.     Destroying, erasing, falsifying, writing over, mutilating, concealing, altering, transferring,

           or otherwise disposing of, in any manner, directly or indirectly, Documents that relate to:

           (I) the business, business practices, Assets, or business or Personal finances of any

           Defendant or Relief Defendant, (2) the business practices or finances of entities directly

           or indirectly under the control of any Defendant or Relief Defendant, or (3) the business

           practices or finances of entities directly or indirectly under common control with any

           other Defendant or Relief Defendant, including: any and all marketing materials, Internet

           pages, consumer complaints, call detail records, telephone logs, telephone scripts,

           contracts, correspondence, email, corporate books and records, accounting data, financial




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           statements, receipt books, ledgers, personal and business canceled checks and check

           registers, bank statements, calendars, appointment books, and tax returns;

    B.     Failing to create and maintain Documents that, in reasonable detail, accurately, fairly, and

           completely reflect Defendants and Relief Defendant's             incomes,    disbursements,

           transactions, and use of the Defendants and Relief Defendant's Assets; and

    C.     Creating, operating, or exercising any control over any new business entity, whether

           newly formed or previously inactive, including any partnership, limited partnership, joint

           venture, sole proprietorship, or corporation, without first providing counsel for the

           Commission with a written statement disclosing: (I) the name of the business entity; (2)

           the address and telephone number of the business entity; (3) the names of the business

           entity's officers, directors, principals, managers, and employees; and (4) a detailed

           description of the business entity's intended activities.

                        XIV. APPOINTMENT OF TEMPORARY RECEIVER

           IT IS FURTHER ORDERED that Scott M. Dimond is appointed Temporary Receiver

    for the Receivership Defendants and any of their affiliates, subsidiaries, divisions, or telephone

    sales or customer service operations, wherever located, with the full power of an equity receiver.

    The Receiver shall be the agent of this Court, and solely the agent of this Court, in acting as

    Receiver under this Order. The Receiver shall be accountable directly to this Court.

                           XV. RECEIVER'S DUTIES AND AUTHORITIES

           IT IS FURTHER ORDERED that the Receiver is authorized and directed to

    accomplish the following:

    A.     Assume full control of the Receivership Defendants by removing, as the Receiver deems

           necessary or advisable, any director, officer, independent contractor, employee, or agent




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          of any of the Receivership Defendants, including any Defendant, from control of,

          management of, or participation in, the affairs of the Receivership Defendants;

    B.    Take exclusive custody, control, and possession of all Assets and Documents of, or in the

          possession, custody, or under the control of, the Receivership Defendants, wherever

          situated.   The Receiver shall have full power to divert mail and to sue for, collect,

          receive, take in possession, hold, and manage all Assets and Documents of the

          Receivership Defendants and other Persons or entities whose interests are now under the

          direction, possession, custody, or control of, the Receivership Defendants. The Receiver

          shall assume control over the Receivership Defendants' income and profits and all sums

          of money now or hereafter due or owing to the Receivership Defendants. PROVIDED,

          however, that the Receiver shall not attempt to collect any amount from a consumer if the

          Receiver believes the consumer was a victim of the deceptive acts or practices or other

          violations of law alleged in the Complaint in this matter, without prior Court approval;

    C.    Take all steps necessary to secure and take exclusive custody of each location from which

         the Receivership Defendants operate their businesses. Such steps may include, but are

          not limited to, any of the following, as the Receiver deems necessary or advisable:

          (1) serving this Order; (2) completing a written inventory of all Receivership Assets;

          (3) obtaining pertinent information from all employees and other agents of the

          Receivership Defendants, including the name, home address, Social Security Number,

         job description, company history, passwords or access codes, method of compensation,

          and all accrued and unpaid commissions and compensation of each such employee or

          agent; (4) photographing and videotaping any or all portions of the location; ( 5) securing

         the location by changing the locks and disconnecting any internet access or other means




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         of access to the computers, internet or records maintained at that location; and (6)

         requiring any Persons present on the premises at the time this Order is served to leave the

         premises, to provide the Receiver with proof of identification, or to demonstrate to the

         satisfaction of the Receiver that such Persons are not removing from the premises

         Documents or Assets of the Receivership Defendants.

    D.   Law enforcement personnel, including police or sheriffs, may assist the Receiver in

          implementing these provisions m order to keep the peace and maintain security.           If

         requested by the Receiver, the United States Marshal will provide appropriate and

          necessary assistance to the Receiver to implement this Order and is authorized to use any

          necessary and reasonable force to do so;

    E.   Conserve, hold, and manage all Assets of the Receivership Defendants, and perform all

         acts necessary or advisable to preserve the value of those Assets in order to prevent any

          irreparable loss, damage, or injury to consumers or creditors of the Receivership

          Defendants, including determining the available Assets and preventing the unauthorized

         transfer, withdrawal, or misapplication of Assets;

    F.   Enter into and cancel contracts, and purchase insurance as advisable or necessary;

    G.    Prevent the inequitable distribution of Assets and determine, adjust, and protect the

          interests of consumers and creditors who have transacted business with the Receivership

          Defendants;

    H.    Manage and administer the business of the Receivership Defendants until further order of

          this Court by performing all incidental acts that the Receiver deems to be advisable or

          necessary, which includes retaining, hiring, or dismissing any employees, independent

          contractors, or agents, provided that the Receiver shall suspend business operations of the




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          Receivership Defendants if, in the judgment of the Receiver, such operations cannot be

         continued legally or profitably;

    I.   Prevent the destruction or erasure of any web page or website registered to and operated,

         in whole or in part, by Receivership Defendants;

    J.   Choose, engage, and employ attorneys, accountants, appraisers, and other independent

         contractors and technical specialists, as the Receiver deems advisable or necessary in the

         performance of duties and responsibilities under the authority granted by this Order;

    K.   Make payments and disbursements from the receivership estate that are necessary or

         advisable for carrying out the directions of, or exercising the authority granted by, this

         Order. The Receiver shall apply to the Court for prior approval of any payment of any

         debt or obligation incurred by the Receivership Defendants prior to the date of entry of

         this Order, except payments that the Receiver deems necessary or advisable to secure

         Assets of the Receivership Defendants, such as rental payments;

    L.   Institute, compromise, adjust, appear in, intervene in, or become party to such actions or

         proceedings in state, federal or foreign courts or arbitration proceedings as the Receiver

         deems necessary and advisable to preserve or recover the Assets of the Receivership

         Defendants, or that the Receiver deems necessary and advisable to carry out the

         Receiver's mandate under this Order, including actions challenging fraudulent or

         voidable transfers;

    M.   Defend, compromise, adjust, or otherwise dispose of any or all actions or proceedings

          instituted in the past or in the future against the Receiver in his role as Receiver, or

         against the Receivership Defendants, as the Receiver deems necessary and advisable to




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           preserve the Assets of the Receivership Defendants, or as the Receiver deems necessary

           and advisable to carry out the Receiver's mandate under this Order;

    N.     Issue subpoenas to obtain Documents and records pertaining to the Receivership, and

           conduct discovery in this action on behalf of the Receivership estate;

    0.     Open one or more bank accounts as designated depositories for funds of the Receivership

           Defendants. The Receiver shall deposit all funds of the Receivership Defendants in such

           a designated account and shall make all payments and disbursements from the

           Receivership estate from such an account. The Receiver shall serve copies of monthly

           account statements on all parties;

    P.     Maintain accurate records of all receipts and expenditures incurred as Receiver;

    Q.     Cooperate with reasonable requests for information or assistance from any state or federal

           law enforcement agency; and

    R.     File timely reports with the Court at reasonable intervals, or as otherwise directed by the

           Court.

                XVI. TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

           IT IS FURTHER ORDERED that the Defendants and Relief Defendant, their officers,

    agents, servants, employees, and attorneys, and all other Persons in active concert or

    participation with any of them, who receive actual notice of this Order, and any other Person

    with possession, custody or control of property or of records relating to the Receivership

    Defendants shall upon notice of this Order by personal service or otherwise immediately notify

    the Receiver of, and, upon receiving a request from the Receiver, immediately transfer or deliver

    to the Receiver possession, custody, and control of, the following:

    A.     All Assets of the Receivership Defendants;




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    B.      All Documents of the Receivership Defendants, including books and records of accounts,

            all financial and accounting records, balance sheets, income statements, bank records

            (including monthly statements, canceled checks, records of wire transfers, and check

            registers), client lists, title Documents and other papers;

    C.      All computers, electronic devices and machines and data m whatever form used to

            conduct the business of the Receivership Defendants;

    D.      All Assets and Documents belonging to other Persons or entities whose interests are

            under the direction, possession, custody, or control of the Receivership Defendants; and

    E.     All keys, codes, user names and passwords necessary to gain or to secure access to any

            Assets or Documents of the Receivership Defendants, including access to their business

            premises, means of communication, accounts, computer systems, or other property.

    In the event that any Person or entity fails to deliver or transfer any Asset or Document, or

    otherwise fails to comply with any provision of this Section, the Receiver may file ex parte an

    Affidavit of Non-Compliance regarding the failure. Upon filing of the affidavit, the Court may

    authorize, without additional process or demand, Writs of Possession or Sequestration or other

    equitable writs requested by the Receiver. The writs shall authorize and direct the United States

    Marshal or any sheriff or deputy sheriff of any county, or any other federal or state law

    enforcement officer, to seize the Asset, Document, or other item covered by this Section and to

    deliver it to the Receiver.

                       XVII. PROVISION OF INFORMATION TO RECEIVER

            IT IS FURTHER ORDERED that Defendants and Relief Defendant shall provide to the

    Receiver, immediately upon request, the following:




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    A.     A list of all Assets and property, including accounts, of the Receivership Defendants that

           are held in any name other than the name of a Receivership Defendant, or by any Person

           or entity other than a Receivership Defendant; and

    B.     A list of all agents, employees, officers, servants or those Persons in active concert and

           participation with the Defendants, who have been associated or done business with the

           Receivership Defendants.

                         XVIII. COOPERATION WITH THE RECEIVER

           IT IS FURTHER ORDERED that Defendants and Relief Defendant, their officers,

    agents, servants, employees, and attorneys, and all other Persons in active concert or

    participation with any of them, who receive actual notice of this Order, and any other Person

    served with a copy of this Order shall fully cooperate with and assist the Receiver in taking and

    maintaining possession, custody, or control of the Assets of the Receivership Defendants. This

    cooperation and assistance shall include, but not be limited to: providing information to the

    Receiver that the Receiver deems necessary to exercise the authority and discharge the

    responsibilities of the Receiver under this Order; providing any password required to access any

    computer, electronic file, or telephonic data in any medium; advising all Persons who owe

    money to the Receivership Defendants that all debts should be paid directly to the Receiver; and

    transferring funds at the Receiver's direction and producing records related to the Assets and

    sales of the Receivership Defendants. The entities obligated to cooperate with the Receiver

    under this provision include, but are not limited to, banks, broker-dealers, savings and loans,

    escrow agents, title companies, commodity trading companies, precious metals dealers, credit

    card processors, payment processors, merchant banks, acquiring banks, independent sales

    organizations, third party processors, payment gateways, insurance companies and other




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    financial institutions and depositories of any kind, as well as all common earners,

    telecommunications companies and third-party billing agents.

           XIX. PROHIBITION ON INTERFERENCE WITH THE RECEIVER'S WORK

           IT IS FURTHER ORDERED that Defendants and Relief Defendant, their officers,

    agents, servants, employees, attorneys, and all other Persons in active concert or participation

    with any of them, who receive actual notice of this Order, and their corporations, subsidiaries,

    divisions, or affiliates, are hereby restrained and enjoined from:

    A.     Interfering with the Receiver's efforts to manage, or take custody, control, or possession

           of, the Assets or Documents subject to this Receivership;

    B.     Transacting any of the business of the Receivership Defendants;

    C.     Transferring, receiving, altering, selling, encumbering, pledging, assigning, liquidating,

           or otherwise disposing of any Assets owned, controlled, or in the possession or custody

           of, or in which an interest is held or claimed by, the Receivership Defendants or the

           Receiver; and

    D.     Refusing to cooperate with the Receiver or the Receiver's duly authorized agents in the

           exercise of their duties or authority under any order of this Court.

                XX. STAY OF ACTIONS AGAINST RECEIVERSHIP DEFENDANTS

           IT IS FURTHER ORDERED that, except by leave of this Court, during the pendency

    of the Receivership ordered herein, Defendants, Relief Defendant, their officers, agents, servants,

    employees, attorneys, and all other Persons in active concert or participation with any of them,

    who receive actual notice of this Order, and their corporations, subsidiaries, divisions, or

    affiliates, and all investors, creditors, stockholders, lessors, customers and other Persons seeking

    to establish or enforce any claim, right, or interest against or on behalf of Defendants or Relief




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    Defendant, and all others acting for or on behalf of such Persons, are hereby enjoined from

    taking action that would interfere with the exclusive jurisdiction of this Court over the Assets or

    Documents of the Receivership Defendants, including:

    A.     Filing or assisting in the filing of a petition for relief under the Bankruptcy Code, 11

           U.S.C. § 101 et seq., or of any similar insolvency proceeding.

    B.     Commencing, prosecuting, or continuing a judicial, administrative, or other action or

           proceeding against the Receivership Defendants, including the issuance or employment

           of process against the Receivership Defendants, except that such actions may be

           commenced if necessary to toll any applicable statute of limitations;

    C.     Filing or enforcing any lien on any asset of the Receivership Defendants, taking or

           attempting to take possession, custody, or control of any asset of the Receivership

           Defendants; or attempting to foreclose, forfeit, alter, or terminate any interest in any asset

           of the Receivership Defendants, whether such acts are part of a judicial proceeding, are

           acts of self-help, or otherwise; or

    D.     Initiating any other process or proceeding that would interfere with the Receiver

           managing or taking custody, control, or possession of, the Assets or Documents subject to

           this receivership.

    Provided that, this Order does not stay: (i) the commencement or continuation of a criminal

    action or proceeding; (ii) the commencement or continuation of an action or proceeding by a

    governmental unit to enforce such governmental unit's police or regulatory power; or (iii) the

    enforcement of a judgment, other than a money judgment, obtained in an action or proceeding by

    a governmental unit to enforce such governmental unit's police or regulatory power.




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                                XXI. COMPENSATION OF RECEIVER

           IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

    as herein authorized, including counsel to the Receiver and accountants, are entitled to

    reasonable compensation for the performance of duties pursuant to this Order and for the cost of

    actual out-of-pocket expenses incurred by them, from the Assets now held by, in the possession

    or control of, or which may be received by, the Receivership Defendants. The Receiver shall file

    with the Court and serve on the parties periodic requests for the payment of such reasonable

    compensation, with the first such request filed no more than sixty (60) days after the date of

    entry of this Order. The Receiver shall not increase the hourly rates used as the bases for such

    fee applications without prior approval of the Court.

                                       XXII. RECEIVER'S BOND

           IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this Court a

    bond in the sum of $1,000,000 with sureties to be approved by the Court, conditioned that the

    Receiver will well and truly perform the duties of the office and abide by and perform all acts the

    Court directs. 28 U.S.C. § 754.

                    XXIII. ACCESS TO BUSINESS OFFICES AND RECORDS

           IT IS FURTHER ORDERED that, in order to allow the Commission and the Receiver

    to preserve Assets and evidence relevant to this action, and to expedite discovery, Commission

    counsel and the Receiver, and their agents, and assistants, shall have immediate access to the

    business premises and storage facilities, owned, controlled, or used by the Receivership

    Defendants. Such locations include, but are not limited to: 1001 N Federal Hwy, Suite 319,

    Hallandale Beach, FL 33009 and any offsite commercial mail boxes used by any Receivership

    Defendant. The Commission and the Receiver, and their representatives, agents, and assistants,




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    are authorized to obtain the assistance of the U.S. Marshal's office and other federal, state and

    local law enforcement officers as they deem necessary to effect service and to implement

    peacefully the provisions of this Order.

           Furthermore, in order to allow the Commission and the Receiver to preserve Assets and

    evidence relevant to this action, and to expedite discovery, Commission counsel and the

    Receiver, and their agents, and assistants, shall have immediate access to the records of the

    Receivership Defendants and the records of the Relief Defendant. The Commission and the

    Receiver, and their representatives, agents, and assistants, are authorized to remove Documents

    from the Receivership Defendants' and Relief Defendant's premises in order that they may be

    inspected, inventoried, and copied for the purpose of preserving discoverable material in

    connection with this action.

           Furthermore, the Receiver shall allow the Defendants and Relief Defendant reasonable

    access to the premises and records of the Receivership Defendants and the records of the Relief

    Defendant within his possession for the purpose of inspecting and copying materials relevant to

    this action. The Receiver shall have the discretion to determine the time, manner, and reasonable

    conditions of such access.

                      XXIV. DISTRIBUTION OF ORDER BY DEFENDANTS

           IT IS FURTHER ORDERED that the Defendants shall immediately provide a copy of

    this Order to each affiliate, telemarketer, marketer, sales entity, successor, assign, member,

    officer, director, employee, agent, independent contractor, client, servant, attorney, spouse,

    subsidiary, division, and representative of any Defendant, and shall, within ten (10) days from

    the date of entry of this Order, and provide the Commission and the Receiver with a sworn

    statement that this provision of the Order has been satisfied, which statement shall include the




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    names, physical addresses, phone number, and email addresses of each such Person or entity

    who received a copy of the Order. Furthermore, Defendants shall not take any action that would

    encourage    officers,   agents,   members,   directors,   employees,   salespersons,   independent

    contractors, attorneys, subsidiaries, affiliates, successors, assigns or other Persons or entities in

    active concert or participation with them to disregard this Order or believe that they are not

    bound by its provisions.

                                       XXV. EXPEDITED DISCOVERY

           IT IS FURTHER ORDERED that, notwithstanding the provisions of the Federal Rules

    of Civil Procedure 26(d) and (f) and 30(a)(2)(c), and pursuant to Federal Rules of Civil

    Procedure 30(a), 34, and 45, the Commission is granted leave, at any time after service of this

    Order, to conduct limited expedited discovery as set forth in this Section. For the purpose of

    discovering the (1) nature, location, status, and extent of Defendants' and Relief Defendant's

    Assets, (2) nature and location of Documents reflecting the Defendants' businesses, business

    transactions and operations, (3) the telecommunications providers that Defendants utilize to

    conduct the practices alleged in the FTC's complaint; or (4) compliance with this Order:

    A.     Take the deposition of any Person on 48 hours notice. The limitations and conditions set

           forth in Rules 30(a)(2)(B) and 31 (a)(2)(B) of the Federal Rules of Civil Procedure

           regarding subsequent depositions of an individual shall not apply to depositions taken

           pursuant to this Section. Any such deposition taken pursuant to this Section shall not be

           counted towards the deposition limit set forth in Rules 30(a)(2)(A) and 3 l(a)(2)(A) and

           depositions may be taken by telephone or other remote electronic means;

    B.     Demand the production of Documents, on five (5) days of notice, from any Person,

           whether or not a party, provided that three (3) days of notice shall be deemed sufficient




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           for the production of any such Documents that are maintained or stored only m an

           electronic format;

    C.     Service of discovery upon a party to this lawsuit, taken pursuant to this Section, shall be

           sufficient if made by facsimile, email or by overnight delivery. Any expedited discovery

           taken pursuant to this Section is in addition to, and is not subject to, the limits on

           discovery set forth in the Federal Rules of Civil Procedure and Local Rules of this Court;

    D.     If a Defendant or Relief Defendant fails to appear for a properly noticed deposition or

           fails to comply with a request for production or inspection, that Defendant or Relief

           Defendant may be prohibited from introducing evidence at the hearing on the

           Commission's request for a preliminary injunction;

    E.     The expedited discovery permitted by this Section does not reqmre a meeting or

           conference of the parties, pursuant to Rules 26(d) & (f) of the Federal Rules of Civil

           Procedure; and

    F.     The Parties are exempted from making initial disclosures under Federal Rule of Civil

           Procedure 26(a)(l)(B) until further order of this Court.

                                 XXVI. SERVICE OF THIS ORDER

           IT IS FURTHER ORDERED that copies of this Order as well as the Motion for

    Temporary Restraining Order and all other pleadings, Documents, and exhibits filed

    contemporaneously with that Motion (other than the complaint and summons), may be served by

    any means, including facsimile transmission, electronic mail or other electronic messaging,

    personal or overnight delivery, or by U.S. Mail and/or FedEx, by agents and employees of

    Plaintiff, by any law enforcement agency, or by private process server, upon any Defendant or

    any Person (including any financial institution) that may have possession, custody or control of




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    any property, property right, Document, or Asset of any Defendant or Relief Defendant, or that

    may be subject to any provision of this Order pursuant to Rule 65(d)(2) of the Federal Rules of

    Civil Procedure. For purposes of this Section, service upon any branch, subsidiary, affiliate or

    office of any entity shall effect service upon the entire entity. This Order shall bind Persons

    (including entities) that may be subject to any provision of this Order pursuant to Rule 65( d)(2)

    of the Federal Rules of Civil Procedure upon such Person's receipt of actual notice, by personal

    service or otherwise, of this Order. See Fed. R. Civ. P. 65(d)(2).

             XXVII. CORRESPONDENCE AND SERVICE ON THE COMMISSION

           IT IS FURTHER ORDERED that, for the purpose of this Order, all correspondence

    and service of pleadings on the Commission shall be addressed to:

           Janice Kopec
           Dotan Weinman
           Federal Trade Commission
           600 Pennsylvania A venue NW
           Mail Stop CC-8528
           Washington, DC 20580
           (202) 326-2550 (Kopec phone)
           (202) 326-3049 (Weinman phone)
           (202) 326-3395 (fax)
           jkopec@ftc.gov
           dweinman@ftc.gov

                        XXVIII. PRELIMINARY INJUNCTION HEARING

           IT IS FURTHER ORDERED that, pursuant to Fed. R. Civ. P. 65(b), Defendants and

    Relief Defendant shall appear before this Court on Friday, October 31, 2014, at 10:00 a.m., to

    show cause, if there is any, why the Court should not enter a preliminary injunction, pending

    final ruling on the Complaint against Defendants and Relief Defendant, enjoining the violations

    of the law alleged in the Commission's Complaint, continuing the freeze of their Assets,

    continuing the Receivership, and imposing such additional relief as may be appropriate.




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        XXIX. BRIEFS & AFFIDAVITS CONCERNING PRELIMINARY INJUNCTION

           IT IS FURTHER ORDERED that the Defendants and Relief Defendant shall file with

    the Court and serve on the Commission's counsel any answering pleadings, affidavits, motions,

    expert reports or declarations, and/or legal memoranda no later than seven (7) days prior to the

    hearing on the Commission's request for a preliminary injunction. The Commission may file

    responsive or supplemental pleadings, materials, affidavits, or memoranda with the Court and

    serve the same on counsel for the Defendants and Relief Defendant no later than one (1) day

    prior to the preliminary injunction hearing in this matter. Provided, however, such affidavits,

    pleadings, motions, expert reports, declarations, legal memoranda and/or oppositions must be

    served by personal or overnight delivery, facsimile or email, and be received by the other party

    or parties no later than 5 :00 p.m. (Eastern Daylight Time) on the appropriate dates set forth in

    this Section.

           An evidentiary hearing on the Commission's request for a preliminary injunction is not

    necessary unless Defendants demonstrate that they have, and intend to introduce, evidence that

    raises a genuine and material factual issue. See, e.g., McDonald's Corp. v. Robertson, 147 F .3d

    1301, 1312-13 (11th Cir. 1998). The question of whether the Court should enter a preliminary

    injunction shall be resolved on the pleadings, declarations, exhibits, and memoranda filed by,

    and oral argument of, the parties. Live testimony shall be heard only on further order of this

    Court. Any motion to permit such testimony shall be filed with the Court and served on counsel

    for the other parties at least five (5) days prior to the preliminary injunction hearing in this

    matter. Such motion shall set forth the name, address, and telephone number of each proposed

    witness, a detailed summary or affidavit revealing the substance of each proposed witness's

    expected testimony, and an explanation of why the taking of live testimony would be helpful to




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    this Court. Any papers opposing a timely motion to present live testimony or to present live

    testimony in response to another party's timely motion to present live testimony shall be filed

    with this Court and served on the other parties at least three (3) days prior to the preliminary

    injunction hearing in this matter, provided that service shall be performed by personal or

    overnight delivery, facsimile or email, and Documents shall be delivered so that they shall be

    received by the other parties no later than 5:00 p.m. (Eastern Daylight Time) on the appropriate

    dates provided in this Section.

                                   XXX. DURATION OF THE ORDER

             IT IS FURTHER ORDERED that this Order shall expire fourteen (14) days from the

    date of entry noted below, unless within such time, the Order is extended for an additional period

    pursuant to Federal Rule of Civil Procedure 65(b )(2).

                                 XXXI. RETENTION OF JURISDICTION

          IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for all

    purposes.

             DONE AND ORDERED in Miami, Florida, this 20th day of October, 2014.




                                                             CE~i::}~:.1!;/(Yf'!fr
                                                             UNITED STATES DISTRICT JUDGE
    cc:      counsel of record




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                     PLAINTIFF'S EXHIBIT 38 - 11
                       FTC v. Partners in Healthcare Assoc., Inc.
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                                   )
    FEDERAL TRADE COMMISSION,                      )

         Plaintiff,
                                                   )
                                                   )
                                                       Case
                                                              1 4-23109
                                                               ·    CIV•SCQLA
         V.                                Sealed~ TEMPORARY RESTRAINING
                                                   ) ORDER
    PARTNERS IN HEALTH CARE                        )
       ASSOCIATION, INC. et al.,                   )
                                                   )

   ______________
         Defendants.                               )
                                                   )




         Plaintiff, the Federal Trade Commission ("FTC"), has filed its Complaint for

    Permanent Injunction and Other Equitable Relief pursuant to Sections 13(b) and 19 of

    the Federal Trade Commission Act ("FTC Act"), 15 U.S.C. §§ 53(b) and 57b, and the

    Telemarketing and Consumer Fraud and Abuse Prevention Act ("Telemarketing

    Act"), 15 U.S.C. §§ 6101-6108 (Docket No._), and has moved, pursuant to Federal

    Rule of Civil Procedure 65(b), for a Temporary Restraining Order, and for an Order to

    Show Cause Why a Preliminary Injunction Should Not Issue against Partners In

    Health Care Association, Inc. (also d/b/a/ Partners In Health Care, Inc.) ("PIHC"),

    Gary L. Kieper, United Solutions Group Inc. (also d/b/ a Debt Relief Experts, Inc.),

    Walter S. Vargas, and Constanza Gomez Vargas (Docket No._.)

                                   I. FINDINGS OF FACT

           The Court, having considered the Complaint, the ex parte motion for a temporary

    restraining order, declarations, exhibits, and the memorandum of points and authorities

    filed in support thereof, and being otherwise advised, finds that:
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    1.    This Court has jurisdiction over the subject matter of this case, and there is good
          cause to believe that it will have jurisdiction over all parties hereto and that

          venue in this district is proper;

    2.    There is good cause to believe that the Defendants have engaged in and are likely

          to engage in acts or practices that violate Section S(a) of the FTC Act, 15 U.S.C.

          § 45(a),   and the FTC's Trade Regulation Rule entitled "Telemarketing Sales Rule"

          ("TSR"), 16 C.F.R. Part 310, and that the FTC is therefore likely to prevail on the

          merits of this action;

    3.    There is good cause to believe that immediate and irreparable harm will result

          from the Defendants' ongoing violations of Section 5 of the FTC Act and the TSR

          unless Defendants are restrained and enjoined by Order of this Court;

    4.    There is good cause to believe that immediate and irreparable damage to this

          Court's ability to grant effective final relief for consumers (including monetary

          restitution, rescission, disgorgement or refunds) will occur from the sale,

          transfer, destruction or other disposition or concealment by Defendants of their

          Assets, Documents, records or other evidence if Defendants are provided with

          advance notice of this Order, and that therefore, in accordance with Fed. R. Civ.

          P. 65(b), the interests of justice require that this order be granted without prior
          notice to Defendants. Thus, there is good cause for relieving the FTC of the duty

          to provide Defendants with prior notice of the FTC' s application;

    5.    Good cause also exists for: {a) the appointment of a Temporary Receiver over

          Corporate Defendants; (b) the freezing of Defendants' Assets; and (c) ancillary

          relief ordered below;




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    6.      Weighing the equities and considering the FTC's likelihood of ultimate success

             on the merits, it is in the public interest that the Court enter a Temporary

            Restraining Order that: (1) enjoins Defendants from making misrepresentations

            or failing to disclose material information, or violating the TSR; (2) appoints a

            Temporary Receiver over the Corporate Defendants; (3) freezes Defendants'

            Assets; (4) requires Defendants to show cause why a preliminary injunction

            should not issue; and (5) provides other equitable relief; and

    7.      The FTC is an independent agency of the United States of America and no

            security is required of any agency of the United States for issuance of a

            temporary restraining order. Fed. R. Civ. P. 65(c).

                                        II. DEFINITIONS

            For the purpose of this Temporary Restraining Order ("Order"), the following

    definitions shall apply:

         1. "Asset" means any legal or equitable interest in, right to, or claim to, any real,

    personal, or intellectual property including chattel, goods, instruments, equipment,

    fixtures, general intangibles, effects, leaseholds, contracts, mail or other deliveries,

    shares or stock, securities, inventory, checks, notes, accounts, credits, receivables (as

    those terms are defined in the Uniform Commercial Code), insurance policies, lines of

    credit, cash, trusts (including asset protection trusts), lists of consumer names and

    reserve funds or any other accounts associated with any payments processed by, or on

    behalf of, any Defendant, including such reserve funds held by payment processors,

    credit card processors, banks or other financial institutions.

         2. "Assisting Others" includes providing any of the following goods or services to

    another entity: (1) performing customer service functions, including charging



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    consumers for products or services, or receiving or responding to consumer complaints;

    (2) formulating or providing, or arranging for the formulation or provision of, any sales

    script or other marketing material; (3) providing names of, or assisting in the generation

    of, potential customers; (4) performing or providing marketing or billing services of any

    kind; (5) processing credit and debit card payments; or (6) acting as an officer or

    director of a business, corporation or other entity; or (6) providing any other substantial

    help or assistance.

       3. "Clear and Conspicuous" or "Clearly and Conspicuously" mean:

           a. In print communications, a message that is presented in a manner that stands

    out from the accompanying text, so that it is sufficiently prominent, because of its type

    size, contrast to the background against which it appears, location, or other

    characteristics, for an ordinary consumer to notice, read, and comprehend it in relation

    to any claim it may be modifying;

           b. In communications made through an electronic medium (e.g., television,

    Internet, telephone, etc.), a message that is presented simultaneously in both the audio

    and visual portions of the communication. In any communication presented solely

    through visual or audio means, the message shall be made through the same means in

    which the communication is presented. In any communication disseminated by means

    of an interactive electronic medium (e.g., Internet), a disclosure must be unavoidable

    and presented prior to the consumer incurring any financial obligation. Any audio

    message shall be delivered in a volume and cadence sufficient for an ordinary consumer

    to hear and comprehend it in relation to any claim it may be modifying. Any visual

    message shall be presented in a manner that stands out in the context in which it is

    presented, so that it is sufficiently prominent, because of its size and shade, contrast to




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    the background against which it appears, length of time it appears on the screen, and its

    location, for an ordinary consumer to notice, read, and comprehend it in relation to any

    claim it may be modifying; and

            c. Regardless of the medium used to disseminate it, a message that uses only

    understandable language and syntax. Nothing contrary to, inconsistent with, or in

    mitigation of the message shall be used in any communication.

      .4.   "Corporate Defendants" means, individually, collectively, or in any

    combination, PIHC and United Solutions Group Inc. and their subsidiaries, affiliates,

    successors, and assigns.

       5.   "Defendants" means, individually, collectively, or in any combination, all of the

    Individual Defendants and the Corporate Defendants.

      6.    "Document" or "Documents" is synonymous in meaning and equal in scope to

    the usage of the term in Federal Rule of Civil Procedure 34(a), and includes writings,

    drawings, graphs, charts, photographs, audio and video recordings, computer records,

    and any other data compilations from which information can be obtained and

    translated, if necessary, through detection devices into reasonably usable form. A draft

    or non-identical copy is a separate document within the meaning of the term.

      7.    "FTC Act" means the Federal Trade Commission Act codified

    at 15 U.S.C. §§ 41-58.

      8.    "Individual Defendants" means Gary L. Kieper, Constanza Gomez Vargas, and

    Walter Vargas.

      9.     "Person" means a natural person, organization, or other legal entity, including

    a corporation, limited liability company, partnership, proprietorship, association,




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     cooperative, government or governmental subdivision or agency, or any other group or
     combination acting as an entity.

       10. "Plaintiff" or "Commission" or "FrC" means the Federal Trade Commission.

       11. "Receiver" or "Temporary Receiver" means the temporary receiver appointed

     in Section XIV of this Order and any deputy receivers that shall be named by the

     temporary receiver.

       12. "Receivership Defendants" means the Corporate Defendants.

       13. "Representative" or "Representatives" means Defendants' officers, agents,

     servants, employees, and attorneys, and any other person or entity in active concert or

     participation with them, who receives actual notice of this Order by personal service or

     otherwise.

       14. "Telemarketer" means any person who, in connection with telemarketing,

    initiates or receives telephone calls to or from a customer or donor. 16 C.F.R.

    § 310.2(bb).

       15. "Telemarketing" means any plan, program, or campaign that is conducted to

    induce the purchase of goods or services or a charitable contribution by use of one or

    more telephones.

       16. "Telemarketing Sales Rule" or "TSR" means the Telemarketing Sales Rule set

    forth in 16 C.F.R. Part 310.

                        III. PROHIBITED MISREPRESENTATIONS

           IT IS HEREBY ORDERED that Defendants and their Representatives, whether

    acting directly or indirectly through any entity, corporation, subsidiary, division,

    director, officer, manager, member, affiliate, agent, independent contractor, accountant,

    financial advisor, or other device, in connection with the marketing, advertising,




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    promotion, distribution, offer for sale, or sale of Medical Discount Cards, are hereby

    temporarily restrained and enjoined from misrepresenting, directly or indirectly,

    expressly or by implication, any material fact including the following:

           A.     That Defendants are selling health insurance or the equivalent of such

                  insurance;

           B.     That the good or service that Defendants are selling or marketing is

                  health insurance or the equivalent of such insurance;

           C.     That the good or service that Defendants are selling or marketing is

                  commensurate to, superior to, or a replacement for health insurance;

           D.     That the good or service that Defendants are selling or marketing is

                  related to, associated with, affiliated with, endorsed by or in any way

                  connected to a state or government affiliated health insurance program,

                  including programs created under the Patient Protection and Affordable

                  Care Act of 2010, 42 U.S.C. § 18001 et seq.;

           E.     Any Material terms regarding the total cost to purchase, receive, or use,

                  and the quantity of, any goods or services that are subject to Defendants'

                  sales offer; and

           F.     Any Material restrictions, limitations, or conditions to purchase, receive,

                  or use Defendants' products or services; and

           G.     Any other fact material to a consumer's decision to purchase any good or

                  service from Defendants.

                               IV. REQUIRED DISCLOSURES

           IT IS HEREBY ORDERED that Defendants and their Representatives, whether

    acting directly or indirectly through any entity, corporation, subsidiary, division,



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    director, officer, manager, member, affiliate, agent, independent contractor, accountant,
    financial advisor, or other device, in connection with the marketing, advertising,

    promotion, distribution, offer for sale, or sale of Medical Discount Cards, are hereby

    temporarily restrained and enjoined from failing to disclose to consumers before

    purchase, in a Clear and Conspicuous manner, any material fact including the

    following:

           A. Any policy related to obtaining a refund; and

           B. That a Medical Discount Card is not health insurance or the equivalent of

    such insurance. Defendants must include the following disclaimer, in a Clear and

    Conspicuous manner, in all written or oral communications with consumers: "The

    product that we offer is NOT Health Insurance. It cannot replace Health Insurance."

            V. CONDUCT PROHIBITIONS REGARDING TELEMARKETING
           IT IS FURTHER ORDERED that PIHC and Gary L. Kieper and their

    Representatives, whether acting directly or through any entity, corporation, subsidiary,

    division, officer, director, manager, member, affiliate, agent, independent contractor,

    accountant, financial advisor, or other device, in connection with the Telemarketing,

    advertising, marketing, promotion, offering for sale, or sale of any product or service,

    including Medical Discount Cards, are hereby restrained and enjoined from:
           A.     Using any false or misleading statement to induce any person to pay for

    goods or services;

           B.     Misrepresenting any material aspect of the performance, efficacy, nature,

    or central characteristics of goods or services that are the subject of the sales offer;




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           C.     Providing substantial assistance or support to any seller or telemarketer

    when PIHC or Gary L. Kieper knows or consciously avoids knowing that their sellers or

    telemarketers are engaged in any of the conduct set forth in this Section; and

           D.     Violating the Telemarketing Sales Rule, 16 C.F.R. Part 310, attached as

    Appendix A.

                                     VI. ASSET FREEZE

           IT IS FURTHER ORDERED that Defendants and their Representatives, whether

    acting directly or through any entity, corporation, subsidiary, division, director,

    manager, member, affiliate, independent contractor, accountant, financial advisor, or

    other device, are hereby restrained and enjoined from:

           A.     Transferring, liquidating, converting, encumbering, pledging, loaning,

    selling, concealing, dissipating, disbursing, assigning, relinquishing, spending,

    withdrawing, granting a lien or security interest or other interest in, or otherwise

    disposing any funds, real or personal property, accounts, contracts, shares of stock, lists

    of consumer names, or other Assets, or any interest therein, wherever located, including

    outside the United States, that are:

                  1. owned, controlled or held, in whole or in part, by any Defendant;
                  2. held, in whole or in part, for the direct or indirect benefit of, any

                     Defendant;

                  3. in the actual or constructive possession of any Defendant;

                  4. held by an agent of any Defendant as a retainer for the agent's

                     provision of services to Defendants;

                  5. owned or controlled by, or in the actual or constructive possession of,

                     or otherwise held for the benefit of, any corporation, partnership, asset



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                     protection trust, or other entity that is directly or indirectly owned,

                     managed or controlled by any of the Defendants, or of which any

                     Defendant is an officer, director, member, or manager. This includes,

                     but is not limited to, any Assets held by, for, or subject to access by,

                     any of the Defendants at any bank or savings and loan institution, or

                     at/with any broker-dealer, escrow agent, title company, insurance

                     company, commodity trading company, precious metal dealer,

                     payment processor, credit card processor, acquiring bank, merchant

                     bank, independent sales organization, third party processor, payment

                     gateway or other financial institution or depository of any kind; or

                  6. held in any account for which any Defendant is, or was on the date

                     that this Order was signed, an authorized signor.

           B.     Opening or causing to be opened any safe deposit boxes, commercial mail

    boxes, or storage facilities titled in the name of any Defendant, either individually or

    jointly, or subject to access by any Defendant, except as necessary to comply with

    Section XV of this Order;

           C      Obtaining a personal or secured loan encumbering the Assets of any
    Defendant, or subject to access by any Defendant;

           D.     Incurring liens or other encumbrances on real property, personal
    property, or other Assets in the name, individually or jointly, of any Defendant or of

    any corporation, partnership, or other entity directly or indirectly owned, managed, ,or

    controlled by any Defendant; or

           E.     Incurring charges or cash advances on any credit or bank card issued in

    the name, individually or jointly, of any Corporate Defendant or any corporation,




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    partnership, or other entity directly or indirectly owned, managed, or controlled by any
    Defendant or of which any Defendant is an Officer, Director, Member, or Manager.

    This includes, but is not limited to, any corporate bank card or corporate credit card

    account for which any Defendant is, or was on the date that this Order was signed, an

    authorized signor.

           PROVIDED that the Assets affected by this Section shall include: (a) all Assets of

    the Corporate Defendants; and (b) all Assets of the Individual Defendants existing as of

    the date this Order was entered, or acquired by any Individual Defendant following

    entry of this Order, if such Assets are derived from any activity that is the subject of the

    Commission's Complaint or that is prohibited by this Order.

                    VII. DUTIES OF HOLDERS OF DEFENDANTS' ASSETS

           IT IS FURTHER ORDERED that any financial or brokerage institution, credit

    card processor, payment processor, merchant bank, acquiring bank, independent sales

    organization, third party processor, payment gateway, insurance company, business

    entity, or person served with a copy of this Order that (a) holds, controls, or maintains

    custody of any account or Asset of any Defendant, (b) holds, controls, or maintains

    custody of any Asset associated with credits, debits or charges made on behalf of any
    Defendant, including reserve funds held by payment processors, credit card processors,

    payment merchant banks, acquiring banks, independent sales organizations, third party
    processors, payment gateways, insurance companies or other entities, or (c) has held,

    controlled, or maintained custody of any such account or Asset at any time since the

    date of entry of this Order shall:

           A.     Hold and retain within its control and prohibit the withdrawal, removal,

    assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,



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    conversion, sale, or other disposal of any such Assets, as well as all Documents or other
     property related to such Assets, except by further order of this Court;

            B.     Deny any person, except the Receiver acting pursuant to Section XV of

     this Order, access to any safe deposit box, commercial mail box, or storage facility that

     is:

                  1.       titled-in the name of any Defendant, either individually or jointly;
                            or

                   2.      otherwise subject to access by any Defendant;

            C.     Provide the FTC' s counsel and the Receiver, within five (5) days of

     receiving a copy of this Order, a sworn statement setting forth:

                  1. the identification number of each account or Asset:

                        a) titled in the name, individually or jointly, of any of the Defendants;

                        b) held on behalf of, or for the benefit of, any of the Defendants; or

                        c) associated with credit or debit charges made on behalf of

                           Defendants;

                  2. the balance of each such account, or a description of the nature and

                        value of each such Asset as of the close of business on the day on
                        which this Order is served, and, if the account or other Asset has been

                        closed or removed, the date closed or removed, the total funds

                        removed in order to close the account, and the name of the person or

                        entity to whom such account or other Asset was remitted; and

                  3. the identification of any safe deposit box, commercial mail box, or

                        storage facility that is either titled in the name, individually or jointly,




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                       of any of the Defendants, or is otherwise subject to access by any of the

                       Defendants; and

            D.      Upon the request of the FTC or the Receiver, promptly provide the FTC

    and the Receiver with copies of all records or other Documentation pertaining to such

    account or Asset, including originals or copies of account applications, account

    statements, signature cards, checks, drafts, deposit tickets, transfers to and from the

    accounts, including wire transfers and wire transfer instructions, all other debit and

    credit instruments or slips, currency transaction reports, 1099 forms, and all logs and

    records pertaining to such safe deposit boxes, commercial mail boxes and storage

    facilities.

                                VIII. FINANCIAL REPORTS

            IT IS FURTHER ORDERED that each Defendant, within five (5) days of service

    of this Order upon them, shall prepare and deliver to Counsel for the Commission and

    the Receiver:

            A.      Completed financial statements on the forms attached to this Order as

    Attachment A (Financial Statement of Individual Defendant) for themselves

    individually, and Attachment B (Financial Statement of Corporate Defendant) for each

    business entity under which they conduct business or of which they are an officer, and

    for each trust for which any Defendant is a trustee. The financial statements shall be

    accurate as of the date of entry of this Order and signed under penalty of perjury. Each

    Defendant shall include in the financial statements all information requested in the

    statements, including a full description of all funds and Assets, whether located inside

    or outside of the United States, that are: (a) titled in the name of such Defendant, jointly,

    severally, or individually; (b) held by any person or entity for the benefit of such




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    Defendant; or (c) under the direct or indirect control of such Defendant. Defendants

    shall attach to these completed financial statements copies of all local, state, provincial,

    and federal income and property tax returns, with attachments and schedules, as called

    for by the instructions to the financial statements;

           B.     A completed statement, signed under penalty of perjury, of all payments,

    transfers, or assignments of Assets worth $1,000 or more since 2011. Such statement

    shall include: (1) the amount transferred or assigned; (2) the name of each transferee or

    assignee; (3) the date of transfer or assignment; and (4) the type and amount of

    consideration paid to Defendant or Relief Defendant. Each statement shall specify the

    name and address of each financial institution and brokerage firm at which Defendant

    or Relief Defendant has accounts or safe deposit boxes. These statements shall include

    Assets held in foreign and domestic accounts; and

           C.     A completed IRS Form 4506, appended to this Order as Attachment D,

    requesting tax returns for the past three years be sent to counsel for the FTC at the

    following address:

          Gary Ivens
          Federal Trade Commission
          600 Pennsylvania Avenue NW
          Mail Stop CC-8528
          Washington, DC 20580
          (202) 326-2330
                              IX. FOREIGN ASSET REPATRIATION

          IT IS FURTHER ORDERED that within five (5) days following the service of

    this Order, each Defendant shall:

          A.      Provide the Commission and the Receiver with a full description, verified

    under oath and accurate as of the date of this Order, of all funds, Documents, and



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     Assets outside of the United States which are: (1) titled in the name, individually or

    jointly, of any Defendant; or (2) held by any person or entity for the benefit of any

     Defendant; or (3) under the direct or indirect control, whether jointly or singly, of any

     Defendant; and

            B.     Provide the Commission and Receiver access to all records of accounts or

    Assets of any Defendant held by financial institutions located outside the territorial

    United States by signing the Consent to Release of Financial Records appended to this

    Order as Attachment C.
            C.     Transfer to the territory of the United States and deliver to the Receiver all
    funds, Documents, and Assets located in foreign countries which are: (1) titled in the
    name individually or jointly of any Defendant; or (2) held by any person or entity, for
    the benefit of any Defendant; or (3) under the direct or indirect control of any
    Defendant, whether jointly or singly.
            D.     The same business day as any repatriation, (1) notify counsel for the
    Commission of the name and location of the financial institution or other entity that is
    the recipient of such funds, documents, or assets; and (2) serve this Order on any such
    financial institution or other entity; and
           E.     Provide the Commission access to all records of accounts or assets of any
    Defendant or Relief Defendant held by financial institutions located outside the
    territorial United States by signing the Consent to Release of Financial Records
    appended to this Order as Attachment C.

                         X. INTERFERENCE WITH REPATRIATION

           IT IS FURTHER ORDERED that Defendants and their Representatives, whether

    acting directly or through any entity, corporation, subsidiary, division, director,

    manager, member, affiliate, independent contractor, accountant, financial advisor, or




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   other device, are hereby temporarily restrained and enjoined from taking any action,

   directly or indirectly, which may result in the encumbrance or dissipation of foreign

   Assets, or in the hindrance of the repatriation required by Section IX of this Order,

   including, but not limited to:

          A.     Sending any statement, letter, fax, email or wire transmission, or

   telephoning or engaging in any other act, directly or indirectly, that results in a

   determination by a foreign trustee or other entity that a "duress" event has occurred

   under the terms of a foreign trust agreement until such time that all Defendants' Assets

   have been fully repatriated pursuant to Section IX of this Order; or

          B.     Notifying any trustee, protector or other agent of any foreign trust or

   other related entities of either the existence of this Order, or of the fact that repatriation

   is required pursuant to a court order, until such time that all Defendants' Assets have

   been fully repatriated pursuant to Section IX of this Order.

                           XI. CONSUMER CREDIT REPORTS

          IT IS FURTHER ORDERED that pursuant to Section 604(1) of the Fair Credit

   Reporting Act, 15 U.S.C. § 1681b(l), any consumer reporting agency served with this

   Order shall promptly furnish consumer reports as requested concerning any Defendant

   to counsel for the Commission.

                XII. PRESERVATION OF RECORDS AND REPORT OF
                            NEW BUSINESS ACTIVITY

          IT IS FURTHER ORDERED that Defendants and their Representatives, as well

   as any document custodians receiving actual notice of this Order, whether acting

   directly or through any entity, corporation, subsidiary, division, director, manager,

   member, affiliate, independent contractor, accountant, financial advisor, or other

   device, are hereby temporarily restrained and enjoined from:


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           A.     Destroying, erasing, falsifying, writing over, mutilating, concealing,
    altering, transferring, or otherwise disposing of, in any manner, directly or indirectly,

    Documents that relate to: (1) the business, business practices, Assets, or business or

    personal finances of any Defendant, (2) the business practices or finances of entities

    directly or indirectly under the control of any Defendant, or (3) the business practices or

    finances of entities directly or indirectly under common control with any other

    Defendant, including: any and all marketing materials, Internet pages, consumer

    complaints, call detail records, telephone logs, telephone scripts, contracts,

    correspondence, email, corporate books and records, accounting data, financial

    statements, receipt books, ledgers, personal and business canceled checks and check

    registers, bank statements, calendars, appointment books, and tax returns;

           B.     Failing to create and maintain Documents that, in reasonable detail,

    accurately, fairly, and completely reflect Defendants' incomes, disbursements,

    transactions, and use of the Defendants' Assets; and

           C.     Creating, operating, or exercising any control over any new business

    entity, whether newly formed or previously inactive, including any partnership, limited

    partnership, joint venture, sole proprietorship, or corporation, without first providing
    counsel for the Commission with a written statement disclosing: (1) the name of the
    business entity; (2) the address and telephone number of the business entity; (3) the

    names of the business entity's officers, directors, principals, managers, and employees;

    and (4) a detailed description of the business entity's intended activities.

         XIII. PROHIBITION ON RELEASE OF CUSTOMER INFORMATION
           IT IS FURTHER ORDERED that Defendants and their Representatives, whether

    acting directly or through any entity, corporation, subsidiary, division, director,



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    manager, member, affiliate, independent contractor, accountant, financial advisor, or

    other device, are hereby temporarily restrained and enjoined from:

             A.    Selling, renting, leasing, transferring, or otherwise disclosing the name,

    address, telephone number, credit card number, bank account number, email address,

    or other identifying information of any person who paid money to a Defendant for a

    Medical Discount Card or who were contacted or are on a list to be contacted by any

    Defendant; and

             B.    Benefitting from or using the name, address, birth date, telephone

    number, email address, Social Security number, Social Insurance number, credit card

    number, bank account number, or other financial or identifying personal information of

    any Person from whom or about whom any Defendant obtained such information in

    connection with any activity that pertains to the subject matter of this Order.

             Provided, however, that the Defendants may disclose such identifying

    information to a law enforcement agency or as required by any law, regulation, or court

    order.

                   XIV. APPOINTMENT OF TEMPORARY RECEIVER                           /21
             IT IS FURTHER ORDERED that          fe+t(l _(K.   V   SS if./J   f({j • is
    appointed temporary receiver for the Receivership Defendants and any of their

    affiliates, subsidiaries, divisions, or telephone sales or customer service operations,

    wherever located, with the full power of an equity receiver. The Receiver shall be the

    agent of this Court, and solely the agent of this Court, in acting as Receiver under this

    Order. The Receiver shall be accountable directly to this Court.




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                     XV. RECEIVER'S DUTIES AND AUTHORITIES

           IT IS FURTHER ORDERED that the Receiver is authorized and directed to

    accomplish the following:

           A.     Assume full control of the Receivership Defendants by removing, as the

    Receiver deems necessary or advisable, any director, officer, independent contractor,

    employee, or agent of any of the Receivership Defendants, including any Defendant,

    from control of, management of, or participation in, the affairs of the Receivership

    Defendants;

           B.     Take exclusive custody, control, and possession of all Assets and

    Documents of, or in the possession, custody, or under the control of, the Receivership

    Defendants, wherever situated. The Receiver shall have full power to divert mail and to

    sue for, collect, receive, take in possession, hold, and manage all Assets and Documents

    of the Receivership Defendants and other persons or entities whose interests are now

    under the direction, possession, custody, or control of, the Receivership Defendants.

    The Receiver shall assume control over the Receivership Defendants' income and

    profits and all sums of money now or hereafter due or owing to the Receivership

    Defendants. Provided, however, that the Receiver shall not attempt to collect any

    amount from a consumer if the Receiver believes the consumer was a victim of the

    deceptive acts or practices or other violations of law alleged in the Complaint in this

    matter, without prior Court approval;

           C.     Take all steps necessary to secure and take exclusive custody of each

    location from which the Receivership Defendants operate their businesses. Such steps

    may include, but are not limited to, any of the following, as the Receiver deems

    necessary or advisable: (1) serving this Order; (2) completing a written inventory of all




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    Receivership Assets; (3) obtaining pertinent information from all employees and other
    agents of the Receivership Defendants, including the name, home address, Social

    Security Number, job description, company history, passwords or access codes, method

    of compensation, and all accrued and unpaid commissions and compensation of each

    such employee or agent; (4) photographing and videotaping any or all portions of the

    location; (5) securing the location by changing the locks and disconnecting any internet

    access or other means of access to the computers, internet or records maintained at that

    location; and (6) requiring any persons present on the premises at the time this Order is

    served to leave the premises, to provide the Receiver with proof of identification, or to

    demonstrate to the satisfaction of the Receiver that such persons are not removing from

    the premises Documents or Assets of the Receivership Defendants.

           D.     Law enforcement personnel, including police or sheriffs, may assist the

    Receiver in implementing these provisions in order to keep the peace and maintain

    security. If requested by the Receiver, the United States Marshal will provide

    appropriate and necessary assistance to the Receiver to implement this Order and is

    authorized to use any necessary and reasonable force to do so;

           E.    Conserve, hold, and manage all Assets of the Receivership Defendants,
    and perform all acts necessary or advisable to preserve the value of those Assets in

    order to prevent any irreparable loss, damage, or injury to consumers or creditors of the

    Receivership Defendants, including determining the available Assets and preventing

    the unauthorized transfer, withdrawal, or misapplication of Assets;

          F.     Enter into and cancel contracts, and purchase insurance as advisable or

    necessary;




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           G.        Prevent the inequitable distribution of Assets and determine, adjust, and
    protect the interests of consumers and creditors who have transacted business with the

    Receivership Defendants;

           H.        Manage and administer the business of the Receivership Defendants until

    further order of this Court by performing all incidental acts that the Receiver deems to

    be advisable or necessary, which includes but is not limited to retaining, hiring, or

    dismissing any employees, independent contractors, or agents, provided that the

    Receiver shall suspend business operations of the Receivership Defendants if, in the

    judgment of the Receiver, such operations cannot be continued legally or profitably;

           I.     Prevent the destruction or erasure of any web page or website registered

    to and operated, in whole or in part, by Receivership Defendants;

           J.     Take all steps necessary to ensure that any of the Receivership
    Defendants' web pages or websites relating to Medical Discount Cards cannot be

    accessed by the public, or are modified for consumer education and/ or informational

    purposes;

           K.     Choose, engage, and employ attorneys, accountants, appraisers, and other

    independent contractors and technical specialists, as the Receiver deems advisable or
    necessary in the performance of duties and responsibilities under the authority granted

    by this Order;
           L.     Make payments and disbursements from the receivership estate that are

    necessary or advisable for carrying out the directions of, or exercising the authority

    granted by, this Order. The Receiver shall apply to the Court for prior approval of any

    payment of any debt or obligation incurred by the Receivership Defendants prior to the




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    date of entry of this Order, except payments that the Receiver deems necessary or
    advisable to secure Assets of the Receivership Defendants, such as rental payments;

           M.     Institute, compromise, adjust, appear in, intervene in, or become party to

    such actions or proceedings in state, federal or foreign courts or arbitration proceedings

    as the Receiver deems necessary and advisable to preserve or recover the Assets of the

    Receivership Defendants, or that the Receiver deems necessary and advisable to carry

    out the Receiver's mandate under this Order, including actions challenging fraudulent

    or voidable transfers;

           N.     Defend, compromise, adjust, or otherwise dispose of any or all actions or

    proceedings instituted in the past or in the future against the Receiver in his role as

    Receiver, or against the Receivership Defendants, as the Receiver deems necessary and

    advisable to preserve the Assets of the Receivership Defend ants, or as the Receiver

    deems necessary and advisable to carry out the Receiver's mandate under this Order;

           O.     Issue subpoenas to obtain Documents and records pertaining to the

    Receivership, and conduct discovery in this action on behalf of the Receivership estate;

          P.      Open one or more bank accounts as designated depositories for funds of

    the Receivership Defendants. The Receiver shall deposit all funds of the Receivership

    Defendants in such a designated account and shall make all payments and
    disbursements from the Receivership estate from such an account. The Receiver shall

    serve copies of monthly account statements on all parties;
          Q.      Maintain accurate records of all receipts and expenditures incurred as

    Receiver;

          R.      Cooperate with reasonable requests for information or assistance from any

    state or federal law enforcement agency; and



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           S.     File timely reports with the Court at reasonable intervals, or as otherwise
    directed by the Court.

           XVI. TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

           IT IS FURTHER ORDERED that the Defendants, their Representatives, and any

    other person, with possession, custody or control of property of or records relating to

    the Receivership Defendants shall, upon notice of this Order by personal service or

    otherwise, immediately notify the Receiver of, and, upon receiving a request from the

    Receiver, immediately transfer or deliver to the Receiver possession, custody, and

    control of, the following:

           A.     All Assets of the Receivership Defendants;

           B.     All Documents of the Receivership Defendants, including books and

    records of accounts, all financial and accounting records, balance sheets, income

    statements, bank records (including monthly statements, canceled checks, records of

    wire transfers, and check registers), client lists, title Documents and other papers;

           C.     All computers, electronic devices and machines and data in whatever

    form used to conduct the business of the Receivership Defendants;

           D.     All Assets and Documents belonging to other persons or entities whose

    interests are under the direction, possession, custody, or control of the Receivership

    Defendants; and

           E.     All keys, codes, user names and passwords necessary to gain or to secure

    access to any Assets or Documents of the Receivership Defendants, including access to

    their business premises, means of communication, accounts, computer systems, or other

    property.




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           In the event that any person or entity fails to deliver or transfer any Asset or

    Document, or otherwise fails to comply with any provision of this Section, the Receiver

    may file ex parte an Affidavit of Non-Compliance regarding the failure. Upon filing of

    the affidavit, the Court may authorize, without additional process or demand, Writs of

    Possession or Sequestration or other equitable writs requested by the Receiver. The

    writs shall authorize and direct the United States Marshal or any sheriff or deputy

    sheriff of any county, or any other federal or state law enforcement officer, to seize the

    Asset, Document, or other item covered by this Section and to deliver it to the Receiver.

                XVII. PROVISION OF INFORMATION TO RECEIVER

           IT IS FURTHER ORDERED that Defendants shall provide to the Receiver,

    immediately upon request, the following:

           A.     A list of all Assets and property, including accounts, of the Receivership

    Defendants that are held in any name other than the name of a Receivership Defendant,

    or by any person or entity other than a Receivership Defendant; and

           B.     A list of all agents, employees, officers, servants or those persons in active

    concert and participation with the Defendants, who have been associated or done

    business with the Receivership Defendants.

                    XVIII. COOPERATION WITH THE RECEIVER

           IT IS FURTHER ORDERED that Defendants, their Representatives, and any
    other person served with a copy of this Order shall fully cooperate with and assist the

    Receiver in taking and maintaining possession, custody, or control of the Assets and

    Documents of the Receivership Defendants. This cooperation and assistance shall

    include, but not be limited to: providing information to the Receiver that the Receiver

    deems necessary to exercise the authority and discharge the responsibilities of the




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    Receiver under this Order; providing any password required to access any computer,

    electronic file, or telephonic data in any medium; advising all persons who owe money

    to the Receivership Defendants that all debts should be paid directly to the Receiver;

    and transferring funds at the Receiver's direction and producing records related to the

    Assets and sales of the Receivership Defendants. The entities obligated to cooperate

    with the Receiver under this provision include, but are not limited to, banks, broker-

    dealers, savings and loans, escrow agents, title companies, commodity trading

    companies, precious metals dealers, credit card processors, payment processors,

    merchant banks, acquiring banks, independent sales organizations, third party

    processors, payment gateways, insurance companies and other financial institutions

    and depositories of any kind, as well as all common carriers, telecommunications

    companies and third-party billing agents.

                      XIX. INTERFERENCE WITH THE RECEIVER

           IT IS FURTHER ORDERED that Defendants and their Representatives, whether

    acting directly or through any entity, corporation, subsidiary, division, director,

    manager, member, affiliate, independent contractor, accountant, financial advisor, or

    other device, except as provided herein, as stipulated by the parties, or as directed by
    further order of the Court, are hereby restrained and enjoined from:

           A.     Interfering with the Receiver's efforts to manage, or take custody, control,

    or possession of, the Assets or Documents subject to this Receivership;

           B.     Transacting any of the business of the Receivership Defendants;

           C.     Transferring, receiving, altering, selling, encumbering, pledging,

    assigning, liquidating, or otherwise disposing of any Assets owned, controlled, or in the




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    possession or custody of, or in which an interest is held or claimed by, the Receivership

    Defendants or the Receiver; and

           D.      Refusing to cooperate with the Receiver or the Receiver's duly authorized

    agents in the exercise of their duties or authority under any order of this Court.

          XX. STAY OF ACTIONS AGAINST RECEIVERSHIP DEFENDANTS

           IT IS FURTHER ORDERED that, except by leave of this Court, during

    pendency of the Receivership ordered herein, Defendants, their Representatives,

    corporations, subsidiaries, divisions, or affiliates, and all investors, creditors,

    stockholders, lessors, customers and other persons seeking to establish or enforce any

    claim, right, or interest against or on behalf of Defendants, and all others acting for or

    on behalf of such persons, are hereby enjoined from taking action that would interfere

    with the exclusive jurisdiction of this Court over the Assets or Documents of the

    Receivership Defendants, including, but not limited to:

           A.     Petitioning, or assisting in the filing of a petition, that would cause any

    Receivership Defendant to be placed in bankruptcy;

           B.     Commencing, prosecuting, or continuing a judicial, administrative, or

    other action or proceeding against the Receivership Defendants, including the issuance

    or employment of process against the Receivership Defendants, except that such actions

    may be commenced if necessary to toll any applicable statute of limitations;

           C.     Filing or enforcing any lien on any Asset of the Receivership Defendants,

    taking or attempting to take possession, custody, or control of any Asset of the

    Receivership Defendants, or attempting to foreclose, forfeit, alter, or terminate any

    interest in any Asset of the Receivership Defendants, whether such acts are part of a

    judicial proceeding, are acts of self-help, or otherwise;




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           D.     Initiating any other process or proceeding that would interfere with the

    Receiver's efforts to manage or take custody, control, or possession of, the Assets or

    Documents subject to this receivership.

           Provided that, this Order does not stay: (i) the commencement or continuation of a
    criminal action or proceeding; (ii) the commencement or continuation of an action or

    proceeding by a governmental unit to enforce such governmental unit's police or

    regulatory power; or (iii) the enforcement of a judgment, other than a money judgment,

    obtained in an action or proceeding by a governmental unit to enforce such

    governmental unit's police or regulatory power.

                          XXI. COMPENSATION OF RECEIVER

           IT IS FURTHER ORDERED that the Receiver and all personnel hired by the

    Receiver as herein authorized, including counsel to the Receiver and accountants, are

    entitled to reasonable compensation for the performance of duties pursuant to this

    Order and for the cost of actual out-of-pocket expenses incurred by them, from the

    Assets now held by, in the possession or control of, or which may be received by, the

    Receivership Defendants. The Receiver shall file with the Court and serve on the

    parties periodic requests for the payment of such reasonable compensation, with the

    first such request filed no more than sixty (60) days after the date of entry of this Order.

    The Receiver shall not increase the hourly rates used as the bases for such fee

    applications without prior approval of the Court.

                                XXII. RECEIVER'S BOND

           IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this

    Court a bond in the sum of $ / DI/   OOO. 0 0with sureties to be approved by the
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    Court, conditioned that the Receiver will well and truly perform the duties of the office

    and abide by and perform all acts the Court directs. 28 U.S.C. § 754.

              XXIII. ACCESS TO BUSINESS OFFICES AND RECORDS

           IT IS FURTHER ORDERED that, in order to allow the Commission and the

    Receiver to preserve Assets and evidence relevant to this action, and to expedite

    discovery, Plaintiff and Receiver, and their agents, and assistants, shall have immediate

    access to the business premises of the Receivership Defendants. Such locations include,

    but are not limited to: 520 South Westland Drive, Appleton, Wisconsin; and 28 West

    Flagler Street, Miami, Florida. The Commission and the Receiver, and their

    representatives, agents, and assistants, are authorized to obtain the assistance of the

    U.S. Marshal's office and other federal, state and local law enforcement officers as they

    deem necessary to effect service and to implement peacefully the provisions of this

    Order. The Commission and the Receiver, and their representatives, agents, and

    assistants, are authorized to remove Documents from the Receivership Defendants'

    premises in order that they may be inspected, inventoried, and copied for the purpose

    of preserving discoverable material in connection with this action.

           Furthermore, the Receiver shall allow the Defendants reasonable access to the

    premises and business records of the Receivership Defendants within his possession for

    the purpose of inspecting and copying materials relevant to this action. The Receiver

    shall have the discretion to determine the time, manner, and reasonable conditions of

    such access.

                XXIV. DISTRIBUTION OF ORDER BY DEFENDANTS

           IT IS FURTHER ORDERED that the Defendants shall immediately provide a

    copy of this Order to each Representative, affiliate, telemarketer, marketer, sales entity,




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    subsidiary, customer service agent, successor, assign, officer, director, member,

    manager, employee, independent contractor, client company, agent, spouse, and

    attorney of the Defendants, and shall, within ten (5) days from the date of entry of this

    Order, and provide the Commission and the Receiver with a sworn statement that this

    provision of the Order has been satisfied, which statement shall include the names,

    physical addresses, phone number, and email addresses of each such person or entity

    who received a copy of the Order, Furthermore, Defendants shall not take any action

    that would encourage officers, agents, members, directors, employees, salespersons,

    independent contractors, attorneys, subsidiaries, affiliates, successors, assigns or other

    persons or entities in active concert or participation with them to disregard this Order

    or believe that they are not bound by its provisions.

                             XXV. EXPEDITED DISCOVERY

           IT IS FURTHER ORDERED that, notwithstanding the provisions of the Federal

    Rules of Civil Procedure 26(d) and (f) and 30(a)(2)(c), and pursuant to Federal Rules of

    Civil Procedure 30(a), 34, and 45, the Commission is granted leave, at any time after

    service of this Order, to conduct limited expedited discovery as set forth in this Section.

    For the purpose of discovering the (1) nature, location, status, and extent of Defendants'
    Assets, (2) nature and location of Documents reflecting the Defendants' businesses,
    business transactions and operations, (3) the telecommunications providers that

    Defendants utilize to conduct the practices alleged in the FrC's complaint; or (4)

    compliance with this Order:

           A.     Take the deposition of any Person on 48 hours notice. The limitations and

    conditions set forth in Rules 30(a)(2)(B) and 31(a)(2)(B) of the Federal Rules of Civil

    Procedure regarding subsequent depositions of an individual shall not apply to



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     depositions taken pursuant to this Section. Any such deposition taken pursuant to this

     Section shall not be counted towards the deposition limit set forth in Rules 30(a)(2)(A)

     and 31(a)(2)(A) and depositions may be taken by telephone or other remote electronic

     means;

            B.     Demand the production of Documents, on five (5) days of notice, from any

     Person, whether or not a party, provided that three (3) days of notice shall be deemed

     sufficient for the production of any such Documents that are maintained or stored only

    in an electronic format;

           C.     Service of discovery upon a party to this lawsuit, taken pursuant to this

    Section, shall be sufficient if made by facsimile, email or by overnight delivery. Any

    expedited discovery taken pursuant to this Section is in addition to, and is not subject

     to, the limits on discovery set forth in the Federal Rules of Civil Procedure and Local

    Rules of this Court;

           D.      If a Defendant fails to appear for a properly noticed deposition or fails to
    comply with a request for production or inspection, that Defendant may be prohibited

    from introducing evidence at the hearing on the Commission's request for a

    preliminary injunction;

           E.     The expedited discovery permitted by this Section does not require a

    meeting or conference of the parties, pursuant to Rules 26(d) & (f) of the Federal Rules

    of Civil Procedure; and

           F.     The Parties are exempted from making initial disclosures under Federal

    Rule of Civil Procedure 26(a)(1)(B) until further order of this Court.




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                            XXVI. SERVICE OF THIS ORDER

            IT IS FURTHER ORDERED that this Order may be served on any Person

     (including any financial institution) that may have possession, custody or control of any

     property, property right, Document, or Asset of any Defendant, or that may be subject

     to any provision of this Order pursuant to Rule 65(d)(2) of the Federal Rules of Civil

     Procedure, by any means, including U.S. First Class Mail, overnight delivery, facsimile,

     email, text message, social network, electronic messaging service, or personal service,

     by agents or employees of Plaintiff, by agents or employees of the Receiver, by any law

     enforcement agency, by private process server, or by any person or entity permitted by

     the Federal Rules of Civil Procedure to effect service. For purposes of this Section,

    service upon any branch, subsidiary, affiliate or office of any entity shall effect service

     upon the entire entity. This Order shall bind Persons (including entities) that may be

    subject to any provision of this Order pursuant to Rule 65(d)(2) of the Federal Rules of

    Civil Procedure upon such Person's receipt of actual notice, by personal service or

    otherwise, of this Order. See FED. R. CIV. P. 65(d)(2).

          XXVII. CORRESPONDENCE AND SERVICE ON COMMISSION

           IT IS FURTHER ORDERED that, for the purpose of this Order, all

    correspondence and service of pleadings on Plaintiff shall be addressed to:

                  Gary Ivens
                  Christopher Brown
                  Federal Trade Commission
                  600 Pennsylvania A venue NW
                  Mail Stop CC-8528
                  Washington, DC 20580
                  (202) 326-2330 (Ivens phone)
                  (202) 326-2825 (Brown phone)
                  (202) 326-3395 (fax)
                  givens@ftc.gov
                  cbrown3@ftc.gov


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                  XXVIII. PRELIMINARY INJUNCTION HEARING

           IT IS FURTHER ORDERED that, pursuant to Fed. R. Civ. P. 65(b), Defendants

    sha~ppear ~re this Court on the          ~        day of   ~               , 2014, at

     q    /)(K,1 , to show cause, if there is any, why this Court should not enter a
    preliminary injunction, pending final ruling on the Complaint against Defendants,

    enjoining the violations of the law alleged in the Commission's Complaint, continuing

    the freeze of their Assets, continuing the Receivership, and imposing such additional

    relief as may be appropriate.

       XXIX. BRIEFS & AFFIDAVITS CONCERNING PRELIMINARY INJUNCTION

           IT IS FURTHER ORDERED that the Defendants shall file with the Court and

    serve on the Commission's counsel any answering pleadings, affidavits, motions, expert

    reports or declarations, and/ or legal memoranda no later than seven (7) days prior to

    the hearing on the Commission's request for a preliminary injunction. The Commission

    may file responsive or supplemental pleadings, materials, affidavits, or memoranda

    with the Court and serve the same on counsel for the Defendant no later than one (1)

    day prior to the preliminary injunction hearing in this matter. Provided, however, such

    affidavits, pleadings, motions, expert reports, declarations, legal memoranda and/ or

    oppositions must be served by personal or overnight delivery, facsimile or email, and

    be received by the other party or parties no later than 5:00 p.m. (Eastern Daylight Time)

    on the appropriate dates set forth in this Section.

           An evidentiary hearing on the Commission's request for a preliminary injunction

    is not necessary unless Defendants demonstrate that they have, and intend to introduce,

    evidence that raises a genuine and material factual issue. See, e.g., McDonald's Corp. v.

    Robertson, 147 F .3d 1301, 1312-13 (11th Cir. 1998). The question of whether this Court

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    should enter a preliminary injunction shall be resolved on the pleadings, declarations,

    exhibits, and memoranda filed by, and oral argument of, the parties. Live testimony

    shall be heard only on further order of this Court. Any motion to permit such

    testimony shall be filed with the Court and served on counsel for the other parties at

    least five (5) days prior to the preliminary injunction hearing in this matter. Such

    motion shall set forth the name, address, and telephone number of each proposed

    witness, a detailed summary or affidavit revealing the substance of each proposed

    witness's expected testimony, and an explanation of why the taking of live testimony

    would be helpful to this Court. Any papers opposing a timely motion to present live

    testimony or to present live testimony in response to another party's timely motion to

    present live testimony shall be filed with this Court and served on the other parties at

    least three (3) days prior to the preliminary injunction hearing in this matter, provided

    that service shall be performed by personal or overnight delivery, facsimile or email,

    and documents shall be delivered so that they shall be received by the other parties no

    later than 5:00 p.m. (Eastern Daylight Time) on the appropriate dates provided in this

    Section.

                               XXX. DURATION OF TRO
           IT IS FURTHER ORDERED that this Temporary Restraining Order shall expire
    fourteen (14) days from the date of entry noted below, unless within such time, the

    Order is extended for an additional period pursuant to Federal Rule of Civil

    Procedure 65(b)(2).




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                        XXXI. RETENTION OF JURISDICTION

           IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this

    matter for all purposes.

           SO ORDERED, this    J...< day of_g___,~~~___J2014, at J;f' fill.

                                                  UNITED STATES DISTRICT JUDGE

                                                  ROBERT N. SCOLA, JR




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                     PLAINTIFF'S EXHIBIT 38 - 12
                          FTC v. FMC Counseling Servs., Inc.
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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 14-61545-CIV-ZLOCH

      FEDERAL TRADE COMMISSION,
                                                              EXPARTETEMPORARY
                     Plaintiff,                               RESTRAINING ORDER WITH
                                                              ASSET FREEZE, APPOINTMENT
              vs.                                             OF A RECEIVER, OTHER
                                                              EQUITABLE RELIEF AND ORDER
      FMC Counseling Services, Inc., a Florida                TO SHOW CAUSE WHY A
      corporation;                                            PRELIMINARY INJUNCTION
                                                              SHOULD NOT ISSUE
      FDC Assoc Group, Inc., a Florida corporation;

      FDC Business, Inc., a Florida corporation;

      FMC Review Corporation, a Florida corporation;

      NDR Group, Inc., a Florida corporation;

      FMC Consultants Group, Inc., a Florida
      corporation;

      JONATHAN L. HERBERT, individually and d/b/a
      Federal Debt Commission, Inc., FDC Financial,
      Inc., and FDC Consultants, Inc.;

                     Defendants.


             THIS MATTER is before the Court upon Plaintiff Federal Trade Commission's Ex

      Parte Motion For A Temporary Restraining Order With Asset Freeze, Appointment Of A

      Receiver, Other Equitable Relief, And Order To Show Cause Why A Preliminary Injunction

      Should Not Issue (DE 4) and Motion For Nomination Of Receiver (DE 11). The Court has

      carefully reviewed said Motions, the entire court file and is otherwise fully advised in the

      premises.
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             Plaintiff, Federal Trade Commission ("Commission" or "FTC"), pursuant to Sections

      13(b) and 19 of the Federal Trade Commission Act ("FTC Act"), 15 U.S.C. §§ 53(b) and

      57b, and the 2009 Omnibus Appropriations Act, Public Law 111-8, Section 626, 123 Stat.

      524, 678 (Mar. 11, 2009) ("Omnibus Act"), as clarified by the Credit Card Accountability

      Responsibility and Disclosure Act of 2009, Public Law 111-24, Section 511, 123 Stat. 1734,

      1763-64 (May 22, 2009), and amended by the Dodd-Frank Wall Street Reform and

      Consumer Protection Act, Public Law 111-203, Section 1097, 124 Stat. 1376, 2102-03 (July

      21, 2010), 12 U.S.C. § 5538, has filed a Complaint for Permanent Injunction and Other

      Equitable Relief ("Complaint") for Defendants' acts or practices in violation of Section 5(a)

      of the FTC Act, 15 U.S.C. § 45(a), and the Mortgage Assistance Relief Services Rule

      ("MARS Rule"), 16 C.F.R. Part 322, recodified as Mortgage Assistance Relief Services

      ("Regulation 0"), 12 C.F.R. Part 1015, in connection with the marketing and sale of

      mortgage assistance relief services, and applied for an ex parte temporary restraining order

      ("TRO" or "Order") pursuant to Rule 65 of the Federal Rules of Civil Procedure, Fed. R.

      Civ. P. 65.

             This Court, having considered the Complaint, ex parte application, declarations,

      exhibits, and memorandum of law filed in support thereof, finds that:

              1.     This Court has jurisdiction over the subject matter of this case, and there is

      good cause to believe it will have jurisdiction over the parties;

             2.      Venue properly lies with this Court;

             3.      There is good cause to believe that Defendants FMC Counseling Services,

      Inc., FDC Assoc Group, Inc., FDC Business, Inc., FMC Review Corporation, NDR Group,


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      Inc., FMC Consultants Group, Inc. and Jonathan Herbert (collectively, "Defendants") have

      engaged in, and are likely to engage in the future in, acts and practices that violate Section

      5(a) of the FTC Act, 15 U.S.C. § 45(a), and various provisions of the MARS Rule, 16 C.F.R.

      Part 322, recodified as Regulation 0, 12 C.F.R. Part 1015, and that the Commission is

      therefore likely to prevail on the merits of this action;

              4.      There is good cause to believe that immediate and irreparable harm will result

      from Defendants' ongoing violations of Section S(a) of the FTC Act, 15 U.S.C. §45(a), and

      the MARS Rule, 16 C.F.R. Part 322, recodified as Regulation 0, 12 C.F.R. Part 1015, unless

      Defendants are restrained and enjoined by Order of this Court;

              5.      There is good cause to believe that immediate and irreparable damage to the

      Court's ability to grant effective final relief for consumers in the form of monetary restitution

      will occur from the sale, transfer, assignment, or other disposition or concealment by

      Defendants of their assets or records unless Defendants are immediately restrained and

      enjoined by Order of this Court. Therefore, there is good cause for an asset freeze, the

      appointment of a temporary receiver over the corporate defendants FMC Counseling

      Services, Inc., FDC Assoc Group, Inc., FDC Business, Inc., FMC Review Corporation, NOR

      Group, Inc., and FMC Consultants Group, Inc., and for relieving Plaintiff of the duty to

      provide Defendants with prior notice of Plaintiffs motion;

             6.       There is good cause for issuing this Order pursuant to Federal Rule of Civil

      Procedure 65(b), Fed. R. Civ. P. 65(b);




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              7.     Weighing the equities and considering Plaintiff's likelihood of ultimate

      success, a temporary restraining order with asset freeze, other equitable relief, and order to

      show cause why a preliminary injunction should not issue is in the public interest; and

              8.     No security is required of any agency of the United States for issuance of a

      temporary restraining order. Fed. R. Civ. P. 65(c).

                                              DEFINITIONS

             For purposes of this Order, the following definitions shall apply:

              1.     "Asset" or "Assets" means any legal or equitable interest in, right to, or claim

      to, any real or personal property, including, but not limited to, "goods," "instruments,"

      "equipment," "fixtures," "general intangibles," "inventory," "checks," or "notes," (as these

      terms are defined in the Uniform Commercial Code), lines of credit, chattels, leaseholds,

      contracts, mail or other deliveries, shares of stock, lists of consumer names, accounts, credits,

      premises, receivables, funds, and all cash, wherever located.

             2.      "Assisting Others" includes, but is not limited to: (1) providing

      administrative services, including, but not limited to, filing business registrations with

      federal, state, or local government entities, establishing bank or merchant accounts, and/or

      handling banking transactions; (2) acting as an officer, director, or registered agent of a

      business entity; (3) establishing mail accounts or mail receiving boxes, and/or providing

      mailing or printing services; (4) performing customer service functions, including, but not

      limited to, forwarding mail received from consumers and/or receiving or responding to

      consumer complaints; (5) formulating or providing, or arranging for the formulation or

      provision of, any sales script or other marketing material; (6) providing names of, or assisting


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      in the generation of, potential customers; and (7) performing or providing marketing or

      billing services of any kind, including, but not limited to, performing or providing

      telemarketing services.

             3.      "Individual Defendant" means Jonathan Herbert, and by whatever other

      names or aliases he may be known.

             4.      "Corporate Defendants" or "Receivership Defendants" means FMC

      Counseling Services, Inc., FDC Assoc Group, Inc., FDC Business, Inc., FMC Review

      Corporation, NOR Group, Inc., and FMC Consultants Group, Inc., and their successors and

      assigns, as well as any subsidiaries, and any fictitious business entities or business names

      created or used by these entities, or any of them.

             5.      "Defendants" means the Individual Defendant and all of the Corporate

      Defendants, individually, collectively, or in any combination.

             6.      "Document" or "Documents" means any materials listed in Federal Rule of

      Civil Procedure 34(a), Fed. R. Civ. P. 34(a), and includes writings, drawings, graphs, charts,

      photographs, audio and video recordings, computer records, and other data compilations

      from which information can be obtained and translated, if necessary, through detection

      devices into reasonably usable form. A draft or non-identical copy is a separate document

      within the meaning of the term.

             7.      "Financial Institution" means any bank, savings and loan institution, credit

      union, or any financial depository of any kind, including, but not limited to, any brokerage

      house, trustee, broker-dealer, escrow agent, title company, commodity trading company, or

      precious metal dealer.



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              8.      "Mortgage assistance relief product or service" means any product, service,

      plan, or program, offered or provided to the consumer in exchange for consideration, that is

      represented, expressly or by implication, to assist or attempt to assist the consumer with any

      of the following:

                      A.      Stopping, preventing, or postponing any mortgage or deed of trust

      foreclosure sale for the consumer's dwelling, any repossession of the consumer's dwelling,

      or otherwise saving the consumer's dwelling from foreclosure or repossession;

                      B.      Negotiating, obtaining, or arranging a modification of any term of a

      dwelling loan, including a reduction in the amount of interest, principal balance, monthly

      payments, or fees;

                      C.      Obtaining any forbearance or modification in the timing of payments

      from any dwelling loan holder or servicer on any dwelling loan;

                      D.      Negotiating, obtaining, or arranging any extension of the period of

      time within which the consumer may (i) cure his or her default on a dwelling loan, (ii)

      reinstate his or her dwelling loan, (iii) redeem a dwelling, or (iv) exercise any right to

      reinstate a dwelling loan or redeem a dwelling.

                      E.      Obtaining any waiver of an acceleration clause or balloon payment

      contained in any promissory note or contract secured by any dwelling; or

                      F.      Negotiating, obtaining, or arranging (i) a short sale of a dwelling, (ii) a

      deed-in-lieu of foreclosure, (iii) or any other disposition of a dwelling loan other than a sale

      to a third party that is not the dwelling loan holder.




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      The foregoing shall include any manner of claimed assistance, including, but not limited to,

      auditing or examining a consumer's mortgage or home loan application and offering to

      provide or providing legal services.

             9.      "Person" means a natural person, an organization or other legal entity,

      including a corporation, partnership, sole proprietorship, limited liability company,

      association, cooperative, or any other group or combination acting as an entity.

              I 0.   "Plaintiff' means the Federal Trade Commission ("FTC" or "Commission").

                                                     I.

                               PROHIBITED BUSINESS ACTIVITIES

             IT IS THEREFORE ORDERED that Plaintiff Federal Trade Commission's Ex

      Parte Motion For A Temporary Restraining Order With Asset Freeze, Appointment Of A

      Receiver, Other Equitable Relief, And Order To Show Cause Why A Preliminary Injunction

      Should Not Issue (DE 4) and Motion For Nomination Of Receiver (DE 11) be and the same

      are hereby GRANTED as follows:

              Defe~dants, and their officers, agents, servants, employees, attorneys, and all other

      persons in active concert or participation with any of them, who receive actual notice of this

      Order by personal service or otherwise, whether acting directly or through any trust,

      corporation, subsidiary, division, or other device, in connection with the advertising,

      marketing, promotion, offering for sale, sale, or provision of any product or service,

      including, but not limited to, any mortgage assistance relief product or service, are hereby

      temporarily restrained and enjoined from:




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               A.     Misrepresenting, or assisting others in misrepresenting, directly or indirectly,

       expressly or by implication, any material fact, including, but not limited to:

                      1.      That consumers qualify for a federal mortgage loan modification

      program that will make their payments substantially more affordable or will help them avoid

       foreclosure;

                      2.      That Defendants are affiliated with, endorsed or approved by, or

       otherwise associated with the United States government, any governmental homeowner

      assistance plan, or any Federal, State, or local government agency, unit, or department;

                      3.      That consumers are not obligated to, or should not, make scheduled

      periodic payments or any other payments pursuant to the terms of consumers' dwelling

      loans;

                      4.      That as a result of various loan audits, research, and reviews provided

      by Defendants, including a forensic loan audit, they will obtain mortgage loan modifications

      for consumers that will make their payments substantially more affordable or will help them

      avoid foreclosure;

                      5.      Defendants' likelihood of obtaining mortgage loan modifications for

      consumers that will make their payments substantially more affordable;

                      6.      Defendants' likelihood of obtaining mortgage loan modifications for

      consumers that will make their payments substantially more affordable as a result of a loan

      audit provided by Defendants; or

                      7.      The consumer's obligation to make scheduled periodic payments or

      any other payments pursuant to the terms of the consumer's dwelling loan.


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             B.      Representing, expressly or by implication, that a consumer cannot or should

      not contact or communicate with his or her lender or servicer;

             C.      Asking for or receiving payment before consumers have executed a written

      agreement between the consumer and the loan holder or servicer that incorporates the offer

      obtained by Defendants.

                                                     II.

                            DISCLOSURES REQUIRED BY MARS RULE

             IT IS FURTHER ORDERED that Defendants, and their officers, agents, servants,

      employees, attorneys, and all other persons in active concert or participation with any of

      them, who receive actual notice of this Order by personal service or otherwise, whether

      acting directly or through any trust, corporation, subsidiary, division, or other device, in

      connection with the telemarketing, advertising, marketing, promoting, offering for sale, sale,

      or provision of any mortgage assistance relief product or service, are hereby temporarily

      restrained and enjoined from engaging in, or assisting others in engaging in, the following

      conduct:

             A.      Failing to make the following disclosures in all general commercial

      communications:

                     1.      "[Name of Company] is not associated with the government, and our

      service is not approved by the government or your lender," in violation of the MARS Rule,

      16 C.F.R. § 322.4(a)(l), and Regulation 0, 12 C.F.R. § 1015.4(b)(2); and




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                       2.      "Even if you accept this offer and use our service, your lender may not

       agree to change your loan," in violation of the MARS Rule, 16 C.F.R. § 322.4(a)(2), and

       Regulation 0, 12 C.F.R. § 1015.4(b)(3).

               B.      Failing to make the following disclosures in all consumer-specific commercial

       communications:

                       1.      "You may stop doing business with us at any time. You may accept or

       reject the offer of mortgage assistance we obtain from your lender [or servicer]. If you reject

       the offer, you do not have to pay us. If you accept the offer, you will have to pay us [insert

       amount or method for calculating the amount] for our services," in violation of the MARS

       Rule, 16 C.F.R. § 322.4(b)(l), and Regulation 0, 12 C.F.R. § 1015.4(b)(l). For the purposes

       of this section, the amount "you will have to pay" shall consist of the total amount the

       consumer must pay to purchase, receive, and use all of the mortgage assistance relief services

       that are the subject of the sales offer, including but not limited to, all fees and charges;

                       2.      "[Name of company] is not associated with the government, and our

       service is not approved by the government or your lender," in violation of the MARS Rule,

       16 C.F.R. § 322.4(b)(2), and Regulation 0, 12 C.F.R. § 1015.4(b)(2);

                       3.      "Even if you accept this offer and use our service, your lender may not

       agree to change your loan," in violation of the MARS Rule, 16 C.F.R. § 322.4(b)(3), and

       Regulation 0, 12 C.F.R. § 1015.4(b)(3); and

                       4.      "If you stop paying your mortgage, you could lose your home and

       damage your credit," in violation of the MARS Rule, 16 C.F.R. § 322.4(c), and Regulation

       0, 12 C.F.R. § 1015.4(c).


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                                                      III.

                                               ASSET FREEZE

               IT IS FURTHER ORDERED that Defendants, and their officers, agents, servants,

       employees, attorneys, and all other persons in active concert or participation with any of

       them, who receive actual notice of this Order by personal service or otherwise, whether

       acting directly or through any trust, corporation, subsidiary, division, or other device, except

       as provided herein, as stipulated by the parties, or as directed by further order of the Court,

       are hereby temporarily restrained and enjoined from:

               A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

       concealing, dissipating, disbursing, assigning, spending, withdrawing, granting a lien or

       security interest or other interest in, or otherwise disposing of any funds, real or personal

       property, accounts, contracts, shares of stock, lists of consumer names, or other assets, or any

       interest therein, wherever located, including outside the territorial United States, that are:

                       1.     Owned, controlled, or held by, in whole or in part, for the benefit of, or

       subject to access by, or belonging to, any Defendant;

                      2.      In the actual or constructive possession of any Defendant; or

                      3.      In the actual or constructive possession of, or owned, controlled, or

       held by, or subject to access by, or belonging to, any other corporation, partnership, trust, or

       any other entity directly or indirectly owned, managed, or controlled by, or under common

       control with, any Defendant, including, but not limited to, any assets held by or for any

       Defendant in any account at any bank or savings and loan institution, or with any credit card

      processing agent, automated clearing house processor, network transaction processor, bank


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       debit processing agent, customer service agent, commercial mail receiving agency, or mail

       holding or forwarding company, or any credit union, retirement fund custodian, money

       market or mutual fund, storage company, trustee, or with any broker-dealer, escrow agent,

       title company, commodity trading company, precious metal dealer, or other financial

       institution or depository of any kind, either within or outside the territorial United States;

              B.        Opening or causing to be opened any safe deposit boxes, commercial mail

       boxes, or storage facilities titled in the name of any Defendant, or subject to access by any

       Defendant or under any Defendant's control, without providing Plaintiff prior notice and an

       opportunity to inspect the contents in order to determine that they contain no assets covered

       by this Section;

              C.        Cashing any checks or depositing or processing any payments from customers

       of Defendants;

              D.        Incurring charges or cash advances on any credit card issued in the name,

       singly or jointly, of any Defendant; or

               E.       Incurring liens or encumbrances on real property, personal property, or other

       assets in the name, singly or jointly, of any Defendant or of any corporation, partnership, or

       other entity directly or indirectly owned, managed, or controlled by any Defendant.

              Notwithstanding the asset freeze provisions of Section III.A through E above, and

       subject to prior written agreement with the Commission, Individual Defendant may, upon

       compliance with Section V (Financial Statements) infra, pay from his individual personal

      funds reasonable, usual, ordinary, and necessary living expenses.

              The funds, property, and assets affected by this Section shall include both existing


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       assets and assets acquired after the effective date of this Order.

                                                       IV.

                  DUTIES OF THIRD PARTIES HOLDING DEFENDANTS' ASSETS

                 IT IS FURTHER ORDERED that any financial institution, business entity, or

       person maintaining or having custody or control of any account or other asset of any

       Defendant, or any corporation, partnership, or other entity directly or indirectly owned,

       managed, or controlled by, or under common control with any Defendant, which is served

       with a copy of this Order, or otherwise has actual or constructive knowledge of this Order,

       shall:

                 A.    Hold and retain within its control and prohibit the withdrawal, removal,

       assignment, transfer, pledge, hypothecation, encumbrance, disbursement, dissipation,

       conversion, sale, liquidation, or other disposal of any of the assets, funds, documents, or

       other property held by, or under its control:

                        1.    On behalf of, or for the benefit of, any Defendant or any other party

       subject to Section II above;

                       2.     In any account maintained in the name of, or for the benefit of, or

       subject to withdrawal by, any Defendant or other party subject to Section II above; and

                       3.     That are subject to access or use by, or under the signatory power of,

       any Defendant or other party subject to Section II above;

                 B.    Deny Defendants access to any safe deposit boxes or storage facilities that are

       either:




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                       1.       Titled in the name, individually or jointly, of any Defendant, or other

       party subject to Section II above; or

                       2.      Subject to access by any Defendant or other party subject to Section II

       above;

                C.     Provide Plaintiff, within five (5) days of the date of service of this Order, a

       sworn statement setting forth:

                       1.      The identification number of each account or asset titled in the name,

       individually or jointly, of any Defendant, or held on behalf of, or for the benefit of, any

       Defendant or other party subject to Section II above, including all trust accounts managed on

       behalf of any Defendant or subject to any Defendant's control;

                       2.      The balance of each such account, or a description of the nature and

       value of such asset;

                       3.      The identification and location of any safe deposit box, commercial

       mail box, or storage facility that is either titled in the name, individually or jointly, of any

       Defendant, or is otherwise subject to access or control by any Defendant or other party

       subject to Section II above, whether in whole or in part; and

                       4.      If the account, safe deposit box, storage facility, or other asset has

       been closed or removed, the date closed or removed and the balance on said date;

                D.     Within five (5) days of a request from the FTC, provide Plaintiff with copies

       of all records or other documents pertaining to each such account or asset, including, but not

      limited to, originals or copies of account applications, account statements, corporate

       resolutions, signature cards, checks, drafts, deposit tickets, transfers to and from the accounts,


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       all other debit and credit instruments or slips, currency transaction reports, 1099 forms, and

       safe deposit box logs; and

               E.      This Section shall apply to existing accounts and assets, assets deposited or

       accounts opened after the effective date of this Order, and any accounts or assets maintained,

       held or controlled three years prior to the effective date of this Order. This Section shall not

       prohibit transfers in accordance with any provision of this Order, any further order of the

       Court, or by written agreement of the parties.

                                                        V.

                                       FINANCIAL STATEMENTS

               IT IS FURTHER ORDERED that each Defendant shall serve upon counsel for

       Plaintiff, no later than five (5) business days after service of this Order, a completed financial

       statement accurate as of the date of entry of this Order, on the forms served on Defendants

       with this Order for Individual Defendant (Attachment A) and for Corporate Defendants

       (Attachment B), as the case may be, signed under penalty of perjury.

              The financial statements shall include assets held outside the territory of the United

       States, shall be accurate as of the date of the entry of this Order, and shall be verified under

       oath. Defendants shall attach to these completed financial statements copies of all local,

       state, provincial, and federal income and property tax returns, with attachments and

       schedules, as called for by the instructions to the financial statements.

                                                        VI.

              MAINTAIN RECORDS AND REPORT OF NEW BUSINESS ACTIVITY




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              IT IS FURTHER ORDERED that Defendants, and their officers, agents, servants,

       employees, attorneys, and all other persons in active concert or participation with any of

       them, who receive actual notice of this Order by personal service or otherwise, whether

       acting directly or through any trust, corporation, subsidiary, division, or other device, are

       hereby temporarily restrained and enjoined from:

              A.      Failing to make and keep books, records, accounts, bank statements, current

       accountants' reports, general ledgers, general journals, cash receipts ledgers, cash

       disbursements ledgers and source documents, documents indicating title to real or personal

       property, and any other data which, in reasonable detail, accurately and fairly reflect the

       incomes, disbursements, transactions, dispositions, and uses of Defendants' assets;

              B.      Destroying, erasing, mutilating, concealing, altering, transferring, or otherwise

       disposing of, in any manner, directly or indirectly, any documents, including electronically

       stored materials, that relate in any way to the business practices or business or personal

       finances of Defendants; to the business practices or finances of entities directly or indirectly

       under the control of Defendants; or to the business practices or finances of entities directly or

       indirectly under common control with any other Defendant; and

              C.      Creating, operating, or exercising any control over any new business entity,

       whether newly formed or previously inactive, including any partnership, limited partnership,

      joint venture, sole proprietorship or corporation, without first providing Plaintiff with a

       written statement disclosing: (1) the name of the business entity; (2) the address, telephone

      number, e-mail address, and website address of the business entity; (3) the names of the




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       business entity's officers, directors, principals, managers, and employees; and (4) a detailed

       description of the business entity's intended activities.

                                                      VII.

                   PROHIBITION ON DISCLOSING CUSTOMER INFORMATION

              IT IS FURTHER ORDERED that Defendants, and their officers, agents, servants,

       employees, attorneys, and all other persons or entities in active concert or participation with

       any of them, who receive actual notice of this Order by personal service or otherwise,

       whether acting directly or through any trust, corporation, subsidiary, division, or other

       device, are hereby temporarily restrained and enjoined from:

              A.      Selling, renting, leasing, transferring, or otherwise disclosing the name,

       address, birth date, telephone number, e-mail address, Social Security number, credit card

       number, bank account number, or other financial or identifying personal information of any

       person from whom or about whom any Defendant obtained such information in connection

       with activities alleged in Plaintiff's Complaint; and

              B.      Benefitting from or using the name, address, birth date, telephone number, e-

       mail address, Social Security number, credit card number, bank account number, or other

       financial or identifying personal information of any person from whom or about whom any

       Defendant obtained such information in connection with activities alleged in Plaintiff's

       Complaint;

              Provided, however, that Defendants may disclose such financial or identifying

       personal information to a law enforcement agency or as required by any law, regulation, or

       court order.


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                                                    VIII.

                                       TEMPORARY RECEIVER

              A. APPOINTMENT OF TEMPORARY RECEIVER

              IT IS FURTHER ORDERED that Walter Matthews, Esq., is appointed Temporary

       Equity Receiver ("Receiver") for Receivership Defendants and any of their affiliates,

       subsidiaries, divisions, or sales or customer service operations, wherever located, with the

       full power of an equity receiver. The Receiver shall be the agent of this Court, and solely the

       agent of this Court, in acting as Receiver under this Order. The Receiver shall be

       accountable directly to this Court. The Receiver shall comply with all Local Rules of this

       Court governing receivers.

              B. RECEIVERSHIP DUTIES

              IT IS FURTHER ORDERED that the Receiver is directed and authorized to

       accomplish the following:

                      1.      Assume full control of the Receivership Defendants by removing, as

       the Receiver deems necessary or advisable, any director, officer, employee, independent

       contractor, or agent of the Receivership Defendants, including any Individual Defendant,

       from control of, management of, or participation in, the affairs of the Receivership

       Defendants;

                      2.      Take exclusive custody, control, and possession of all assets and

       documents of, or in the possession, custody, or under the control of, the Receivership

       Defendants, wherever situated. The Receiver shall have full power to divert mail and to sue

       for, collect, receive, take in possession, hold, and manage all assets and documents of the


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       Receivership Defendants and other persons or entities whose interests are now held by or

       under the direction, possession, custody, or control of the Receivership Defendants.

       Provided, however, that the Receiver shall not attempt to collect any amount from a

       consumer or to allow the Receivership Defendants to continue to debit or otherwise charge a

       consumer's account, if the Receiver believes the consumer was a victim of the unfair or

       deceptive acts or practices alleged in the Complaint in this matter;

                      3.      Use any means necessary to take possession of and to secure all areas

       of the business premises of the Receivership Defendants. Such steps may include, but are

       not limited to, the following as the Receiver deems necessary or advisable: (a) serving this

       Order; (b) completing a written inventory of all receivership assets; (c) obtaining pertinent

       information from all employees and other agents of the Receivership Defendants, including,

       but not limited to, the name, home address, Social Security number, job description, method

       of compensation, and all accrued and unpaid commissions and compensation of each such

       employee or agent; (d) videotaping all portions of the locations; (e) securing the locations by

       changing the locks and disconnecting any computer modems or other means of access to the

       computer or other records maintained at the locations; (f) requiring any persons present on

       the premises at the time this Order is served to leave the premises, to provide the Receiver

       with proof of identification, or to demonstrate to the satisfaction of the Receiver that such

       persons are not removing from the premises documents or assets of the Receivership

       Defendants; and/or (g) employ the assistance of law enforcement officers as the Receiver

       deems necessary to implement the provisions of this Order;




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                       4.     Conserve, hold, and manage all receivership assets, and perform all

       acts necessary or advisable to preserve the value of those assets, in order to prevent any

       irreparable loss, damage, or injury to consumers or to creditors of the Receivership

       Defendants, including, but not limited to, obtaining an accounting of the assets and

       preventing transfer, withdrawal, or misapplication of assets, and including the authority to

       liquidate or close out any open securities or commodity futures positions of the Receivership

       Defendants;

                      5.      Enter into contracts and purchase insurance as advisable or necessary;

                      6.      Prevent the inequitable distribution of assets and determine, adjust,

       and protect the interests of consumers and creditors who have transacted business with the

       Receivership Defendants;

                      7.      Manage and administer the business of the Receivership Defendants

       until further order of this Court by performing all incidental acts that the Receiver deems to

       be advisable or necessary, which includes retaining, hiring, or dismissing any employees,

       independent contractors, or agents;

                      8.      Choose, engage, and employ attorneys, accountants, appraisers, and

       other independent contractors and technical specialists, as the Receiver deems advisable or

       necessary in the performance of duties and responsibilities under the authority granted by this

       Order;

                      9.      Make payments and disbursements from the receivership estate that

       are necessary or advisable for carrying out the directions of, or exercising the authority

       granted by, this Order. The Receiver shall apply to the Court for prior approval of any


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       payment of any debt or obligation incurred by the Receivership Defendants prior to the date

       of entry of this Order, except payments that the Receiver deems necessary or advisable to

       secure assets of the Receivership Defendants, such as rental payments;

                       10.    Determine and implement the manner in which the Receivership

       Defendants will comply with, and prevent violations of, this Order and all other applicable

       laws;

                       11.    Institute, compromise, adjust, appear in, intervene in, or become party

       to such actions or proceedings in state, federal or foreign courts that the Receiver deems

       necessary and advisable to preserve or recover the assets of the Receivership Defendants or

       that the Receiver deems necessary and advisable to carry out the Receiver's mandate under

       this Order;

                       12.    Defend, compromise, adjust, or otherwise dispose of any or all actions

       or proceedings instituted in the past or in the future against the Receiver in his or her role as

       Receiver, or against the Receivership Defendants that the Receiver deems necessary and

       advisable to preserve the assets of the Receivership Defendants or that the Receiver deems

       necessary and advisable to carry out the Receiver's mandate under this Order;

                       13.    Continue and conduct the business of the Receivership Defendants in

       such manner, to such extent, and for such duration as the Receiver may in good faith deem to

       be necessary or appropriate to operate the business profitably and lawfully, if at all; provided,

       however, that the continuation and conduct of the business shall be conditioned upon the

       Receiver's good faith determination that the business can be lawfully operated at a profit

       using the assets of the receivership estate;


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                       14.    Issue subpoenas to obtain documents and records pertaining to the

       receivership, and conduct discovery in this action on behalf of the receivership estate;

                       15.    Open one or more bank accounts as designated depositories for funds

       of the Receivership Defendants. The Receiver shall deposit all funds of the Receivership

       Defendants in such a designated account and shall make all payments and disbursements

       from the receivership estate from such an account;

                       16.    Maintain accurate records of all receipts and expenditures that he or

       she makes as Receiver;

                       17.    Cooperate with reasonable requests for information or assistance from

       any state or federal law enforcement agency, including Plaintiff; and

                       18.    File reports with the Court on a timely and reasonable basis.

               C. COOPERATION WITH THE RECEIVER

               IT IS FURTHER ORDERED that:

                      1.      Defendants and their officers, agents, servants, employees, and

       attorneys, and all other persons in active concert or participation with any of them, who

       receive actual notice of this Order by personal service or otherwise, whether acting directly

       or through any trust, corporation, subsidiary, division, or other device, shall fully cooperate

       with and assist the Receiver. This cooperation and assistance shall include, but not be

       limited to:

                              a.      Providing any information to the Receiver that the Receiver

       deems necessary to exercising the authority and discharging the responsibilities of the

       Receiver under this Order;


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                              b.      Providing any password required to access any computer,

       electronic file, or telephonic data in any medium; or

                              c.      Advising all persons who owe money to the Receivership

       Defendants that all debts should be paid directly to the Receiver.

                      2.      Defendants and their officers, agents, servants, employees, and

       attorneys, and all other persons in active concert or participation with any of them, who

       receive actual notice of this Order by personal service or otherwise, whether acting directly

       or through any trust, corporation, subsidiary, division, or other device, are hereby restrained

       and enjoined from directly or indirectly:

                              a.      Transacting any of the business of the Receivership

       Defendants;

                              b.      Destroying, secreting, defacing, transferring, or otherwise

       altering or disposing of any documents of the Receivership Defendants, including, but not

       limited to, books, records, accounts, writings, drawings, graphs, charts, photographs, audio

       and video recordings, computer records, and other data compilations, electronically-stored

       records, or any other records of any kind or nature;

                              c.      Transferring, receiving, altering, selling, encumbering,

       pledging, assigning, liquidating, or otherwise disposing of any assets owned, controlled, or in

       the possession or custody of, or in which an interest is held or claimed by, the Receivership

       Defendants, or the Receiver;

                              d.      Excusing debts owed to the Receivership Defendants;




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                              e.      Failing to notify the Receiver of any asset, including accounts,

       of the Receivership Defendants held in any name other than the name of the Receivership

       Defendants, or by any person or entity other than the Receivership Defendants, or failing to

       provide any assistance or information requested by the Receiver in connection with obtaining

       possession, custody, or control of such assets;

                              f.      Doing any act or refraining from any act whatsoever to

       interfere with the Receiver's taking custody, control, possession, or managing of the assets or

       documents subject to this receivership; or to harass or interfere with the Receiver in any way;

       or to interfere in any manner with the exclusive jurisdiction of this Court over the assets or

       documents of the Receivership Defendants; or to refuse to cooperate with the Receiver or the

       Receiver's duly authorized agents in the exercise of their duties or authority under any Order

       of this Court; or

                              g.      Filing, or causing to be filed, any petition on behalf of the

       Receivership Defendants for relief under the United States Bankruptcy Code, 11 U.S.C. §

       101 et seq., without prior permission from this Court.

              D. DELIVERY OF RECEIVERSHIP PROPERTY

              IT IS FURTHER ORDERED that:

                       1.     Immediately upon service of this Order upon them, or within such

       period as may be permitted by the Receiver, Defendants or any other person or entity shall

       transfer or deliver possession, custody, and control of the following to the Receiver:

                              a.      All assets of the Receivership Defendants, including assets

       subject to repatriation pursuant to Section X, infra;


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                              b.      All documents of the Receivership Defendants, including, but

       not limited to, books and records of accounts, all financial and accounting records, balance

       sheets, income statements, bank records (including monthly statements, canceled checks,

       records of wire transfers, and check registers), client lists, title documents and other papers;

                              c.      All assets belonging to members of the public now held by the

       Receivership Defendants; and

                              d.      All keys, codes, and passwords necessary to gain or to secure

      access to any assets or documents of the Receivership Defendants, including, but not limited

       to, access to their business premises, means of communication, accounts, computer systems,

       mailboxes, or other property. This includes providing the necessary means to gain access to

      at least the following commercial mailboxes:

                                      (i)     1220 L Street N.W. 100-170, Washington, D.C. 20006;

                                      (ii)    2020 Pennsylvania Avenue N.W. #677, Washington,

                                              D.C. 20006;

                                      (iii)   4737 N. Ocean Drive #230, Ft. Lauderdale, Florida

                                              33309;

                                      (iv)    49 N. Federal Highway #244, Pompano Beach, Florida

                                              33062;

                                      (v)     265 S. Federal Highway #287 and #313, Deerfield

                                              Beach, Florida 33441; and

                                      (vi)    1007 N. Federal Highway #130, Ft. Lauderdale, Florida

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                       2.      In the event any person or entity fails to deliver or transfer any

       receivership asset or document or otherwise fails to comply with any provision of this

       Section, the Receiver may file ex parte an Affidavit of Non-Compliance regarding the

       failure. Upon filing of the affidavit, the Court may authorize, without additional process or

       demand, Writs of Possession or Sequestration or other equitable writs requested by the

       Receiver. The writs shall authorize and direct the United States Marshal or any sheriff or

       deputy sheriff of any county, or any other federal or state law enforcement officer, to seize

       the asset, document, or other thing and to deliver it to the Receiver.

               E. TRANSFER OF FUNDS TO THE RECEIVER

               IT IS FURTHER ORDERED that, upon service of a copy of this Order, all

       financial institutions, finance companies, commercial lending companies, credit card

       processing agents or agents providing electronic funds transfer services or automated

       clearing house processing, brokerage houses, escrow agents, money market or mutual funds,

       title companies, commodity futures merchants, commodity trading companies, precious

       metal dealers, trustees, or other financial institutions or depositories of any kind, shall

       cooperate with all reasonable requests of the Receiver relating to implementation of this

       Order, including transferring funds at his or her direction and producing records related to the

      assets of the Receivership Defendants.

              F. STAY OF ACTIONS

               IT IS FURTHER ORDERED that:

                       1.     Except by leave of this Court, during pendency of the receivership

      ordered herein, Defendants and all other persons and entities be and hereby are stayed from


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       taking any action to establish or enforce any claim, right, or interest for, against, on behalf of,

       in, or in the name of, the Receivership Defendants, any of its subsidiaries, affiliates,

       partnerships, assets, documents, or the Receiver or the Receiver's duly authorized agents

       acting in their capacities as such, including, but not limited to, the following actions:

                              a.       Commencing, prosecuting, continuing, entering, or enforcing

       any suit or proceeding, except that such actions may be filed to toll any applicable statute of

       limitations;

                              b.      Accelerating the due date of any obligation or claimed
                          ,
       obligation; filing, perfecting or enforcing any lien; taldng or attempting to take possession,

       custody, or control of any asset; attempting to foreclose, forfeit, alter, or terminate any

       interest in any asset, whether such acts are part of a judicial proceeding, are acts of self-help,

       or otherwise, or setoff of any debt owing to the Receivership Defendants that arose before the

       date of this Order against any claim against the Receivership Defendants;

                              c.      Executing, issuing, serving, or causing the execution, issuance

       or service of, any legal process, including, but not limited to, attachments, garnishments,

       subpoenas, writs of replevin, writs of execution, or any other form of process whether

       specified in this Order or not; or

                              d.      Doing any act or thing whatsoever to interfere with the

       Receiver taking custody, control, possession, or management of the assets or documents

       subject to this receivership, or to harass or interfere with the Receiver in any way, or to

       interfere in any manner with the exclusive jurisdiction of this Court over the assets or

       documents of the Receivership Defendants.


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                      2.      This Order does not stay:

                              a.      The commencement or continuation of a criminal action or

       proceeding;

                              b.      The commencement or continuation of an action or proceeding

       by a governmental unit to enforce such governmental unit's police or regulatory power; or

                              c.      The enforcement of a judgment, other than a money judgment,

       obtained in an action or proceeding by a governmental unit to enforce such governmental

       unit's police or regulatory power.

                      3.      Except as otherwise provided in this Order, all persons and entities in

       need of documentation from the Receiver shall in all instances first attempt to secure such

       information by submitting a formal written request to the Receiver, and, if such request has

       not been responded to within thirty (30) days of receipt by the Receiver, any such person or

       entity may thereafter seek an Order of this Court with regard to the relief requested.

              G. COMPENSATION OF RECEIVER

              IT IS FURTHER ORDERED that the Receiver and all personnel hired by the

       Receiver as herein authorized, including counsel to the Receiver and accountants, are entitled

       to reasonable compensation for the performance of duties pursuant to this Order and for the

      cost of actual out-of-pocket expenses incurred by them, from the assets now held by, or in the

      possession or control of, or which may be received by the Receivership Defendants. The

       Receiver shall file with the Court and serve on the parties periodic requests for the payment

      of such reasonable compensation, with the first such request filed no more than sixty (60)




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       days after the date of this Order. The Receiver shall not increase the hourly rates used as the

       bases for such fee applications without prior approval of the Court.

              H. RECEIVER'S BOND

              IT IS FURTHER ORDERED that pursuant to Fed. R. Civ. P. 65, the Receiver is not

      required to post a bond with the Clerk of this Court.

                                                     IX.

                                  ACCESS TO BUSINESS PREMISES

              IT IS FURTHER ORDERED that Defendants, and their officers, agents, servants,

      employees, and attorneys, and all other persons in active concert or participation with any of

      them, who receive actual notice of this Order by personal service or otherwise, whether

      acting directly or through any trust, corporation, subsidiary, division, or other device, and the

      Receiver, shall allow Plaintiff's representatives, agents, and assistants, as well as the

      Receivership Defendants' representatives, and the Individual Defendant himself, reasonable

      access to all of Receivership Defendants' business premises, or any other premises where the

      Receivership Defendants conduct business or customer service operations. Such locations

      include, but are not limited to, 3038 N. Federal Highway E2, Ft. Lauderdale, Florida 33306.

              The purpose of this access shall be to inspect and copy any and all books, records,

      documents, accounts, and other property owned by, or in the possession of, the Receivership

      Defendants or their agents. The Receiver shall have the discretion to determine the time,

      manner, and reasonable conditions of such access. Plaintiff may remove materials from the

      Receivership Defendants' business premises to inspect, inventory, and copy such materials.

      Plaintiff shall return materials so removed within five (5) business days of completing said



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       inventory and copying. Plaintiffs access to Defendants' documents pursuant to this Section

       shall not provide grounds for any Defendant to object to any subsequent request for

      documents served by any Plaintiff.

                                                      X.

                         REPATRIATION OF ASSETS AND DOCUMENTS

              IT IS FURTHER ORDERED that Defendants shall:

              A.      Within three (3) business days following service of this Order, take such steps

      as are necessary to repatriate to the territory of the United States of America all documents

      and assets that are located outside such territory and are held by or for Defendants or are

      under Defendants' direct or indirect control, jointly, severally, or individually;

              B.      Within three (3) business days following service of this Order, provide

      Plaintiff with a full accounting of all documents and assets that are located outside of the

      territory of the United States of America or that have been transferred to the territory of the

      United States of America pursuant to Subsection A above and are held by or for any

      Defendant or are under any Defendant's direct or indirect control, jointly, severally, or

       individually, including the addresses and names of any foreign or domestic financial

      institution or other entity holding the documents and assets, along with the account numbers

      and balances;

              C.      Hold and retain all such documents and assets and prevent any transfer,

      disposition, or dissipation whatsoever of any such documents or assets; and

              D.      Within three (3) business days following service of this Order, provide

      Plaintiff access to Defendants' records and documents held by financial institutions or other



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      entities outside the territory of the United States of America, by signing and delivering to

      Plaintiff's counsel the Consent to Release of Financial Records attached to this Order as

      Attachment C.

                                                       XI.

                               INTERFERENCE WITH REPATRIATION

              IT IS FURTHER ORDERED that Defendants are hereby temporarily restrained and

      enjoined from taking any action, directly or indirectly, which may result in the encumbrance

      or dissipation of foreign assets, or in the hindrance of the repatriation required by the

      preceding Section X of this Order, including, but not limited to:

              A.      Sending any statement, letter, facsimile, e-mail or wire transmission, or

      telephoning or engaging in any other act, directly or indirectly, that results in a determination

      by a foreign trustee or other entity that a "duress" event has occurred under the terms of a

      foreign trust agreement, until such time that assets have been fully repatriated pursuant to the

      preceding Section of this Order; and

              B.      Notifying any trustee, protector or other agent of any foreign trust or other

      related entities of either the existence of this Order, or of the fact that repatriation is required

      pursuant to a Court Order, until such time as assets have been fully repatriated pursuant to

      the preceding Section of this Order.

                                                      XII.

                                        EXPEDITED DISCOVERY

              IT IS FURTHER ORDERED that pursuant to Federal Rules of Civil Procedure

      30(a), 31 (a), 34, and 45, and notwithstanding the provisions of Federal Rules of Civil


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      Procedure 26(d) and (f), 30(a)(2)(A), and 31(a)(2)(A), the parties are granted leave, at any

      time after entry of this Order to:

                A.     Take the deposition of any person, whether or not a party, for the purpose of

       discovering the nature, location, status, and extent of the assets of Defendants, and

       Defendants' affiliates and subsidiaries; the nature and location of documents reflecting the

      business transactions of Defendants, and Defendants' affiliates and subsidiaries; the location

      of any premises where Defendants, directly or through any third party, conduct business

      operations; the Defendants' whereabouts; and/or the applicability of any evidentiary

      privileges to this action; and

                B.     Demand the production of documents from any person, whether or not a party,

      relating to the nature, status, and extent of the assets of Defendants, and Defendants'

      affiliates and subsidiaries; the nature and location of documents reflecting the business

      transactions of Defendants, and Defendants' affiliates and subsidiaries; the location of any

      premises where Defendants, directly or through any third party, conduct business operations;

      the Defendants' whereabouts; and/or the applicability of any evidentiary privileges to this

      action.

                Three (3) days notice shall be deemed sufficient for any such deposition, five (5) days

      notice shall be deemed sufficient for the production of any such documents, and twenty-four

      (24) hours notice shall be deemed sufficient for the production of any such documents that

      are maintained or stored only as electronic data. The provisions of this Section shall apply

      both to parties to this case and to non-parties. The limitations and conditions set forth in

      Federal Rules of Civil Procedure 30(a)(2)(A)(ii) and 3l(a)(2)(A)(ii) regarding subsequent


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      depositions of an individual shall not apply to depositions taken pursuant to this Section.

      Any such depositions taken pursuant to this Section shall not be counted toward any limit on

      the number of depositions under the Federal Rules of Civil Procedure, including those set

      forth in Federal Rules of Civil Procedure 30(a)(2)(A) and 3 l(a)(2)(A). Service of discovery

      upon a party, taken pursuant to this Section, shall be sufficient if made through the means

      described in Section XVI of this Order.

                                                     XIII.

                           DISTRIBUTION OF ORDER BY DEFENDANTS

              IT IS FURTHER ORDERED that Defendants shall immediately provide a copy of

      this Order to each of their corporations, subsidiaries, affiliates, partners, divisions, sales

      entities, successors, assigns, members, officers, directors, employees, independent

      contractors, agents, servants, attorneys, spouses, representatives, and any other persons in

      active concert or participation with them. Within five (5) calendar days following service of

      this Order, Defendants shall file with this Court and serve on Plaintiff an affidavit identifying

      the name, title, addresses, telephone numbers, date of service, and manner of service of the

      persons and entities Defendants have served with a copy of this Order in ~ompliance with

      this provision.

                                                     XIV.

                 EXPIRATION DATE OF TEMPORARY RESTRAINING ORDER

              IT IS FURTHER ORDERED that the Temporary Restraining Order granted herein

      shall expire on Monday, July 21, 2014, at 5:00 p.m., or at the time of the conclusion of the

      Preliminary Injunction Hearing set herein, whichever is sooner, unless within such time, the


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      Order, for good cause shown, is extended, or unless, as to any Defendant, the Defendant

      consents that it should be extended for a longer period of time.

                                                    xv.
              ORDER TO SHOW CAUSE REGARDING PRELIMINARY INJUNCTION

               IT IS FURTHER ORDERED, pursuant to Federal Rule of Civil Procedure 65, that

      each Defendant shall appear before this Court on the Thursday, July 17, 2014, at 10:30 a.m.,

      at the United States Courthouse, United States District Court for the Southern District of

       Florida, Ft. Lauderdale, Florida, Courtroom 202B, to show cause, if there is any, why this

      Court should not enter a Preliminary Injunction, pending final ruling on the Complaint

      against Defendants, enjoining them from further violations of Section 5(a) of the FTC Act,

       15 U.S.C. § 45(a), and the MARS Rule, 16 C.F.R. Part 322, recodified as Regulation 0, 12

      C.F.R. Part 1015, continuing the freeze of their assets, making the temporary Receiver's

      appointment permanent and imposing such additional relief as may be appropriate.

                                                   XVI.

              SERVICE OF PLEADINGS, MEMORANDA, AND OTHER EVIDENCE

               IT IS FURTHER ORDERED that Defendants shall file with the Court and serve on

      Plaintiff's counsel any answering affidavits, pleadings, motions, expert reports or

      declarations, and/or legal memoranda no later than noon on Monday July 14, 2014. Plaintiff

      may file responsive or supplemental pleadings, materials, affidavits, or memoranda with the

      Court and serve the same on counsel for Defendants no later than noon on Tuesday, July 15,

      2014.




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                                                    XVII.

                MOTION FOR LIVE TESTIMONY; WITNESS IDENTIFICATION

              IT IS FURTHER ORDERED that the question of whether this Court should enter a

      preliminary injunction pursuant to Rule 65 of the Federal Rules of Civil Procedure enjoining

      the Defendants during the pendency of this action shall be resolved on the pleadings,

      declarations, exhibits, and memoranda filed by, and oral argument of, the parties. Live

      testimony shall be heard only on further order of this Court or on motion filed with the Court

      and served on counsel for the other parties at least four (4) business days prior to the

      preliminary injunction hearing in this matter. Such motion shall set forth the name, address,

      and telephone number of each proposed witness, a detailed summary or affidavit revealing

      the substance of each proposed witness's expected testimony, and an explanation of why the

      taking of live testimony would be helpful to this Court. Any papers opposing a timely

      motion to present live testimony or to present live testimony in response to another party's

      timely motion to present live testimony shall be filed with this Court and served on the other

      parties at least two (2) business days prior to the preliminary injunction hearing in this

      matter, provided that service shall be performed by personal or overnight delivery, by

      electronic filing, by electronic mail, or by facsimile, and documents shall be delivered so that

      they shall be received by the other parties no later than 4:00 p.m. on the appropriate dates

      provided in this Section. Provided further, however, that an evidentiary hearing on Plaintiff's

      request for a preliminary injunction is not necessary unless Defendants demonstrate that they

      have, and intend to introduce, evidence that raises a genuine and material factual issue.




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                                                     XVIII.

                                          SERVICE OF THIS ORDER

              IT IS FURTHER ORDERED that copies of this Order may be distributed by United

      States First Class Mail, overnight delivery, facsimile, electronic mail, or personally, by

      agents or employees of Plaintiff, by agents or employees of the Receiver, by any law

      enforcement agency, or by private process server, upon any person, financial institution, or

      other entity that may have possession or control of any property, property right, document, or

      asset of any Defendant, or that may be subject to any provision of this Order. Service upon

      any branch or office of any financial institution or entity shall effect service upon the entire

      financial institution or entity.

                                                      XIX.

                                 CONSUMER REPORTING AGENCIES

              IT IS FURTHER ORDERED that, pursuant to Section 604 of the Fair Credit

      Reporting Act, 15 U .S.C. § 1681 b, any consumer reporting agency may furnish a consumer

      or credit report concerning any Defendant to Plaintiff.

                                                      xx.
                      CORRESPONDENCE WITH AND NOTICE TO PLAINTIFF

              IT IS FURTHER ORDERED that, for purposes of this Order, all correspondence

      and pleadings to the Commission shall be addressed to:

                                         James Davis or Elizabeth Scott
                                         Federal Trade Commission
                                         55 West Monroe Street, Suite 1825
                                         Chicago, Illinois 60603
                                         (312) 960-5634 [Telephone]
                                         (312) 960-5600 [Facsimile]

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                                               XXI.

                                RETENTION OF JURISDICTION

             IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter

      for all purposes.



             SO ORDERED, this 2 1 y of July, 2014, at     i'!'~,l.f
                                                 ~ . + - /•. ~ -
                                               William J. Zloch
                                               United States District Judge




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                                 UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 14-61545-CIV-ZLOCH




       FEDERAL TRADE COMMISSION,

                                  Plaintiff,

                        v.
       FMC COUNSELING SERVICES, INC., a Florida
       corporation, et al.,

                                  Defendants.



                    CONSENT TO RELEASE OF FINANCIAL INFORMATION

              I, _ _ _ _ _ _ _ _ _ _ _ _ __,of _ _ _ _ _ _ _ _ _ __

       (city or province and country), do hereby direct any person, bank, savings and loan

       association, credit union, depository institution, finance company, commercial lending

       company, payment processor, payment processing entity, electronic data host, common

       carrier, customs broker, commercial mail receiving agency, mail holding and/or forwarding

       company, brokerage house, escrow agent, money market or mutual fund, title company,

       commodity trading company, or trustee, that holds, controls or maintains custody of assets,

       wherever located, that are owned or controlled by me, or any of the above Defendants, in

       whole or in part, or at which I, or any of the above Defendants, have an account of any kind

      upon which I am authorized to draw, and its officers, employees and agents, to disclose all

      information and deliver copies of all documents of every nature in its possession or control




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       which relate to the said accounts to any attorney of the Federal Trade Commission, and to

       give evidence relevant thereto, in the above captioned matter, FJ'C v. FMC Counseling

      Services, Inc., et al., now pending in the United States District Court for the Southern District

       of Florida, and this shall be irrevocable authority for so doing. This direction is intended to

      apply to the laws of countries other than the United States of America which restrict or

      prohibit the disclosure of bank or other financial information without the consent of the

      holder of the account, and shall be construed as consent with respect thereto, and the same

      shall apply to any of the accounts for which I may be the relevant principal.


      Dated: _ _ _ _ _ _ _ __, 2014
                                                                             [Signature]



                                                                            [Print Name]




                                                      11                                   Attachment C
